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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
------------------------------------------------------- --x
                                                          x
STATE OF NEW YORK,
                                                          x
                                                          x
                                             Plaintiff, x     Civil Action No. 14 CV 00910 (RJA) (LGF)
                                                          x
                          vs.                             x
                                                          x   THIRD AMENDED COMPLAINT
GRAND RIVER ENTERPRISES SIX                               x
NATIONS, LTD., and NATIVE                                 x
WHOLESALE SUPPLY COMPANY INC., x
                                                          x
                                         Defendants. x
                                                          x
                                                          x
                                                          x
                                                          x
                                                          x
                                                          x
------------------------------------------------------ --x


        With knowledge of its own actions and on information and belief as to the actions of the

defendants, plaintiff State of New York, by its attorney Letitia James, Attorney General of the State

of New York, respectfully alleges as follows:

                                              INTRODUCTION

        1.       This case involves the ongoing illegal distribution, shipment, and sale of contraband

cigarettes. Defendants Grand River Enterprises Six Nations, Ltd. (“Grand River,” or “GRE”) and

Native Wholesale Supply Co., Inc. (“Native Wholesale,” or “NWS”) have sold, shipped, and

distributed, and continue to sell, ship, and distribute, large quantities of unstamped and unreported

cigarettes into the State of New York as part of a joint venture.

        2.       Defendants’ actions undermine New York’s public health efforts and violate

numerous state and federal laws, including the Contraband Cigarette Trafficking Act, 18 U.S.C. §§
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2341-2346 (the “CCTA”); the Prevent All Cigarette Trafficking Act (“PACT Act”), 15 U.S.C. §§

375-378; New York Public Health Law § 1399-ll; and New York Tax Law §§ 471, 1814, and 480-b.

          3.    In bringing this civil action for defendants’ violations of these laws, plaintiff

respectfully requests this Court for an order (1) enjoining the defendants from making such sales and

shipments in and into the State of New York; (2) granting plaintiff’s request for damages, civil

penalties, attorney fees, and costs; and (3) granting any additional relief that this Court deems

proper.

                                  JURISDICTION AND VENUE

          4.    Pursuant to 28 U.S.C. § 1331, 18 U.S.C. § 2346, and 15 U.S.C. § 378, this Court has

original jurisdiction over plaintiff’s claims made under the CCTA and the PACT Act.

          5.    Pursuant to 28 U.S.C. § 1367, this Court has supplemental jurisdiction over plaintiff’s

state law claims. These claims are so related to the plaintiff’s CCTA and PACT Act claims that they

form part of the same case or controversy under Article III of the United States Constitution.

          6.    Pursuant to 28 U.S.C. § 1391(b), venue within this judicial district is proper. A

substantial part of the events or omissions giving rise to the claims occurred within this judicial

district, and these events are material to plaintiff’s claims.

                                              PARTIES

          7.    Plaintiff State of New York is a sovereign entity that brings this action on behalf of its

citizens and residents to protect public health, safety, and welfare, and to enforce federal and state

law for that purpose.

          8.    Defendant Grand River Enterprises Six Nations, Ltd. is a corporation formed under

the laws of the Six Nations of Indians. Grand River is engaged in the business of manufacturing,

selling, transferring, transporting and shipping its cigarettes for profit throughout the United States,




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including in and into New York. Its principal place of business is located at Ohsweken, Ontario,

Canada.

        9.      Defendant Native Wholesale is a corporation formed under the laws of the Sac and

Fox Nation of Oklahoma. Native Wholesale is a for-profit corporation, and is not controlled by the

Sac and Fox Nation of Oklahoma tribe or operated for government purposes. Native Wholesale is

engaged in the business of purchasing, transporting, distributing and reselling Grand River tobacco

products for profit throughout the United States, including in New York. Its principal place of

business is located at 10955 Logan Road, Perrysburg, New York.

        10.     Upon information and belief, based upon documents filed by Grand River in an

arbitration it initiated pursuant to the North American Free Trade Agreement (“NAFTA”), as well

as, inter alia, other documentation filed in Native Wholesale’s bankruptcy proceedings in the United

States Bankruptcy Court for the Western District of New York, defendants Grand River and Native

Wholesale acted, and continue to act, in concert as joint venturers in conducting business in New

York in violation of state and federal law. Though they may be separate legal entities, they

purposefully act as a single enterprise whose purpose is to manufacture and distribute tobacco

products, specifically Seneca, Couture, and Opal brand cigarettes, into the New York market. As co-

venturers, each of their principals share in the profits of both entities, deriving their income from the

enterprise relationship between Grand River and Native Wholesale, and, upon information and

belief, correspondingly share in any losses of the joint venture. The income and profits from the

partnership are shared through an informal allocation process which distributes profits to defendants’

companies and their owners and shareholders. Grand River is the manufacturer of the Seneca,

Couture, and Opal brand cigarettes. By their own admission, the only tobacco products Native

Wholesale imports into the United States are those which are manufactured by Grand River. Upon




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information and belief, Native Wholesale was Grand River’s sole importer and distributer of Seneca,

Couture, and Opal brand cigarettes to Indian lands in New York and remains a primary importer of

Seneca, Couture, and Opal brand cigarettes to the present. Upon information and belief, Native

Wholesale does not import or distribute any other brand of cigarette in New York besides Seneca,

Couture, and Opal, and furthermore holds the Seneca brand trademark, which it has granted to Grand

River, the exclusive right to use and sublicense within the United States. See Grand River

Enterprises Six Nations, Ltd. v. National Distributors, Inc., Case No. 1:16-cv-0423, Compl., ¶ 11

(N.D. Ga) (filed Feb. 11, 2016). Grand River also holds the Couture and Opal brand trademarks.

See Justia Trademarks, OPAL – Trademark Details (Status Date Oct. 11, 2018), available at

https://trademarks.justia.com/873/10/opal-87310030.html; Justia Trademarks, COUTURE –

Trademark        Details     (Status      Date       Feb.     24,      2016),     available     at

https://trademarks.justia.com/776/37/couture-77637740.html. Each defendant’s activity, collectively

and individually, violates the state and federal laws referenced herein.

                                  FACTUAL BACKGROUND

         11.    Cigarettes are a deadly and costly public health problem. Smoking causes a host of

crippling and deadly diseases, including cardiovascular disease, coronary heart disease, emphysema,

aortic aneurysms, and a wide range of cancers. Report on the Global Tobacco Epidemic 8 (WHO

2008 Reports). 1 Each year, tobacco-related illnesses kill approximately 440,000 people in the

United States. CDC, Smoking-Attributable Mortality, Years of Potential Life Lost, and Productivity

Losses--United States, 2000-2004 (2008); 2 Statement of Vice Admiral Richard H. Carmona, U.S.

Surgeon General, reprinted at 155 Cong Rec. S6000 (June 3, 2009). In other words, tobacco kills

more people than AIDS, alcohol, drug abuse, car crashes, murders, suicides, and fires combined.

1
    Available at http://www.who.int/tobacco/mpower/en/.
2
    Available at http://www.cdc.gov/mmwr/preview/mmwrhtml/mm5745a3.htm.


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          12.    Children are particularly vulnerable to the dangers of tobacco. As the Supreme Court

has observed, “tobacco use, particularly among children and adolescents, poses perhaps the single

most significant threat to public health in the United States.” FDA v. Brown & Williamson Tobacco

Corp., 529 U.S. 120, 161 (2000). "Everyday, approximately 4,000 children under age 18 experiment

with cigarettes for the first time; another 1,500 become regular smokers. Of those who become

regular smokers, about half eventually die from a disease caused by tobacco use.” President’s

Cancer Panel, “Promoting Healthy Lifestyles,” at 64 (2007). 3 In addition, tobacco use may function

as a “gateway drug” to the use of illegal substances such as cocaine and heroin. See, e.g., Shenghan

Lai et al., The Association Between Cigarette Smoking and Drug Abuse in the United States, J. of

Addictive Diseases, Dec. 2000, at 11.

          13.    Tobacco is also a substantial drain on the public fisc. Tobacco-related disease and

death cost $193 billion a year in health-care spending and loss of productivity. Smoking-Attributable

Mortality, Years of Potential Life Lost, and Productivity Losses—United States, 2000-2004, supra.

Smoking costs the Medicaid program an estimated $30 billion annually and the Medicare program

an estimated $27 million. CDC, Sustaining State Programs for Tobacco Control: Data Highlights

2006, at 17 (Medicaid) 4; Xiulan Zhang et al., Cost of Smoking to Medicare Program, 1993, 20

Health Care Financing Rev. 1-19 (1999) (Medicare).

          14.    Given these enormous public-health and economic costs associated with tobacco, the

states and federal government have a strong interest in regulating the sale and use of tobacco.

          15.    In New York, such regulations take several forms. See, e.g., N.Y. Pub. Health Law §

1399-ll (banning delivery of cigarettes to consumers); see also N.Y. Tax Law §§ 480 (licensing of

3
    Available at http://deainfo.nci.nih.gov/advisory/pcp/ pcp07rpt/pcp07rpt.pdf.
4
 Available at
http://www.cdc.gov/tobacco/data_statistics/state_data/data_highlights/2006/pdfs/dataHighlights0
6rev.pdf.


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wholesalers), 480-a (registration of retail dealers); N.Y. Pub. Health Law §§ 1399-ll(3) (labeling),

1399-cc (age-verification); N.Y. Tax Law §§ 483-489 (marketing); N.Y. Exec. Law § 156-c (fire

safety standards); see also, generally, N.Y. Pub. Health Law §§ 1399-aa-1399-mm.

         16.     One such regulation is the taxing of cigarettes possessed for sale within the state. See

N.Y. Tax Law § 471(1).

         17.     New York imposes such a tax because “[i]t is well established that an increase in the

price of cigarettes decreases their use and that raising tobacco excise taxes is one of the most

effective policies for reducing the use of tobacco.” Inst. of Med., Ending the Tobacco Problem: A

Blueprint for the Nation 80, 182 (2007); Report of the Surgeon General, How Tobacco Smoke

Causes Disease: The Biology and Behavioral Basis for Smoking-Attributable Disease, at 654

(2010) 5 (noting that "increases in the price of cigarettes through excise taxes […] are an effective

policy intervention to prevent smoking initiation among adolescents and young adults, reduce

cigarette consumption, and increase the number of smokers who quit").

         18.     It is estimated that a ten-percent increase in prices reduces cigarette demand among

adults by three to five percent. Frank J. Chaloupka & Rosalie Liccardo Pecula, The Impact of Price

on Youth Tobacco Use, National Cancer Institute Monograph No. 14, at 194 (Nov. 2001). 6 Youth

response to price increases is even greater; a ten-percent uptick in cigarette prices is estimated to

reduce the number of youth smokers by at least six or seven percent. See Prevent All Cigarette

Trafficking Act of 2007, and the Smuggled Tobacco Prevention Act of 2008: Hearing Before the

Subcomm. on Crime, Terrorism, and Homeland Security of the H. Comm. on the Judiciary, 110

Cong. 50, 52 (May 1, 2008) (Statement of Matthew L. Myers, President, Campaign for Tobacco-

Free Kids).

5
    Available at http://www.surgeongeneral.gov/library/tobaccosmoke/report/chapter9.pdf.
6
    Available at http://cancercontrol.cancer.govTCRB/ monographs/14/m14_12.pdf.


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       19.     Indeed, “[i]t is well established that an increase in the price of cigarettes decreases

their use and that raising tobacco excise taxes is one of the most effective policies for reducing the

use of tobacco.” Inst. of Med., Ending the Tobacco Problem: A Blueprint for the Nation 80, 182

(2007). Furthermore, “limit[ing] smuggling and the availability of untaxed tobacco products is

essential to maximizing the effectiveness of higher taxes in reducing tobacco use[.]” Report of the

Surgeon General, How Tobacco Smoke Causes Disease: The Biology and Behavioral Basis for

Smoking-Attributable Disease (2010), at 654.

       20.     The federal government also imposes a cigarette tax, and has legislated other

regulations and restrictions pertaining to the sale and advertising of cigarettes. See, e.g., Family

Smoking Prevention and Tobacco Control Act of 2009, Pub. L. No. 111-31 (authorizing the federal

Food and Drug Administration to regulate the content, marketing and sale of tobacco products);

Federal Cigarette Labeling and Advertising Act, 15 U.S.C. §§ 1331-1341.

       21.     The two federal statutes of importance in this case, the CCTA and the PACT Act,

assist the States with enforcing their own tobacco laws.

                                STATUTORY BACKGROUND

New York Tax Law

       22.     New York Tax Law § 471 (“Section 471”) imposes an excise tax on all cigarettes

possessed for sale within the State.

       23.     Section 471(1) requires that tax be paid on “all cigarettes possessed in the state by any

person for sale,” unless the state lacks the power to tax. The state lacks the power to tax when

cigarettes are sold “to qualified Indians for their own use and consumption on their nations’ or

tribes’ qualified reservation,” or sold to the United States government or armed forces. N.Y. Tax L.

§ 471(1).




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        24.    The cigarette excise tax and prepaid sales tax are advanced and paid by state-licensed

cigarette stamping agents. N.Y. Tax Law §§ 471(2) and 1103; N.Y. Comp. Codes R. & R.

(“NYCRR”) tit. 20, § 74.1(b)(1). A stamping agent must be a person licensed by the Commissioner

of Taxation and Finance to purchase tax stamps and to affix tax stamps to packages of cigarettes.

N.Y. Tax Law §§ 470(11) and 472(1); 20 NYCRR § 70.2(g)(1).

        25.    The amount of the cigarette excise tax and prepaid sales tax, the payment of both of

which is evidenced by the affixation of a state cigarette tax stamp to each pack, is added to, and

collected as a part of, the stamping agent’s sale price of the cigarettes to subsequent dealers or the

consumer. N.Y. Tax Law §§ 471(2) & (3), and 1103; 20 NYRCC § 74.1(b)(1). Every dealer

receiving stamped packages of cigarettes shall, in turn, advance and pay the cigarette taxes as part of

such dealer’s purchase price and shall pass the taxes through to subsequent purchasers as part of

such dealer’s sale price. N.Y. Tax Law §§ 471(2) & (3); 20 NYCRR § 74.1(b)(2).

        26.    With exceptions not relevant here, all cigarettes possessed for sale in New York must

be stamped. Section 471 requires that the tax be prepaid by stamping agents, and that packages of

cigarettes possessed for sale within the State bear a tax stamp affixed by such an agent. The tax

stamps serve as evidence that the cigarette excise tax has been paid. See N.Y. Tax L. §§ 471(2) and

473.

        27.    The only entities licensed by the state to receive and possess unstamped cigarettes and

to purchase and affix tax stamps to cigarette packages are New York State-licensed stamping agents.

With exceptions not relevant here, any manufacturer or importer shipping unstamped cigarettes in or

into New York to anyone other than a state-licensed stamping agent is in violation of Section 471(1).

The possession in New York State by any person other than a licensed New York stamping agent or




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distributor 7 of more than four hundred (400) unstamped cigarettes at any one time is presumptive

evidence that the cigarettes are subject to tax. N.Y. Tax Law § 481(2)(a).

       28.     At all times relevant to this Complaint, the New York State cigarette excise tax has

been $4.35 per pack for a New York state tax stamp, or $43.50 per carton of ten packs.

       29.     Notably, under N.Y. Tax Law § 471(1), “[i]t shall be presumed that all cigarettes

within the state are subject to tax until the contrary is established, and the burden of proof that any

cigarettes are not taxable [t]hereunder shall be upon the person in possession thereof.”

       30.     Historically, despite having the power to tax on-reservation sales of cigarettes to the

public (i.e., to persons who were not members of the tribe on whose reservation the cigarettes were

being sold), see Dep’t of Taxation & Fin. of N.Y. v. Milhelm Attea & Bros., 512 U.S. 61 (1994), the

New York State Department of Taxation and Finance (the Department) had adopted a long-standing

policy of forbearance that allowed untaxed cigarettes to be sold from New York State licensed

cigarette stamping agents to recognized Indian Nations or tribes and reservation cigarette sellers

making retail sales on qualified Indian reservations.”

       31.     On February 23, 2010, the New York Department of Taxation and Finance (“DTF”)

revoked its forbearance policy and sought to collect taxes on reservation cigarette sales to non-

members of the nation or tribe and to non-Indians.



7
  “Distributor” is defined as any person who imports or causes to be imported into New York any
“tobacco product” for sale, and any person within or without the state who is authorized by the
Commissioner of Taxation and Finance to make returns and pay the tax on “tobacco products”
sold, shipped or delivered by him to any person in the state. N.Y. Tax Law § 470(12). “Tobacco
product”, in turn, is defined as “[a]ny cigar … or tobacco, other than cigarettes, intended for
consumption by smoking, chewing or snuff.” Id. § 470(2) (emphasis added). As defendants
specifically sell cigarettes, they are not “distributors” under the Tax Law. Because defendants
are neither stamping agents nor distributors, they are not exempted from Section 481(2)’s
presumption that possession of more than 400 unstamped cigarettes in New York State means
that the cigarettes are subject to tax.


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       32.     On June 21, 2010, a bill was signed amending, among other statutes, New York Tax

Law §§ 471 and 471-e (collectively, the “amended tax law”). 2010 Sess. Law News of N.Y. Ch.

134, Part D and Ch. 136. The amendment reflected the revocation of the forbearance policy and

provides for two alternative systems to ensure that members of an Indian nation or tribe can buy

cigarettes tax-free on their own reservation for their own personal use. The amended tax law became

effective on September 1, 2010, but was preliminarily enjoined. The injunction was lifted, and

implementation of the amended tax law began on June 21, 2011.

       33.     The amended tax law continues to require state-licensed stamping agents to prepay

the excise and sales taxes and to affix tax stamps on all cigarette packs transported to, and sold for

resale on, Indian reservations, including those cigarettes intended for resale to tax-exempt tribal

members.

       34.     Under the 2010 Amendments, DTF issued a “Technical Memorandum” explaining

aspects of the new taxation scheme. Under the amended tax law and the corresponding regulations,

stamping agents are required to collect both the excise and prepaid sales tax for all cigarettes

transported to and sold for resale on an Indian reservation to non-Indians and non-members of the

Indian Nation or tribe. Though stamped, cigarettes sold to members of the Indian Nation or tribe for

their own personal use are tax-exempt.

       35.     The amended Sections 471 and 471-e establish two alternative mechanisms by which

Indian nations or tribes can make appropriate quantities of tax-exempt cigarettes available to their

members for their personal use and consumption. These alternatives are referred to, respectively, as

the Indian tax-exemption coupon system, and the prior approval system. Both of these systems

contemplate that qualified members may obtain tax-stamped but tax-free cigarettes for their personal

use. The tax is pre-paid by the stamping agent and a tax stamp is affixed. The tax-stamped




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cigarettes are rendered tax-free by means of a refund to the licensed stamping agents of the taxes

paid. To prevent non-exempt purchasers from obtaining tax-free cigarettes, thus evading the tax, the

amended tax law limits the quantity of tax-free cigarettes that may be sold to Indian nations, tribes,

and tribal retailers, based on each tribe’s “probable demand,” which is based on tribal population and

the United States averages of cigarette consumption per-capita. See Section 471-e(2)(b).

        36.     The amended tax law was scheduled to take effect September 1, 2010; however,

temporary restraining orders were issued and in effect until June 21, 2011, when the last of the

restraining orders was vacated by the New York Appellate Division, Fourth Department, in Seneca

Nation of Indians, et al v. State of New York, et al, Docket # CA 11-01193. See also Oneida v.

Paterson, 645 F.3d 154 (2d Cir. 2011) (affirming district court orders which denied motions for

preliminary injunctions of amended tax law and vacating district court order which preliminarily

enjoined the amended tax law). The amended tax law thus went into effect on June 21, 2011.

        37.     Under the amended tax law, any cigarettes transported to qualified reservations for

sale must have a cigarette tax stamp affixed to the package.

        38.     As a result, cigarettes shipped, delivered, or otherwise transferred to reservations in

New York State by manufacturers, distributors, wholesalers, or stamping agents, must be tax

stamped, regardless of whether they are to be sold to an Indian nation or tribe or its members or

reservation cigarette sellers.

        39.     Furthermore, Executive Law § 63(12) empowers the Attorney General to seek

injunctive relief, restitution, damages, and costs when any person or business entity has engaged in

or otherwise demonstrated repeated fraudulent or illegal acts in the transaction of business.




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The Contraband Cigarette Trafficking Act (“The CCTA”)

       40.     The Contraband Cigarette Trafficking Act focuses on large-scale smuggling by

making it a felony, punishable by up to five years of imprisonment, for any unauthorized person to

ship, transport, receive, possess, sell, distribute or purchase more than 10,000 cigarettes that do not

bear the tax stamp of the jurisdiction in which they are found. 18 U.S.C. §§ 2341(2), 2342.

       41.     The CCTA authorizes a State, through its attorney general, to obtain appropriate relief

for CCTA violations from any person (or by any person controlling such person), which includes

seeking civil penalties, money damages, and injunctive or other equitable relief. 18 U.S.C. §§

2346(b)(2) and (b)(3).

       42.     The CCTA provides that “[i]t shall be unlawful for any person knowingly to ship,

transport, receive, possess, sell, distribute, or purchase contraband cigarettes or contraband

smokeless tobacco.” 18 U.S.C. § 2342(a). “Contraband cigarettes” are:

               a quantity in excess of 10,000 cigarettes, which bear no evidence of
               the payment of applicable State or local cigarette taxes in the State or
               locality where such cigarettes are found, if the State or local
               government requires a stamp, impression, or other indication to be
               placed on packages or other containers of cigarettes to evidence
               payment of cigarette taxes, and which are in the possession of any
               person…..

18 U.S.C. § 2341(2).

       43.     The Second Circuit has recognized four elements to a CCTA violation: “that a party

(1) knowingly ship, transport, receive, possess, sell, distribute or purchase (2) more than 10,000

cigarettes (3) that do not bear tax stamps, (4) under circumstances where state or local cigarette tax

law requires the cigarettes to bear such stamps.” City of New York v. Golden Feather Smoke Shop,

Inc., 2009 U.S. Dist. LEXIS 20953, at *33 (E.D.N.Y. March 16, 2009) (citing City of New York v.

Milhelm Attea & Bros., Inc., 550 F. Supp. 2d 332, 345 - 46 (E.D.N.Y. 2008)). Accordingly, a CCTA




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violation occurs when any person engages in transactions with the requisite quantity of cigarettes

that do not bear a tax stamp required by law. If a jurisdiction imposes a cigarette tax, and uses

stamps to evidence payment of that tax, statutory quantities of unstamped cigarettes present in that

jurisdiction are “contraband cigarettes.” See City of New York v. Golden Feather, 597 F.3d 115,

120-21 (2d Cir. 2010). “[T]he definition of ‘contraband cigarettes’ depends only upon the absence

of indicia of state tax payment and location in a state requiring such indicia.” United States v.

Elshenawy, 801 F.2d 856, 858 (6th Cir. 1986); see United States v. Approximately Three Million Six

Hundred Nine Thousand Eight Hundred Twenty Cigarettes of Assorted Brands, 2009 WL 773868, at

*5 (W.D. Wash. Mar. 20, 2009) (“Because…state taxes were required on the cigarettes, and state

law always required stamps indicating the payment of applicable state taxes, the cigarettes are

contraband under 18 U.S.C. § 2341(2).”). CCTA liability is imposed whether or not a person has

any statutory duty connected to payment of the tax. “The federal statute makes it a crime for any

person knowingly to possess contraband cigarettes.…The [CCTA] does not apply only to the person

whom the state law requires to pay the stamps [sic], but to anyone who possesses more than [1]0,000

cigarettes without the stamp in violation of the state tax law.” United States v. Skoczen, 405 F.3d

537, 547 (7th Cir. 2005) (emphasis added).

       44.     Manufacturers are required to know whether the persons to whom they ship cigarettes

for sale in New York are licensed stamping agents, because simply put, such agents are the only

persons to whom unstamped cigarettes are permitted to be sold in the first instance, even if the

cigarettes are ultimately bound for an Indian reservation. See N.Y. Comp. Codes. R & R., tit. 20, §

74.3(a)(1)(iii); N.Y. Tax Law §§ 471 and 471(2); see also United States v. Elshenawy, 801 F.2d at

859 & n.3 (given the high probability of regulation when dealing in large quantities of cigarettes,

persons dealing with such quantities, as opposed to casual smugglers, are presumed to know




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cigarette tax requirements and regulations) (citation omitted)); United States v. Baker, 63 F.3d 1478,

1492 (9th Cir. 1995) (knowledge of cigarette tax requirements can be presumed when dealing with

statutory quantities of cigarettes under CCTA).

The PACT Act

       45.     The PACT Act amended its predecessor, the Jenkins Act, 15 U.S.C. §§ 375-378

(1955). The Jenkins Act required any person who sold and shipped cigarettes across a state line or

Indian reservation to a buyer other than a licensed distributor (typically a state-licensed tax stamping

agent) to report the sale to the buyer’s state tobacco tax administrator. Failure to comply with the

Jenkins Act’s requirements constituted a federal misdemeanor; violators were subject to fines and up

to six months’ imprisonment. See former 15 U.S.C. § 377 (1955).

       46.     On June 30, 2010, the PACT Act amended the Jenkins Act by imposing broader and

stricter regulations and penalties for interstate sales and shipments of cigarettes. For instance, the

PACT Act makes it unlawful to deliver cigarettes and smokeless tobacco through the U.S. Postal

Service. 18 U.S.C. § 1716E.

       47.     The PACT Act requires any person who “sells, transfers, or ships for profit cigarettes

… in interstate commerce, whereby such cigarettes … are shipped into a State … taxing the sale or

use of cigarettes” to first register with both the Attorney General of the United States and with the

tobacco tax administrator of the State into which such shipment is made. 15 U.S.C. § 376(a)(1).

The registration statement must include the registrant’s “name and trade name (if any), and the

address of his principal place of business and of any other place of business, as well as telephone

numbers of each place of business, a principal [email] address, any website addresses, and the name,

address and telephone number of an agent in the State authorized to accept service on behalf of the

person.”




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       48.     In addition to registration with the state tobacco tax administrator, the registrant must

file monthly reports with such administrator detailing every shipment of cigarettes made in the

previous calendar month into the State, including the name and address of the recipient, the brand

and quantity of cigarettes in each shipment, and the address and phone number of the person

delivering the shipment to the recipient. 15 U.S.C. § 376(a)(2).

       49.     Notably, the PACT Act broadly defines “person” as “an individual, corporation,

company . . . Indian tribal government, governmental organization of such a government, or joint

stock company,” and “interstate commerce” as “commerce between a State and any place outside the

State, commerce between a State and any Indian country in the State, or commerce between points

in the same State but through any place outside the State or through any Indian county.” 15 U.S.C.

§ 375(9) and (10) (emphasis added).

       50.     Moreover, Native American wholesalers, distributors, or delivery sellers are included

in the definition of “persons” under the PACT Act and are required to make the requisite

registrations under the PACT Act, even if they are transferring, selling or shipping for profit

cigarettes to other Native American wholesalers, distributors, or delivery sellers or otherwise.

       51.     Penalties for violations of the PACT Act were increased to up to three years in prison,

and civil penalties are recoverable, as well as “any other damages, equitable relief, or injunctive

relief …, including the payment of any unpaid taxes to the appropriate Federal, State, local, or tribal

governments.” 15 U.S.C. § 377.

       52.     The States were also given the power to enforce the Act's provisions. 15 U.S.C.

§ 378(c).




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New York Tobacco Product Manufacturer Certification Statute

          53.    Under New York law, “[e]very tobacco product manufacturer … whose cigarettes are

sold for consumption in this state shall annually certify under penalty of perjury that, as of the date

of such certification, such tobacco product manufacturer: (a) is a participating manufacturer [in the

nationwide 1998 Tobacco Master Settlement Agreement (“MSA”)]; or (b) is in full compliance with

subdivision two of section thirteen hundred ninety-nine-pp of the public health law.” N.Y. Tax L. §

480-b(1) (“Section 480-b”). New York Public Health Law § 1399-pp requires that manufacturers

not participating in the MSA pay a certain amount into an escrow fund for each cigarette it sells in

the state, roughly equal to the amount it would pay in an annual settlement payment under the MSA

if it were a participating manufacturer.

          54.    The annual certification under Section 480-b “shall be executed and delivered to the

commissioner [of Taxation and Finance], the attorney general and any agent who affixes New York

state cigarette tax stamps to cigarettes of such tobacco product manufacturer, no earlier than the

sixteenth day of April and no later than the thirtieth day of April of each year, and shall be

accompanied by a list setting forth each of the cigarette brands of such tobacco product manufacturer

sold for consumption in New York state.” N.Y. Tax L. § 480-b(1).



                                      Actions of the Defendants

          55.    At all relevant times, Grand River has been registered with the Province of Ontario,

Ministry of Finance, as a Canadian tobacco products exporter. See, e.g., Ontario Tobacco Tax

Registrant List (last visited Apr. 11, 2019). 8 As a registered exporter, Grand River manufactures

specific brands of tobacco products for export into the United States, specifically the cigarette brands


8
    Available at https://www.ontario.ca/data/tobacco-tax-registrant-list.


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Seneca, Couture, and Opal. Grand River must also provide a security to the Ontario Ministry of

Finance (e.g., with a surety bond or letter of credit), as well as provide monthly reports concerning

its exported tobacco products. Grand River is not responsible, however, for paying the Ontario

tobacco tax on its exported tobacco products. See Ontario Ministry of Finance, Tobacco Tax (last

modified July 3, 2018). 9

             a. Grand River’s primary distributor and wholesaler of cigarettes within the United

                 States is defendant Native Wholesale Supply Company Inc., a company located in

                 Western New York. Native Wholesale’s business model is based on purchasing its

                 entire cigarette and tobacco product inventory from Grand River, directing where

                 such cigarettes and tobacco products should be delivered, and paying Grand River

                 for such shipments to various tribal wholesalers, dealers, and retailers.

             b. Native Wholesale would typically place each order of cigarettes with Grand River by

                 means of a telephone or other method of voice transmission, the mails, or the Internet

                 or other online service, and would otherwise not be in the physical presence of Grand

                 River when making a request for purchase or order.

             c. From approximately 2006 through May 2013, as part of this joint venture, Grand

                 River then sold, transferred or assigned the cigarettes to Native Wholesale FOB

                 Canada.

             d. Beginning on or about June 1, 2013, Grand River and Native Wholesale would agree

                 to ship, deliver, transport, and otherwise distribute such purchased cigarettes to

                 different locations throughout New York State, to persons that were not otherwise

                 licensed or authorized to possess such unstamped, untaxed cigarettes. For these


9
    Available at https://www.fin.gov.on.ca/en/tax/tt/.


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               shipments, Grand River would arrange and pay for the transportation of its cigarettes

               and other tobacco products by using a Canadian-registered inter-jurisdictional

               transporter (i.e., common carrier, private delivery service, or other method of remote

               delivery).

                   i. With each shipment of cigarettes, Grand River would include a bill of lading

                      or invoice on Grand River letterhead, identifying, inter alia, the brands and

                      quantities of cigarettes and tobacco products being delivered, the purchaser

                      Native Wholesale, and the entity and address to whom such unstamped

                      cigarettes were to be shipped to. And, each Grand River invoice would

                      identify the “FOB Point” for each sale to Native Wholesale (P.O. Box 214,

                      Gowanda, New York 14070) as being either “THEIR DOCK,” “Your Dock,”

                      or “DESTINATION”—i.e., an address location within the State of New

                      York.

                   ii. During such time, Grand River delivered and possessed such cigarettes while

                      in New York State. Such cigarettes were furthermore unstamped, and were

                      delivered by Grand River in interstate commerce, in quantities in excess of

                      10,000 cigarettes or more.

       56.     Native Wholesale, upon the receipt of Grand River’s unstamped cigarettes, would

then distribute the cigarettes inside the United States, including in New York State.

       57.     Native Wholesale would also arrange to deliver, sell, ship, transport, distribute and

transfer cigarettes (purchased from Grand River) from its own premises (i.e., Native Wholesale’s

premises) to other entities located throughout New York State and the United States, including and

not limited to Lake Erie Tobacco Company (New York), Lakeside Enterprises (New York), and




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Seneca Distributions (New York). Native Wholesale would typically receive each order for

cigarettes from a customer by means of a telephone or other method of voice transmission, the mails,

or the Internet or other online service, and would otherwise not be in the physical presence of the

above-identified customer when such entity was making a request for purchase or order. Native

Wholesale would furthermore arrange to make such deliveries through a common carrier, private

delivery service, or other method of remote delivery, such as United Parcel Service, Inc. (“UPS”),

FedEx Ground / Freight, or else Native Wholesale’s agent, Seneca Promotions, which is located at

the same address location as Native Wholesale and which had the same primary contact. See New

York v. UPS, 253 F. Supp. 3d 583, 648–49 (S.D.N.Y. 2017), appeal filed, No. 17-1993(L) (2d Cir.).

As explained by Judge Forrest, following a 2016 bench trial involving the delivery of contraband

cigarettes by UPS:

               UPS opened an account for Seneca Promotions on May 31, 2013.
               (See PX 553.) The account was located at 10955 Logan Road,
               Perrysburg, New York, on the Seneca Cattaraugus reservation.
               (Fink Decl., DX 602 ¶ 80.) While Seneca Promotions has a
               corporate address at 464 Franklin Street, Buffalo, New York,
               UPS’s pickups were from the residential address located in
               Perrysburg. (Id.) Seneca Promotions remains a UPS account.

               The location for Seneca Promotions is the same as that for Native
               Wholesale Supply (11037 Old Logan Road and 10955 Logan Road
               are geographically the same). (Logan Dep. Tr. 103:16–108:3; PX
               400.) The account contacts were also the same for both accounts.
               (Fink Decl., DX 602 ¶ 81.) Even Fink conceded that he believed
               there was some affiliation. (Id.)

               Seneca Promotions paid for certain of Native Wholesale Supply’s
               shipments, including the April 18, 2013 shipment of pallets to HCI,
               one of the largest tribal cigarette and tobacco distributors. According
               to Cook, Seneca Promotions was, itself, a low-volume shipper.
               However, between July 2013 and October 2014, it used UPS to ship
               over 12,800 pounds of freight to entities such as “Blue Ridge
               Tobacco Co.,” “Tobaccoville,” “Tobacco Town,” “Arrowhead
               Tobacco,” and HCI Distribution. (PX 424.) Seneca Promotions also
               used UPS to ship over 30,000 pounds of freight between September
               2013 and February 2015 (under the name “ERW Enterprises,” to


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                companies identified as “Tobaccoville,” “Seneca Direct,” and
                “Tobacco Town”). (PX 546.) UPS in fact shipped packages from
                Seneca Promotion to HCI Distribution—ten months after Cook had
                instructed UPS personnel to “stay clear of any and all businesses
                associated” with “tobacco shipper” HCI Distribution. (PX 182.)

UPS, 253 F. Supp. 3d at 648; See id. at 648 n. 99 (noting that Seneca Promotions had “a principal /

agent relationship with Native Wholesale Supply and acted in concert with Native Wholesale

Supply”).

        58.     At all relevant times, the defendants have knowingly shipped, transported,

transferred, sold and distributed millions of unstamped and unreported cigarettes to various on-

reservation wholesalers in New York State, such as Seneca Imports, Tonawanda Seneca Nation

Distribution, and Tuscarora Nation, among others. Such continuing actions by defendants constitute

violations of Sections 471 and 480-b of the New York Tax Law. Defendant Grand River has

shipped, transported, transferred, sold and distributed cigarettes to Native Wholesale, an entity that is

not a New York State licensed stamping agent. These Grand River cigarettes were not tax stamped

and were intended for sale in and into the state of New York.

        59.     Native Wholesale, having purchased cigarettes directly from Grand River and not

through a New York State licensed stamping agent as required, received and possessed unstamped

and untaxed cigarettes in violation of the CCTA and New York State Tax Law Section 471. Native

Wholesale then proceeded to sell these untaxed and unstamped cigarettes to reservation cigarette

retailers in New York in further violation of these federal and state laws.

        60.     Based on the prior course of dealings between Grand River and Native Wholesale,

defendant Grand River knew and in fact intended that the cigarettes it sold to Native Wholesale

would be sold into New York without going through a New York State licensed stamping agent for

pre-payment of the state taxes, and thus would be neither stamped nor taxed as required under New

York law.


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       61.     Large quantities of these contraband Grand River cigarettes have been offered for sale

at several reservation cigarette retailers in New York State, including Hank’s Smoke Shop in

Lewiston, Lake Erie Tobacco in Buck Kill, Onondaga Nation Smoke Shop in Onondaga, OJ’s

Smoke shop in Steamburg, Steamburg Smoke shop in Cattaraugus, Arrowhawk Smoke Shop in

Basom, Rising Native Sisters in Mastic, Turning Stone Casino in Oneida, and Mikey G’s in

Cattaraugus, among others.

       62.     In the period from November 22, 2011 through February 2013, Native Wholesale

paid $47,323,758 to Grand River, which includes amounts paid to purchase cigarettes from Grand

River. For the same time period, invoices indicate that Native Wholesale sold or distributed some or

all of these Grand River cigarettes to on-reservation wholesalers, such as Seneca Imports,

Tonawanda Seneca Nation Distribution, and Tuscarora Nation, amounting to over $221,254,107.

       63.     Further, these payments by Native Wholesale to Grand River, as well as Native

Wholesale’s distribution to on-reservation wholesalers, continued after February 2013, until as

recently as February 2019, as evidenced by the most recent operating report filed by Native

Wholesale in their Chapter 11 bankruptcy proceeding on April 9, 2019.

       64.     None of defendants’ cigarette packages was stamped with the required New York

State cigarette excise tax stamp, and none was reported to DTF.

       65.     In addition, no New York state-licensed stamping agent has reported any sales of

Grand River brand cigarettes to DTF.

“Joint Venture” Between Grand River and Native Wholesale to Do Business in New York

       66.     At all times, defendants have engaged in this conduct of manufacturing, selling and

distributing cigarettes in New York as a single enterprise, i.e., as a joint venture. Grand River




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furthermore knew of and actively supported Native Wholesale’s sales, as well as the subsequent

distribution of Grand River’s cigarettes. Grand River did so in several ways. For example—

          a. Grand River and Native Wholesale agreed that Grand River’s Chief Financial Officer

              and Principal Representative, Bryan Porter, would also be Native Wholesale’s

              manager.

          b. Grand River also loaned Native Wholesale “approximately $19,200,000,” which “is

              secured by blanket lien” on all of Native Wholesale’s assets. This amount is

              significant, given that Native Wholesale’s reported “Cash” at the end of March 2018,

              was just over $32 million. See Monthly Operating Rept. (Mar. 1–31, 2018), Ch. 11

              Post-Confirmation Schedule of Receipts and Disbursements, Attachment No. 2, In re

              Native Wholesale Supply Co., Case No. 11-14009-CLB (U.S. Bankr. Ct., W.D.N.Y.).

              Notably, Grand River is the “only secured creditor” in the bankruptcy.

          c. Between 2008 and 2012, Grand River and Native Wholesale hosted annual galas also

              known as Customer Appreciation Events in Las Vegas, Nevada, and the Bahamas.

              The purpose of such galas was to advertise, market, and promote Grand River

              cigarettes and Native Wholesale’s sale of such cigarettes, and to thank Grand River

              and Native Wholesale’s customers for purchasing, distributing, and selling Grand

              River’s cigarettes. Attendees for these galas included defendants’ employees,

              owners, owners’ family members, customers, and retailers. During this time, Grand

              River and Native Wholesale shared such costs equally.

          d. Grand River and Native Wholesale also agreed that on or about January 1, 2013,

              Grand River would assume all advertising, marketing, and promotional activities for

              its cigarettes and tobacco products in the United States. See Exh. B (ECF No. 1095–




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        2; Dec. 7, 2016 Letter from Craig T. Lutterbein to Native Wholesale et al.), In re

        Native Wholesale Supply Company, Case No. 11-14009-CLB (U.S. Bankr. Ct.,

        W.D.N.Y.) (“Native Wholesale Bankr.”). Accordingly—

            i. Grand River and Native Wholesale agreed that beginning on or about January

               1, 2013, Native Wholesale would pay Grand River $1.00 for each carton sold

               by Native Wholesale, in order to support Grand River’s advertising,

               marketing, and promotional activities. Grand River, in turn, hired Seneca

               Promotions to conduct such activities—a company sharing the same physical

               address as Native Wholesale Supply.

           ii. Beginning in 2013 and every year thereafter, Grand River paid for the entire

               cost of hosting these Customer Appreciation Events. In 2014, for example,

               Grand River’s gala was held in Las Vegas, Nevada, was attended by 500

               individuals—250 invites for Grand River, and 250 invites for Native

               Wholesale—and cost roughly $7,400,000. See Resp. of Debtor to States’

               Mot. For Enforcement (ECF No. 939, filed Aug. 5, 2015), Native Wholesale

               Bankr.

     e. To further support this joint venture, Grand River and Native Wholesale further

        agreed that Grand River would take the additional steps of certifying that Grand

        River’s cigarettes sold, and offered for sale, in New York complied with the “fire-

        safe” requirements promulgated by the New York State Office of Fire Prevention and

        Control. Pursuant to New York Executive Law section 156-c, “no cigarettes shall be

        sold or offered for sale in this state unless the manufacturer thereof has certified in




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               writing that [its] cigarettes meet the performance standards prescribed by the Office

               of Fire Prevention and Control[.]” N.Y. Exec. Law § 156-c(3).

       67.     Sworn statements filed jointly by Grand River, along with its principals Jerry

Montour and Kenneth Hill, and by Arthur Montour, 10 the sole shareholder, officer and director of

Native Wholesale, in an arbitration initiated by these parties pursuant to NAFTA, plainly establish

that Grand River and Native Wholesale are engaged in a joint venture that integrates manufacturing

and distribution of the Seneca, Couture, and Opal brand of cigarettes to the United States, and more

specifically, to Indian lands in New York State.

       68.     For example, defendants and their principals describe themselves as being “co-

venturers,” and further discuss the “collective nature” of their “underlying business venture in the
                  11
United States”:

               a. “Jerry Montour, Kenneth Hill, Arthur Montour and Grand River [the principals
                  of GRE and NWS] are, individually and as co-venturers, investors of a Party,
                  Canada, whose investments and investment enterprises include, without
                  limitation, the assets of Grand River and Native Wholesale Supply (including
                  operations facilities, real property, machinery, inventory, contractual, intellectual
                  property and distribution rights and good will) and their business associations in
                  the Free Trade Area, including in the United States.” Ex. A, GRE Notice of
                  Arbitration, ¶ 7 (emphasis added).

               b.      “Since 1999, Claimants have maintained and expanded their investments in the
                       United States through two legally distinct corporate branches: Grand River for
                       manufacturing and [Native Tobacco Direct (“NTD”)]/NWS for distribution. The

10
  Arthur Montour, Jr. died in February 2018. The estate of Arthur Montour, Jr.is the sole
shareholder of Native Wholesale Supply.
11
  See the Notice of Arbitration, pertaining to an arbitration between Grand River Enterprises Six
Nations, Ltd., Jerry Montour, Kenneth Hill, and Arthur Montour, Jr., and the Government of the
United States, under the United Nations Commission on International Trade Law and the
NAFTA Agreement, dated Mar. 10, 2004, attached hereto as Exhibit A (hereinafter “GRE Notice
of Arbitration”); Claimants’ Memorial by Claimants’ Grand River Enterprises Six Nations, Ltd.,
Jerry Montour, Kenneth Hill, and Arthur Montour, Jr., dated July 10, 2008, in an Arbitration
with the Government of the United States, under the United Nations Commission on
International Trade Law and the NAFTA Agreement, attached hereto as Exhibit B (hereinafter
“GRE Claimants’ Memo”).


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                   individual Claimants decided together to adopt this corporate structure in order to
                   minimize their tax liability and to formally assign their respective areas of
                   primary responsibility. The fact that Grand River and NWS constitute separate
                   legal entities cannot and does not change the collective nature of the Claimants'
                   underlying business venture in the United States. . . .” Ex. B GRE Claimants’
                   Memo, ¶ 111 (emphasis added) (footnote omitted).

       69.     Defendants’ joint venture is aimed, in part, to vertically integrate manufacturing

tobacco products and distributing tobacco products to the United States; an endeavor to which both

defendants invested, and continue to invest, a significant amount of money, time, skill and effort:

               a. “Claimants [principals of GRE and NWS] have collectively made significant
                  investments in the United States, effected through their calculated effort to
                  establish, promote, manufacture and distribute unique, proprietary brands of
                  tobacco products known as Seneca® and, to a lesser extent, Opal®. These
                  investments include, but are not limited to, investments made in connection with
                  a vertically integrated enterprise, which Claimants organized and operated to
                  promote and distribute their proprietary cigarette brands in the United States.”
                  Ex. B GRE Claimants’ Memo, ¶ 5 (emphasis added).

               b. “Claimants [principals of GRE and NWS] have at various times since 1990, and
                  continuously in one form or another since that time, associated themselves
                  through corporations, partnerships, sole proprietorships, a joint venture, and
                  other mutually beneficial and co-dependent business relationships for the
                  purpose of carrying on the production and distribution of proprietary tobacco
                  products in the United States and Canada.” Id. at ¶ 95 (emphasis added).

               c. “Jerry Montour and Kenneth Hill maintained a consistent objective of
                  establishing manufacturing facilities and distribution networks to serve First
                  Nations territories in both Canada and the United States.” Id. at ¶ 15 (emphasis
                  added) (footnote omitted).

       70.     Defendants’ joint venture is specifically to manufacture and distribute Seneca,

Couture, and Opal brand cigarettes in the United States:

               a. “Claimants’ business venture and interests in the United States have been, at all
                  times since 1998, principally focused on the successful development, production,
                  promotion and distribution of their Seneca® brand of cigarettes.” Ex. B GRE
                  Claimants’ Memo, ¶ 102 (emphasis added) (footnote omitted).

               b. “NWS succeeded to all the rights and obligations of NTD under the Claimants’
                  agreement, and it continues to this day to operate as the U.S. marketing and




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                   distribution facility for Claimants’ Seneca® business venture.” Id. at ¶ 26
                   (emphasis added) (footnotes omitted).

       71.     Grand River and Native Wholesale entered into an agreement that formalized the

joint venture, including a designation of NWS as the exclusive distributor of the Seneca, Couture,

and Opal brand of cigarettes:

               a. “The nature of this venture is first and foremost illustrated by the fact that the
                  individual Claimants directed their respective companies to enter into a
                  contractual relationship under which Grand River was designated by NWS as the
                  exclusive manufacturer and packager of Seneca® branded products and NWS
                  was designated by Grand River as the (then) exclusive importer and distributor
                  of Seneca® products in the United States,” with NWS as the exclusive distributor
                  per the agreement “until the end of 2002.” Ex. B GRE Claimants’ Memo, ¶ 112
                  (emphasis added) (footnotes omitted).

       72.     The distributorship for defendants’ joint venture is structured such that Native

Wholesale is responsible for distributing Seneca, Couture, and Opal brand cigarettes on Indian lands

in the United States, that Native Wholesale possess the Seneca brand trademark, and that Grand

River would possess the Couture and Opal brand trademarks in order to do so:

               a. “[I]n 1999 Claimants continued pursuit of their goals with respect to the U.S.
                  market. To this end, they memorialized some of the particulars of the roles each
                  had assumed amongst themselves, by adopting a corporate structure and
                  concluding written agreements in respect of the possession and use of intellectual
                  property rights supporting their current and planned brands. Specifically, Native
                  Tobacco Direct would be established and would register and acquire a U.S.
                  trademark for Claimants’ new Seneca® brand of cigarettes, and would be
                  responsible for the distribution of those products on Native American land in the
                  United States.” Ex. B GRE Claimants’ Memo, ¶ 21 (emphasis added) (footnotes
                  omitted).

       73.     The joint venture between Grand River and Native Wholesale has at all times been

focused, inter alia, on the sale and distribution of cigarettes to Indian lands in New York State:

               a. “Jerry Montour and Kenneth Hill are the controlling shareholders of Claimant
                  Grand River Enterprises Six Nations, Ltd. (“Grand River”), a corporation
                  established under the laws of Canada. Arthur Montour is the sole shareholder of
                  Native Wholesale Supply (“NWS”), a corporation established under the laws of
                  the Sac and Fox Nation. Individually and as partners, Jerry Montour and



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                   Kenneth Hill first became involved in the tobacco industry in or about 1988,
                   through various informal and formal business relationships and associations that
                   principally involved the manufacture and distribution of tobacco products on
                   Native American land in northern New York State.” Ex. B GRE Claimants’
                   Memo, ¶¶ 9, 10 (emphasis added) (footnote citations to sworn statements of J.
                   Montour, A. Montour and Kenneth Hill omitted).

       74.     Upon information and belief, after the expiration of the original joint venture

agreement in 2002, the two defendants have continued to operate as joint venturers to manufacture

and distribute cigarettes in the United States; a relationship in which both defendants exert

significant control over the venture’s operations:

               a. “Thus, in order to refocus their business interests in the United States in 1999,
                  Claimants established the basic structure of the business enterprise that
                  continues to exist today.” Ex. B GRE Claimants’ Memo, ¶ 23 (emphasis added).

               b. “NWS succeeded to all the rights and obligations of NTD under the Claimants’
                  agreement, and it continues to this day to operate as the U.S. marketing and
                  distribution facility for Claimants’ Seneca® business venture. Arthur Montour
                  continues to draw salary and income derived from Native Wholesale Supply’s
                  sale and distribution of Seneca® cigarettes manufactured exclusively by Grand
                  River; Grand River and its shareholders continue to receive revenue from the
                  production and sale of those cigarettes.” Id. at ¶ 26 (emphasis added) (footnotes
                  omitted).

               c. “After formally incorporating their manufacturing and distribution arms, the
                  individual Claimants have continued, and are required, to consult with each other
                  before making important strategic decisions about marketing and distribution of
                  the Seneca® brand, just as they had always worked together.” Id. at ¶ 113
                  (emphasis added) (footnotes omitted).

       75.     Grand River and Native Wholesale, as part of the joint venture, share in the income

and profits enjoyed from the partnership:

               a. “Thus, in order to refocus their business interests in the United States in 1999,
                  Claimants established the basic structure of the business enterprise that continues
                  to exist today. Revenues from this enterprise were divided pursuant to a formula
                  . . . .” Ex. B GRE Claimants’ Memo, ¶ 23.

               b. “[O]ver the years, as the individual Claimants have shared a common interest in
                  the establishment and growth of the Seneca® brand, they have each contributed
                  their own know-how and the resources of their respective companies towards its



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                   success. They have each also shared in the profits generated by the brand, and
                   each has re-invested significant amounts of those profits in order to benefit from
                   its continued growth.” Id. at ¶ 107 (emphasis added) (footnotes omitted).

       76.     Grand River and Native Wholesale are also financially dependent upon one another,

with Grand River extending continuous loans to Native Wholesale as part of the joint venture, and as

a result, availing itself to losses suffered by Native Wholesale.

               a. “[B]etween 1999 and 2006, Claimants caused Grand River to forward millions of
                  dollars in inventory to NTD and then NWS, and to concurrently extend millions
                  of dollars in credit for these advances of inventory, such that this practice has
                  effectively constituted a continuous loan of over $1,000,000 to NWS for periods
                  lasting well over three years.” Ex. B GRE Claimants’ Memo, ¶ 115 (emphasis
                  added) (footnotes omitted).

               b. “Grand River assisted in financing the buyout of NTD by Arthur Montour and
                  NWS . . . .” Id. at ¶ 116.

               c. Grand River “contribute[d] chattel property to their collective business venture,
                  in the form of a delivery truck worth approximately $30,000, which has been
                  used by NWS to conduct its distribution activities.” Id. at ¶ 114.

       77.     Further indicia of the managerial overlap of the two defendants can be found in

checks attached hereto as Exhibit C.

       78.     Peter Montour, a current and/or former shareholder and director of Defendant Grand

River, and father of Grand River CEO Jerry Montour, in at least two instances, and upon information

and belief on numerous other occasions, signed checks drawn on the Operating Account of

Defendant Native Wholesale. See Ex. C.

       79.     Upon information and belief, Peter Montour was previously an officer of Grand

River, and although no longer listed as an officer, still collected, and may continue to collect,

management bonuses from GRE.

       80.     Filings by Native Wholesale in its chapter 11 bankruptcy proceedings in the United

States Bankruptcy Court for the Western District of New York contain additional statements that




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further demonstrate Grand River and Native Wholesale’s ongoing joint venture to sell and distribute

cigarettes in New York.

       81.     For example, in its June 13, 2014 First Amended Chapter 11 Disclosure Statement,

attached hereto as Exhibit D, Native Wholesale describes its importation of cigarettes and tobacco

products to Indian Nations and Tribes within the United States as only involving products that are

manufactured by Grand River:

               NWS is engaged in the business of importing cigarettes and other tobacco
               products from Native Americans in Canada and selling them to Indian
               Nations and Tribes within the United States. The tobacco products the
               Debtor imports are manufactured by Grand River Enterprises Six Nations,
               Ltd. (“GRE”) on the Grand River Reservation in Ontario, Canada.

Ex. D at 8 (emphasis added).

       82.     In addition, at the time of Native Wholesale’s initial Chapter 11 bankruptcy filing on

November 21, 2011, Native Wholesale owed a debt to Grand River of “approximately $19,200,000,”

which “is secured by blanket lien” by Grand River over all of Native Wholesale’s assets. As a result

of this debt, Grand River is the “only secured creditor” in the bankruptcy. Ex. D at 9-10.

       83.     Moreover, as of the June 2014 filing of Native Wholesales Disclosure Statement,

Grand River “continues to sell the tobaccos products to [Native Wholesale] that [Native Wholesale]

imports and sells in Indian Country,” including within New York State. Ex. D at 10.

November 6, 2012 Purchase by OAG Investigators

       84.     On November 6, 2012, investigators from the New York State Office of the Attorney

General entered the Poospatuck Reservation in Mastic, New York, for the purpose of purchasing

Seneca brand cigarettes.




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        85.     One of investigators entered the Rising Native Sisters smoke shop located on the

reservation at 114 Poospatuck Lane in Mastic. The smoke shop had Grand River’s Seneca brand

cigarettes for sale, as well as other brands.

        86.     There were more than fifty cartons of Seneca brand cigarettes for sale on display

shelves in the smoke shop at the time.

        87.     While in the smoke shop, the investigator purchased a carton of Seneca brand

cigarettes for $28.00.

        88.     None of the packs in the carton of Seneca cigarettes which the investigator purchased

bore a New York State cigarette tax stamp.

June 5, 2013 Purchases by OAG Investigators

        89.     On June 5, 2013, investigators from the New York State Office of the Attorney

General again entered the Poospatuck Reservation in Mastic, New York, for the purpose of

purchasing Seneca brand cigarettes.

        90.     One of investigators entered the Rising Native Sisters smoke shop located on the

reservation at 114 Poospatuck Lane in Mastic, and observed that the smoke shop had Grand River’s

Seneca brand cigarettes for sale, as well as other brands.

        91.     There were more than fifty cartons of Seneca brand cigarettes for sale on display

shelves in the smoke shop at the time.

        92.     While in the smoke shop, the investigator purchased a carton of Seneca brand

cigarettes for $28.00.

        93.     This same investigator then entered the Native Delight Smoke Shop at 149C Squaw

Lane in Mastic, New York, and observed that the smoke shop had Grand River’s Seneca brand

cigarettes for sale.




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       94.     There were also more than fifty cartons of Seneca brand cigarettes for sale on display

shelves in the smoke shop at that time.

       95.     While in the smoke shop, the investigator purchased a carton of Seneca brand

cigarettes for $25.00.

       96.     None of the packs in the carton of Seneca cigarettes which the investigator purchased

at these smoke shops on June 5, 2013 bore a New York State cigarette tax stamp.

January 16, 2013 Seizure by BATF Agents

       97.     Pursuant to a search and seizure warrant issued on January 15, 2013, agents of the

federal Bureau of Alcohol, Tobacco, Firearms and Explosives ("BATF") entered the Skydancer

Smoke Shop located at 126 E. Bayard St., Seneca Falls, New York on January 16, 2013 for the

purpose of furthering their investigation into the possession and sale of contraband cigarettes at this

location.

       98.     During this search and seizure, BATF agents discovered 16,230 cartons of Grand

River's Seneca brand cigarettes. Each carton contained 10 cigarette packs and each pack contains 20

cigarettes; thus there were over 3 million Grand River cigarettes seized.

Volume of Cigarettes Distributed and Sold by Defendants

       99.     A pack of cigarettes contains twenty cigarettes, and a carton contains ten packs, or

two hundred cigarettes. The state excise tax alone on a pack of cigarettes in New York is $4.35, or

$43.50 per carton.

       100.    For the period of November 22, 2011 through February 2013, Native Wholesale paid

$47,323,758 to Grand River, which includes amounts paid to purchase cigarettes from Grand River,

the only manufacturer for which Native Wholesale imported tobacco products, including cigarettes.




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        101.   Moreover, for the period of November 22, 2011 through February 2013, invoices

indicate that Native Wholesale sold or distributed some or all of these Grand River cigarettes to on-

reservation wholesalers, such as Seneca Imports, Tonawanda Seneca Nation Distribution, and

Tuscarora Nation, among others, amounting to $221,254,107. Even if the cigarettes were sold to the

wholesalers at the retail price of $28.00 per carton—which they undoubtedly were not—this

accounts for 7,901,932 cartons, or approximately 79,019,320 packs of cigarettes, or over 1.5 billion

cigarettes.

        102.   In light of the statistical calculations of the quarterly probable demand for cigarettes

by New York State recognized Indian nations or tribes, the quantity of cigarettes shipped to

reservation cigarette sellers by defendants is more than could reasonably be consumed by New York

State tribal members themselves.

        103.   The New York Department of Taxation and Finance has relied on several data

sources to estimate the probable demand for cigarettes of New York’s Indian nations or tribes for

each quarter during specified time periods, including: the U.S. Census adult population (18 years old

and greater) for New York State, Table 2. Annual Estimates of the Resident Population for Selected

Age Groups by Sex for the United States: April 1, 2010 to July 1, 2011 (NC-EST2011-02); and the

Federal excise tax paid cigarette volumes (converted to packs), The U.S. Department of Treasury,

Alcohol and Tobacco Tax and Trade Bureau (Monthly Statistical Release, summed for 2011). DTF

calculated that for each quarter during the period of September 1, 2011 to August 31, 2012, the

following Indian nations or tribes in New York State would have a total probable demand of 479,100

packs of cigarettes, with the following break down: Cayuga (15,000 packs); Oneida (23,100 packs);

Onondaga (45,000 packs); Poospatuck (Unkechauge) (6,000 packs); Seneca (Allegany, Cattaraugus,




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Oil Springs) (124,500 packs); Shinnecock (30,000 packs); St. Regis Mohawk (215,100 packs);

Tonawanda Band of Senecas (4,200 packs); and Tuscarora (16,200 packs).

       104.    DTF made a similar calculation for the September 1, 2012 to August 31, 2013 time

period, and determined that the Indian nations or tribes in New York State would have a total

probable quarterly demand of 462,000 packs of cigarettes, with the following break down: Cayuga

(14,400); Oneida (22,200); Onondaga (43,200); Poospatuck (Unkechauge) (5,700); Seneca

(Allegany, Cattaraugus, Oil Springs) (120,000); Shinnecock (29,100); St. Regis Mohawk (207,900);

Tonawanda Band of Senecas (3,900); and Tuscarora (15,600).

       105.    Based on information contained in invoices and operating reports, during the year

2012, Native Wholesale paid Grand River $43,769,642.00, which includes monies paid for the

purchase of cigarettes. For the same time period, invoices indicate that Native Wholesale was owed

$132,576,662.70 for cigarettes sold and/or shipped to the three main distributors in New York.

Additionally, invoices indicate that Native Wholesale was owed $43,725,655.20 for cigarettes sold

and/or shipped to various smaller distributors, including in New York. At the retail price of $28.00

per carton, during the year 2012, Native Wholesale sold or shipped at least 4,734,880.80 cartons, or

47,348,808 packs of cigarettes to their top three customers/distributors in New York, and overall

sold or shipped 6,296,511 cartons, or 62,965,113 packs of cigarettes during the year 2012, including

into New York. These numbers well exceed the aggregated probable demand as estimated by DTF

for distribution and/or sales in New York State for the year. These cigarettes that NWS sold or

shipped were purchased from defendant Grand River.

       106.    Thus, defendants were aware, both actually and constructively, that the bulk of the

unstamped, untaxed, and unreported cigarettes they sell and distribute to reservation cigarette sellers

would be sold to non-Indian consumers in New York State.




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        107.    Thus, defendants’ distribution and sales of unstamped cigarettes to wholesale dealers

and retailers in New York for profit, evidences their intent, understanding and expectation that their

cigarettes will be sold to non-tribal consumers in New York State.

        108.    Further, these payments from Native Wholesale to Grand River and distribution to

on-reservation wholesalers did not end in February 2013. Rather, according to the monthly

operating reports submitted in the bankruptcy proceeding, this conduct continued through at least

August 2014, the month of the last filed operating report, and, upon information and belief, has

continued up until the present.

        109.    For example, according to the August 2014 operating report, Native Wholesale paid

Grand River $2,933,256.85. In that same period, Native Wholesale also sold or distributed some or

all of these Grand River cigarettes to on-reservation wholesalers. For instance, in August 2014

alone, Native Wholesale accrued invoices for its customer Tonawanda Seneca Nation Distribution

totaling $8,066,884.20.

        110.    Moreover, since July 2012, defendant Grand River has filed certifications with the

New York Department of Homeland Security and Emergency Services, Office of Fire Prevention

and Control, certifying that its Seneca, Couture, and Opal brand cigarettes are in compliance with the

New York Cigarette Fire Safety Act, N.Y. Exec. L. § 156-c. See New York State Homeland

Security and Emergency Services, Fire Prevention and Control, List of Cigarettes Certified by

Manufacturers (Rev. Oct. 24, 2017), available at http://www.dhses.ny.gov/ofpc/cigarette/index.cfm.

Pursuant to that Act, fire-safe certifications are required to be filed for all cigarette brands and brand

styles offered for sale to consumers in New York State. Grand River’s New York State fire-safe

certification is further evidence that it fully knew, expected, and intended that the cigarettes it




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manufactures and sells to defendant Native Wholesale would be imported to, distributed and then

sold in New York State to New York consumers by Native Wholesale.

        111.   Defendants’ transfers and shipments of cigarettes take place between various Indian

lands in New York, as well as between locations both inside and outside New York State. As a

result, they are in “interstate commerce” as defined in the PACT Act. See 15 U.S.C. § 375(9).

        112.   Despite shipping hundreds of millions of cigarettes in interstate commerce into New

York, neither defendant Grand River nor Native Wholesale has registered with DTF pursuant to the

PACT Act.

        113.   Nor has either Grand River or Native Wholesale filed any reports whatsoever with

DTF pursuant to PACT.

        114.   Moreover, defendants Grand River and Native Wholesale are “tobacco product

manufacturers” within the meaning of New York Tax Law § 480-b, the above-mentioned

certification statute. That section incorporates New York Public Health Law § 1399-oo’s definition

of tobacco product manufacturer to include any entity that directly (and not exclusively through an

affiliate):

               (a) manufactures cigarettes anywhere that such manufacturer intends
               to be sold in the United States, including cigarettes intended to be
               sold in the United States through an importer …;

               (b) is the first purchaser anywhere for resale in the United States of
               cigarettes manufactured anywhere that the manufacturer does not
               intend to be sold in the United States; or

               (c) becomes a successor of an entity described in paragraph (a) or (b)
               of this subdivision.

N.Y. Public Health L. § 1399-oo(9).

        115.   Grand River manufacturers Seneca, Couture, and Opal brand cigarettes which it

intends to be sold in the United States, as evidenced by its filing of a fire-safe certification for the



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brand and by other documents referenced herein. As such, Grand River is a tobacco product

manufacturer within the meaning of the certification statute.

       116.    Though it could not do so credibly, if Grand River were to claim that it did not intend

for its cigarettes to be sold in the United States, then Native Wholesale would nonetheless incur the

certification obligation as a tobacco product manufacturer under the statute because the latter would

be the first purchaser anywhere for resale in the United States of cigarettes which the manufacturer

(Grand River) did not intend to be sold in the United States. N.Y. Public Health L. § 1399-oo(9)(b).

       117.    Neither Grand River nor Native Wholesale has, as required by Section 480-b, ever

certified under penalty of perjury--to the Commissioner of DTF, the Attorney General, or to any

New York-licensed stamping agent--that it is either a participating manufacturer under the MSA or

is in full compliance with New York Public Health Law § 1399-pp(2) by having deposited the

required amount of escrow per cigarette sold in the state. Nor has either Grand River or Native

Wholesale submitted to any of these officials the list setting forth each of the cigarette brands they

sell for consumption in New York state, as required by Section 480-b(1).

                                  FIRST CLAIM FOR RELIEF

                    VIOLATION OF THE CONTRABAND CIGARETTE
                       TRAFFICKING ACT, 18 U.S.C. §§ 2341-2346

       118.    Plaintiff incorporates by reference all the allegations contained in the previous

paragraphs as though fully set forth herein.

       119.    The CCTA requires that packs of cigarettes to be sold in New York State bear a state

tax stamp to evidence payment of the excise tax.

       120.    Defendants have each violated, jointly and independently, and continue to violate the

CCTA by knowingly shipping, transporting, receiving, possessing, selling, and distributing

contraband cigarettes within New York State.


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       121.    Defendant Grand River possessed, sold and shipped cigarettes to Native Wholesale,

an entity that is not a New York State licensed stamping agent. These untaxed and unstamped Grand

River cigarettes were to be sold in and into the State of New York by Native Wholesale as part of a

joint venture with Grand River. Native Wholesale received, possessed and distributed untaxed and

unstamped Grand River cigarettes in violation of the CCTA. Native Wholesale then proceeded to

sell these untaxed and unstamped cigarettes to reservation cigarette retailers in New York.

       122.    Based on a prior course of dealings between Grand River and Native Wholesale,

defendant Grand River knew and in fact intended that cigarettes sold to defendant Native Wholesale

would be sold into New York without going through a New York State licensed stamping agent, and

thus would be neither stamped nor taxed as required by New York law.

       123.    As detailed above, defendants Grand River and Native Wholesale have distributed,

shipped, possessed, and sold, and continue to distribute, ship, possess, and sell, hundreds of millions

of untaxed and unstamped cigarettes in and into the state of New York far in excess of the 10,000-

cigarette limit imposed by the CCTA.

       WHEREFORE, plaintiff prays for the relief as hereinafter set forth.

                                SECOND CLAIM FOR RELIEF

                   VIOLATION OF THE PACT ACT, 15 U.S.C. §§ 375-378

       124.    Plaintiff incorporates by reference all the allegations contained in the previous

paragraphs as though fully set forth herein.

       125.    Defendants and their sales, transfers and shipments of cigarettes for profit to

reservation sellers in New York State jointly, and independently, violate the PACT Act by (a) failing

to comply with the Act’s registration and reporting requirements, see 15 U.S.C. § 376; and (b)

engaging in delivery sales and failing to comply with New York’s laws “generally applicable to the




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sale of cigarettes” … including laws imposing (A) excise taxes; (B) licensing and tax-stamping

requirements; … and (D) other payment obligations or legal requirements relating to the sale,

distribution, or delivery of cigarettes,” see id. § 376a(a)(3).

        126.    Defendants sell, transfer, and otherwise ship such cigarettes to reservation cigarette

sellers in New York State for profit. Such sales, transfers, and shipments have been made between

the Province of Ontario and the State of New York, between New York and Indian country within

New York, and/or between two points in New York through Indian country. As a result, defendants’

sales, transfers and shipments of cigarettes are considered to be made in “interstate commerce” under

the PACT Act. See 15 U.S.C. § 375(9).

        127.    Specifically, defendant Grand River sold, transferred, and shipped cigarettes to

defendant Native Wholesale that were not tax stamped and were to be sold in and into the state of

New York by Native Wholesale as part of a joint venture with Grand River. Based on prior dealings

between Grand River and Native Wholesale, defendant Grand River knew and in fact intended that

cigarettes sold to defendant Native Wholesale would be sold into New York, that they would not go

through a New York State licensed stamping agent, and thus would be neither stamped nor taxed per

New York law.

        128.    Native Wholesale, in its joint enterprise with Grand River and/or its independent

capacity, having purchased cigarettes from Grand River, received and possessed cigarettes that were

not tax stamped in violation of the CCTA. Native Wholesale then proceeded to sell these untaxed

cigarettes to reservation cigarette retailers in New York.

        129.    Accordingly, defendants were required to submit certain filings to the tobacco tax

administrator for the State of New York, i.e., the New York Department of Taxation and Finance.




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       130.    Neither Grand River nor Native Wholesale submitted to DTF any of the filings

required under the PACT Act for any of their sales, transfers and/or shipments of cigarettes to

reservation retailers in New York State.

       131.    Specifically, each defendant failed to file with DTF “a statement setting forth his

name and trade name (if any), and the address of his principal place of business and of any other

place of business, as well as telephone numbers for each place of business, a principal electronic

mail address, any website addresses, and the name, address, and telephone number of an agent in the

State authorized to accept service on behalf of the person.” 15 U.S.C. § 376(a)(1).

       132.    In addition, each defendant failed to file with DTF “a memorandum or a copy of the

invoice covering each and every shipment of cigarettes or smokeless tobacco made during the

previous calendar month into such State; the memorandum or invoice in each case to include the

name and address of the person to whom the shipment was made, the brand, the quantity thereof, and

the name, address, and phone number of the person delivering the shipment to the recipient on behalf

of the delivery seller, with all invoice or memoranda information relating to specific customers to be

organized by city or town and by zip code[.]” 15 U.S.C. § 376(a)(2).

       WHEREFORE, plaintiff prays for the relief as hereinafter set forth.

                                 THIRD CLAIM FOR RELIEF

                      VIOLATION OF N.Y. TAX LAW §§ 471 and 471-e

       133.    Plaintiff incorporates by reference all the allegations contained in the previous

paragraphs as though fully set forth herein.

       134.    Defendants have each violated, jointly and independently, and continue to violate,

New York Tax Law §§ 471 and 471-e by possessing cigarettes for sale in New York State, namely




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cigarettes manufactured by Grand River and imported and distributed by Native Wholesale, upon

which no state excise tax has been paid, and the packages of which have no tax stamps affixed.

       135.    Each defendant likewise violates Section 471’s implementing regulations discussed

above by failing to ship its unstamped cigarettes from outside New York directly to a New York-

licensed stamping agent so that the excise tax can be paid and tax stamps properly affixed.

       WHEREFORE, plaintiff prays for the relief as hereinafter set forth.

                                FOURTH CLAIM FOR RELIEF

                      VIOLATION OF NEW YORK TAX LAW § 480-b

       136.    Plaintiff incorporates by reference all the allegations contained in the previous

paragraphs as though fully set forth herein.

       137.    Grand River and/or Native Wholesale are “tobacco product manufacturers” as that

term is defined in New York Public Health Law § 1399-oo(9) and referenced in New York Tax Law

§ 480-b.

       138.    As explained in detail above, Section 480-b requires a tobacco product manufacturer

to file annual certifications with the Commissioner of DTF, the state Attorney General, and any

state-licensed cigarette stamping agent who affixes state cigarette tax stamps to the manufacturer’s

cigarettes, accompanied by a list of the manufacturer’s cigarette brands sold for consumption in New

York State. Such certifications specifically require “[e]very tobacco product manufacturer … whose

cigarettes are sold for consumption in this state … [to] annually certify under penalty of perjury that,

as of the date of such certification, such tobacco product manufacturer: (a) is a participating

manufacturer [to the MSA]; or (b) is in full compliance with subdivision two of section thirteen

hundred ninety-nine-pp of the public health law.” N.Y. Tax L. § 480-b(1). Referenced New York

Public Health Law section 1399-pp requires that manufacturers not participating in the MSA pay a




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certain amount into an escrow fund for each cigarette it sells in the state, roughly equal to the amount

it would pay in an annual settlement payment under the MSA if it were a participating manufacturer.

       139.    Despite having sold millions of cigarettes in New York, neither Grand River nor

Native Wholesale has filed any such certifications in accordance with New York Tax Law section

480-b. Nor has either entity provided the requisite list of brands they sell for consumption in New

York State, joined the 1998 Tobacco MSA as a participating manufacturer, or else paid escrow for

each cigarette sold into New York.

       140.    Grand River and Native Wholesale have each violated, jointly and independently, and

continue to violate Section 480-b.

       WHEREFORE, plaintiff prays for the relief as hereinafter set forth.

                                  FIFTH CLAIM FOR RELIEF

              VIOLATION OF NEW YORK PUBLIC HEALTH LAW § 1399-ll

       141.    Plaintiff incorporates by reference all the allegations contained in the previous

paragraphs as though fully set forth herein.

       142.    New York Public Health Law section 1399-ll provides that it “shall be unlawful for

any person engaged in the business of selling cigarettes to ship or cause to be shipped any cigarettes

to any person in this state who is not: (a) a person licensed as a cigarette tax agent or wholesale

dealer under article twenty of the tax law or registered retail dealer under section four hundred

eighty-a of the tax law; (b) an export warehouse proprietor pursuant to chapter 52 of the internal

revenue code or an operator of a customs bonded warehouse pursuant to section 1311 or 1555 of title

19 of the United States Code; or (c) a person who is an officer, employee or agent of the United

States government, this state or a department, agency, instrumentality or political subdivision of the




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United States or this state and presents himself or herself as such, when such person is acting in

accordance with his or her official duties.” N.Y. Pub. Health Law § 1399-ll(1).

       143.     Section 1399-ll further provides that “[a]ny person who violates the provisions of

subdivision one or two of this section shall be guilty of a class A misdemeanor and for a second or

subsequent violation shall be guilty of a class E felony. In addition to the criminal penalty, any

person who violates the provisions of subdivision one … of this section shall be subject to a civil

penalty not to exceed the greater of (a) five thousand dollars for each such violation; or (b) one

hundred dollars for each pack of cigarettes shipped, caused to be shipped or transported in violation

of such subdivision.” N.Y. Pub. Health Law § 1399-ll(5).

       144.     Grand River is engaged in the business of selling cigarettes, and has otherwise

shipped, or caused to be shipped, cigarettes to persons in this State who are not authorized to possess

such cigarettes, see N.Y. Pub. Health Law § 1399-ll(1).

       145.     Native Wholesale is also engaged in the business of selling cigarettes, and has

otherwise shipped, or caused to be shipped, cigarettes to persons in this State who are not authorized

to possess such cigarettes, N.Y. Pub. Health Law § 1399-ll(1).

       146.     As a result, Grand River and Native Wholesale are each subject, jointly and

independently, to a civil penalty “not to exceed the greater of (a) five thousand dollars for each such

violation; or (b) one hundred dollars for each pack of cigarettes shipped, caused to be shipped or

transported in violation of such subdivision.” N.Y. Pub. Health Law § 1399-ll(5).

       WHEREFORE, plaintiff prays for the relief as hereinafter set forth.

                                     PRAYER FOR RELIEF

       WHEREFORE, the Attorney General respectfully prays that the Court issue and order

and judgment:




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        a.    Permanently enjoining defendants from violating the CCTA by receiving,

              possessing or purchasing contraband cigarettes, or shipping, transporting,

              selling, or distributing contraband cigarettes to New York residents or

              other persons in New York not authorized to possess unstamped

              cigarettes, i.e., any person other than a New York state-licensed stamping

              agent.

        b.    Authorizing the Attorney General to seize, forfeit, and otherwise destroy

              any unstamped cigarettes that are (i) manufactured by Grand River, (ii)

              found in New York, and (iii) are being delivered to, or otherwise in the

              possession of, a person not authorized by the State of New York to possess

              unstamped cigarettes.

        c.    Directing defendants to comply with the registration and reporting

              requirements of the PACT Act, 15 U.S.C. § 376.

        d.    Directing the defendants to comply with the certification requirements

              mandated by New York Tax Law § 480-b (which includes the

              requirements set forth by Public Health Law § 1399-pp), requirements of

              New York Tax Law § 471, and New York Public Health Law § 1399-ll.

              See N.Y. Exec. L. § 63(12).

        e.    Directing the defendants to pay to plaintiff civil penalties and money

              damages as authorized by the CCTA and the PACT Act. See 18 U.S.C. §

              2346(b), 15 U.S.C. §§ 377(b), and 15 U.S.C. § 378(c)(1)(A).

        f.    Directing the defendants to pay to plaintiff the Attorney General’s fees

              and costs incurred in bringing this action, and any other injunctive or other




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              EXHIBIT A
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                         NOTICE OF ARBITRATION
                      UNDER THE ARBITRATION RULES
                                  OF THE
        UNITED NATIONS COMMISSION ON INTERNATIONAL TRADE LAW
                                    AND
•              THE NORTH AMERICAN FREE TRADE AGREEMENT




•   BETWEEN:




•
           GRAND RIVER ENTERPRISES SIX NATIONS, LTD.,
       JERRY MONTOUR, KENNETH HILL AND ARTHUR MONTOUR

                                                            Claimants/Investors

                                  -AND-




          GOVERNMENT OF THE UNITED STATES OF AMERICA

                                                             Respondent I Party




•                                                                March 10, 2004




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•
    Pursuant to Article 3 of the United Nations Commission on International Trade Law

•
    ("UNCITRAL") and Articles 1116 and 1120 of the North American Free Trade
    Agreement ("NAFT A"), the Claimants initiate recourse to arbitration under the
    UNCITRAL Rules of Arbitration (Resolution 31/98 Adopted by the General Assembly
    on December 15, 1976).



•
    A.     DEMAND THAT THE DISPUTE BE REFERRED TO ARBITRATION

    Pursuant to Article 1120(1 )( c) of the NAFTA, the Claimants hereby demand that the
    dispute between them and the Respondent be referred to arbitration under the
    UNCITRAL Rules of Arbitration.


•   B.     NAMES AND ADDRESSES OF THE PARTIES

    Claimants/                    Grand River Enterprises Six Nations, Ltd.
    Investors                     2176 Cbiefswood Road
                                  Obsweken, Ontario, Canada

•                                Jerry Montour & Kenneth Hill
                                 c/o Grand River Enterprises Six Nations, Ltd.
                                 2176 Chiefswood Road
                                 Ohsweken, Canada

•                                Arthur Montour
                                 c/o Native Wholesale Supply
                                 11037 Old Logan Drive
                                 Seneca Nation Territory
                                 Perrysburg, New York 14129
I
    Respondent/                  Government of the of the United States of America
    Party                        Executive Director
                                 Office of the Legal Advisor
                                 United States Department of State
I                                Room 5519
                                 2201 C. Street NW.
                                 Washington, D.C.
                                 20520




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    Grand River et al, Notice of Arbitration     -2-      PRIVILEGED AND CONFIDENTIAL
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•
    C.        REFERENCE TO THE ARBlTRATJON CLAUSE OR THE SEPARATE

•
              ARBITRATION AGREEMENT THAT IS INVOKED

    The Claimants invoke Section B of Chapter 11 of the NAFT A, and specifically Articles
    1116, 1117, 1120 and 1122 of the NAFTA, as authority for the arbitration. Section B of
    Chapter 11 of the NAFT A sets out the provisions agreed concerning the settlement of


•
    disputes between a Party and an investor of another Party .

    D.        REFERENCE TO THE CONTRACT OUT OF OR IN RELATJON TO
              WHICH THE DISPUTE ARISES

    The dispute arises from measures adopted by 46 States relating to Claimants and their

•   investments in the United States and the damages caused by Respondent ' s breaches of its
    obligations under Section A of Chapter 11 of the NAFT A.


    E.       THE GENERAL NATURE OF THE CLAIM AND AN INDICATION OF

•   (I)
             THE AMOUNT INVOLVED

             Facts

             Background of the Investors and their Investments

•         1. Grand River Enterprises Six Nations, Ltd. ("Grand River") is a Canadian
             corporation organized under the Jaws of Canada on April 29, 1996. Grand River
             has at all relevant times since its incorporation maintained a principal office and
             tobacco products production facility located in Ohsweken, Ontario, Canada.

•
             Ohsweken comprises part of the territory of the Six Nations of North America
             (also known as the Iroquois Confederacy), whose land spans both sides of the
             U.S. - Canadian border. Grand River currently provides for the employment and
             income of over two hundred native Canadians and their families in addition to
             numerous other non-native Canadian individuals in its employ .


•         2. Jerry Montour and Kenneth Hill are aboriginal Canadian nationals, born in
             Canada and currently residing in Ontario, Canada. Arthur Montour is an
             aboriginal Canadian national, born in Canada, who currently resides in New York
             State. Messrs. Montour, Hill and Montour are also members of the Six Nations of
             North America .

•         3. Jerry Montour and Kenneth Hill are shareholders of Grand River. They are also
             former partners in several enterprises, including, among others, Traditional
             Trading, Grand River Enterprises (a partnership previously owned and operated
             by Grand River shareholders), and a third partnership that operated on Native

•            American land in the State of Nebraska .



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        4. Arthur Montour is the sole named shareholder of Native Tobacco Direct and ·
           Native Wholesale Supply -- companies operating under charters granted by the
I          Sac and Fox Nation of Oklahoma on January 13, 1999, and February 25, 2000,
           respectively. Native Tobacco Direct and Native Wholesale Supply have at all
           times maintained their principal operations on Six Nations land in Northern New
           York in association with Grand River and Messrs. Jerry Montour and Kenneth


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           Hill. Prior to owning Native Tobacco Direct and Native Wholesale Supply,
           Arthur Montour did business individually and under the proprietorship name
           Native American Wholesale, both separately and in association with Jerry
           Montour, Kenneth Hill and the entities described in the immediately preceding
           paragraph.


•       5. Messrs. Montour, Hill and Montour (and, later, Grand River) have been engaged
           at all times since 1992, individually or as co-venturers in and through the
           foregoing entities, in the licensing, manufacture, packaging, production,
           importation and sale of tobacco products sold in the Free Trade Area, including
           the United States and Canada .

•       6. Specifically, beginning in I 992 and thereafter, Jerry Montour, Kenneth Hill,
           Arthur Montour, Grand River, and the entities they chartered and associations
           they established, did, individually and as co-venturers operating exclusively on
           Native American land in the Free Trade Area, invest, contribute and dedicate --

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           and have continued to invest, contribute and dedicate -- significant capital and
           resources into establishing and maintaining the foregoing businesses, operations,
           good will and intellectual property rights in the Free Trade Area, including the
           United States. To date, the total amount invested has been approximately
           $70,000,000 - $80,000,000 (USD) .


•       7. By reason of the foregoing, Jerry Montour, Kenneth Hill, Arthur Montour and
           Grand River are, individually and as co-venturers, investors of a Party, Canada,
           whose investments and investment enterprises include, without limitation, the
           assets of Grand River and Native Wholesale Supply (including operations
           facilities, real property, machinery, inventory, contractual, intellectual property
           and distribution rights, and good will) and their business associations in the Free
           Trade Area, including in the United States.

       8. Thus, since 1992, the foregoing Investors have possessed and maintained
          investments in the United States, Canada and Mexico which include or included,
          without limitation, investment enterprises, operations facilities, real property,
          machinery, inventory, contractual, intellectual property and distribution rights,
          and good will.




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         9. The foregoing investments and relationships exist and existed, without limitation,

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            in respect of the manufacture and sale of tobacco products commonly known or
            described by the brand names Seneca, Omaha, Sago, DKs and Putters, in addition
            to other tobacco products manufactured or licensed to be manufactured or sold by
             or for Investors since 1992 in the United States.


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                        Acts o(Expropriation and Discriminatory Treatment

       ) 10. In November 1998, attorneys general and state officials representing forty-six
             States and six U.S. territories (the "MSA States") entered into a master settlement
             agreement ("MSA") with the four largest U.S.-based manufacturers of cigarettes,
             namely: Philip Morris Inc., R.J. Reynolds Tobacco Company, Brown &

•            Williamson Tobacco Corp., and Lorillard Tobacco Company (collectively, the
             "Majors"). A copy of the MSA is annexed as Exhibit "1 ."

        11. The MSA settled and resolved over forty lawsuits and claims that these officials
            had filed and asserted against the Majors, beginning in or about May 1994. 1

•       12. In consideration of the States' dismissal of the lawsuits, the Majors agreed under
            the MSA to make annual "settlement" payments to the MSA States totaling $206
            billion over the first 25 years following the MSA's execution, and $9 billion
            thereafter, annually, subject to certain contingencies, adjustments and offsets .

•       13. During the MSA's negotiation in the summer and fall 1998, however, and
            unbeknownst to the Investors or their investment enterprises, the MSA States and
            Majors had occasion to discuss and did discuss and enter into agreements
            affecting the future of competition and trade in the cigarette industry within the


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            Free Trade Area, particularly in the United States .

        14. Specifically, during the negotiations and discussions leading up to the execution
            of the MSA, the Majors and the MSA States discussed the fact that the Majors
            would be raising the price of their tobacco products after the MSA's execution to
            fund the MSA's settlement payments .

•       15. In the context of those discussions, the Majors expressed a concern that they
            would lose market share to existing and potential competitors in the U.S. market,
            including the Investors and their investment enterprises, who would not need to

                     The lawsuits sought primarily to recoup Medicaid expenses the States had
    incurred for the treatment of smoking-related illnesses of indigent smokers, including cancer and
    emphysema, and were premised principally on theories of conspiracy, fraud and deception. The
    States' claims focused on allegations that the Majors targeted youth in their advertising; knew of,
    controlled, and failed to disclose research into the harmful effects of smoking; and knew nicotine
    in cigarettes was addictive and marketed their cigarettes with those addictive properties in mind.
    Report to Senate U.S. Comm. on Commerce, Science & Trans., States' Use of MSA Payments,
    GA0-01-851, at 8 (June 2001), Exhibit "2."


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           raise prices or maintain higher price levels for their tobacco products subsequent
           to the MSA's execution.
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        16. The reason that the Majors' competitors would not need to raise their prices
            subsequent to the MSA is that these smaller competitors were never sued nor
            accused of the wrongdoing that gave rise to the States ' claims against the Majors.


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            Accordingly, they could not rightfully be made the subject of the burdens and
            costs associated with the MSA's annual settlement payments .

        17. Thus, the Majors refused to agree to the MSA unless the MSA's payment
            obligations were also imposed on all other competitors whose cigarettes would be
            sold in the U.S. after the MSA's execution .

•       18. Consistent with these demands, the MSA ' s payment obligations were drafted to
           apply, and currently do apply, not only to the Majors but to all other competitors
           whose cigarettes are sold in the United States, despite the fact that these smaller
           competitors have never been, and may never be, sued or threatened with suit, nor

•          accused of the wrongdoing that gave rise to the claims asserted against the Majors
           and settled under the MSA.

        19. The device, artifice and contrivance employed by the Majors and the MSA States
           to make the MSA 's "payment scheme" applicable to the Majors' competitors


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           constitutes the principal gravamen of the Investors ' claims. This scheme was
           designed, and currently operates in each individual MSA state, to restrict the sale
           of smaller competitors ' products to the point that these competitors will
           effectively be put out of business.



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       20. The MSA's payment scheme is expressly made applicable to the Majors'
           competitors through two interrelated provisions of the MSA.

       21. First, the Majors and the MSA States included provisions in the MSA
           "permitting" other competitors (who were never sued nor accused of any
           wrongdoing) to nonetheless join the MSA as Subsequent Participating

•          Manufacturers or "SPMs." MSA §1.X(i). 2 Thus, under what are called the
           "Renegade Clause" provisions of the MSA, competitors of the Majors may join
           the MSA as SPMs and make pro rara settlement payments to the MSA States
           based on their annual sales volume vis-a-vis the Majors in the United States.

       22. The second provision applicable to the Majors ' competitors is model legislation
           annexed as Exhibit "T" to the MSA, which the drafting parties intended to be
           enacted (and which has been enacted) as an "Escrow Statute" in each of the MSA
           States. MSA, Ex. "T."


                     The Majors are defined as Original Participating Manufacturers or "OPMs"
    under the MSA.


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        23. The Escrow Statutes require each tobacco product manufacturer that does not join
            the MSA as an SPM to establish a "Qualified Escrow Fund''. for the benefit of the
            MSA States, into which the manufacturer must deposit annually an amount
            equivalent to that which the manufacturer would have paid the States had it joined
            the MSA as an SPM.


•       24. In simplest te~s, the Esc!ow Statutes i~coi:porate the Renegade C.lause 's
            payment reqmrements (with one except10nY and makes them applicable to all
            competitors that do not join the MSA, i.e., non-participating manufacturers or
            "NPMs. "


•       25. For the reasons explained below, none of the Investors or their investment
            enterprises has joined the MSA as an SPM . Consequently, Grand River, Native
            Tobacco Direct and Native Wholesale Supply have been classified by the MSA
            States as "NPMs" under the Escrow Statutes and subjected to that legislation's
            payment requirements. The result has been devastating and has damaged and

•           continues to cause significant damage to the Investors and their investments .


                                         The Renegade Clause


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        26. Notwithstanding that the MSA was drafted by the Majors and the MSA States,
            and presented to the public as a settlement of lawsuits that were asserted only
            against the Majors, the MSA expressly provides that other manufacturers and
            competitors of the Majors may join the MSA as SPMs. MSA § I.X(i) .

        27. Inducing manufacturers and competitors that had never been accused of, nor sued
I           for, any wrongdoing to enter into a settlement agreement, however, required an
            incentive. That incentive came in the form of a payment exemption set forth in
            the MSA' s Renegade Clause and, further, from the threat that electing not to join
            the MSA would subject an NPM to substantial, non-exempt payment obligations
            under the Escrow Statutes. 4



                   The one exception, explained immediately infra, is that certain SPMs benefit
    from a payment exemption that is not similarly afforded to other SPMs nor NPMs.


•                   As North Dakota Attorney General Heidi Heitkamp and Washington Attorney
            4

    General Christine Gregoire explained at the press conference announcing the MSA: "We are
    deeply concerned about so-called renegades or rogue manufacturers who are not subject to the
    [MSA] .... And so consequently, there are incentives built into this deal all around for us to bring
    as many [manufacturers] in as we can .... [W]e believe there is an incentive for [these
    manufacturers] to come in, to live consistently [with] the advertising and marketing restrictions
    that are placed here . We've tried to give them economic incentives." Press Conference of
    Attorneys General announcing MSA, Federal News Service, November 16, 1998 (hereafter
    "MSA Press Conference"), Exhibit "3."

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        28. Under the MSA's Renegade Clause, a tobacco product manufacturer (which
            incJudes a manufacturer or importer of record) that e]ects to join the MSA as an
I           SPM must make pro rata annual "settlement" payments to the MSA States based
            on the SPM's comparative U.S. market share vis-a-vis the Majors' market share.
            MSA §IX(i)(l). The Renegade Clause contains an exemption, however, pursuant
            to which an SPM that agreed to sign on to the MSA within 90 days of its


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            Execution Date (November 23 , 1998) would not be required to make any MSA
            payments, provided its sales in any given year do not exceed the greater of I 00%
            of its 1998 U.S. market share or 125% of its 1997 U.S. market share. MSA §
            IX(i)(l),(4).

        29. In contrast to the early signing SPMs, any manufacturer that signed the MSA

•           more than 90 days after the Execution Date is deemed to have 0% U.S. market
            share for both 1997 and 1998; hence, any manufacturer that became an SPM
            subsequent to the 90-day deadline, or which now becomes an SPM, must make
            MSA payments based on every cigarette it sells -- no exemption applies .


•       30. None of the Investors nor their investment enterprises were privy to the MSA
            negotiations, nor were they ever notified of the 90-day deadline. Indeed, none of
            the Investors or their investment enterprises was ever notified that the MSA -- a
            settlement agreement between States and private third parties -- could be signed
            by any manufacturer other than those accused of wrongdoing or sued, i.e. , the

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            Majors .

        3 I . Yet, as the statements of the attorneys general that negotiated the MSA make
              dear, the MSA States and Majors had been secretly negotiating before the MSA ' s
              execution with a select few of the Majors' competitors to join the MSA as SPMs


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              within the 90-day deadline, so that they would receive the benefit of the foregoing
              exemption and favorable treatment under the MSA:

                   MSA Press Conference at 8 ("I'm delighted to say that just before I came
                   in here today, we received a call and a fax from Commonwealth
                   [Tobacco] ... who was not sued by any of the states, but has decided
                   they, too, will be a signatory to the agreement ... We 're in negotiations
                   with a number of other manufacturers.") (emphasis added).

        32. In 1998, the Majors accounted for approximately 96% - 98% of the U.S. cigarette
            market. The intent and purpose of the Renegade Clause's exemption was to
            induce a select group of smaller competitors (hereinafter "Exempt SPMs") to join
            the MSA under a grant that effectively safeguarded their existing market share,
            while simultaneously and effectively taking the share held by other competitors,
            including the Investors and their investment enterprises, for the benefit of these
            Exempt SPMs. The Exempt SPM's would thus be provided with the exclusive
            entitlement to the remaining 2%- 4% of the U.S. market and subsequent
            increases in market share beyond those levels. This result was engineered
            through a secret arrangement only offered to Exempt SPMs.


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        33. The statements of the MSA States' officials reveal the deception and
            discrimination inherent in their treatment of other competitors, particularly the
            Investors and their investments, vis-a-vis Exempt SPMs. Even prior to the MSA's
            Execution Date in November 1998, the MSA States had already negotiated and
            reached agreement with Exempt SPMs to sign on to the MSA within 90 days of


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            the Execution Date, and thus receive the benefit of the foregoing exemption from
            the MSA's payment requirements .

        34. Notice of the foregoing negotiations or an invitation to join as an Exempt SPM
            was never given to the Investors nor to their investment enterprises, and no


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            explanation exists for the MSA States' failure to do so. In short, the Majors and
            the MSA States selected an exclusive group of smaller competitors with whom
            they would negotiate privately, and secretly, to obtain this favorable treatment.
            The MSA States did so to the exclusion and considerable detriment of all other
            smaller competitors, including the Investors and their investments.


•       35. Moreover, the States were well aware that the tobacco products of other
            competitors, including the Investors and their investment enterprises, were sold in
            the United States. Yet, the MSA States did not invite or give notice to these
            entities to participate in the MSA under the same favorable terms as those secretly
            offered to and negotiated with Exempt SPMs, including Ligget Corp. and
            Commonwealth Tobacco Company, which are U.S.-based manufacturers. 5

        36. Without an exemption, if the Investors or their investments join the MSA, their
            payment obligation to the MSA States would amount to tens of millions of dollars
            annually. To illustrate, if Grand River and Native Wholesale Supply, individually
            or as co-venturers, sold cigarettes in 1999 equivalent in amount to the market
            share devised and allocated to Exempt SPMs (3 .8%), and they chose now to join
            the MSA, they would be required to make retroactive MSA payments for that year
            in the approximate amount of $158 million, despite the fact that Exempt SPMs
            were required to make no MSA payments for selling the same number of
            cigarettes in 1999.

        37. Similarly, assuming current sales trends, if Grand River and Native Wholesale
            Supply, individually or as co-venturers, now or hereafter join the MSA, they will
            incur tens of millions of dollars in MSA payments for their 2002 and 2003 sales,
            alone, despite the fact that Exempt SPMs incurred $0 for selling the same number


                      In 1999, Exempt SPMs sold approximately 3.8% of all the cigarettes sold in the
    U.S. -- 16.6 billion cigarettes -- without incurring any MSA payment obligations with respect to
    those sales. These SPMs also were, and continue to be, exempt from Escrow Statute payment
    obligations (discussed infra) with respect to those and equivalent future sales. In short, the
    Renegade Clause's annual exemption for these Exempt SPMs continues pro rata in perpetuity
    under the MSA


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           of cigarettes. In addition, if Grand River and Native Wholesale Supply 'join" the
           MSA today, they must pay on average approximately 12.5% more per carton
I          annually than the Majors must pay under the MSA.

        38. Thus, the Investors and their investment enterprises have been effectively
            precluded from "joining" the MSA on the same terms that have been made
            available to their competitors. Moreover, as demonstrated below, even if the
I           Investors and their investment enterprises do not join the MSA, they are still
            required to make the equivalent, multi-million dollar payments annually under
            what are called Escrow Statutes -- while Exempt SPMs are required to make no
            payments under the MSA or under the Escrow Statutes for selling the same
            number of cigarettes .

•                                     The Escrow Statutes

        39. The MSA contains, in Exhibit "T," model legislation that was drafted by the
            MSA's parties to be enacted in every MSA State and applicable to every tobacco
            product manufacturer whose cigarettes are sold in the MSA States. Each of the
I           46 MSA States has enacted this model legislation, which is commonly known as
            the "Escrow Statue." These measures effectively gave force to the discriminatory
            and anticompetitive provisions of the MSA in each State.



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       40. The Escrow Statutes require a tobacco product manufacturer whose cigarettes are
           sold in an MSA State to do one of two things. First, it may join the MSA as an
           SPM (without an exemption.) Alternatively, it may remain a "Non-Participating
           Manufacturer" or "NPM." As an NPM, the manufacturer must establish and
           maintain a "Qualified Escrow Fund," i.e., an escrow arrangement with a qualified
           financial institution, into which the manufacturer must make annual payments that

•          are held for twenty-five years for the benefit of the MSA State .

       41. To illustrate, for each carton of cigarettes manufactured and distributed by
           Investors and their investment enterprises that are sold in MSA States, the Escrow
           Statutes require them to place into a Qualified Escrow Fund by April l 51h of the
t          year following the year in which such sales are made: $1.88482 for cigarettes sold
           in 1999; $2.09424 for cigarettes sold in 2000; $2.7225 for cigarettes sold in 2001
           and 2002; $3.35078 for cigarettes sold in 2003 through 2006; and $3.76964 for
           cigarettes sold in 2007 and thereafter. Each of the foregoing per carton amounts
           are further subject to cumulative inflation adjustments of no less than 3% per

•          year, as calculated per the terms of the MSA.

       42. The total amount an NPM must deposit and maintain in the Qualified Escrow
           Fund is capped by, and ultimately calculated based on, what it would have paid as
           an SPM under the MSA, with no exemption.

       43. The purported purpose of each Escrow Statute is to create a fund that may be
           accessed by an MSA State to satisfy any judgment that it might receive in the

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           event it successfully sues the NPM in the future. Such lawsuits must be for
           claims similar to those asserted against the Majors, and the NPM must be found

'          by a court to have acted "culpably." The funds deposited may not be accessed by
           the NPM for twenty-five years after their deposit, except to the extent needed to
           satisfy such judgments.



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        44. Thus, despite having never been accused of any wrongdoing nor sued or alleged
            to have engaged in the kind of misconduct allegedly engaged in by the Majors,
            anywhere in the Free Trade Area, the Escrow Statutes require the Claimants and
            their investment enterprises to deposit millions of dollars annually into a
            Qualified Escrow Fund to secure claims that presently do not exist, may never
            arise, and which currently have no legal basis. The Claimants do not receive the

•           benefit of a fair and equitable hearing (assessing their likely culpability- for
            which such payments are ostensibly to be made). They do not even hear any
            claim against them. They are simply ordered to make tens of millions of dollars
            in annual payments for the benefit of these MSA States, which are to be held for
            twenty-five years in the event at some point in the future a State recovers a

•           judgment against them for acting culpably (a term nowhere defined) .

       45. As indicated in the MSA, however, the Escrow Statutes' true purpose is to
           "effectively and fully neutralize the cost disadvantages that the [Majors and
           SPMs] experience vis-a-vis [NPMs] within each [MSA State) as a result of the

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           provisions of [the MSA]." MSA IX(d)(2)(E) .

       46. The Escrow Statutes have this "neutralizing" effect because the escrow payments
           they require are prohibitive, i.e., the per carton payments required under the
           Escrow Statutes are greater than the per carton profits of Investors or their


•
           investment enterprises .

       4 7. Thus, the Investors and their investment enterprises are forced to raise prices if
            they wish to comply with the Escrow Statutes; they cannot maintain pre-MSA
            price levels for their cigarettes and stay in business. If they increase prices,
            however, their ability to offer significant price competition to the Majors and
            SPMs -- particularly Exempt SPMs -- is materially and adversely compromised.
            The effect of compliance, accordingly, is the complete destruction of the
            Investors' business and their investments.

       48. On the other hand, if an NPM does not make the payments required under a
           State's Escrow Statute, the NPM is subject to civil penalties and its products will
           be prohibited from being sold in the State. The effect of non-compliance,
           accordingly, is a complete prohibition against the operation of the Investors'
           business and their investments within the territory claimed by the USA, again
           resulting in its complete destruction.




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                                          The Contraband Laws

•       49. In or about the beginning of 2002, the MSA States started to enact and adopt what
            the MSA States call "complementary legislation" and regulations -- defined
            herein collectively as "Contraband Laws." They are defined herein as Contraband
            Laws because cigarettes that are manufactured by an NPM that has not complied


•
            with the Escrow Statutes are considered contraband. These laws were and are
            designed to provide a further, immediate means of neutralizing competition from
            NPMs, and they were drafted and proposed for legislation by the National
            Association of Attorneys General ("NAAG") and the Majors .6

        50. Penalties under the Contraband Laws are severe and, unlike the Escrow Statutes,

•           explicitly apply to distributors as well as NPMs. Violation of a Contraband Law
            subjects a distributor to civil monetary penalties and suspension or cancellation of
            its license to stamp cigarettes. Cigarettes that are stamped in violation of a
            Contraband Law are also subject in some States to immediate seizure by state
            officials and a forfeiture action similar to those involving pre-conviction forfeiture

•           crimes .

        51. The Contraband Laws also provide that an NPM ' s products may not be sold in an
            MSA State unless the NPM appoints a representative statutory agent for service of
            process in the State. In addition, these laws provide for the public posting and


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            publication of lists of NPMs who have not complied with the Escrow Statutes - a
            black list - that lists those manufacturers whose products can and cannot be sold
            in the State. If an NPM has not complied with an escrow statute, its products are
            "black listed," meaning they are posted on an attorney general's website and
            cannot be sold in the State.


•               MSA States' Actions Against the Investors and their Investments

        52. Within the past twenty-four months, the MSA States have undertaken
             enforcement and coordinated enforcement of the Escrow Statutes and Contraband
                                                                                         7
           · Laws against and relating to the Investors and their investment enterprises. Thus

•           6
                   Under the Escrow Statutes, an NPM and others selling its cigarettes may be
    enjoined from selling cigarettes in an MSA State only after the NPM is found to have knowingly
    withheld escrow payments for two separate years. Under the Contraband Laws, however, there is
    an immediate prohibition against the stamping and sale of an NPM ' s cigarettes ifthe NPM is not

•
    in compliance with the State's Escrow Statute .
            7
                     Each Escrow Statute provides that the State's Attorney General is authorized to
    bring a civil action on behalf of the State against an NPM if it fails to make required escrow
    payments, and seek a civil penalty of up to 300% of the amount required to paid into escrow in
    the case of a knowing violation. The Escrow Statutes also provide that each failure to make an
    annual escrow payment constitutes a separate violation, and, in the case of a second knowing
    violation, the NPM is to be prohibited from selling cigarettes to consumers within the applicable
    MSA State for a period not to exceed two years.

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             far, a number of MSA States have commenced litigation against these entities


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             under the Escrow Statutes, and many more have demanded escrow payments from
             these entities and threatened suit.

         53. To date, approximately $1,100,000 in escrow and penalties (for alleged untimely
             compliance with the Escrow Statutes) has been paid by or for the Claimants under


•
             the Escrow Statutes, without prejudice and under a full reservation of their rights
             under U.S. Jaw .

        54. More importantly, the Investors and their investment enterprises face numerous
            additional lawsuits and demands for tens of millions of dollars in escrow
            payments and penalties from other MSA States, all under similar threats that, if
            the escrow and penalties are not paid, the Claimants will be prosecuted and their
            products deemed contraband in the MSA States.

        55. The foregoing enforcement efforts are coordinated and implemented through
            various committees and task forces of NAAG that are comprised of officials from
            the attorneys general offices of the MSA States and the personnel and attorneys
            employed by NAAG, who are paid from an enforcement fund that is funded
            separately under the MSA by the Majors .

        56. The MSA States' enforcement actions and demands are based on the claim that
            the Investors and their investment enterprises manufacture and sell cigarettes that
            they "intend to be sold in the United States," irrespective of whether they "intend"
            their cigarettes to be sold in any particular MSA State. 8

        57. The Investors and their prior and current investment enterprises have produced,
            sold and distributed tobacco products that have been sold on Native American
            land in the United Statessince long before the MSA's execution or the States'
            enactment of the Escrow Statutes. None of the Investors or their investment
            enterprises has ever been sued for, nor accused of, any of the claims asserted
            against the Majors and settled under the MSA.

        58. There is no basis whatsoever for the MSA States, for the first time in the history
            of the U.S. tobacco industry, to require competitors such as the Investors and their
            investment enterprises to make multi-million dollar escrow payments for the
            States' benefit as herein described. Moreover, there is no legally permissible or



                       Indeed, even if Investors' products are sold only in one of the four non-MSA
    States, they would be subject to an MSA State's Escrow Statute if the cigarettes are subsequently
    sold in that MSA State "whether directly or through a distributor, retailer or similar intermediary
    or intermediaries" -- irrespective of how such products find their way into the State, by whom
    they are sold, and even if Investors or their investment entities did not direct or take part in any
    sale in the State.


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•
               internationally acceptable basis for the MSA States to select those competitors


•
               that are to receive favorable treatment in the form of payment exemptions under
               the MSA and Escrow Statutes -· significantly to the disadvantage and detriment of
               other competitors, particularly the Investors and their investment enterprises
               herein.

                 Additional State Measures Designed to Secure the MSA Cartel Price

•          59. On January 8, 2004, Michigan promulgated Act Nos. 285 and 286, which renew
               the escrow obligations of all NPMs whose cigarettes are sold in Michigan and
               impose a new "equity assessment" on such sellers. This "equity assessment"
               must be "pre-paid" by March l 51 of each year, at a rate of 175 mills per cigarette

•              (i .e. ¢35 per 20-cigarette pack) for all cigarettes likely to be sold in the State
               (based upon the past year's performance) or $10,000.00 (whichever is higher).

           60. Measures such as those imposed by Michigan should be considered as part of the
               ongoing application of the MSA by the 46 MSA States to preserve the market

•              share of their settlement partners (i .e. the Majors), to the detriment ofNPMs such
               as the Claimants and their investment enterprises. The Claimants reserve their
               rights to include the impact of these, and any other related measures imposed by
               any of the MSA States before this claim is heard, in their analysis of damages
               suffered as a result of their imposition .

•   (II)
               -  -
               Issues

           61. The Government of the United States, through each of its MSA States, has
               breached its obligations under NAFTA Articles l I 02 (National Treatment), 1I03

•
               (Most Favored Nation Treatment), Article 1I04 (Standard of Treatment), ArticJe
               1105 (Treatment in Accordance with International Law), and ArticJe 1110
               (requiring Compensation for Expropriation). The cJaimants have incurred
               damage by reason of that breach, including in relation to their investments as
               hereinbefore and hereafter described .


•   Article 1102 - National Treatment

           62. NAFTA Article 1102 requires the States of the United States to accord to
               Canadian investors and their investments treatment no less favorable than that
               accorded, in like circumstances, to U.S. investors and their investments with

•              respect to the establishment, acquisition, expansion, management, conduct,
               operation, and sale or other disposition of investments.

       63. The Investors and their investments have been accorded less favorable treatment
           than that accorded to investors of the United States and their investments with
           respect to the establishment, acquisition, expansion, management, conduct,
           operation, and sale or other disposition of their investments. The best treatment


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•
            available to investors operating in like circumstances with the Claimants and their
            investments is offered to virtually every other person conducting business in the
I           U.S.A. - i.e. the freedom to transact business without being forced to make
            prohibitive payments into an escrow fund to secure payments of judgments
            arising from vaguely unspecified "culpable conduct" which has never been
            committed, nor even accused of having been committed.

I       64 . In addition, the Investors and their investments have not been provided with the
             best treatment available to their U.S. competitors. The best treatment provided
             under these measures is accorded to those who are exempted from the payment
             requirements of the MSA and Escrow Statutes as described above.


•       65. The operation and effectofthe MSA, Escrow Statutes and Contraband Laws has
            been to unreasonably discriminate against the Investors and their investments,
            thereby compromising their ability to compete and operate their businesses and
            investment enterprises, including in territory claimed by the U.S.A., and causing
            them financial loss, to the corresponding benefit of U.S. competitors who have

•           received and continue to receive more favorable treatment under the MSA and
            these laws.

    Article 1103 - Most-Favored Nation Treatment



•
        66. NAFT A Article 1103 requires the States of the United States to accord to the
            Investors and their investme!JtS treatment no less favorable than that they accord,
            in like circumstances, to investors or investments of any other Party or non-Party
            with respect to the establishment, acquisition, expansion, management, conduct,
            operation, and sale or other disposition of investments.


•       67. Neither the Federal Governrnent nor any of the MSA States requires foreign
            investors to maintain qualified escrow funds to secure judgments that may be
            rendered against them for unspecified wrongs. Under Article 1103, the MSA
            States must provide this level of treatment to the claimants, who are operating
            their business in like circumstances; i.e. never having had a claim made out, much

•           less proved, against them in a U.S. court .

       68. Moreover, foreign competitors of the Investors and their investments have been
           provided with an exemption under the aforementioned measures in breach of
           Article 1103. As a result, the Investors and their investments have not been
           accorded the best treatment available with respect to the establishment,
           acquisition, expansion, management, conduct, operation, and sale or other
           disposition of investments. The Investors and their investments have suffered loss
           and harm as a result of the imposition of these measures in breach of Article 1103.

    Article 1104 - Standard of Treatment

       69. Article 1104 of the NAFTA requires each NAFTA Party, and the states or

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            provinces of such Party, to accord to investors and the investments of another


•
            Party the better of the treatment required by Articles 1102 and 1103 .

        70. None of the MSA States has thus far accorded to the Investors and their
            investments the better of the treatment required by Articles 1102 and 1103.



•
    Article 1105 - Minimum Standard of Treatment

        71. Article 1105 requires each NAFT A Party to accord to investments of investors of
            another Party treatment in accordance with international law, including fair and
            equitable treatment and fu]] protection and security.


•       72. The investments of the Investors have been accorded treatment which falls far
            below the minimum standard of treatment which is required under customary
            international Jaw.

        73. The MSA States have imposed measures relating to the investments of the

•           Investors that require the establishment of an escrow fund to secure claims that do
            not exist or that have never been asserted against them. These measures have
            been imposed in a manner that is so arbitrary as to be completely unjust.
            Arbitrariness is an anathema to the international rule oflaw.



•
        74. In addition, international law requires that for treatment to be fair and equitable, a
            certain minimum degree of transparency will be required. As the degree of
            interference with the investment increases, so too does the obligation to provide
            notice and an opportunity to be heard. No such notice, much less an opportunity
            to be heard, was provided to the Investors before these measures were imposed
            upon their investments and in favor of their competitors. The Investors and their
I           investments have suffered loss and harm as a result of the imposition of these
            measures in breach of Article 1105.

       75. Similarly, the good faith requirement to provide fair and equitable treatment
           prohibits States from acting in a way specifically intended to favor one participant
           in the business community better than another similarly situated participant. Jt
           does not matter why such conduct is engaged in, or whether it is performed ultra
           vires any official grant of authority. It certainly does matter, however, if such
           conduct is engaged in by stealth - as it was in this case - because it evidences an
           utter Jack of good faith in the administration of public office.

•   Article 1110 - Expropriation

       76. Under Article 1110 of the NAFTA, no Party may directly or indirectly
           expropriate an investment of an investor without the prompt payment of effective

•
           compensation. This obligation is extended to the states and provinces of a Party
           through the application of NAFT A Article 105.


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                  77. By essentially banning the purchase and sale of the Investors' products in the
                      MSA States and the operation of their investment enterprises unless they make
I                     prohibitive MSA or escrow payments, the MSA States have effectively
                      expropriated their business as hereinabove described.

                  78. Currently, cigarettes produced and sold by the Investors and their investment
                      enterprises are banned from sale in numerous MSA States. Additional MSA

•                     States continue to demand and sue the Investors or their investment enterprises,
                      seeking damages in the amount of escrow and penalties claimed to be due and
                      injunctive relief preventing the sale of their cigarettes in these States.

                  79. In short, if the Investors fail to comply with the arbitrary and unjustifiable

•                     demands imposed by these measures, they will lose their business. If they comply
                      with these unconscionable demands, they will still Jose their business.

                  80. The claimants only remain in business today, and their products are only sold in a
                      few States, because they have fought the application of these measures, and
                      mitigated their effect by making certain "without prejudice" escrow payments; but
                      their products have been banned in numerous States and their business will fail if
                      the measures continue in force against them . Accordingly, the result of the
                      conduct of these MSA states has been effectively to expropriate the business of
                      the Investors, without any of the MSA States' having paid effective compensation

•
                      to the claimants .

              (III)    Relief Sought and Damages Claimed

                  81. The Investors claim damages for the following:

•                      1.   Damages of not less than US$340 million, as compensation for the damages
                            caused by, or arising out of, the United States' measures that are
                            inconsistent with its obligations contained within Part A of NAFTA Chapter
                            11 ;


•                     11.   Costs associated with these proceedings, including all professional fees and
                            disbursements;

                      m.    Fees and expenses incurred to oppose the promulgation of the infringing
                            measures;

•                     iv.   Pre-award and post-award interest at a rate to be fixed by the Tribunal;

                      v.    Payment of a sum of compensation equal to any tax consequences of the
                            award, in order to maintain the award's integrity; and
t


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           v1.   Such further relief as counsel may advise and that this Tribunal may deem
                 appropriate.
I

    Dated: New York, New York
           March 10, 2004

I

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I                                               Nations, Ltd., Jerry Montour, Kenneth Hill
                                                and and Arthur Montour




•   Todd Weiler
    NAFTALaw.org
    Of Counsel



•   Served To:

    United States Department of State


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              EXHIBIT B
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                UNDER THE ARBITRATION RULES OF THE
       UNITED NATIONS COMMISSION ON INTERNATIONAL TRADE LAW
                               AND
             THE NORTH AMERICAN FREE TRADE AGREEMENT


BETWEEN:


         GRAND RIVER ENTERPRISES SIX NATIONS, LTD.,
   JERRY MONTOUR, KENNETH HILL AND ARTHUR MONTOUR, JR.

                                                    Claimants / Investors


                               - AND -




           GOVERNMENT OF THE UNITED STATES OF AMERICA

                                                      Respondent / Party




                       C LAIMANTS ’ M EMORIAL

                           M ERITS P HASE




                             10 July 2008
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Investors’ Memorial – Grand River, et al.                                                                                              /i


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NAFTA/UNCITRAL Arbitration
Memorial of the Investor
                                          INTRODUCTION

1.        In this arbitration, Claimants seek damages from the Government of the United States
          pursuant to Chapter 11 of the North American Free Trade Agreement (“NAFTA”). At
          issue is a regulatory scheme that imposes discriminatory payment burdens on Claimants
          in comparison to competing tobacco companies in the U.S. market. In addition to
          applying to Claimants as investors, the measures expropriate and treat Claimants’
          investments in an unjust and discriminatory manner, by imposing an in rem ban on the
          sale of Claimants’ trademarked products in any State where the offending regulatory
          payments have not been made.

2.        In contravention of NAFTA, the measures do not operate even-handedly with respect to
          all investors and their investments in the Free Trade Area or the United States. Indeed,
          for the reasons and under the circumstances explained below, Claimants were entitled to
          a heightened level of vigilance and care with respect to receiving at least parity
          treatment under the measures at issue. The record demonstrates, however, that the
          purpose and effect of these measures, as recently amended, is to discriminate against
          Claimants and their investments in favor of a defined group of investors that Respondent
          has arbitrarily chosen to receive such favorable treatment. The further effect of these
          measures has been to expropriate Claimants’ investments for the benefit of the
          aforementioned group of favored investors, in return for what one State Senator
          identified – rightfully so – as ‘protection’ money.

3.        Respondent’s measures have resulted in four basic types of breach under the NAFTA:

                  Articles 1102 & 1103: Respondent has failed to provide Claimants and
                   Claimants’ investments in their proprietary cigarette brands ‘treatment no less
                   favorable’ than has been provided competing tobacco companies and their
                   investments; and

                  Article 1105: Respondent has treated Claimants and their investments in an
                   arbitrary and discriminatory manner, contrary to basic principles of fairness and
                   due process and contrary to the basic human rights norms that condition how the
                   customary international law standard of fair and equitable treatment should be
                   interpreted particularly when the interests of First Nations members and
                   communities are at stake;


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Grand River, et al v. U.S.A.                                                                      /2
NAFTA/UNCITRAL Arbitration
Memorial of the Investor
                  Article 1105: In establishing or expanding their investment, Claimants were
                   entitled to rely on the transparency and stability of the law in the Host State.
                   Claimants shared legitimate expectations that Respondent would not radically
                   change the legal framework for tobacco distribution without effective notice or
                   consultation, and certainly not with intent to drive them out of the market or
                   depart from the obligations it holds to Native Americans under law;

                  Article 1110: Respondent has expropriated Claimants’ investment in specific
                   markets within the United States without the payment of effective compensation
                   or respect for due process under international law.

4.        In defense of these claims, Respondent has raised collateral arguments alleging that
          Claimants are not “investors” who have made “investments” in the United States, and
          that the measures at issue do not relate to Claimants or their investments.

5.        The evidence demonstrates that Claimants have collectively made significant
          investments in the United States, effected through their calculated effort to establish,
          promote, manufacture and distribute unique, proprietary brands of tobacco products
          known as Seneca® and, to a lesser extent, Opal®. These investments include, but are not
          limited to, investments made in connection with a vertically integrated enterprise, which
          Claimants organized and operated to promote and distribute their proprietary cigarette
          brands in the United States.

6.        Respondent’s contention that its measures do not “relate to” Claimants and their
          investments is belied, first and foremost, by the fact that Respondent has banned the sale
          of Claimants’ U.S.-trademarked cigarette brands pursuant to the Contraband Laws and
          injunctions obtained under amended Escrow Statutes in many states, and has threatened
          to ban the sale of those products in most of the states where they are currently sold. If
          the measures did not “relate to” Claimants or their investments, Respondent would not
          have sought, and would not be continuing to seek, their enforcement against Claimants,
          their brands, and the distribution of those brands inside the customs territory of the
          United States.

7.        As Claimants demonstrate in this Memorial on the Merits (“Memorial”), the measures
          have caused material harm to Claimants and substantially impaired the value of their
          investments in the United States.


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NAFTA/UNCITRAL Arbitration
Memorial of the Investor
                                              PART I:
                                             THE FACTS


The Claimants and Their Investments

8.        Claimants Jerry Montour, Kenneth Hill, and Arthur Montour are citizens of Canada and
          members of two of the First Nations that comprise the Six Nations of North America,
          also known as the Iroquois Confederacy and amongst themselves as the
          Haudenosaunee.1

9.        Jerry Montour and Kenneth Hill are the controlling shareholders of Claimant Grand
          River Enterprises Six Nations, Ltd. (“Grand River”), a corporation established under the
          laws of Canada.2 Arthur Montour is the sole shareholder of Native Wholesale Supply
          (“NWS”), a corporation established under the laws of the Sac and Fox Nation.

10.       Individually and as partners, Jerry Montour and Kenneth Hill first became involved in
          the tobacco industry in or about 1988, through various informal and formal business
          relationships and associations that principally involved the manufacture and distribution
          of tobacco products on Native American land in northern New York State. These
          business relationships included, among others, a contract manufacturing relationship
          with a Delaware corporation known as Star Scientific, Inc. (“Star Scientific”), pursuant
          to which Star Scientific manufactured Mr. Montour’s and Mr. Hill’s proprietary DKs®

1
         Statement of Jerry Montour, sworn to July 10, 2008, at 1. (hereafter “J. Montour Stmt.”);
         Statement of Kenneth Hill, sworn to July 8, 2008, at para 1. (hereafter “Hill Stmt.”). Statement
         of Arthur Montour, sworn to July 10, 2008 at para 1. (hereafter “A. Montour Stmt.”) Despite the
         similarity in their family names, Jerry Montour and Arthur Montour do not have a familial
         relationship. J. Montour Stmt at 12.
2
         J. Montour Stmt. at 2; Hill Stmt, at para 2. For the reasons explained further herein, Jerry
         Montour and Kenneth Hill are investors with standing under the NAFTA in their own right –
         separate and apart from the investment interest of all Grand River shareholders in bringing this
         claim (which, in any event, is also represented in the claim brought on behalf of Grand River by
         Messer’s Montour and Hill, as its controlling shareholders under Article 1117). Jerry Montour
         and Kenneth Hill share a relationship with Arthur Montour and his distribution company in the
         United States, which is distinct from the arrangements agreed to by and among that company and
         Grand River, as a matter of domestic law.




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Grand River, et al v. US.A.                                                                              14
NAFT A/UNCITRAL Arbitration
Memorial of the Investor
            and Putters® cigarette brands for subsequent distribution on Native American land
            principally in northern New York.

11.         Building on the experience they gained in the marketing and distribution of their OKs®
            and Putters® brands, and using the profits from that business, Claimants subsequently
            expanded into manufacturing these brands in 1990, in their own right. To that end, they
            entered into a formal business relationship with a fellow Mohawk Nation member,
            named Lawrence Skidders, for the purpose of establishing a manufacturing facility that
           would take over production of these two brands from Star Scientific. 3




                                                                             They also contributed their
           distribution expertise and general knowledge of the tobacco business as well, while Mr.
           Skidders contributed land, construction expertise, and administrative and operational
           skills. 4 Together, Jerry Montour, Kenneth Hill
                                                             successfully constructed the        cigarette
           manufacturing plant in Racket Pointe, New York on the Akwasesne Territory of the
           Mohawk Nation.           This territory includes lands located within the borders of two
           Canadian Provinces, Ontario and Quebec, and one U.S. State, New York. 5

12.        Larry Skidders had previously owned and operated a successful construction company
           that became a model of First Nations success, employing a number of First Nations
           peoples to complete construction projects designed to advance the cause of First Nations
           members in North America. The First Nations people employed by Mr. Skidders in his
           construction company at that time included Claimant Arthur Montour


           . . With the added enthusiasm of a young Arthur Montour, the industry experience

          J. Montour Stmt at 12.
          J. Montour Stmt. at 13.
          J. Montour Stmt. at 9-11. The Akwesasne Territory is also known as the "St. Regis Reservation" by
          residents of upper New York State.




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Grand River, et al v. U.S.A.                                                                          15
NAFT A/UNCITRAL Arbitration
Memorial of the Investor
             of Jerry Montour and Kenneth Hill, and the facility and administrative acumen of Larry
             Skidders, the venture was seen, as described by Arthur Montour, as representing their
             collective future. 6

13.          In January 1991, at 40 years of age, Larry Skidders died suddenly while driving home
             from an American Football Superbowl sporting event in Tampa, Florida. 7 The parties'
             business relationship with the Skidders estate deteriorated shortly thereafter, and as such
             it no longer became feasible to maintain production at the recently launched facilities on
             Racket Pointe. 8 Accordingly, starting in 1993, Messrs. Montour and Hill began the
            process of moving production of their DKs® and Putters® brands to the Six Nations of
            the Grand River Territory in Ontario, Canada. Meanwhile, Arthur Montour had been
             developing a fairly successful tobacco distribution network among Native American
            traders in the United States, which he continued to serve subsequent to his departure
             from Racket Pointe, both in an individual capacity and through various associations with
            other Native American suppliers. 9 Arthur Montour's contacts and distribution networks
            also allowed him to branch out into trading commodities other than tobacco products. 10

14.


                                                                                    form a partnership
            known as "Grand River Enterprises," for the purpose of constructing a new cigarette
            manufacturing facility on Six Nations land, in Ontario, Canada. 11 The contemporaneous
            resolutions of the Band Councils and Assembly of First Nations attached to this
            memorial acknowledge a principal goal of Grand River Enterprises that parallels the
            intent and spirit of NAFTA: i.e., to promote trade and commerce among all First

6
           A. Montour Stmt. at 7 .
           A. Montour Stmt. at 8.
           J. Montour Stmt. at 13.
9
           A. Montour Stmt. at 9 .
10
           A. Montour Stmt. at 9 .
II
           J. Montour Stmt. at 14.




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Grand River, et al v. U.S.A.                                                                                /6
NAFTA/UNCITRAL Arbitration
Memorial of the Investor
          Nations members throughout North America, as if there were no borders among these
          respective member nations.12

15.       As the video attached to Jerry Montour’s statement demonstrates,13 the intent behind
          Claimants’ investments in the tobacco industry has always been to improve economic
          development among First Nations peoples in an area of commerce for which Six Nations
          traders had been involved for centuries, long before the arrival of European settlers and
          colonists.14 Thus, in transitioning from Racket Pointe to the Six Nations of the Grand
          River Territory, Jerry Montour and Kenneth Hill maintained a consistent objective of
          establishing manufacturing facilities and distribution networks to serve First Nations
          territories in both Canada and the United States.15 Their first efforts in the United States
          were hindered to some extent by a partner’s premature death. After their manufacturing
          facility was relocated to Six Nations in Canada, however, they had to deal with a
          different obstacle: a legal dispute with the Government of Canada over taxation of their
          business. The Grand River partners wanted to ensure that the proceeds of any amounts
          paid in relation to their sales would actually benefit members of their community. The
          Government of Canada claimed that the Grand River partners could not manufacture
          cigarettes without a federal license and payment of taxes to the Federal Government,
          without restriction as to what community would benefit from its collection.16 The Grand
          River partners maintained that they had a sovereign right, exercised since time
          immemorial, to manufacture and trade in tobacco products among Six Nations members,
          and other First Nations generally, free of such taxation.17




12
         Appendix of Claimants’ Evidence, Ex. 15.
13
         J. Montour Stmt., Ex 1.
14
         J. Montour Stmt at 3. Statement of Professor Gary Warrick, at page 46; Statement of Prof. Jose Antonio
         Brandao, at page 17; Statement of Professor Robert Clinton, at page 16.
15
         J. Montour Stmt at 11-12.
16
         Hill Stmt at 5-6; J. Montour Stmt at 17.
17
         J. Montour Stmt at 18.




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16.        As part of dealing with their dispute with the Government of Canada, the partners
          undertook to incorporate under the laws of Canada in 1996, as Grand River Enterprises
          Six Nations Ltd. (hereinafter “Grand River”).18 Thereafter, Grand River remitted federal
          excise taxes and duties to the Government of Canada. However, its, shareholders (still
          considered by Claimants essentially to be partners) remained personally exempt from
          government taxation relating to Grand River’s operations, including compensation that
          they would receive from those operations.19

17.       With some of their Canadian legal issues addressed, and their relationship with the
          Skidders Estate terminated, the Grand River partners turned their sights again on
          expanding their investment in the United States tobacco industry.                     In 1996, Jerry
          Montour, on behalf of some of his partners, entered into a venture relationship with the
          Omaha Tribe of Nebraska (“Omaha Tribe”) to manufacture and distribute proprietary
          cigarette brands through Native American channels in the United States.20 Profits of the
          venture were to be divided equally amongst the Omaha Tribe and Jerry Montour.21 It
          was also agreed that Arthur Montour would be the person principally responsible for the
          distribution of any proprietary products manufactured by the venture for Claimants and
          would receive his share of compensation from that venture from those distribution
          proceeds.22

18.       As part of their venture, Jerry Montour moved to, and resided in, Macy, Nebraska,
          between 1996 and 1998.             His presence was required in the territory to oversee
          construction of the manufacturing facility and management of its initial operations.23

18
         J. Montour Stmt at 18. To be clear, the partners’ incorporation of Grand River did not mean that they
         willingly submitted themselves or their enterprise to taxation by the Government of Canada. As part of
         their understanding with the Six Nations Band Council, they had planned to, and did, remit payments to the
         Council for the benefit for the Band. There is also no question that the Province in which the Band’s
         territory was located had no authority to impose taxes upon Claimants or their enterprise.
19
         J. Montour Stmt. at 18.
20
         J. Montour Stmt. at 19.
21
         J. Montour Stmt. at 19.
22
         J. Montour Stmt. at 20.
23
         J. Montour Stmt. at 20.



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             Jerry Montour also personally guaranteed the financial obligations of the venture with
             respect to the refurbishing of the machinery acquired to equip that production facility. 24

 19.         After dedicating two years to the Omaha Tribe venture, however, it became apparent to
             Jerry Montour that fundamental business differences required that he and Claimants part
             company with the Omaha Tribe, and that Claimants would have to seek an alternative
             source for their manufacturing needs and distribution goals relative to the U.S. market. 25

Establishing an Investment in the Seneca® Brand,

20.          By the end of 1998, Jerry Montour returned to Canada and took the reins of Grand River
             as Chief Executive Officer. His first order of business was to work with Grand River's
            president, Steve Williams, in areas of the business that needed most attention, and to
             focus on a plan for meeting Claimant's U.S. production and distribution goals out of
            Grand River's facility in Ohsweken, Ontario. 26 To that end, in 1999 Grand River
            entered into a formal venture with Claimant Arthur Montour                       , who were
            operating under the trade name Iroquois Tobacco Direct.           In commencing this new
            relationship, Messr's Montour and John founded Native Tobacco Direct ("NTD"), a
            company incorporated under the laws of the Sac and Fox Nation. 27 Arthur Montour had
            been previously engaged in tobacco and other businesses                       , and financed
            his capital contribution in Native Tobacco Direct by assigning his interest in those other
                                         28
            companies - .

21.         Despite the setbacks they had endured in their relationships with the Skidders Estate and
            then the Omaha Tribe, in 1999 Claimants continued pursuit of their goals with respect to
            the U.S. market. To his end, they memorialized some of the particulars of the roles each


24
           J. Montour Stmt at 19.
25
           J. Montour Stmt. at 20.
26
           J. Montour Stmt. at 21.
27
           J. Montour Stmt. at 21 and 24; A. Montour Stmt. 2.
28
           A. Montour Stmt. 13.




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          had assumed amongst themselves, by adopting a corporate structure and concluding
          written agreements in respect of the possession and use of intellectual property rights
          supporting their current and planned brands.29 Specifically, Native Tobacco Direct
          would be established and would register and acquire a U.S. trademark for Claimants’
          new Seneca® brand of cigarettes, and would be responsible for the distribution of those
          products on Native American land in the United States.30 In addition, NTD would hold
          that trademark beneficially for all Claimants as investors in this constituted enterprise.31

22.       In 1999, NTD also applied for and received a U.S. tobacco importer permit issued by the
          U.S. Bureau of Alcohol, Tobacco and Firearms. The agreement among the parties also
          memorialized Grand River’s exclusive rights with respect to the Seneca® brand,
          pursuant to an express cross-licensing arrangement.32 Thus, Grand River held (and
          continues to hold) exclusive US manufacturing rights for the Seneca® brand of cigarettes,
          while NTD possesses the distribution rights for that brand in the United States.
          Together, Claimants have at all times possessed and controlled all of the property rights
          associated with the Seneca® brand and exercised those rights jointly, not severally.33
          Moreover, these exclusivity rights and obligations were to be similarly accorded to each
          party in respect of any other brands and attendant trademark and associated property
          interests that the parties might subsequently develop or acquire for the U.S. market.34

23.       Thus, in order to refocus their business interests in the United States in 1999, Claimants
          established the basic structure of the business enterprise that continues to exist today.
          Revenues from this enterprise were divided pursuant to a formula that provided the
          remaining Grand River partners (now as shareholders of the corporation) with


29
         Claimants’ Evidentiary Submissions, Ex. 17.
30
         The Seneca® brand name was an original idea of Arthur Montour, while the logo and style for its packaging
         was created jointly by and among all Claimants. A. Montour Stmt. at 10 and 11.
31
         J. Montour Stmt. at 25; A. Montour Stmt. at 13; Claimants’ Evidentiary Submissions, Ex. 18.
32
         Claimants’ Evidentiary Submissions, Ex. 17; A. Montour Stmt. at 13.
33
         A. Montour Stmt. at 13.
34
         Claimants’ Evidentiary Submissions, Ex. 17.




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            compensation derived from sales to NTD, while Arthur Montour                                      would
            receive compensation in the form of salary and income from sales revenues earned by
           NTD. 35




24.        In connection with their U.S. business enterprise, Grand River also initially loaned
           equipment to NTD, including a truck that NTD used to make deliveries to its Native
           American customers throughout the United States. 37 In addition, in order assist NTD to
           commence business, Grand River agreed to allow NTD's bank to collateralize inventory
           in NTD's possession, but for which Grand River had yet to be paid,




25.        Grand River also supported the firm establishment of NTD and then NWS by providing
           both with access to an inventory loan with open-ended terms. The loan was constantly
           in use between 1999 and 2006, providing interest free access to inventory on a revolving




26.        NWS succeeded to all the rights and obligations of NTD under the Claimants'
           agreement, and it continues to this day to operate as the U.S. marketing and distribution

35
          A. Montour Stmt. at 14; J. Montour Stmt. at 26.
36
          J. Montour Stmt. at 26; A. Montour Stmt. 15.
37
          A. Montour Stmt. at 14; J. Montour Stmt. at 29; Claimants' Evidentiary Submissions, Ex. 19.
38
          Claimants' Evidentiary Submissions, Ex. 20.         This collateralization reflected a concession and
          subordination by Grand River of the accounts receivable it necessarily ceded to a priority lien and claim of
          its bank.
39
          A. Montour Stmt. at 18; J. Montour Stmt. at 31; Claimants' Evidentiary Submissions, Ex. 21.




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              facility for Claimants' Seneca® business venture. 40 Arthur Montour continues to draw
              salary and income derived from Native Wholesale Supply's sale and distribution of
              Seneca® cigarettes manufactured exclusively by Grand River; Grand River and its
              shareholders continue to receive revenue from the production and sale of those




27.          After Arthur Montour took over 100% of the ownership interest in NTD and formed
             NWS in 2000, it was necessary for him to complete his buy-out of his former partner,
                                                        . NWS took advantage of the inventory loan from
             Grand River to finance the regularly scheduled payments it was obliged to make -
             •     between May 31, 2001 to November 15, 2002



28.          Also in 2000, Grand River began to produce cigarettes on a private label basis for other
             importers in the U.S. market. 42 Unlike the Seneca® brand, Grand River did not possess
             any trademark or property rights in these brands, nor did it advance credit or otherwise
             invest in the promotion or successful distribution of these other brands. 43 Nonetheless,
             Grand River became contractually bound to produce certain of these other brands and
             generated revenue from their production until Respondent's enforcement of the
             measures at issue herein caused Grand River to take steps to discontinue their
             production. 44

29.          As the financial statements, balance sheets, and accounting records of Grand River and
             NTD/NWS reflect, Claimants' investment efforts and enterprise relative to the U.S.



40
            A. Montour Stmt. at 2; Claimants' Evidentiary Submissions, Ex. 22.
41
            A. Montour Stmt. at 15; J. Montour Stmt. at 26; Claimants' Evidentiary Submissions, Exs. 22 & 23.
42
            J. Montour Stmt. at 33.
43
            J. Montour Stmt. at 33.
44
            J. Montour Stmt. at 34; Claimants' Evidentiary Submissions, Ex. 24.




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          market grew from humble beginnings in 1990, to achieve considerable success and
          profitability for Claimants.45

30.       Please see table 1-1, attached, which provides a timeline and chronology of Claimants’
          business activities and their investments described above.

Adoption of the Escrow Statutes

31.       The measures relating to Claimants’ claims arose in the context of a litigation settlement
          agreement that forty-six (46) of Respondent’s state governments entered into in
          November 1998, with the four largest U.S. cigarette manufacturers, and legislation
          subsequently adopted to implement that agreement.46

32.       Beginning in 1994, several of Respondents’ state governments commenced filing
          lawsuits in the United States against the major U.S. cigarette manufacturers: Philip
          Morris, Inc.; R.J. Reynolds Tobacco Company; Brown & Williamson Tobacco
          Company; and Lorrilard Tobacco Company (collectively, the “Major U.S.
          Manufacturers”). Together, the Major U.S. Manufacturers accounted for approximately
          96-98% of the U.S. tobacco market in terms of cigarette sales.47

33.       The lawsuits alleged that the Major U.S. Manufacturers had targeted youth in their
          advertising and marketing; knew of the addictive and adverse health consequences of
          smoking but failed to disclose that information to consumers; and conspired to withhold
          that information from the consuming public for the purpose of preserving their sales and
          revenue.48 Respondent’s state governments claimed that the aforementioned bad acts
          resulted in the States unfairly incurring Medicaid expenses relating to treatment of
          smoking-related illnesses of indigent smokers.49 Notably, whatever may have been the

45
         Expert Report of Wayne R. Wilson, Jr. dated July 10, 2000 (“Wilson Report”).
46
         The subject States are sometimes referred to interchangeably herein as “Settling States.”
47
         Claimants’ Evidentiary Submissions, Ex. 25.
48
         Claimants’ Evidentiary Submissions, Ex. 26.
49
         Claimants’ Evidentiary Submissions, Ex. 26.




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          justification or pretense for commencing these lawsuits, smaller tobacco companies,
          including Grand River, were not sued by Respondent’s state governments, nor ever
          accused of such wrongdoing.

34.       In 1997, in lieu of having these claims decided on the merits, the state governments
          proposed a resolution of the lawsuits through Congressional legislation that incorporated
          the terms of a settlement agreement (hereafter the “Federal Proposal”), which would
          impose a future fee on all manufacturers based on the quantity of their cigarette sales in
          the United States – including those that had not been sued.50 Significantly, however, the
          Federal Proposal would treat all cigarette manufacturers, that agreed to the terms of the
          proposed settlement, equally.           It would have imposed equal, per-unit payment
          requirements on all manufacturers pursuant to a rate schedule that did not deviate based
          on the market share of one group of competitor in comparison to others or their
          historical market shares.51 The total payments under the Federal Proposal during the
          first twenty-five (25) years after its effective date were estimated to be approximately
          $368.5 billion.52

35.       While the Federal Proposal was being considered by Respondent’s Congress, some state
          governments entered into individual settlements with the Major U.S. Manufacturers,
          pursuant to terms that did not implicate or involve manufacturers other than those that
          had been sued. These States included Florida, Minnesota, Mississippi and Texas.53

36.       Separately, and while the Federal Proposal was being negotiated, the Liggett Tobacco
          Company (which was the next largest manufacturer in the U.S. market after the Major
          U.S. Manufacturers) also entered into multistate settlement agreements with twenty-two
          state governments.54 Pursuant to the terms of these settlements, those state governments


50
         Claimants’ Evidentiary Submissions, Ex. 27.
51
         Claimants’ Evidentiary Submissions, Ex. 25.
52
         Claimants’ Evidentiary Submissions, Ex. 25.
53
         Claimants’ Evidentiary Submissions, Ex. 28.
54
         Claimants’ Evidentiary Submissions, Ex. 29.




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          agreed to terminate their lawsuits in return for relatively minor payments plus an
          agreement by Liggett Tobacco Company to turn over highly confidential industry
          documents that apparently evidenced a conspiracy among the Major U.S. Manufacturers
          that had been concealed through their in-house counsel under an inter-company
          committee called “The Committee of Counsel.”55

37.       It was alleged that the Major U.S. Manufacturers used a committee composed of their
          counsel to undertake research into the health consequences of smoking, which was then
          withheld from the public under a claim of “attorney-client privilege.”56 It was also
          alleged that, through this ‘Committee of Counsel,’ these manufacturers conspired not to
          develop or market cigarettes that could be considered safer to the consuming public,
          because such developmental efforts might be interpreted as an admission that cigarettes
          were unsafe for consumption and that the manufacturers had known about their
          deleterious effects all along.57

38.       Ultimately, the Federal Proposal was rejected by Respondent’s Congress in April 1998,
          after Congress had commissioned a study by Respondent’s Federal Trade Commission
          that concluded the Federal Proposal was likely to lead to anticompetitive conduct.58
          What followed next can best be described as evidence of a perverse dynamic in which
          the enforcement divisions of the state governments’ executive branches reacted to
          rejection of the Federal Proposal. These officials remained undeterred in their desire for
          a mechanism that would allow them to avoid facing a judicial determination of their
          claims on the merits.59 After all, their claims were unprecedented and had never been




55
         Claimants’ Evidentiary Submissions, Ex. 30.
56
         Claimants’ Evidentiary Submissions, Ex. 30.
57
         Claimants’ Evidentiary Submissions, Ex. 30.
58
         Claimants’ Evidentiary Submissions, Ex. 25.
59
         Claimants’ Evidentiary Submissions, Ex. 31.




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          tested in the courts. The prospect of having a court or tribunal decide those claims on
          the merits presented too great a risk for Respondent’s States to take.60

39.       The States gave the task of principal negotiator for their settlement efforts to the
          Attorney General of the State of Washington, Christine Gregoire, whose claims against
          the Major U.S. Manufacturers were about to commence trial.                  Assisting Ms. Gregoire
          were the Attorneys General of seven (7) other States and their private trial attorneys.61
          The non-government lawyers representing the States – some of whom it was later
          discovered were former law partners and personal friends of the Attorneys General –
          stood to gain an astonishing, aggregate amount of over twelve billion dollars
          ($12,000,000,000) in attorneys fees if the settlement were concluded.62

40.       It was apparent, then, that when the Major U.S. Manufacturer’s demanded that their
          settlement with the remaining forty-six States be premised on the following two (2)
          conditions, the state officials and their non government lawyers capitulated with
          virtually no resistance. First, all of the remaining States had to be included in one final
          settlement (as the Major U.S. Manufacturers would not agree to settle on a piecemeal
          basis). Second, the States would be required to enact measures limiting competition
          from smaller tobacco manufacturers that had never been sued and who would
          accordingly not be directly subject to the conditions of any settlement agreement,
          including payment requirements.63

41.       Between May 1998 and November 1998, through a secret negotiation process that
          involved a core group of eight Attorneys General and their non-government lawyers,

60
         In fact, subsequent cases revealed that these claims had no basis in fact or law, as Respondent’s Justice
         Department later discovered when its case was tried to an ultimate determination on the merits – a
         conclusion and fate that every other sovereign experienced when they had their similar claims finally
         adjudicated on the merits. United States v. Philip Morris, Inc. 116 F. Supp. 2d 131, 134 (D.D.C. 2000);
         Blue Cross & Blue Shield of N.J., Inc. v. Philip Morris USA Inc., 3 N.Y. 3d 200, 818 N.E. 2d 1140, 3 N.Y.
         3d 200, 2004 N.Y. Lexis 2440, 785 N.Y.S. 2d 399 (2004).
61
         Claimants’ Evidentiary Submissions, Ex. 31.
62
         Claimants’ Evidentiary Submissions, Ex. 32.
63
         Claimants’ Evidentiary Submissions, Ex. 31.




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          Respondent’s state governments negotiated, and ultimately concluded, a settlement deal
          on behalf of forty-six states and six U.S. territories (hereafter “Settling States”) that
          became known as the Tobacco Master Settlement Agreement (“MSA”), effective as of
          November 23, 1998.64 The MSA, in its final form, was concluded beyond the purview
          of Respondent’s Federal Government; and it did not have, nor was it purported by the
          Settling States to require, approval or sanction from Respondent’s Federal Government.

42.       The contemporaneous accounts of the MSA’s settlement negotiations, and Respondent’s
          complete lack of document production in this proceeding with respect to those accounts,
          also reveals that the Settling States did not review, analyze, or evaluate whether the
          MSA was permissible under U.S. competition laws, nor under international law,
          including NAFTA Chapter 11.65

43.       As consideration for resolving the Settling State’s claims and dismissal of their lawsuits,
          the four Major U.S. Manufacturers that negotiated the MSA (identified in the MSA as
          “Original Participating Manufacturers” or “OPMs”) agreed to make annual “settlement”
          payments to the States and refrain from certain forms of advertising and marketing of
          their products.66 In exchange, the Settling States agreed to include language in the MSA
          at the behest of the OPMs that made the MSA’s payment terms and burdens applicable
          to all tobacco product manufacturers whose cigarettes would thereafter be sold in the
          United States.67 That is, the Settling States agreed to enact model legislation annexed as
          Exhibit “T” to the MSA, which was intended to have the purpose and effect of
          “neutralizing” any alleged cost disadvantages that the MSA’s Participating
          Manufacturers might experience as a result of the MSA, when they raised their prices to
          fund the settlement payments to the Settling States.68



64
         Claimants’ Evidentiary Submissions, Ex. 33.
65
         Claimants’ Evidentiary Submissions, Ex. 31.
66
         Claimants’ Evidentiary Submissions, Ex. 33.
67
         Claimants’ Evidentiary Submissions, Ex. 31.
68
         Claimants’ Evidentiary Submissions, Ex. 34 at, (d)(2)(E).




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44.       The model legislation is commonly known as an “Escrow Statute,” because it requires
          any tobacco product manufacturer whose cigarettes are sold in a Settling State to either
          join the MSA as a Subsequent Participating Manufacturer (“SPM”), or remain a non-
          party and make payments into an escrow account which are to be held for twenty-five
          (25) years for the benefit of that Settling State.69 Companies choosing not to join the
          MSA are identified in the MSA and Escrow Statutes as “Non Participating
          Manufacturers” or “NPMs.”

45.       As recited in the MSA, the purpose of the Escrow Statute is to neutralize the alleged cost
          advantages that a NPM purportedly would otherwise experience vis-à-vis the MSA’s
          Participating Manufacturers, and, second, to create a fund to secure payment of
          “Released Claims” (defined in the MSA) in the event a Settling State sues the NPM in
          the future and the NPM is found to have acted “culpably” by the courts.70 Theoretically,
          if no such claim and determination of culpability was made, the escrow payments were
          to be returned to the NPM twenty-five (25) years after they were deposited.

46.       Under the MSA, the annual payments due from a SPM are calculated based on the
          aggregate cigarette sales volumes of the OPMs in the United States during the prior
          calendar year, and, second, the ratio of the SPM’s market share in comparison to the
          aggregate market shares of the OPMs in the United States during that year.71

47.       Under the Escrow Statutes as originally enacted, the amount that a NPM was required to
          deposit and hold in escrow for a given State in any year was ultimately based on the
          amount that the State would have received from the NPM for that year had it been a
          SPM under the MSA.             The escrow payment process involved two steps.     First, a
          manufacturer was required to make a payment into escrow based on the number of units
          of that NPM’s cigarettes sold in that State. Next, the NPM was entitled to an immediate
          return (i.e. ‘release’) of that payment, to the extent the payment exceeded the amount the

69
         Claimants’ Evidentiary Submissions, Ex. 35.
70
         Claimants’ Evidentiary Submissions, Ex. 34 and 35.
71
         Claimants’ Evidentiary Submissions, Ex. 36 at (i).




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          Settling State would have received from the NPM had it been an SPM under the MSA
          during that year.

48.       Unbeknownst to Claimants, just prior and subsequent to execution of the MSA, the non-
          government lawyers that represented the Settling States set out to solicit smaller tobacco
          product manufacturers into joining the MSA as SPMs and be bound by its payment and
          conduct restrictions.72 As an inducement to join the MSA, the Settling States offered
          these smaller tobacco companies exemptions from the MSA and Escrow Statute’s
          payment requirements. The MSA provided, however, that agreement to join the MSA
          had to be undertaken within ninety (90) days of the MSA’s execution date.73

49.       Specifically, the MSA provides that any SPM that joined the MSA within ninety (90)
          days after its execution date shall not have any payment obligation under the MSA or
          Escrow Statutes for its volume of sales in any year that is equivalent to one hundred
          percent (100%) of its 1998 U.S. market share, or one-hundred twenty-five percent
          (125%) of its 1997 U.S. market share in terms of national cigarette sales.74 Companies
          that were offered such an inducement and joined the MSA within such 90 days are
          called “Exempt SPMs.”

50.       Respondent has not provided any explanation, reason, or justification for if its granting
          exemptions only to a select group of manufacturers with whom its state officials and
          their attorneys chose to deal within ninety (90) days after the MSA’s execution, other
          than to say in a self-serving, perfunctory way that the exemptions were offered to induce
          those manufacturers to join the MSA.75


72
         R. Parloff, “Is the $200 Billion Tobacco Deal Going Up in Smoke?” Fortune Magazine March 7, 2005 at
         126; found at Tab 1, Factual Materials, Claimants’ Counter Memorial on Jurisdiction.
73
         Claimant’s Evidentiary Submission, Ex. 34 at (i) “&” 33 at Amendment 2.
74
         Claimant’s Evidentiary Submission, Ex. 34 at (i).
75
         Incredibly, if an Exempt SPM thus possessed 1% of the U.S. cigarette market in terms of cigarette sales in
         1997, it would be permitted to continue to sell as much as 1.25% of all the cigarettes sold in the United
         States every year, in perpetuity, without ever having to make any payment under the MSA or Escrow
         Statutes. So, for example, if the MSA and Escrow Statute payment requirements were $5.00 per carton of
         cigarettes in any year, and the total volume of cigarettes sold in that year by all manufacturers in the U.S.
                                                                                                        (continued…)


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Enforcement of the Original Escrow Statutes

51.       As noted above, for any manufacturer that chose not to join the MSA, the original model
          Escrow Statute provided the NPM with an immediate release of funds deposited into
          escrow for a given Settling State, if the amounts deposited in a given year exceeded the
          State’s “allocable share” of the payments the manufacturer would have otherwise made
          as a non-exempt SPM under the MSA. Under the MSA, a non-exempt SPM makes one
          payment to all the Settling States based on its national market share of cigarette sales.
          The Settling States then divide the payment among them, according to the allocable
          share percentage for each State.76

52.       Under the original Escrow Statute, if the percentage of an NPM’s sales in a Settling
          State in comparison to all its sales in the U.S. market was greater than that Settling
          State’s allocable share, the NPM would generally receive some form of immediate
          release of the escrow it deposited in that year.77




(…continued)
         market was 1,750,000,000 cartons, the Exempt SPM in this example would pay $0 for the first 21,875,000
         cartons of cigarettes it sold in that year. In contrast, any non-exempt SPM or NPM (including Claimants)
         whose cigarettes accounted for 1.25% of the U.S. cigarette sales in that year would be forced to pay
         $109,375,000 under the MSA or Escrow Statutes for those same sales.
         Similarly, using the example above, if the Exempt SPM sold 2.5% of all the cigarettes sold in the U.S.
         market, its payment obligation under the MSA would average $2.50 per carton, for a total $109,375,000 on
         43,750,000 cartons sold. In contrast, in selling the same amounts under the Seneca brand, Claimants would
         have to pay double that amount under the MSA or Escrow Statues – $218,750,000.
76
         New York, for example, has an allocable share of 12.7620310% under the MSA. MSA, Annex “A.” This
         means that, for every million dollars ($1,000,000) paid by a SPM under the MSA, New York would receive
         $127,620.31; each of the Settling States would similarly receive its “allocable share” of that same one
         million dollars.
77
         For example, if 2,000,000 cartons of a manufacturer’s cigarettes were sold in the U.S. market, then using
         the figures noted in the footnote above, the maximum amount that New York would receive from that
         manufacturer had it joined the MSA would be $1,276,203.10 (2,000,000 cartons x $5.00 per carton x
         12.7620310% = $1,276,203.10). Under the Escrow Statutes, if the manufacturer sold 1,000,000 cartons in
         New York and 1,000,000 cartons elsewhere in the United States, the manufacturer would initially have to
         deposit $5,000,000 into escrow for New York (1,000,000 cartons sold in New York x $5.00), but it would
         be entitled to an immediate release of $3,723,796.90 from those funds ($5,000,000 – $1,276,203.10 =
         $3,723,796.90).




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53.       Thus, as an NPMs cigarettes were sole in fewer States, its net escrow obligation in each
          State and in the aggregate decreased under the terms of the Original Escrow Statute.

Adoption of the Contraband Laws

54.       Claimants have obtained documents from other sources demonstrating that Respondent
          refused to produce evidence in this arbitration proceeding, indicating an oppressive
          pattern and practice of the Settling States to concentrate enforcement efforts on NPMs of
          foreign origin. Specifically, Claimants have come into possession of memoranda,
          initially exchanged among the Settling States shortly after adoption of the measures at
          issue, which admit that officials themselves were in doubt as to whether they even had
          the necessary authority, under their measures, to subject either foreign ‘tobacco product
          manufacturers’ or Native American tobacco enterprises to escrow payment demands, or
          court action.

55.       Respondent took pains to stress during the jurisdictional phase of the arbitration that
          Claimants were very much an object of attention for enforcement officials from a large
          number of Settling States. As the memorandum cited in the immediately preceding
          footnote demonstrates, there was considerable uncertainty amongst the lawyers working
          for the Settling States’ Attorneys General over whether they had authority to adopt one
          of the enforcement strategies they appear to have preferred. Nonetheless, they seemed
          to have had little compunction about zealously prosecuting NPMs whom they were not
          even convinced they could legitimately pursue. Adoption of the Contraband Laws was
          intended to dispel such doubt, providing the Attorneys General with much stronger
          means for banning the brands of out-of-jurisdiction NPMs.’

56.       NAAG officials have actually been more candid about their authority under Escrow
          Statutes when speaking amongst themselves. For example, in an undated document
          circulated by NAAG, entitled: “Model NPM Statute: Frequently Asked Questions,” a
          state representative poses a question whether “… in the case of a foreign manufacturer,
          do the states have jurisdiction to require the foreign manufacturer to make escrow
          payments?” The official notes the answer “…is a legal determination that we cannot



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          make…” Such equivocation is remarkable given that it comes in the form of a 17 page,
          57 paragraph advisory document distributed by the National Association of Attorneys
          General to its members, who are obviously lawyers working in the enforcement
          divisions of Settling States. The same memo continues:

         Q.      If the manufacturer is out-of-state, we may not have jurisdiction over the
                 company and may not be able to require it to make escrow payments. Likewise,
                 if an importer is out-of-state and sells imported product through an out-of-state
                 intermediary (e.g., an off-shore corporation) to an out-of-state wholesaler, we
                 may not have jurisdiction over the importer and could not require it to make
                 escrow payments.

         A:      Correct.

         Q:      We have limited practical ability to enforce a statute like the Model Statute on an
                 Indian reservation. There are Non-Participating Manufacturers located on
                 reservations. As a practical matter, it is not possible to make these manufacturers
                 comply. How will this affect the MSA payments?

         A:      It is possible that taxable sales by NPMs on Indian reservations could result in a
                 reduction of MSA payments if those sales result in a decrease in the Participating
                 Manufacturers’ market shares. However, if those sales on Indian reservations are
                 nontaxable or nonescrowable, they should not affect the MSA payments.78



57.       To be clear, the targeting of out-of-jurisdiction ‘tobacco product manufacturers’ was
          motivated by the Settling States’ desire to locate and prosecute the NPMs who were
          least likely to contest enforcement activities against them, as it was assumed that
          enterprises without a physical presence in a jurisdiction would either be: (1) disinclined
          to appear (assuming that it would be very difficult for a settling state to enforce any
          judgment it obtained, in another jurisdiction); or (2) unaware that a case had even been
          filed against it (because of inadequate service of documents).               From a functional
          perspective, it did not matter if the targeted NPM was located in a foreign jurisdiction or
          operating on Native American land, as the same result could be, and was, expected.
          Regardless of why the targeted NPM might choose not to oppose an action brought
          against it, the Settling States’ attorneys could still expect to obtain the positive result

78
         Claimant’s Evidentiary Submissions Ex. 37 at ¶¶39-40 & 11.




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          they sought – a judgment and an injunction against the NPM and all brands allegedly
          manufactured by it.

58.       Accordingly, unsatisfied with pursuing a strategy of targeted enforcement against certain
          types of NPM, the Settling States elected to go further with adoption of the Contraband
          Laws. The Contraband Laws were drafted by the Settling States in collaboration with the
          OPMs and SPMs and represented the next logical step in the logic of their campaign
          against out-of-jurisdiction NPMs. The Contraband Laws were designed to operate in a
          manner that obviated the need for an attorney general to go to the trouble of bringing
          suit under an Escrow Statute in order to ban the brands of a targeted NPM from its
          market. The Contraband Laws mandated that, before any brand could be legally sold in
          that Settling State, an entity capable of being deemed by its Attorney General to be its
          ‘tobacco product manufacturer’ was required to submit a substantive application to the
          Settling States, certifying that it was in compliance with its Escrow Statute. Failure to
          receive certification would result in designation of the brand as contraband in a given
          Settling State, no matter how the products in question came to be sold there.

59.       The Contraband Laws were the natural extension of the Settling States’ enforcement
          strategy, to target a certain group of NPMs first, because they demonstrate the Settling
          States’ continued commitment to diligent enforcement of the Escrow Statutes, as
          required by the MSA. The Contraband Laws simply make it easier for the Settling
          States to identify, and exclude the brands of, any NPM that is not resident within their
          territorial jurisdiction. As stated by the Assistant Attorney General for Alaska in support
          of that State’s passage of its Contraband Law:

                Mr. Barnhill explained that under the settlement agreement, Alaska’s revenues
                are reduced in certain circumstances. To avoid those reductions, Alaska enacted
                an NPM (non-participating manufacturers) statute, AS 45.53, in 1999, an actively
                enforces the statute. Unfortunately, he stated it’s difficult to enforce the statute
                because the tobacco manufacturer that is failing to comply may be a small
                manufacturer located in a far-flung jurisdiction, such as India or the Philippines.
                Alaska has, on occasion, filed suit against a tobacco manufacturer in India, hiring
                a process server to serve the summons and complaint in India, and has ultimately




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                 obtained a default judgment. But that’s the difficult way of [enforcing the
                                   79
                 statute], he said. (emphasis added).

60.       In other words, adopted as a natural extension of the arbitrary and discriminatory
          enforcement practices of most Settling States, the Contraband Laws were designed to
          confer upon each of their attorneys general the power of judge, jury, and executioner in
          respect of the continued presence of a brand in a Settling State’s market. They did so by
          allowing an attorney general to ban the sale of a manufacturer’s brands if he or she
          deemed that a NPM was not in compliance with an Escrow Statute. These Contraband
          Laws also required a foreign manufacturer to establish a legal presence in each Settling
          State by appointing an agent for service of judicial process, before its products could
          even be distributed or sold in that Settling State.

61.       Reinforced with the addition of the Contraband Laws to their arsenals, most Attorneys
          General renewed their strategy of targeting out-of-jurisdiction ‘tobacco product
          manufacturers.’ The had an incentive to do so, because the MSA required all Settling
          States to demonstrate vigilance in respect of enforcing MSA implementation measures
          against NPMs. Through the simple expedient of this “easy kill” strategy, the Settling
          States would be assured of a default by the foreign manufacturer under the Escrow
          Statutes, which would then permit the Attorneys General to obtain an injunction and ban
          against the sale of the manufacturer’s products for two years under the Escrow Statutes
          and, permanently, under the Contraband Laws, until the manufacturer complied with the
          Escrow Statute by paying any escrow allegedly due and penalties imposed for its
          apparent non-compliance.

62.       In short, it has become apparent that most Settling States have pursued any enterprise
          they believe to be an out-of-jurisdiction (i.e. in the eyes of Settling State enforcement
          officials: “foreign”) ‘tobacco product manufacturer.’ When these targeted enterprises
          have not spent the millions of dollars required to defend themselves before each Settling

79
         Michael Barnhill, Assistant Deputy Attorney General, Commercial Section, Civil Division, Department of
         Law, Government of Alaska, Committee Meetings on Alaska HB-224 – Cigarette Sales Requirements,
         April 9, 2003.




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          State’s own court – to argue why the laws do not apply to them or their brands – the
          Settling States have obtained judgments against them, as well as injunctions banning the
          sale any cigarette brands alleged to have been manufactured by them, in their territories.
          This litigation strategy was clearly pursued for the purpose of driving brands from the
          U.S. market in order to protect sales of brands made by the MSA’s OPMs and Exempt
          SPMs.

Adoption of the Allocable Share Amendments

63.       Additional documents withheld by Respondent, but obtained by Claimants from other
          sources, also evidence a concerted effort among the MSA’s Participating Manufacturers,
          including Exempt SPMs and the Settling States, to amend the Escrow Statutes in a
          discriminatory manner.80

64.       In 2002 and thereafter, the Settling States began to insist that the Escrow Statutes and
          Contraband Laws directly related, and applied, to Grand River and NTD/NWS. To that
          end, the Settling States asserted that Claimants had to comply with those laws by
          making the required payments under the Escrow Statutes and otherwise satisfying the
          certification requirements of the Contraband Laws.        Respondent’s States made the
          foregoing demands and instituted such enforcement actions against both Grand River
          and NTD/NWS, notwithstanding that all of Claimants’ sales of tobacco products,
          whether in support of their own US brands or under contract to produce private label
          products for third parties, were completed on Six Nations territory in Ohsweken, or in
          northern New York. That is, Respondent’s States asserted, and continue to assert, that
          Grand River would be held responsible for escrow payments under the Escrow Statutes,
          including when independent third parties that have taken title and possession of
          Claimants’ products on First Nations territory and have subsequently sold those products
          outside of Native American territory in one of the Settling States.




80
         Claimant’s Evidentiary Stmt. Ex. 38.




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65.       To be clear, in public there was no indication that most of the Settling States recognized
          that they lacked jurisdiction to interfere with Native American commerce. Rather, their
          threats and subsequent actions demonstrated that they planned to take all steps necessary
          to impair Claimants’ investment in the Seneca® brand in Native American territory.
          Yet, their private legal memoranda candidly conceded that they had no such jurisdiction
          over out-of-state NPMs or NPMs operating on Native American Land.

66.       After conferring with counsel beginning in May 2002, Claimants endeavored to
          convince the Settling States through various means, including judicial processes, that
          requiring Grand River to make regulatory payments in every State where products it
          manufactured might be sold by independent third parties over whom Grand River
          exercised no control, or where it was distributing its own brand of products on sovereign
          Native American territories, violated United States law. The Settling States rebuffed
          Claimants’ position and Claimants were thus faced with a critical ultimatum: to either
          comply with the Settling States’ demands, or risk having their brands systematically
          banned from sale and distribution in the United States.81 Restricting their investment to
          Native American territory was not going to suffice.

67.       In searching for a means to comply with the Escrow Statutes that would still allow their
          own brands to remain competitive in pricing vis-à-vis those of Exempt SPMs and the
          premium brands offered by the OPMs, Claimants learned that they could mitigate the
          escrow compliance payments demanded by Respondent’s and reduce the payments due
          under the Escrow Statutes, by phasing out production of non-proprietary brands and
          making an investment in expanding the sale of their proprietary brands to a limited
          number of States.82 That is, through the operation of the Allocable Share Release
          provisions explained above, Claimants could reduce their net escrow payment
          obligations on an annual basis, provided that sales of their brands were not dispersed
          nationwide. In this way, Claimants could obtain immediate releases of their escrow


81
         J. Montour Stmt. at 35.
82
         J. Montour Stmt. at 34, 39, 42 and 43.




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          payments in the few States where their cigarettes would be sold and factor those reduced
          payment obligations into the pricing of their brands at a level that would allow them to
          effectively compete with cigarette brands marketed by the MSA’s Participating
          Manufacturers, especially the Exempt SPMs.

68.       Beginning in late 2002, Claimants thus restructured their focus and plans for the
          Seneca® and Opal® brands and the U.S. market. Specifically, they instituted a plan to
          phase out production of all cigarettes manufactured under private label brand contracts
          from U.S. customers, and focus on expanding their investment in the Seneca® and Opal®
          brands.83 They continued the production of these proprietary brands for distribution
          through Native Wholesale Supply on Native American territory in the United States and
          they entered into an agreement with Tobaccoville USA, Inc. (“Tobaccoville”), pursuant
          to which Tobaccoville was granted a license for the use the Seneca® and Opal®
          trademarks in distribution of those brands outside of Native American territory in the
          United States.84

69.       The further understanding among Claimants and Tobaccoville was that Tobaccoville
          would limit the number of States in which these cigarettes were sold,85 so as to reduce
          the escrow liability for these products in the manner explained above, which would, in
          turn, allow Claimants to keep the prices for their brands at a level that allowed them
          effectively to compete against the MSA’s Participating Manufacturers, particularly
          Exempt SPMs.86

70.       In order to put this plan into effect, early in 2003 Claimants began to come into
          compliance with a select group of Settling States’ Escrow Statutes on a without
          prejudice basis. Chronologically, these States were: North Carolina, South Carolina,
          Oklahoma, Arkansas and Georgia. By initially focusing and limiting the off-reservation

83
         J. Montour Stmt. at 34, 40 and 41.
84
         Statement of Larry Phillips, sworn to July 10, 2008, (hereinafter “Phillips Stmt.”) at 4.
85
         Phillips Stmt. at 7.
86
         J. Montour Stmt. at 43-45.




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          sales of their Seneca® and Opal® brands to these five States, Claimants were able to
          reduce their net escrow obligations on average in all States from over $3.00 per carton,
          to approximately $.50 per carton.87 This reduction allowed Claimants to price their
          brands at a level that allowed them to compete with the discount brands of Exempt
          SPMs, with which Claimants’ products principally competed in those States and, to
          some extent, the discount and premium brands of the OPMs.88

71.       Unbeknownst to Claimants, however, around the same time Claimants adopted this
          reformulated business plan, the MSA’s Participating Manufacturers had been
          communicating privately with the Settling States for the purpose of amending the
          Escrow Statutes. Their object was to have the Settling States terminate the refunds
          available under the Escrow Statutes. Again, through documents secured from other
          sources and which Respondent refused to produce in this case, Claimants have
          discovered that the MSA’s Participating Manufacturers began to correspond and meet
          with the Settling States, in or about mid-2002, for purposes of drafting an amendment to
          the Escrow Statutes and promoting its adoption by each Settling States’ legislature.89

72.       In 2003, certain Settling States began to adopt such an Amendment. The MSA’s
          Participating Manufacturers, and their private lobbyists, participated in the lobbying of
          these laws also in certain states.90 In short, the amendment agreed to by and among the
          MSA’s Participating Manufacturers and the Settling States was intended to, and has had
          the effect of, increasing the escrow payments due for NPM brands, including Claimants’
          Seneca® and Opal® brands, in any Settling State that adopted such an amendment.




87
         J. Montour Stmt. at 50. As noted above, these net escrow obligations in any State were tied to sales
         volumes of Claimants’ cigarettes nationwide, which included Native American land in the United States.
         Thus, as Claimants sold more cigarettes on Native American land, the net escrow burden in each State
         increased.
88
         Claimant’s Evidentiary Stmts. Ex. 7.
89
         Claimant’s Evidentiary Stmts. Ex. 38 (6/18/01).
90
         Claimant’s Evidentiary Stmts. Ex. 38 at Emails.




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73.       In the words of the Settling States’ Chairman of NAAG, this legislation was designed
          and intended to stop the alleged “proliferation” of NPM sales. According to the
          Chairman, any sale by any NPM, in any Settling State, hurts all States under the MSA as
          well as the four States that had separate agreements with the OPMs.              This was
          acknowledged to be true among all States, because the settlement payments under both
          the MSA and the separate State agreements were tied to the Participating Manufacturers’
          national market share. In other words, every State had an interest in reducing NPM
          sales – including sales of Claimants’ brands – in all States:

                 These results underscore the urgency of all States taking steps to deal
                 with the proliferation of NPM sales, including enactment of
                 complementary legislation and allocable share legislation and
                 consideration of other measures designed to serve the interests of the
                 States in avoiding reductions in tobacco settlement payments.

                 It should be stressed that NPM sales anywhere in the country hurt all
                 States. All payment calculations are done on the basis of cigarette
                 sales nationally. NPM sales in any state reduce payments to every
                 other State. All States have an interest in reducing NPM sales in every
                 State.91

74.       For public consumption, Settling States explained that an amendment to the Escrow
          Statutes was needed to stop NPMs from taking advantage of the Escrow Statutes’
          release provisions and selling “cheap” cigarettes.92 The Settling States claimed that the
          releases permitted NPMs to lower their prices and unfairly compete with the MSA’s
          Participating Manufacturers, thus causing a decline in the market share of Participating
          Manufacturers, which, in turn, caused a decline in the States’ revenues under the MSA.

75.       Beneath the surface, however, and intentionally withheld from the public and the States’
          legislatures, was the actual reason for changing what was originally a fundamental and
          common element of every Escrow Statute. The MSA’s payment provisions are tied to
          the sales volumes and market shares of the OPMs. Thus, if OPMs lose sales volumes


91
         Claimant’s Evidentiary Stmts. Ex. 40.
92
         Claimant’s Evidentiary Stmts. Ex. 37.




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          and market share to NPMs, the States’ payments under the MSA decline. Also, the
          MSA contains a provision that allows the OPMs to reduce their MSA payments by 3%
          for every 1% in market share that they lose to NPMs under certain circumstances. At
          least two courts have described these MSA provisions as “coercive,” in that they coerce
          the Settling States to adopt an Escrow Statute and enforce them against NPMs.93

76.       Following the MSA’s execution in 1999, the OPMs implemented price increases,
          through 2003, that were several multiples of the amount needed to fund their MSA
          payments to the Settling States.94 The price increases caused a decline in the MSA
          payments, because, as noted above, MSA payments are tied to sales volumes and market
          shares of the OPMs. Initially, the Settling States conceded that the cause of the decrease
          in MSA payments was attributable to the OPMs’ price-gouging of consumers, which
          caused them to lose market share. It was not due, as Settling State officials would
          candidly admit, to some unfair advantage possessed by NPMs under the Escrow Statutes
          or otherwise. The following statements of Respondent’s representative are enlightening
          in this regard:

                 In fact, the major cigarette manufacturers raised prices by several
                 multiples of their MSA costs. The price increase that created the
                 market opportunity for NPMs is not attributable to the MSA, but rather
                 to the decision by the OPMs to inflate per-pack profit margins at the
                 cost of losing market share. The Report correctly notes that the market
                 share of NPMs has risen. As noted previously, this increase is
                 principally the result of price increases by the OPMs far in excess of

93
         A.D. Bedell Wholesale Co. v. Philip Morris Inc., Court of The United States 534 U.S. 1081, 1222. Ct. 813;
         151 L. Ed. 2d 697, 2002 U.S. Lexis 255; 70 U.S. W.W. 3427, January 7, 2002; and Freedom Holdings, Inc.,
         et al. v. Eliot Spitzer, et al., 02 Civ. 2939, 2004 U.S. Dist. Lexis 18296, 2001-2 Trade Cas. (CCH) P74.573.
         The coercive effect of these provisions may be best illustrated by the following: If a State does not adopt
         and diligently enforce an Escrow Statute, it runs the risk of bearing the entire expense of the NPM
         Adjustment even if the OPMs do not lose market share in that State. For example, assuming that OPMs are
         entitled to an NPM Adjustment of $1 billion for a given year because of their loss of market share
         nationwide, and all but one State has adopted an Escrow Statute, the MSA imposes that $1 billion
         adjustment on the one State that did not adopt the Escrow Statute, even if OPMs did not lose market share
         in that State. Thus, a Settling State risks losing all of its annual MSA payments if it does not adopt and
         diligently enforce and Escrow Statute, notwithstanding that the State’s failure to do so may have no effect
         on the OPMs’ loss of market share giving rise to that adjustment.
94
         Claimant’s Evidentiary Stmts. Ex. 41.




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                 the costs imposed by the MSA and the decision by OPMs to widen
                 their profit margins.

77.       According to the OPMs’ representations at the time the Federal Proposal was under
          consideration, the OPMs should have lost nearly 60% of their market share as a result of
          the price increases they implemented after the MSA’s execution through 2003.95 Instead,
          they lost substantially less.96

78.       This confirms that NPMs, including Claimants, did not enjoy any sort of unfair
          advantage under the Escrow Statutes. .97

79.       As General Sorrell advised Settling State officials in non-public communications, the
          Settling States needed to stop all NPM sales, because any NPM sales would reduce the
          MSA payments that the States could otherwise receive under the MSA. The simple
          expedient and means of stopping the growth of NPM brands, including Claimants’
          Seneca® and Opal® brands, was accomplished by the Settling States through the uniform
          amendment of the Escrow Statute’s Allocable Share Release provisions, which all the
          Settling States (except Missouri) had adopted by 2006.

80.       These amendments came to be known commonly as the “Allocable Share Amendment.”
          and the initiative for their adoption grew from just a few States initially to an “all State”
          objective, as described by the Settling States’ officials.        As these officials further
          described, because MSA payments are calculated based on nationwide sales, a “critical
          mass” of States was needed to adopt the Allocable Share Amendment for it to become
          effective in reducing NPM sales and preserving the nationwide market share of the
          OPMs and SPMs to which the MSA payments were tied.98

Application of the Amended Escrow Statutes to Claimants and Theirs Investments


95
         Claimant’s Evidentiary Stmts. Ex. 42.
96
         Claimant’s Evidentiary Stmts. Ex. 43.
97
         Claimant’s Evidentiary Stmts. Ex. 13.
98
         Claimant’s Evidentiary Stmts. Ex. 44 & 38 Meeting Notes 1/20/04.




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81.       The effect of the Allocable Share Amendment has been to substantially impair the
          operation of Claimants’ investment in Seneca® brand in off-reserve markets. 99 In
          Arkansas alone, the Allocable Share Amendment increased Claimants’ escrow
          obligation by 1,000%.           By way of example, the amount Arkansas was requesting
          Claimants to pay under the Allocable Share Amendment for each carton of their
          cigarettes sold in Arkansas was 10,000% greater than the amount Arkansas received for
          each carton of Participating Manufacturer cigarettes sold in Arkansas.100

82.       The obvious result and effect of the Allocable Share Amendment has been to deprive
          Claimants’ of the investment-backed returns they were entitled to enjoy from having
          established their propriety Seneca® and Opal® brands in certain state markets located in
          the southeastern and central United States. By immediately raising Claimants’ escrow
          compliance costs from $0.50 to over $4.00 per carton, the Allocable Share Amendments
          had an instantaneous effect of requiring the price of Claimants’ brands to increase to a
          level at which they could not compete with the brands of the MSA’s Participating
          Manufacturers,101 particularly the Exempt SPM brands that occupied a similar tier of the
          market as Seneca® and Opal® branded products.102

83.       Given the tier of the market in which Seneca® and Opal® branded products competed, it
          was simply not possible to indefinitely support the full escrow payment due for their
          sales and yet find a price point comparable or appropriate, vis-à-vis the brands of
          Exempt SPMs.103 Thus, when Claimants could not make the escrow payments that were
          claimed to be due under the Allocable Share Amendment, Settling States immediately
          banned the sale of Seneca® and Opal® brands in those markets under their Contraband
          Laws. In addition, these States have initiated litigation against Claimants to collect tens


99
         J. Montour Stmt. at 55 and 62.
100
         Phillips Stmt. at 10.
101
         Phillips Stmt. at 11.
102
         Statement of Marvin Wesley, sworn to July 10, 2008, (hereinafter “Wesley Stmt.”) at 4-9; Phillips Stmt. at
         14.
103
         Phillips Stmt. at 15.




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             of millions of dollars in escrow payments and penalties they claim are due under the
            amended Escrow Statutes, for sales in 2005 and thereafter. 104

84.         In the States of North Carolina and South Carolina, Tobaccoville initiated a price
             increase effective January 1, 2006, to cover the full cost of the increased escrow
            attributable to the Allocable Share Amendment.                That price increase caused all
            wholesale purchases of Seneca® and Opal® branded products to cease in those States
            until prices were lowered (because Tobaccoville has taken out substantial loans to allow
            it make escrow payments in the short term, hoping that a remedy will soon be
            forthcoming). Indeed, one regional distributor provided notice to all its corporate stores
            that it was replacing Claimants' brands with the brands of an Exempt SPM, which could
            now be offered at a price that was nearly $5.00 less under the Allocable Share
                             105
            Amendment.

                                                                                                           ~
85.         Since the Allocable Share Amendment has taken effect in the U.S. markets identified
                                                                                                           I
            above, Claimants have experienced a precipitous decline in the sales of their brands,
                                                                                                           Il
            which has had dramatic consequences to Claimants' good will, market share, and
            income streams. 106 As stated above, the price at which Claimants' products needed to
            compete with Exempt SPMs could not be sustained, given the impact of the Allocable
                                                                                                           i
                                                                                                           il
                                                                                                           Ii
                                                                                                           lj
                                                                                                           I!

            Share Amendment. Claimants' and their brands were thus deprived of all their good
            will and market share in the States of Arkansas, Oklahoma and Kansas. 107                      fl
                                                                                                           11


86.         Sales of the Seneca® brand have been reduced to only North Carolina, South Carolina,




104
           J. Montour Strnt. at 56.
105
           Claimant's Evidentiary Strnt. Ex. 45; Phillips Strnt. at 14.
106
           J. Montour Stmt. at 55-62.
107
           J. Montour Strnt. at 62.




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87.


                                             109
                                         •          Consistent with Claimants' experience to date, when.
                                                   the price of Claimants' products are forced higher to bear the
             full, increased expense imposed by the Allocable Share Amendment, most off-reserve
             sales of Claimants' Seneca® and Opal® brands will be displaced in the relevant U.S.
             markets.

Discriminatory Impact Upon and Expropriation of Off-Reserve Investment

88.         Respondent has not denied that all sales made by Claimants are completed at, or on,
            First Nations territories in Canada and the United States. Notwithstanding, the Settling
            States have enforced the Escrow Statutes against Claimants by proceeding under the
            fiction that Claimants are selling to consumers in any Settling State whenever products
            manufactured by them are sold to consumers by third-parties - even third-parties with
            whom Claimants are not, nor have never been, in privity. 110

89.         For example, the State of Oklahoma is presently suing Claimants under the Oklahoma
            Escrow Statutes for products that Claimants sold, and were shipped, to Native American
            wholesalers doing business on Native American land located within the geographic
            boundaries of Oklahoma. 111 The Oklahoma Tax Commission has been harassing the
            Free Trade Zone in Northern, New York, with which Claimants does business, alleging


108
           To facilitate the borrowing, Grand River has had to subordinate its right to payment for goods delivered to
           Tobaccoville to the lending institution that extended such financing.
109
           Phillips Stmt. at 13.
I JO
           This fiction is the legal and factual equivalent of the Maryland State Department of Assessments and
           Taxation imposing a tax on a Native American fabricator of clothing or other commodities doing business
           on Native American land in Arizona, when the fabricator's products are sold in Maryland by independent
           retailers who acquired the goods from an independent distributor or liquidator.
Ill
           Claimant's Evidentiary Strnts. Ex. 46; A. Montour Stmt. at 23.




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          that Claimants are violating the Escrow Statutes any time they cause their products to be
          shipped to any persons or entities located within Oklahoma.112 Moreover, just this week
          the State of Oklahoma sued Native Wholesale Supply Company for more than $5
          million, claiming that NWS violated Oklahoma’s Contraband Laws by selling
          Claimants’ products to Native-owned and operated businesses doing business on Native
          American land in Oklahoma, after Oklahoma deemed Grand River to be non-compliant
          with Oklahoma’s Escrow Statute and Contraband Law.

90.       Other Settling States are now seeking to terminate all trade amongst Claimants and their
          Native American counterparts throughout Native American territory.                 The Idaho
          Attorney General now claims, for example, that Claimants are prohibited from selling
          their products to Native American tobacco outlets in Idaho, because Claimants have
          allegedly failed to comply with the Idaho Escrow Statute.113 The State of California has
          similarly asserted that Claimants’ sales to Native Americans located within the
          geographic borders of California are prohibited and in contempt of court under the
          Escrow Statute and Contraband Law.114 The latter is now seeking the enforcement of
          default judgments it allegedly obtained under its Escrow Statutes against Grand River
          for millions of dollars.

91.       Respondent’s threats and harassment have caused Native American Tribes and
          wholesalers to cease, or refrain from, doing business with Claimants for fear of
          retribution instilled by the Settling States. 115            Currently, Claimants are actively
          defending against seven separate lawsuits in the United States, arising out Respondent’s
          imposition of the foregoing measures against them.116 The sum total of these measures
          and enforcement actions by Respondent’s States has caused Claimants to incur and



112
         A. Montour Stmt. at 23.
113
         A. Montour Stmt. at 25.
114
         A. Montour Stmt. at 24.
115
         A. Montour Stmt. at 26-27; Claimant’s Evidentiary Stmts. Ex. 12.
116
         J. Montour Stmt. at 56.




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          suffer damages no less than $175 million to date, and such harm and damage is
          continuing.

92.       Please see table 1-2, attached, which provides a timeline and chronology of the events
          and measures giving rise to Claimants’ claims.




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                                          PART II:
                                       THE ARGUMENT


SECTION I Claimants Have Satisfied the Requirements of NAFTA Chapter 11

         A.     Claimants are Investors Entitled to the Protections of the NAFTA

93.      To bring a claim under Chapter 11 of the NAFTA, a claimant must be an “Investor of a
          Party.” NAFTA Article 1139 defines an “Investor of a Party” as:

                a Party or state enterprise thereof, or a national or an enterprise of such
                Party, that seeks to make, is making or has made an investment.

94.      Claimants are nationals of Canada and a Canadian corporation that have at all times since
          1990 made tobacco-related investments in the United States and Canada; sought to make
          such investments in the United States and Canada; and have continued to make such
          investments in the United States and Canada.

95.      Claimants also comprise an enterprise within the meaning of the NAFTA’s definition of
          an investor. Specifically, NAFTA Article 201 defines an enterprise as:

                … any entity constituted or organized under applicable law ... including
                any corporation, trust, partnership, sole proprietorship, joint venture or
                other association.

         As the record demonstrates, Claimants have at various times since 1990, and
         continuously in one form or another since that time, associated themselves through
         corporations, partnerships, sole proprietorships, a joint venture, and other mutually
         beneficial and co-dependent business relationships for the purpose of carrying on the
         production and distribution of proprietary tobacco products in the United States and
         Canada.

         B.     Claimants have made Investments Recognized under the NAFTA

96.      The term “investment” under the NAFTA is expansively articulated and is to be broadly
         interpreted. Thus, NAFTA Article 1139 defines an “investment” in pertinent part as
         follows:


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                (a) an enterprise;
                (b) an equity security of an enterprise;
                (c) a debt security of an enterprise
                        (i) where the enterprise is an affiliate of the investor, or
                        (ii) where the original maturity of the debt security is at least three
                        years,
                        but does not include a debt security, regardless of original
                        maturity, of a state enterprise;
                (d) a loan to an enterprise
                        (i) where the enterprise is an affiliate of the investor, or
                        (ii) where the original maturity of the loan is at least three years,
                        but does not include a loan, regardless of original maturity, to a
                        state enterprise;
                (e) an interest in an enterprise that entitles the owner to share in income or
                profits of the enterprise;
                (f) an interest in an enterprise that entitles the owner to share in the assets
                of that enterprise on dissolution, other than a debt security or a loan
                excluded from subparagraph (c) or (d);
                (g) real estate or other property, tangible or intangible, acquired in the
                expectation or used for the purpose of economic benefit or other business
                purposes; and
                (h) interests arising from the commitment of capital or other resources in
                the territory of a Party to economic activity in such territory, such as under
                        (i) contracts involving the presence of an investor's property in the
                        territory of the Party, including turnkey or construction contracts,
                        or concessions, or
                        (ii) contracts where remuneration depends substantially on the
                        production, revenues or profits of an enterprise.


97.      Previous tribunals have recognized that the NAFTA definitions of ‘investment’ and
         ‘enterprise’ are to be construed broadly, reflecting the object and purpose of the NAFTA.
         For example, the Tribunal that was convened to decide the NAFTA proceeding Feldman
         v. Mexico observed:

               A threshold question is whether there is an “investment” that is covered by
               NAFTA. The term “investment” is defined in Article 1139, in exceedingly


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               broad terms. It covers almost every type of financial interest, direct or
               indirect, except certain claims to money.117

98.      Broad constructions of the term of ‘investment’ under the NAFTA are consistent with the
         application of international law in similar contexts.        Thus, many investment treaty
         tribunals have construed the term ‘investment,’ found in treaties similar to the NAFTA,
         expansively.118 For example, in Bayinder v Pakistan, the tribunal recognized that an
         investor's contribution of know-how, equipment and personnel constituted a kind of asset
         that was to be considered an 'investment' under Article I of the Turkey - Pakistan BIT.119
         Similarly, both the Tribunal and the Annulment Committee in Mitchell v. Congo
         determined that “movable property and any documents, like files, records and similar
         items, of [Mitchell’s law] firm” and his “rights with respect to know-how and goodwill as
         well as the right to exercise his [legal services business]” all demonstrated the existence
         of an investment that fell “well within the scope of application” of the definition of
         ‘investment’ under Article I(c) of the BIT between the United States and the Democratic
         Republic of the Congo, which is similar in scope to the definition of ‘investment’ in
         Article 1139 of the NAFTA.120

99.      The Tribunal in MCI Power Group v. Ecuador also construed one of Respondent’s BITs
         as providing “a broad definition of investment and that the rights and interests alleged by
         the Claimants to have subsisted as a consequence of the [investor’s] project, after the
         entry into force of the BIT—such as the intangible assets of accounts receivable, the
         existence of an operating permit – would [also] fit that definition.”

117
         Marvin Feldman v United Mexican States, Award, ICSID Case No. ARB(AF)/99/1 (16 December 2002) at
         para. 96.
118
         This is not an ICSID case, and therefore the jurisprudence of tribunals on the requirement of an
         ‘investment dispute’ pursuant to Article 25 of the New York Convention are not binding here.
         Nonetheless, there are persuasive examples from the case law demonstrating how other tribunals
         have applied a broad and remedial construction to investment definitions contained within other
         treaties.
119
         Bayindir Insaat Turizm Ticaret Ve Sanayi A.S. v Islamic Republic of Pakistan, ICSID Case No.
         ARB/03/29 (14 November 2005), at para's. 115-116.
120
         Patrick Mitchell v Democratic Republic of Congo, Annulment Decision, ICSID Case No.
         ARB/99/7 (27 October 2006) at para. 35.




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100.       In Sedelmayer v. Russia, the Tribunal found that an "in kind contribution of chattels to
           [the] capital [of the investment enterprise] and vehicles and equipment” constituted an
           investment under Article 1(a) of the Germany-USSR BIT, which contains language
           similar to the US Model BIT. For example, the definition in that treaty also included:
           ‘claims to money invested to create economic value or to any performance having an
           economic value’ and ‘shares and other forms of participation in business enterprises and
           organizations.’121 The Tribunal in Tradex Hellas v. Albania also recognized in-kind
           contributions by an investor to the business venture being conducted in the host state as
           an investment.122 The Tribunal in Alcoa Minerals v. Jamaica likewise observed that a
           contribution of capital to commercial activity in the territory of the host state is also
           generally regarded as an investment in such cases.123

101.       In view of the NAFTA definitions and investment treaty jurisprudence set out above, it is
           clear that Claimants’ activities – namely their establishment of an integrated commercial
           undertaking for the creation, establishment, manufacturing, marketing and distribution of
           their proprietary Seneca® and Opal® brands of tobacco products – clearly constitute
           significant “investments” in the territory of the United States.

      a.   Goodwill and Intellectual Property Embodied in Claimants’ Seneca® and
           Opal® Brands

102.       Claimants’ business venture and interests in the United States have been, at all times
           since 1998, principally focused on the successful development, production, promotion
           and distribution of their Seneca® brand of cigarettes.124 Claimants’ Seneca® and Opal®
           brands, and the goodwill associated with them, are an intangible form of property that



121
           Franz Sedelmayer v. The Russian Federation, Award, S.C.C. #07071998, (7 July 1998), at Sec. 3.2.
122
           Tradex Hellas S.A. v Republic of Albania, Award, ICSID Case No. ARB/94/2 (29 April 1999) at para. 124.
123
           Alcoa Minerals of Jamaica, Inc. v. Jamaica, ICSID Case No. ARB/74/2), Decision on Jurisdiction and
           Competence of July 6, 1975, 4 Yearbook Commercial Arbitration 206 (1979).
124
           The Opal brand was established in order to satisfy US market demand for specialty ‘120’ size cigarettes.
           Subsequently Claimants have shifted production to a new Seneca 120 product. Statement of Jerry Montour,
           at para. 41.




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         constitutes an investment under Article 1139(g).125 Similarly, the trademarks supporting
         the Seneca® and Opal® brands also constitute a form of intangible property under Article
         1139(g).

103.     In cases where proof of impairment has been used as a basis for awarding damages for
         lost profits caused by the imposition of a measure, international tribunals have endorsed
         the concept of goodwill as an asset requiring protection under investment treaties,. As
         explained by the Sola Tiles tribunal:

               Goodwill can best be defined, at least for the purposes of the present case, as that
               part of a company’s value attributable to its business reputation and the relationship
               it has established with its suppliers and customers.126

104.     This is particularly true when brand goodwill is fundamental to the performance of an
         enterprise in a certain industry. The tobacco industry is exactly the kind of industry
         where an investor’s business depends upon the goodwill it has established in the brands
         under which it sells its cigarettes.127

105.     In this case, Claimants created the trademarks supporting the Seneca® and Opal® brands
         with the explicit intention of investing in the US market.128 Thus, the Seneca® trademark


125
         See Patrick Mitchell v Democratic Republic of Congo, Annulment Decision, ICSID Case No. ARB/99/7
         (27 October 2006) at para. 35. Both the Tribunal and the Annulment Committee in Mitchell v. Congo
         determined “rights with respect to know-how and goodwill as well as the right to exercise his [legal
         services business]” all demonstrated the existence of an investment that fell “well within the scope of
         application” of the definition of ‘investment’ under Article I(c) of the BIT between the United States and
         the Democratic Republic of the Congo, which is similar in scope to the definition of ‘investment’ in Article
         1139 of the NAFTA.125
126
         Sola Tiles Inc. v. Iran, Partial Award, 14 IRAN-U.S.C.T.R. 223 (1987), at para. 62. For lost profits
         analysis, see paras. 161-164. See also Asian Agricultural Products v. Sri Lanka, (1996) 4 ICSID Rep. 246
         at 292; See also, e.g.,: Patrick Mitchell v Democratic Republic of Congo, Annulment Decision, ICSID Case
         No. ARB/99/7 (27 October 2006) at para. 35; Asian Agricultural Products Ltd v Republic of Sri Lanka,
         Final Award, ICSID Case No. ARB/87/3 (27 June 1990), at paras. 102-103; Técnicas Medioambientales,
         TECMED S.A. v United Mexican States, Award, ICSID Case No. ARB/AF/00/2 (29 May 2003), at 194-195.
         And in Ethyl Corporation v. The Government of Canada, Award on Jurisdiction, UNCITRAL Arbitration
         (24 June 1998), at para. 70, the respondent did not object to a claim for goodwill on the basis that it did not
         constitute an ‘investment’ within the meaning of Article 1139, but only that the claimant could not claim
         for impairment of “worldwide goodwill” for a measure imposed solely by Canada.
127
         Wesley Stmt. at 11.
128
         A. Montour Stmt. 10-13; J. Montour Stmt. 21.




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         is registered in the US, and held by NWS,                                                , and their
         use is governed under cross-licensing arrangements effectively granting all Claimants
         joint and several control over them.               Indeed, the intellectual property supporting the
         Seneca® brand is the combined product of Arthur Montour's concept for the brand name
         and Jerry Montour's leadership in commissioning the packaging, artwork, blending and
         taste of the products to be sold under the Seneca® name. 129 The Opal® brand, whose
         trademark was registered and is controlled by Grand River in the United States, 130 is a
         similar product of the joint efforts and know-how of the Individual Claimants. 131

106.     This method of operation illustrates the collective nature of Claimants' business venture
         in the United States. Not unlike any other tobacco enterprise, the Claimants profited
         from establishing and expanding their own brands via the production and distribution of
         particular products, which bear the trademarks collectively developed and registered in
         support of the associated brand. 132 Also in keeping with standard practice in the tobacco
         industry, the products marketed under the Seneca® brand were designed specifically by
         Claimants to establish and create their own identity, in terms of composition, taste,
         packaging and price point. 133

107.     Thus, over the years, as the individual Claimants have shared a common interest in the
         establishment and growth of the Seneca® brand, they have each contributed their own
         know-how and the resources of their respective companies towards its success. 134 They
         have each also shared in the profits generated by the brand, and each has re-invested
         significant amounts of those profits in order to benefit from its continued growth. 135



129
         A. Montour Stmt. at I 0.
130
         Claimant's Evidentiary Stmts. Ex. 18.
131
         J. Montour Stmt. at 19.
132
         J. Montour at 41.
133
         A. Montour Stmt. at 11 and 12; J. Montour Stmt. at 22 and 23.
134
         J. Montour Stmt. 22-27.
135
         A. Montour Stmt. at 14 ; J. Montour Stmt. at 26.




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      b. The Claimants’ Business Enterprise

108.     In addition to the intellectual property and the goodwill associated particularly with the
         Seneca brand, the business supported by that brand also constitutes an investment under
         NAFTA Article 1139(a), which states that ‘investment’ in the territory of another
         NAFTA Party includes an ‘enterprise.’ In turn, NAFTA Article 201 defines ‘enterprise’
         as “any entity constituted or organized under applicable law … including any corporation,
         trust, partnership, sole proprietorship, joint venture or other association.” This definition
         is as broad as the definition of investment itself, including “any … other association” by
         which investors choose to organize their business activities as an ‘investment’ under the
         NAFTA.

109.     Claimants’ business venture, under which they have established and profited from the
         promotion of specific, trademarked brands, supporting specific products, tailored for a
         specific US clientele, is exactly the kind of ‘association’ that meets the NAFTA
         definition of ‘enterprise,’ and thereby constitutes an investment under the treaty. This
         interpretation is also consonant with the plain meaning and general usage of the term
         ‘enterprise,’ which is defined in Black’s Law Dictionary as “a business venture or
         undertaking.”136

110.     In its Statement of Defense to Claimants’ Allocable Share Claim, Respondent asserts that
         neither Jerry Montour, Kenneth Hill nor Grand River have made any investment in the
         United States. Although Respondent has thus far failed to offer any further substantiation
         for this myopic assertion, it is apparent that Respondent has focused solely on the fact
         that Jerry Montour and Kenneth Hill do not own shares in either NWS or NTD.137 Such
         an analysis ignores the object and purpose of the NAFTA, disregarding the reality of
         Claimants’ investment in the United States and the totality of the definition of investment
         contained in Article 1139.


136
         Sixth Edition, at 531.
137
         Statement of Defense, para. 22 “None of these Claimants has any ownership interest in any of the U.S.
         enterprises identified by Claimants”




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111.       Since 1999, Claimants have maintained and expanded their investments in the United
           States through two legally distinct corporate branches: Grand River for manufacturing
           and NTD/NWS for distribution. The individual Claimants decided together to adopt this
           corporate structure in order to minimize their tax liability and to formally assign their
           respective areas of primary responsibility. 138 The fact that Grand River and NWS
           constitute separate legal entities cannot and does not change the collective nature of the
           Claimants' underlying business venture in the United States, or the fact that they are
           entitled to protection under Chapter 11.

112.       The nature of this venture is first and foremost illustrated by the fact that the individual
           Claimants directed their respective companies to enter into a contractual relationship
           under which Grand River was designated by NWS as the exclusive manufacturer and                 i
                                                                                                           I
                                                                                                           ·1

           packager of Seneca® branded products and NWS was designated by Grand River as the              11




                                                                                                          I
                                                                                                          lj
           (then) exclusive importer and distributor of Seneca® products in the United States. 139 As
           the exclusive distribution arm for Claimants' products until the end of 2002, NWS'             ,,
           warehouse also served as the headquarters for Claimants' marketing campaigns and other         ii

           brand promotional activities in the United States. 140                                         ~
                                                                                                          11

113.       In addition, after formally incorporating their manufacturing and distribution arms, the       ii,,
                                                                                                          ii
           individual Claimants have continued, and are required, to consult with each other before
                                                                                                          11
                                                                                                          "
                                                                                                          II
           making important strategic decisions about marketing and distribution of the Seneca®           IJ


           brand, just as they had always worked together.    141                                         l




138
           J. Montour Stmt. at 24-28.
139
           J. Montour Stmt. at 27.
140
           A. Montour Stmt. at 17.
141
           A. Montour Stmt. at 19 ; J. Montour Stmt. at 32.
142
           A. Montour Stmt. at 15




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114.     The cooperation between the Claimants has not been limited to mere consultation,
          however. For example, in 1999 Kenneth Hill and Jerry Montour caused Grand River to
         contribute chattel property to their collective business venture, in the form of a delivery
         truck worth approximately $30,000, which has been used by NWS to conduct its
         distribution activities. 144

115.      Furthermore, between 1999 and 2006, Claimants caused Grand River to forward millions
         of dollars in inventory to NTD and then NWS, 145 and to concurrently extend millions of
         dollars in credit for these advances of inventory, such that this practice has effectively
         constituted a continuous loan of over $1,000,000 to NWS for periods lasting well over
         three years. 146 Indeed, but for Grand River's willingness to subordinate its interest in $1
         million of inventory
         - ' Arthur Montour would not have been able to buy out the interest of his then
         partne~ in the distribution arm of the business. 147

116.     By the time Arthur Montour incorporated NWS to replace NTD in 2000, Grand River's
         in-kind contribution of credit to the enterprise stood at approximately -                       at the
         end of each month.         By August 2002, this revolving inventory loan had doubled to
                                          . Moreover, Grand River assisted in financing the buyout of
         NTD by Arthur Montour and NWS, by agreeing to subordinate its loans, capital




143
         J. Montour Stint. at 28.
144
         J. Montour Stmt. at 29.
145
         A. Montour Stint. at 31.
146
         These transactions are recorded as aged accounts receivable and payable in the corporations' respective
         accounting records. A. Montour Stint. at 18.
147
         A. Montour Stint. at 6.




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          commitments and receivables from NWS, to a priority lien and claim



117.      Subsequently, between August 2002 and August 2006, as the effects of the Allocable
          Share Amendments on Claimants' sales were becoming increasingly severe, the amount
          of monthly in-kind credit extended by Grand River to NWS ranged between
                                                              •
                                                                  149
                                                                        The purpose of directing Grand River to
          forward such large sums of inventory to NWS was clearly to contribute to, and subsidize,
         the establishment and expansion of the Seneca® brand in the United States. 150

118.     If the NAFTA Parties did not intend its Chapter 11 protections to apply to a territorially-
          focused business venture such as the one operated by Messrs. Montour, Montour and Hill,
         the Parties could easily have made this clear in the NAFTA text. Instead, the Article 201
         definition explicitly lists a number of forms of business associations that qualify as an
          'enterprise,' including corporations, partnerships and joint ventures, before also including
         the catch-all term: 'other association.'           Although Claimants may have chosen not to
         evidence their relationship with respect to the U.S. market through a written partnership
         agreement or formal parent-subsidiary corporate relationship, it is clear that the
         association they chose led to their sharing and participation in numerous business
         activities in the territory of the United States, including the execution of contracts, the
         extension of loans and credit facilities, and the establishment of intellectual property and




148
         A. Montour Stmt. at 6
149
          J. Montour Stmt. at 31; Starting in January 2004, GRE accounting records specifically included a notation
         indicating that the "credit limit" for NWS would be $4.2 million.
150
         A. Montour Stmt. at 17. Claimants forwarded approximately $1 million in inventory to their new
         distributor, Tobaccoville, between December 2004 and April 2005. Claimants did not maintain any
         accounts receivable or provide credit to this new distributor because they wanted to be sure that it would be
         able to meet its initial payment obligations. They did so effectively maintaining control over their
         inventory during that time, using the services of a free trade zone located in the United States. Claimants
         planned to divert this inventory to NWS, had Tobaccoville been unable to meet its first payment obligations
         to GRE. This inventory constituted tangible property used for the purpose of economic benefit in the
         United States, conforming with the definition of investment found at subsection (g) of NAFTA Section
         1139.




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           goodwill in the territory of the United States. As such, Claimants' tobacco business in
           the United States it is an enterprise that constitutes an 'investment' under Article l 139(a).

      c.   Claimants' Contribution of Capital to Escrow and Penalties

119.       Although Claimants' establishment of the Seneca® brand, and their business venture to
           promote, manufacture and distribute Seneca® branded products in the US market are both
           more than sufficient to satisfy the requirements of Article 1116, it must be emphasized
           further that Claimants have deposited millions of dollars into escrow accounts in the US -
           the principal of which is currently the property of Claimants. Like the money Claimants
           have paid as penalties under the measures, these funds constitute an investment under
           Article 1139(g), as property employed in the territory of the United States for the purpose
           of conducting business or investment in the territory of the United States. These funds
           also represent a commitment of capital to the United States, contributed in furtherance of
           Claimants' ability to continue selling products in the markets it had established under the
           Seneca® brand.        As such, they also constitute an investment that meets the threshold
           definition under Article I 139(h) of the NAFTA. Thus far, the payments made under
           these measures by Claimants or on behalf of the Seneca® brand as a condition to its
           continued sale and distribution in the United States total approximately _ _ 151

      d. Conclusion

120.       As discussed above, other tribunals have identified the elements present in this case as
           meeting the threshold definition of investment contained in similar treaties. Trademark
           and    intellectual     property   rights;   multimillion-dollar   aged   accounts   receivable;
           commitments of capital, inventory and know-how; and in-kind contributions of capital
           are all present in this case. Moreover, as cases such as Mitchell demonstrate, intangible
           property such as goodwill also constitutes an investment under treaties based on the
           United States Model BIT, such as the NAFT A.




151
            J. Montour Strnt. at 52.




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121.     Finally, it is worth noting that Claimants’ investment was also encouraged by, and
         completely consistent with, the explicit objectives of the NAFTA found in Article 102(1),
         including: promotion of ‘fair competition in the free trade area’ and increasing
         ‘substantially investment opportunities in the territories of the Parties.’ In agreeing to the
         NAFTA, Respondent obliged itself and its state governments to ‘ensure a predictable
         commercial framework for business planning and investment’; to ‘promote trade in goods
         and services that are the subject of intellectual property rights’; and to ‘create new
         employment opportunities and improve working conditions and living standards in their
         respective territories.’

122.     All of these objectives were promised by Respondent in the preambular text of the
         NAFTA and all had been realized with Claimants’ investment in the territory of the
         United States.     By establishing and supplying a popular US brand to US markets,
         Claimants generated new employment opportunities and increased standards of living for
         many Six Nations members.

123.     Accoridingly, there can be no question that Claimants have collectively established,
         operated and maintained exactly the sort of business interests in the United States that
         were intended by the contracting Parties to constitute an “investment” in the territory of
         the United States under Articles 1139 and 1101 of the NAFTA.

         C.      The Dispute Falls Within the Scope of NAFTA Chapter 11


124.     Article 1101 establishes the scope of application for NAFTA Chapter 11. Like all
         NAFTA provisions, its terms must be construed in light of the object and purpose of the
         treaty, which is to promote opportunities for investment and ensure fair competition in
         the territories of the NAFTA Parties. Article 1101 states, in relevant part:

               1.         This Chapter applies to measures adopted or maintained by a Party
                          relating to:

                          (a) investors of another Party; and




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                       (b) investments of investors of another Party in the territory of the
                       Party.


125.     Article 1101 thus provides that Chapter 11 broadly applies when two elements are
         satisfied: (1) a Party has adopted or maintained measures; and (2) those measures relate
         to investors of another Party, or investments of those investors in the territory of the Party
         that has adopted the measures.

126.     “Measures” are defined in NAFTA Article 201 to include “any law, regulation, procedure,
         requirement or practice.” It is evident that the MSA, the Escrow Statutes, the Contraband
         Laws and the Allocable Share Amendments, as well as enforcement actions undertaken
         pursuant to any of the foregoing, all constitute “measures” for purposes of the NAFTA.
         Measures “relate to investors” whenever a measure directly affects an investor or its
         investment in any manner. Thus, where a measure can be seen as connected to the
         investor or the investment activities of the investor or its competitors, the measure falls
         within the parameters of Article 1101.152

127.     Each of the measures at issue in this case relates to Claimants. The measures have been
         designed, implemented and enforced against Claimants and their investment in
         establishing and profiting from proprietary tobacco brands. Moreover, the measures have
         plainly achieved their intended effect, resulting in severe damage to Claimants’ business.
         Respondent does not contest either the aim or the impact of the measures. Instead, it
         asserts only that: (1) the measures cannot relate to Jerry Montour, Kenneth Hill or Grand
         River because they allegedly do not have an investment in the US; and (2) the measures
         cannot relate to Arthur Montour, Jr. because his companies “are not subject to the Escrow
         Statutes or the Allocable Share Amendments.”153 In so doing, Respondent misreads both
         the letter and intent of the NAFTA text.


152
         See, e.g., S.D. Myers, Inc. v. Canada, NAFTA/UNCITRAL, NAFTA/UNCITRAL Tribunal, First Partial
         Award (13 November 2000) at paras. 233-236.
153
         See paras. 22-23 of Respondent’s Statement of Defense to Claimants’ Allocable Share Claim, dated 21
         December 2006.



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128.     As demonstrated above, Claimants have made substantial investments and collectively
         engaged in a business venture since 1999, founded upon their collective collaboration and
         establishment, promotion, and distribution of the Seneca® brand in the US market.
         Indeed, Respondent has thus far been remarkably silent in addressing the fact that, if
         payments are not made by Claimants under the Escrow Statutes for products sold under
         the Seneca® brand (as specifically identified in various judgments obtained under Escrow
         Statutes and prohibitions arising from the application of Contraband Laws), Settling
         States have sought to ban sales or distribution of Seneca® branded products as a result.

129.     In view of the collective nature of Claimants’ investments and the over-reaching
         application of Respondent’s measures, Respondent’s assertion that Arthur Montour’s
         companies are not subject to the measures is plainly inaccurate. There is no question as
         to whether the MSA States have sought to impose their measures directly upon Grand
         River by construing it as a “tobacco product manufacturer” under their legislation.
         However, demands issued and judgments obtained under an Escrow Statute always name
         both the alleged “tobacco product manufacturer” and the brands it is alleged to have
         produced. Thus, whenever Grand River or any entity is found to be non-compliant with
         the Escrow Statutes’ requirements with respect to sales of Seneca® brand cigarettes, all of
         the Claimants suffer and are harmed, because future sales of their Seneca® brand are
         banned and prohibited.

130.     Furthermore, in this case, the MSA states have not only made demands against Grand
         River, they have also applied the MSA-related measures directly to NWS as the rights-
         holder, importer and distributor of the Seneca® brand. For example, within the past
         weeks and months, NWS received letters from the Attorneys General of California and
         Idaho, respectively, directing NWS to cease and desist the distribution of the Seneca®
         brand anywhere in their States under threat of contempt of court.154 Despite the fact that
         the state of California has no constitutional jurisdiction to regulate whether or how NWS
         distributes tobacco products on sovereign, First Nations territories, it is obvious that its

154
         A. Montour Stmt. at 24-27.




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         Attorney General purports to possess the right to do so – thereby demonstrating a yet
         another way in which the measures relate to NWS and Arthur Montour, as enforced by
         Respondent.

131.     In similar disregard for Claimants’ rights and expectations under US Federal Indian Law,
         the State of Oklahoma has also just launched a disgorgement lawsuit against NWS,
         seeking over $5 million in damages in respect of sales of Seneca® products it admits
         were sold by NWS in Native American territory to First Nations customers.155

132.     The importance under the NAFTA of the relationship between the harm caused to an
         investor when its products are adversely affected by a measure was best described by the
         Tribunal in the NAFTA arbitration UPS v. Canada:

                 Canada’s argument that the conduct of Canada Customs is at most treatment of items and
                 not the investment or the investor is not correct. That argument would essentially open
                 an enormous hole in the protection of investments and investors.... Treatment is not only
                 open to items but to enterprises.156

133.     In other words, when a measure applies to an investor’s proprietary products, from which
         cash flows generated by that business support growth of those brands, the measure is
         deemed to relate to the investor and its investments under NAFTA.

          SECTION II               Interpretation of NAFTA Chapter 11

         A.      Interpretation of the NAFTA Must be in Accordance with Applicable
                 Rules of International Law

134.     NAFTA Article 1131(1) states that a tribunal shall decide issues in dispute in accordance
         with the NAFTA and the applicable rules of international law. NAFTA Article 102(2)
         further provides that NAFTA provisions shall be interpreted and applied in accordance




155
         Claimant’s Evidentiary Stmts. Ex. 46.
156
         United Parcel Service v. Canada, UNCITRAL/NAFTA, Award (24 May 2007), at para. 85.




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         with the applicable rules of international law and in light of the objectives of the NAFTA
         set out in Article 102(1).157

135.     It is well settled in the jurisprudence of NAFTA tribunals that the term “applicable rules
         of international law,” used in Article 102(2) and 1131(1), includes the customary
         international law rules of treaty interpretation that are codified in the Vienna Convention
         on the Law of Treaties (“VCLT”).158

136.     The VCLT further provides that “any relevant rules of international law applicable in the
         relations between the parties” to a treaty “shall be taken into account, together with the
         context” of the treaty, including its text and preamble, in interpreting the obligations
         owed by a party to that treaty.159 Accordingly, treaties in which the United States has
         undertaken certain obligations in respect of its treatment of the Haudenosaunee,
         constitute applicable international law rules that must be considered in the Tribunal’s
         construction of NAFTA obligations where Claimants’ rights and interests, as
         Haudenosaunee, are involved.

137.     Similarly, customary international law and international human rights norms may also
         constitute applicable rules of international law for the purposes of interpretation of a
         provision of NAFTA Chapter 11 as it pertains to Claimants, as Haudenosaunee investors,
         just as fundamental human rights norms, including but not limited to jus cogens


157
         United States – In the Matter of Cross-Border Trucking Service (2001), USA-MEX-98-2008-01 at para.
         218. See also: Meltaclad Corporation v. The United Mexican States, ICSID/NAFTA Case No.
         ARB(AF)/97/1, Award at para.70 (30 August 2000).
158
         See generally Ethyl Corporation v. Canada, UNCITRAL/NAFTA, Award on Jurisdiction at para. 50 (24
         June 1998); Canfor Corp. v. the United States of America and Tembec Corp. v. the United States of
         America, UNCITRAL/NAFTA, Decision on Preliminary Question at para. 177 (6 June 2006) [Softwood
         Lumber]; Mondev International Ltd. v. United States of America, Award, ICSID Case No. ARB(AF)/99/2
         (11 October 2002), at para. 43; Methanex Corporation v. United States, UNCITRAL/NAFTA, Final Award
         (3 August 2005) Part II, Chapter B at paras. 15-23, and Part IV, Chapter B at para. 29; United Parcel
         Service v. Canada, UNCITRAL/NAFTA, Award on Jurisdiction (22 November 2002), at para’s. 40-42;
         Meltaclad at para. 70, supra note 29; Tariffs Applied by Canada to Certain U.S.-origin Agricultural
         Products (1996), CDA-95-2008-01 at para. 119; Grand River Enterprises et al v. United States of America,
         UNCITRAL, Jurisdictional Decision at para. 34 (20 June 2006); and International Thunderbird Gaming
         Corp. v. United Mexican States, UNCITRAL Arbitration (26 January 2006), at paras. 89-91.
159
         Vienna Convention on the Law of Treaties, art. 31(3)(c), May 23 1969, 1155 U.N.T.S. 331.




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         principles, must also inform a NAFTA tribunal’s interpretation of the provisions before it
         wherever the claimant investor is an individual.

138.     Both the customary international law rules of treaty interpretation and the applicable rules
         of international law relevant to the interpretation of the NAFTA with respect to
         Claimants, as Haudenosaunee investors, are detailed below.

         B.      Customary International Law Rules of Treaty Interpretation as
                 Applied to the NAFTA

139.     There is consensus that the customary international law rules of treaty interpretation have
         been accurately restated in VCLT Articles 31 and 32. 160                        VCLT Article 31(1)
         memorializes the general rule of treaty interpretation, providing that “a treaty shall be
         interpreted in good faith in accordance with the ordinary meaning to be given to the terms
         of the treaty in their context and in the light of its object and purpose.” Under this
         general rule of interpretation, the text of the treaty is presumed to be the authentic
         expression of the parties’ intentions. Post facto statements by a respondent party, about
         its alleged intent behind a particular treaty provision, must therefore be met with
         considerable doubt and scrutiny. In any event, the starting place for any exercise in
         interpretation must be the treaty text itself.161




160
         Vienna Convention on the Law of Treaties, May 23 1969, 1155 U.N.T.S. 331. The Tribunal is not obliged
         to follow the determinations of past tribunals in making any of its findings, as NAFTA Article 1136(1)
         confirms: awards issued by a tribunal “shall have no binding force except between the disputing parties and
         in respect of the particular case.” Nonetheless, both in respect of the findings of other NAFTA tribunals,
         and those of other international adjudicatory bodies, their findings may prove helpful to the Tribunal in
         executing its interpretative role. See e.g.: Azurix Corp. v. Argentina, ICSID Case No. ARB/01/12, Final
         Award at para. 391 (14 July 2006). See also Ian Brownlie, Principles of Public International Law, 6th ed.
         (Oxford University Press 2003) at 602.
161
         Suez, Sociedad General de Aguas de Barcelona S.A, and Interagua Servicios Integrales de Agua S.A and
         the Argentine Republic, ICSID, ARB/03/17, Decision on Jurisdiction at para’s 54-55 (16 May 2006). See
         also: Suez, Sociedad General de Aguas de Barcelona S.A. and Vivendi Universal S.A. v. Argentina, ICSID
         Case No. ARB/03/19, Decision on Jurisdiction at para. 54 (3 August 2006); National Grid PLC v.
         Argentina, UNCITRAL/BIT Arbitration, Jurisdictional Decision at para. 80 (20 June 2006); and United
         States – Countervailing Duties on Certain Corrosion-Resistant Carbon Steel Flat Products from Germany
         (2002), WTO Doc. WT/DS213/AB/R and Corr.1 at para’s 61-62.




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140.     The ordinary meaning of the text is normally conclusive of the obligations owed by a
         party to a treaty. Such meaning is also informed by the context in which the subject text
         appears and the object and purpose of the treaty in question. As indicated by the
         International Court of Justice:

                 The Court considers it necessary to say that the first duty of a tribunal which is
                 called upon to interpret and apply the provisions of a treaty, is to endeavor to
                 give effect to them in their natural and ordinary meaning in the context in which
                 they occur. If the relevant words in their natural and ordinary meaning make
                 sense in their context that is an end of the matter.162

141.     The object and purpose of a treaty provides interpreters with guidance as to how the
         ordinary meaning of its text should be interpreted in context.163 NAFTA Article 102
         explicitly sets forth its object and purpose:

               1. The objectives of this Agreement, as elaborated more specifically through its
               principles and rules, including national treatment, most-favoured-nation treatment
               and transparency, are to:

               (a) eliminate barriers to trade in, and facilitate the cross-border movement of, goods
               and services between the territories of the Parties;

               (b) promote conditions of fair competition in the free trade area;

               (c) increase substantially investment opportunities in the territories of the Parties;

               (d) provide adequate and effective protection and enforcement of intellectual
               property rights in each Party's territory;

               (e) create effective procedures for the implementation and application of this
               Agreement, for its joint administration and for the resolution of disputes; and

               (f) establish a framework for further trilateral, regional and multilateral cooperation
               to expand and enhance the benefits of this Agreement.




162
         Competence of the General Assembly For The Admission Of A State To The United Nations, [1950] I.C.J.
         Rep. 4 at 8 (Advisory Opinion).
163
         Noble Ventures, Inc. v. Romania, ICSID Case No. ARB/01/11, Award at para. 52 (12 October 2005) [Noble
         Ventures].




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142.     NAFTA Tribunals have consistently applied the objectives found in Article 102(1) when
         interpreting substantive provisions of Chapter 11.164 For example, the Ethyl Tribunal
         noted:

               Given the relevance under Article 31(1) of the Vienna Convention of NAFTA’s
               “object and purpose,” it is necessary to take note of NAFTA Article 102,
               particularly its (1)(c) and (e) […] The Tribunal reads Article 102(2) as specifying
               that the “object and purpose” of NAFTA within the meaning of those terms in
               Article 31(1) of the Vienna Convention are to be found by the Tribunal in Article
               102(1), and confirming the applicability of Articles 31 and 32 of the Vienna
               Convention.165

143.     Interpretation of the objectives found in Article 102(1) can also be informed by text of
         the NAFTA preamble.166 Preambular text provides the context within which the specific
         terms of such a provision should be interpreted. Other tribunals have had recourse to
         preambular text, using it to ascertain the object and purpose of a treaty where explicit
         objectives were not included in its text.167 For example, the S.D. Myers Tribunal has
         opined:

               The NAFTA provides internal guidance for its interpretation in a number of
               provisions. In the context of a Chapter 11 dispute, it is appropriate to begin with the
               Preamble to the treaty, which asserts that the Parties are resolved, inter alia, to …
               Create an expanded and secure market for the goods and services produced in
               their countries... to ensure a predictable commercial framework for business




164
         See e.g.: Pope & Talbot v. Canada, NAFTA/UNCITRAL, Award on the Merits, Phase 2, (10 April 2001),
         at para. 115. See also: United Parcel Service v. Canada, Award, NAFTA/UNCITRAL (24 May 2007), at
         para’s. 60-61,and United States – In the Matter of Cross-Border Trucking Services, Panel Report, USA-
         MEX-98-2008-01, 6 February 2001, at para. 222.
165
         Ethyl Corporation v Canada, Award on Jurisdiction, 24 June 1988, 38 ILM 708, at para. 56.
166
         VCLT Article 31(2) confirms that the preamble and annexes of a treaty are to be included in one’s analysis
         of the context of treaty text.
167
         See e.g.: Siemens AG v Argentina, Award, ICSID Case No ARB/02/8 (06 February 2007), at para. 81;
         Continental Casualty Company. v. Argentine Republic, ICSID Case No. ARB/03/9, Decision on
         Jurisdiction at para. 80, (22 February 2006); Azurix, supra note 33 at para. 307; and SGS Société Générale
         de Surveillance v. Republic of the Philippines, ICSID Case N° ARB/02/6, Jurisdiction at para. 116 (29
         January 2004). See also: United States – Import Prohibition of Certain Shrimp and Shrimp Products,
         WTO Doc., WT/DS58/AB/R at para. 153 (Appellate Body Report).




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               planning and investment... and to do so in a manner consistent with
                                                            168
               environmental protection and conservation […] [emphasis in original]

144.     And the Panel in Cross-Border Trucking has noted:

               The objectives develop the principal purpose of NAFTA, as proclaimed in its
               Preamble, wherein the Parties undertake, inter alia, to “create an expanded and
               secure market for the goods and services produced in their territories.”169

145.     In summary, the jurisprudence of NAFTA Chapter 11 is settled: provisions found in
         NAFTA Chapter 11 are to be construed in a broad and remedial manner consistent with
         the object and purpose of the NAFTA. As such, when interpreting the plain language of
         a provision, in context, if a tribunal is presented with two equally plausible meanings it
         should choose the one most in accord with the objectives of promoting investment and
         competitive opportunity as stated explicitly in Article 102(1) and the preambular
         language of the NAFTA.

         C.    Applicable International Law Concerning the Individual Rights and
               Protection of Indigenous Peoples

146.     As noted above, Article 31(3)(c) of the VCLT provides that “any relevant rules of
         international law applicable in the relations between the parties” to a treaty “shall be
         taken into account, together with the context” of the treaty, including its text and
         preamble, in interpreting the obligations owed by a party to that treaty.170 And as Lord
         McNair observed in his famous treatise:

               It is arguable that the relevance of a rule of international law in deciding upon the
               interpretation to be placed upon a treaty can be attributed either to the fact that a
               rule pertains to a legal system to which the contracting parties are subject or on a
               contractual basis. The latter explanation was put forward in the North Atlantic
               Coast Fisheries Arbitration (Oral Argument, pp. 1073 and 1282) both by Sir
               William Robson (the British Attorney General) and by Senator Elihu Root on


168
         S.D. Myers, Inc. v. Canada, NAFTA/UNCITRAL, NAFTA/UNCITRA, First Partial Award (13 November
         2000) at para. 196 (13 November 2000).
169
         United States – In the Matter of Cross-Border Trucking Services, Panel Report, USA-MEX-98-2008-01, 6
         February 2001, at para. 219; citing: In the Matter of Tariffs Applied by Canada to Certain United States
         Origin Agricultural Products, CDA 95-2008-01, Final Panel at para. 122 (2 December 1996) [Tariffs].
170
         Vienna Convention on the Law of Treaties, art. 31(3)(c), May 23 1969, 1155 U.N.T.S. 331.




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                behalf of the United States of America. The former said (at p. 1073): ‘Of course in
                dealing with international law in relation to treaties – a subject with which I have
                already dealt at such length, -- I admitted that international law, when well
                established and clearly proved, like municipal law, may be taken as the basis of a
                contract, and may be read into a contract on those matters as to which the contract
                is silent because, no doubt, the parties were contracting with knowledge of the
                law.’ And Senator Elihu Root later said (p. 1282): ‘The effect of a rule of
                international law, if such a rule there be, which may be relevant in any degree to
                the consideration of a treaty between two independent nations is rather that of a
                rule of construction than of statute upon which rights are based. Again, I am
                indebted to the learned Attorney-General for the very just exposition of that
                           171
                relation.’

147.     Claimants are Haudenosaunee, for whose benefit the United States and the United
         Kingdom undertook certain obligations in the Jay Treaty of 1794, which came into force
         in 1796. The Parties reaffirmed the obligations they undertook to First Nations, and to
         the Haudenosaunee in particular, with the 1814 Treaty of Ghent.172 These obligations
         remain in force today173 and accordingly constitute applicable rules of international law
         in cases where the economic interests of First Nations are at issue. As such, these
         obligations should be considered by the Tribunal in its construction of NAFTA
         provisions at issue in this case.

148.     One of the Parties’ obligations, found in Article III of the Jay Treaty, is to ensure that
         “Indians” can freely traverse the territorial boundary between the United States and
         Canada, and to freely carry on trade and commerce with each other thereby.                            The
         “Indians” that the parties primarily had in mind when they undertook these obligations
         were the Haudenosaunee, whose traditional commerce and territories extended across
         what would become the border between Canada and the United States.174




171
         A.D. McNair, The Law of Treaties (Oxford: Clarendon, 1961), at 466. See, e.g.: Saipem S.p.A. v People's
         Republic of Bangladesh, Decision on Jurisdiction, ICSID Case No. ARB/05/07, (21 March 2007) at para.
         82.
172
          Statement of Professor Robert Clinton, at page 26-27.
173
          Statement of Professor Robert Clinton, at page 21-22 ; Canada acceded to all international law obligations
         of the United Kingdom in respect of the Dominion of Canada in1931.
174
         Statement of Professor Robert Clinton, at pages 22, 24.




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149.     When concluding the Jay Treaty, the Parties recognized that they each bore a special
         obligation to aboriginal peoples whose traditional territories were divided by the new
         borders they had created. Indeed, the Parties had the Haudenosaunee specifically in mind
         when these obligations were affirmed in 1794 and 1814.175 In doing so, they were
         effectively promising not to treat the Haudenosaunee as if they were foreign nationals for
         the purposes of regulating their rights in land or their traditional commercial activities.176
         This obligation is not only specifically enshrined in the Jay Treaty and affirmed in the
         Treaty of Ghent; Claimants assert that it is a rule of customary international law, as
         reflected in Article 32 of ILO Convention No. 169, which provides:

               Governments shall take appropriate measures, including by means of international
               agreements, to facilitate contacts and co-operation between indigenous and tribal
               peoples across borders, including activities in the economic, social, cultural,
                                                   177
               spiritual and environmental fields.

150.     As an evolving norm of customary international law, the duty of States to respect and
         protect the rights and interests of First Nations across borders, in good faith, must be
         considered in the interpretation of treaty rights when the interests of First Nations
         individuals are directly involved. The NAFTA provisions at issue in this case should be
         interpreted in conformity with such obligation, particularly given that the rights and
         interests of indigenous peoples specifically contemplated in the Jay Treaty – an
         instrument still in force as between the two NAFTA Parties concerned – are at issue.
         This approach to interpretation of NAFTA provisions is also in accord with the
         customary international law obligation of States to honor obligations undertaken with
         respect to First Nations, as reflected in Article 40 of the United Nations Declaration on
         the Rights of Indigenous Peoples, which provides:



175
         Statement of Professor Robert Clinton, at page 25-28, 47.
176
         Statement of Professor Robert Clinton, at page 25-29, 47.
177
         International Labour Organisation, Convention Concerning Indigenous and Tribal Peoples in Independent
         Countries (Sept. 5, 1991), adopted by the General Conference of the ILO on June 27, 1989, in force
         beginning Sept. 5, 1991; available at http://www.ilo.org/ilolex/english/convdisp1.htm; last visited 1 April
         2008.




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                 Indigenous peoples have the right to access to and prompt decision through just
                 and fair procedures for the resolution of conflicts and disputes with States or
                 other parties, as well as to effective remedies for all infringements of their
                 individual and collective rights. Such a decision shall give due consideration to
                 the customs, traditions, rules and legal systems of the indigenous peoples
                                                           178
                 concerned and international human rights.

151.     Respondent’s obligation to honor its NAFTA and Jay Treaty obligations in good faith,
         thereby promoting and protecting cross-border Haudenosaunee investments in its
         territory, is also supported by its customary international law obligation to respect the
         rights of indigenous peoples to occupy and enjoy their traditional territories.                    This
         obligation has also been recognized both in Article 14(2) of ILO Convention 169 and by
         the Inter-American Court of Human Rights in Mayagna (Sumo) Awas Tingni Community
         v. Nicaragua.179 Such obligation is also consonant with evolving customary international
         law norms for the protection of the rights of indigenous peoples whose traditional
         territories are today divided by ‘international’ borders.              This principle of constant
         promotion and protection for First Nations members, in respect of their ability to benefit
         from undertaking their traditional commercial activities on their territories across borders,
         is also reflected in Article 36 of the United Nations Declaration on the Rights of
         Indigenous Peoples, which provides:

                 1. Indigenous peoples, in particular those divided by international borders, have
                 the right to maintain and develop contacts, relations and cooperation, including
                 activities for spiritual, cultural, political, economic and social purposes, with their
                 own members as well as other peoples across borders.

                 2. States, in consultation and cooperation with indigenous peoples, shall take
                 effective measures to facilitate the exercise and ensure the implementation of this
                 right.180

152.     The traditional territories of the Haudenosaunee, including the lands upon which the Six
         Nations of the Grand River Territory and the Seneca Nation Cattaraugus Territory sit
         today, exists on either side of the frontier that today represents the political border

178
         United Nations Declaration on the Rights of Indigenous Peoples, 13 September 2007, A/RES/61/295
179
         The Mayagna (Sumo) Awas Tingni Community v. Nicaragua, Judgment (31 August 2001), Inter-Am. Ct.
         H.R., (Ser. C) No. 79 (2001).
180
         United Nations Declaration on the Rights of Indigenous Peoples, 13 September 2007, A/RES/61/295.




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         between Canada and the United States. As Professor Clinton explains, under the Jay
         Treaty Claimants have always been – and remain – entitled to be treated by Respondent
         as if all of their traditional territories were located on federally-recognized tribal land in
         the United States.181 These rights of commerce and free passage were promised to the
         Haudenosaunee by Respondent and the Crown after their military aggression against each
         other twice disturbed the territories of the Six Nations and severed the Great Law of
         Peace that served as the Haudenosaunee constitution since the 11th Century.182 In other
         words, Respondent and Claimants’ forefathers understood that the Haudenosaunee were
         promised, in perpetuity, by both the Crown and the United States, that they would always
         be free to conduct their commercial, political and social affairs as if the border designated
         by these Europeans to separate themselves from each other had never existed.

153.     As noted above, in Mayagna (Sumo) Awas Tingni Community v. Nicaragua, the Inter-
         American Court of Human Rights interpreted the treaty provisions before it consistently
         with other applicable international law obligations.                The Court concluded that its
         interpretation of Article 21 of the Inter-American Convention on Human Rights183 must
         be informed by evolving customary international law norms respecting the protection and
         promotion of the rights and interests of indigenous peoples. 184 And as with the
         interpretation of NAFTA Chapter 11,185 the Court also noted that its interpretation of the
         treaty text could not be unduly restrictive.186 In so doing, the Court determined that the
         term “property” found in Article 21 must be construed so as to include an OAS State’s
         obligation to recognize and safeguard the communal property rights of indigenous
         peoples, such as the Awas Tingni, in the territories they have traditionally occupied, and

181
         Statement of Professor Robert Clinton, at page 23;
182
         Statement of Professor Robert Clinton, at page 15, 28;
183
          O.A.S.Treaty Series No. 36, 1144 U.N.T.S. 123, entered into force July 18, 1978.
184
         Mayagna (Sumo) Awas Tingni Community v. Nicaragua, 2001 Inter-Am. Ct. H.R. (ser. C) No. 79 ¶¶ 2, 148
         (Aug. 31, 2001).
185
         See, e.g.: The Loewen Group, Inc. and Raymond L. Loewen v. United States of America, Award on
         Jurisdiction, 5 January 2001, ICSID Case No. ARB(AF)/98/3, at ¶ 51, citing: Ethyl Corporation v Canada,
         Award on Jurisdiction, 24 June 1988, 38 ILM 708, at ¶ 83.
186
         Mayagna (Sumo) Awas Tingni Community v. Nicaragua, at 148.




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         did occupy prior to European contact. The Inter-American Commission for Human
         Rights advocated this finding, arguing that: “there is an international customary
         international law norm which affirms the rights of indigenous peoples to their traditional
         lands.” 187 There is no reason for this Tribunal to adopt an interpretative approach
         different from that which has been observed in the Inter-American system.

         SECTION III               RESPONDENT HAS BREACHED ITS
                                   OBLIGATIONS UNDER ARTICLE 1105 OF NAFTA

         A.      NAFTA Article 1105 and the Customary International Law Standard
                 of Fair and Equitable Treatment

154.     The standard of ‘fair and equitable treatment’ set out in NAFTA Article 1105 has been
         unanimously recognized by all three NAFTA Parties as being required under customary
         international law.188 Application of the standard in any given case is a context-specific
         endeavor.189 It requires due respect for the right of a sovereign State to regulate in the
         best interests of its citizens,190 as balanced against the obligations of good faith and fair
         dealing required under international law.191 The standard is neither static nor frozen in
         time, and evidence of a Party’s egregious or bad faith conduct is not required for a
         tribunal to find that the standard has been breached. As confirmed in the NAFTA Free
         Trade Commission (FTC) statement on the interpretation of Article 1105, dated 1 July,
         2001, and observed by the tribunal in Mondev v. USA:


187
         Mayagna (Sumo) Awas Tingni Community v. Nicaragua, at 140.
188
          T.H. Cheng, “Precedent and Control in Investment Treaty Arbitration” 30 FDMILJ 1014 at 1031 (2007),
         where Prof. Cheng unambiguously observes: “The fair and equitable standard undoubtedly forms part of
         customary investment law.”
189
         Mondev International Ltd. v. United States of America, Award, ICSID Case No. ARB(AF)/99/2 (11
         October 2002), at para. 118.
190
         See, e.g.: Eastern Sugar BV v Czech Republic, Partial Award, SCC 088/2004 (27 March 2007), at para’s
         272-274: “A violation of a BIT does not only occur through blatant and outrageous interference. However,
         a BIT may also not be invoked each time the law is flawed or not fully and properly implemented by a state.
         Some attempt to balance the interests of the various constituents within a country, some measure of
         inefficiency; a degree of trial and error; a modicum of human imperfection must be over-stepped before a
         party may complain of a violation of a BIT.”
191
         Técnicas Medioambientales, TECMED S.A. v United Mexican States, Award, ICSID Case No.
         ARB/AF/00/2 (29 May 2003), at para’s. 155-158.




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                 [Since the opening decades of the 20th century] … both the substantive and
                 procedural rights of the individual in international law have undergone
                 considerable development. In the light of these developments it is unconvincing
                 to confine the meaning of ‘fair and equitable treatment’ and ‘full protection and
                 security’ of foreign investments to what those terms—had they been current at
                 the time—might have meant in the 1920s when applied to the physical security
                 of an alien. To the modern eye, what is unfair or inequitable need not equate
                 with the outrageous or the egregious. In particular, a State may treat foreign
                 investment unfairly and inequitably without necessarily acting in bad faith.

                 … the FTC interpretations incorporate current international law, whose content is
                 shaped by the conclusion of more than two thousand bilateral investment treaties
                 and many treaties of friendship and commerce. Those treaties largely and
                 concordantly provide for ‘fair and equitable’ treatment of, and for ‘full protection
                                                                              192
                 and security’ for, the foreign investor and his investments.

155.     And as the Tribunal in MCI Power v. Ecuador observed about the minimum standard
         provision contained within Respondent’s BIT with Ecuador:

                 The Tribunal notes that fair and equitable treatment conventionally obliges State
                 parties to the BIT to respect the standards of treatment required by international
                 law. The international law mentioned in Article II of the BIT refers to customary
                 international law, i.e., the repeated, general, and constant practice of States,
                 which they observe because they are aware that it is obligatory. Fair and
                 equitable treatment, then, is an expression of a legal rule. Inequitable or unfair
                 treatment, like arbitrary treatment, can be reasonably recognized by the Tribunal
                 as an act contrary to law.193

156.     The Article 1105 standard of fair and equitable treatment is both informed by, and
         required under, customary international law.            It is a general standard that can be
         manifested in many ways, depending upon the context of the case in question. As
         summarized by the Tribunal in Waste Management II:

                 The search here is for the Article 1105 standard of review, and it is not necessary
                 to consider the specific results reached in the cases discussed above. But as this
                 survey shows, despite certain differences of emphasis a general standard for
                 Article 1105 is emerging. Taken together, the S.D. Myers, Mondev, ADF and
                 Loewen cases suggest that the minimum standard of treatment of fair and


192
         Mondev International Ltd v United States, Award, ICSID Case No ARB(AF)/99/2 (11 October 2002), at
         para’s. 116 and 125.
193
         MCI Power Group LC and New Turbine Inc v Ecuador, Award, ICSID Case No ARB/03/6 (31 July 2007),
         at para. 369; citing Técnicas Medioambientales, TECMED S.A. v United Mexican States, Award, ICSID
         Case No. ARB/AF/00/2 (29 May 2003), at para. 102.




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                   equitable treatment is infringed by conduct attributable to the State and harmful
                   to the claimant if the conduct is arbitrary, grossly unfair, unjust or idiosyncratic,
                   is discriminatory and exposes the claimant to sectional or racial prejudice, or
                   involves a lack of due process leading to an outcome which offends judicial
                   propriety - - as might be the case with a manifest failure of natural justice in
                   judicial proceedings or a complete lack of transparency and candour in an
                   administrative process. In applying this standard it is relevant that the treatment
                   is in breach of representations made by the host State which were reasonably
                                              194
                   relied on by the claimant.

157.     Customary international law protections afforded to individuals, vis-à-vis the State, are
         articulated in a wide array of international instruments. It is generally accepted that the
         instruments that best articulate the meaning and scope of the rights vouchsafed under the
         UN and OAS Charters are the Universal Declaration of Human Rights; the American
         Declaration on the Rights and Duties of Man; and the American Convention on Human
         Rights.     Both of the aforementioned declarations also form part of the customary
         international law tapestry of protection for indigenous peoples. Respondent is a party to
         both the Charter of the United Nations and the Charter of the Organization of American
         States, whose ratification requires an undertaking to promote human rights. 195
         Ratification of the latter also obliged Respondent to recognize good faith as a principle
         that shall govern its relations with other parties to the Charter, including the other Parties
         to the NAFTA.

158.     Evidence that Respondent believes all States to be bound by the principles contained
         within these instruments can be seen in its adoption of the Universal Declaration of
         Human Rights as the basis for its evaluation of the human rights records of other States
         conducted annually by its State Department.196 Indeed, Respondent proclaims that it will
         continue to: “Hold governments accountable to their obligations under universal human

194
         Waste Management, Inc v Mexico, Award, ICSID Case No ARB(AF)/00/3 (30 April 2004), at para. 98.
195
         Charter of the United Nations, 26 June 1945, 59 Stat. 1031, T.S. 993, 3 Bevans 1153, entered into force 24
         October 1945, Articles 1(3) & 55(c); Charter of the Organization of American States art. 106, 119 U.N.T.S.
         3, entered into force 13 December 1951; amended by Protocol of Buenos Aires, 27 February 1967, 721
         U.N.T.S. 324; amended by Protocol of Cartagena, approved 5 December 1985, 25 I.L.M. 527; amended by
         Protocol of Washington, approved 14 December 1992, 33 I.L.M. 1005; amended by Protocol of Managua,
         adopted 10 June 1993, 33 I.L.M. 1009.
196
         Claimant’s Evidentiary Stmts. Ex. 48.




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         rights norms and international human rights instruments” and “Promote the rule of law,
         seek accountability, and change cultures of impunity” with respect to those rights.197 As a
         matter of good faith, Respondent must also believe itself to be bound by the same
         standards against which it judges other nations, and it should be held to them by any
         tribunal authorized to use applicable international law in coming to its decision.198

159.     Within the context of the present case, Respondent’s obligation to ensure fair and
         equitable treatment for Claimants’ investment is manifested in three ways:

i.       Violation of Respondent’s customary international law obligation to act in
         accordance with basic principles of fairness and due process in designing and
         applying their measures; and

ii.      Claimants’ detrimental reliance upon the legal regime under which they expanded
         their investment would remain stable and transparent, and not be abruptly
         changed or ignored in an arbitrary or discriminatory manner, contrary to the
         customary international law principle of good faith; and the legitimate expectation
         that Respondent’s administrative and elected officials would respect international

197
         Claimant’s Evidentiary Stmts. Ex. 49.
198
         These is also evidence that Respondent does not disagree with the proposition that some of the norms
         articulated in another important international instrument concerning the rights of First Nations groups and
         individuals may be binding or at least evocative of customary international law obligations. That
         instrument is the United Nations Declaration on the Rights of Indigenous Peoples, 13 September 2007,
         A/RES/61/295. In its statement of observations on the Declaration, which was issued conterminously with
         its adoption, Respondent pledges that it will continue to oppose “racial discrimination against indigenous
         individuals and communities and continue to press for full indigenous participation in democratic electoral
         processes throughout the world.” See United States, Mission to the United Nations, “Explanation of vote by
         Robert Hagen, U.S. Advisor, on the Declaration on the Rights of Indigenous Peoples, to the UN General
         Assembly, September 13, 2007,” at http://www.un.int/usa/press_releases/20070913_204.html, last visited 1
         April 2008.
         Indeed, with its observations Respondent does not appear to reject or even criticize the obligations reflected
         in Articles 19, 20, 36 or 37 of the Declaration, which were contained in a document attached to the
         statement it issued conterminously with adoption of the Declaration by the United Nations General
         Assembly. This statement of observations purports to constitute Respondent’s “views with respect to the
         core provisions of the text.” One can therefore only assume that if it vehemently rejected any of the
         obligations contained within Articles 19, 20, 36 and 37 of the Declaration, it would have said so in its
         statement. As described below, the obligations reflected in Articles 19, 20, 36 and 37 of the Declaration
         are all relevant within the context of the present case. Moreover, just because Respondent may have
         chosen not to recognize certain core obligations, as identified in its statement of observations, does not
         mean that they are not binding as a matter of customary international law. Respondent’s is but one voice
         among many in the international community, the vast majority of whom supported the Declaration in its
         entirety, as being expressive of the kind of conduct that should be undertaken by States in their intercourse
         with indigenous peoples.




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            law protections for indigenous peoples and specific treaty promises made for the
            benefit of the Haudenosaunee; and

iii.        Violation of Respondent’s customary international law obligation to avoid both de
            jure and de facto discrimination against indigenous peoples, including the
            obligation to consult with indigenous groups and individuals prior to imposing a
            discriminatory measure.

160.        What follows is an explanation of the legal basis upon which these claims will be made
            further below.

       a.   Good Faith, Legitimate Expectations and Detrimental Reliance

161.        The essence of the protection afforded to investors under the ‘fair and equitable
            treatment’ standard, as confirmed generally customary international law, is reflected in
            the principle of good faith. In application, the customary international law principle of
            good faith requires Respondent to treat the investment of a foreign national in a manner
            that “will not affect the basic expectations that were taken into account by foreign
            investor to make the investment.”199

162.        Recent NAFTA and investment treaty case law supports application of the principle of
            good faith in defining the meaning of ‘fair and equitable treatment.’ In short, an investor
            who relies upon a legitimate expectation of treatment from a Party to his detriment is
            entitled to compensation for losses caused thereby.200 As stated in this oft-cited passage
            from the award in Tecmed v. Mexico, the customary international law standard of fair and
            equitable treatment requires a State:

                    … to provide to international investments treatment that does not affect the basic
                    expectations that were taken into account by the foreign investor to make the investment.
                    The foreign investor expects the host State to act in a consistent manner, free from
                    ambiguity and totally transparently in its relations with the foreign investor, so that it may
                    know beforehand any and all rules and regulations that will govern its investments, as
                    well as the goals of the relevant policies and administrative practices or directives, to be


199
            Sempra Energy International v Argentina, Award and partial dissenting opinion, ICSID Case No
            ARB/02/16 (28 September 2007), at para. 298; citing Técnicas Medioambientales, TECMED S.A. v United
            Mexican States, Award, ICSID Case No. ARB/AF/00/2 (29 May 2003), at para. 254.
200
            Siemens AG v Argentina, Award, ICSID Case No ARB/02/8 (06 February 2007), at para. 299.




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                   able to plan its investment and comply with such regulations. Any and all State actions
                   conforming to such criteria should relate not only to the guidelines, directives or
                   requirements issued, or the resolutions approved thereunder, but also to the goals
                   underlying such regulations. The foreign investor also expects the host State to act
                   consistently, i.e. without arbitrarily revoking any pre-existing decisions or permits issued
                   by the state that were relied upon by the investor to assume its commitments as well as to
                   plan and launch its commercial and business activities. The investor also expects the
                   state to use the legal instruments that govern the actions of the investor or the investment
                   in conformity with the function usually assigned to such instruments, and not to deprive
                                                                                       201
                   the investor of its investment without the required compensation.

163.       Investors are entitled to reasonably rely upon promises made by a State, both implicit and
           explicit. The less ambiguous the promise, the more reasonable the expectation.202 The
           more specific the promise, the more reasonable the expectation.203 Application of the
           principle is contextual, depending upon the facts of a given case. Still, where an investor
           detrimentally relies upon a promise made specifically to him as an individual or as the
           member of a group, the breach will be manifest.

      b.   Stability and Transparency of the Host State’s Legal Regime

164.       An investor is entitled to protection for its reasonable expectations arising from its
           reasoned and prudent assessment of “the state of the law and the totality of the business
           environment” at the time its investment decision was made.204 Absent other applicable
           international obligations, no investor may reasonably expect that the circumstances
           prevailing at the time its original investment was made would remain totally unchanged.
           Nonetheless, it can still expect that the subsequent conduct of the host State will be fair
           and equitable, rather than arbitrary, discriminatory or non-transparent.



201
           Técnicas Medioambientales, TECMED S.A. v United Mexican States, Award, ICSID Case No.
           ARB/AF/00/2 (29 May 2003), at para. 154; approved in: MTD Equity Sdn Bhd and MTD Chile SA v Chile,
           Award, ICSID Case No ARB/01/7, (25 May 2004), at para’s. 114-115.
202
           International Thunderbird Gaming Corp. v. United Mexican States, Sep. Opn, UNCITRAL Arbitration (26
           January 2006), at para’s. 241-243.
203
           PSEG Global Inc and Konya Ilgin Elektrik Üretim ve Ticaret Limited Širketi v Turkey, Award, ICSID Case
           No ARB/02/5 (19 January 2007), at para’s 241-243.
204
           PSEG Global Inc and Konya Ilgin Elektrik Üretim ve Ticaret Limited Širketi v Turkey, Award, ICSID Case
           No ARB/02/5 (19 January 2007), at para. 255; citing Saluka Investments BV v Czech Republic, Partial
           Award, UNCITRAL Arbitration (17 March 2006), at para. 305.




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165.     In other words, legitimate expectations can be reasonably founded upon a host State’s
         obligation to provide a transparent and predictable business and regulatory climate:

                 This interpretation suggests that where an investment treaty does not expressly
                 provide for transparency, but does for fair and equitable treatment, then
                 transparency is implicitly included in the treaty. Secondly, where a foreign
                 investor wishes to establish whether or not a particular State action is fair and
                 equitable, as a practical matter, the investor will need to ascertain the pertinent
                 rules concerning the State action; the degree of transparency in the regulatory
                 environment will therefore affect the ability of the investor to assess whether or
                                                                                             205
                 not fair and equitable treatment has been made available in any given case.

166.     Accordingly, in cases where the violated expectation arises from a legal regime of
         general application, the presence of a “roller coaster effect” of regulatory change will also
         require compensation under the customary international law standard of fair and
         equitable treatment.206 As noted above, the investor is entitled to expect a certain degree
         of stability and certainty, based upon the state of the regulatory landscape when its
         original or subsequent investment decisions were made.207 The longer that a general
         policy remains in place, and is not immediately corrected by officials the more reasonable
         an investor’s grounds for reliance will be.208

167.     As demonstrated in CME v. Czech Republic: “the evisceration of the arrangements in
         reliance upon which the foreign investor was induced to invest” constitutes a breach of
         the fair and equitable treatment obligation and the principle of good faith under
         customary international law.         And as Professor Wälde observed in Thunderbird v.
         Mexico:

                 Investors need to rely on the stability, clarity and predictability of the
                 government’s regulatory and administrative messages as they appear to the

205
         1999 UNCTAD Report on Fair and Equitable Treatment, at p. 51 (see; also: the 2004 UNCTAD Report on
         Transparency, at p. 71).
206
         PSEG Global Inc and Konya Ilgin Elektrik Üretim ve Ticaret Limited Širketi v Turkey, Award, ICSID Case
         No ARB/02/5 (19 January 2007), at para’s. 248-250.
207
         See, also: Eureko BV v Poland, Partial Award, UNCITRAL Arbitration (19 August 2005), at para’s. 235
         and 242.
208
         Eastern Sugar B.V. (Netherlands) v. Czech Republic, Partial Award, 27 March 2007, UNCITRAL
         Arbitration, SCC No. 088/2004, at para. 244




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                  investor when conveyed – and without escape from such commitments by
                  ambiguity and obfuscation inserted into the commitment identified subsequently
                  and with hindsight. This applies not less, but more with respect to smaller,
                  entrepreneurial investors who tend to be inexperienced but provide the
                  entrepreneurial impetus for increased trade in services and investment which
                  NAFTA aims to encourage. Taking into account the nature of the investor is not
                  formulation of a different standard, but of adjusting the application of the
                  standard to the particular facts of a specific situation.


                  … under developed systems of administrative law, a citizen – even more so an
                  investor - should be protected against unexpected and detrimental changes of
                  policy if the investor has carried out significant investment with a reasonable,
                  public-authority initiated assurance in the stability of such policy.... Such
                  protection is, however, not un-conditional and ever-lasting. It leads to a balancing
                  process between the needs for flexible public policy and the legitimate reliance
                  on particular investment-backed expectations... The “fair and equitable standard”
                  can not be derived from subjective personal or cultural sentiments; it must be
                  anchored in objective rules and principles reflecting, in an authoritative and
                  universal or at least widespread way, the contemporary attitude of modern
                  national and international economic law. The wide acceptance of the “legitimate
                  expectations” principle therefore supports the concept that it is indeed part of
                  “fair and equitable treatment” as owed by governments to foreign investors under
                                                                                    209
                  modern investment treaties and under Art. 1105 of the NAFTA.

168.       In summary, when a foreign investor is making key decisions in respect of the
           establishment, expansion or operation of its investment in the territory of the Host State,
           it is entitled – under the customary international law standard of fair and equitable
           treatment – to enjoy stability and predictability in the regulatory environment in which
           such decisions were made.210 The investor is not entitled to expect that things will never
           change, but it is entitled to expect none of the changes, nor the process by which changes
           are made, will be arbitrary, discriminatory or non-transparent, as a matter of customary
           international law.

      c.   Respect for the Customary International Law Rights of Indigenous People



209
           International Thunderbird Gaming Corp. v. United            Mexican    States,   Separate     Opinion,
           UNCITRAL/NAFTA (26 January 2006), at para’s 5 & 30.
210
           CMS Gas Transmission Company v Argentina, Award, ICSID Case No ARB/01/8 (12 May 2005), para’s.
           274-277; and CMS Gas Transmission Company v Argentina, Annulment Decision, ICSID Case No
           ARB/01/8 (25 September 2007), at para. 89.




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169.     As described above, because Claimants are Haudenosaunee, all of the norms protecting
         the economic rights of indigenous peoples serve as “applicable international law” for the
         purposes of this dispute, as per Articles 102(2) and 1131(1) of the NAFTA. They cover
         the same subject matter: guaranteeing a minimum standard of fair and equitable treatment
         to them under international law. The NAFTA provides a remedy for ‘investors’ to seek
         ‘fair and equitable treatment in accordance with international law’ and it directs tribunals
         to ‘decide issues in dispute in accordance with the Agreement and applicable rules of
         international law.’ Thus, international rights safeguarding the interests of indigenous
         peoples should be applied in the interpretation of what “fair and equitable treatment”
         means in the instant case.

170.     Such applicable rules also include individual rights afforded to indigenous peoples in
         international human rights law, as demonstrated both by custom and convention, which
         are oftentimes based upon universal human rights, such as the right to property referred
         to in Article 21 of the Inter-American Convention on Human Rights,211 as well as in
         Article 17 of the Universal Declaration of Human Rights,212 to which Respondent is
         bound as a signatory to the United Nations Charter,213 which provides:

                 Article 17.

                 (1) Everyone has the right to own property alone as well as in association with
                 others.

                 (2) No one shall be arbitrarily deprived of his property.

171.     In addition, both Article 19 of the United Nations Declaration on the Rights of
         Indigenous Peoples, and Article 6(1)(a) of ILO Conv. No. 169 make reference to the


211
         American Convention on Human Rights, O.A.S.Treaty Series No. 36, 1144 U.N.T.S. 123, entered into force
         July 18, 1978.
212
         Universal Declaration of Human Rights, G.A. res. 217A (III), U.N. Doc A/810 at 71 (1948). See, also:
         Article XXXIII of the American Declaration of the Rights and Duties of Man, O.A.S. Res. XXX, adopted
         by the Ninth International Conference of American States (1948), reprinted in Basic Documents Pertaining
         to Human Rights in the Inter-American System, OEA/Ser.L.V/II.82 doc.6 rev.1 at 17 (1992).
213
         Charter of the United Nations, 26 June 1945, 59 Stat. 1031, T.S. 993, 3 Bevans 1153, entered into force 24
         October 1945.




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         international law principle of good faith, which has also been consistently accepted by
         international investment tribunals as the foundation stone for the customary international
         law standard of fair and equitable treatment.214 The obligation to take pro-active steps to
         engage in good faith consultations with indigenous peoples – before imposing a measure
         that impairs individual or group property rights and/or indigenous economic activities – is
         based upon the principle of good faith, which is a substantive norm recognized in
         customary international law.

172.     As the Inter-American Court of Human Rights observed in Hilaire, Constantine and
         Benjamin et al. vs. Trinidad and Tobago:

                  The rule of pacta sunt servanda, which incorporates the concept of good faith
                  (bona fides) effectively transcends the law of treaties, being characterized by
                  doctrine, whether as a norm of customary law or as a general principle of
                  international law.

                  Its inclusion in the Vienna Convention reconstituted the pacta sunt servanda as
                  an axiomatic paradigm: it came to form part of a convention on codification,
                  which undeniably established its broad scope. However, long before the
                  enshrinement of the pact sunt servanda in the Vienna Convention of 1969, it had
                  become, more than a general rule of treaty interpretation, a norm of ‘customary
                  international law’ or a veritable general principle of international law, endowed
                  with wide jurisprudential recognition.

                  Treaty law is closely related to the tenets of International Law, including the area
                  of law concerning the international responsibility of States. The scope of the
                  pacta sunt servanda rule, as with the previous issue of the validity of
                  International Law norms, transcends the sphere of treaty law. Regardless, the
                  pacta sunt servanda rule finds itself profoundly rooted in the system of
                  International Law as a whole. I trust that Trinidad and Tobago will know, in light
                  of the international obligations that it has assumed, and bearing in mind the
                  established principle of international law pact sunt servanda, to fulfill, in good
                  faith, the obligations of the present Judgment of the Inter-American Court of
                  Human Rights on the merits and reparations in the Hilaire, Constantine and
                  Benjamin et al Case.215


214
         See, e.g.: Técnicas Medioambientales, TECMED S.A. v United Mexican States, Award, ICSID Case No.
         ARB/AF/00/2 (29 May 2003), at para. 153.
215
         Hilaire, Constantine and Benjamin et al. vs. Trinidad and Tobago - Series C No. 94 [2002] IACHR 4 (21
         June 2002), at para’s. 41-43. In applying the principle of good faith, the Court did not accept the argument
         that because Trinidad and Tobago had denounced the American Convention on Human Rights before the
         proceeding, the Respondent was not bound to the obligations contained therein.




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173.     The Tribunal in AMCO Asia v. Indonesia has stated that good faith is a general principle
         upon which investment treaty claims can be founded, because all foreign investors are
         entitled: “to realize the investment, to operate it with a reasonable expectation to make
         profit and to have the benefit of the incentives provided by law” without suffering the
         arbitrary exercise of a right which would prevent such enjoyment.216 That good faith is a
         substantive requirement of international law; there can be little doubt. Governmental
         discretion must be exercised in good faith or else the conduct would be considered
         arbitrary, and therefore contrary to the customary international law minimum standard of
         fair and equitable treatment.         This position is in accord with the opinions of the
         International Court of Justice and the most highly qualified publicists in international
         law:

                 The principle of good faith in international law is a fundamental principle from
                 which the pacta sunt servanda and other legal rules distinctively and directly
                 related to honesty, fairness and reasonableness are derived, and the application of
                 these rules is determined at any particular time by the compelling standards of
                 honesty, fairness and reasonableness prevailing in the international community at
                            217
                 that time.

                 The principle of good faith requires that every right be exercised honestly and
                 loyally. Any fictitious exercise of a right for the purpose of evading either a rule
                 of law or a contractual obligation will not be tolerated. Such an exercise
                 constitutes an abuse of the right, prohibited by law.218

                 . . . [D]iscretion must be exercised in good faith, and the law will intervene in all
                 cases where this discretion is abused . . . . Whenever, therefore, the owner of a
                 right enjoys a certain discretionary power, this must be exercised in good faith,
                 which means that it must be exercised reasonably, honestly, in conformity with
                 the spirit of the law and with due regard to the interest of others.219

174.     As such, Respondent’s obligation to conduct itself in genuine good faith includes taking
         pro-active steps to consult with indigenous investors prior to imposing a measure that
         will impact upon them or their community, especially when such measure provides less

216
         AMCO Asia v. Indonesia, 1 ICSID Reports, 377 at 490 & 493. See, also: the Sapphire Award (1963) 35
         ILR 136 at 181.
217
         J.F. O’Connor, Good Faith in International Law (Dartmouth: Aldershot, 1991), at p. 124.
218
         Anglo-Norwegian Fisheries Case (1951) ICJ Reports 116 at 142.
219
         Bin Cheng, General Principles of Law (Grotius Press: 1987, Cambridge UK) at 132-134.




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         favorable treatment to indigenous peoples than others. Good faith is a source of legal
         rules respecting all manner of Respondent’s interaction with First Nations individuals or
         groups. As observed in Article 37 of the United Nations Declaration on the Rights of
         Indigenous Peoples:

                 1. Indigenous peoples have the right to the recognition, observance and
                 enforcement of treaties, agreements and other constructive arrangements
                 concluded with States or their successors and to have States honour and respect
                 such treaties, agreements and other constructive arrangements.

                  2. Nothing in this Declaration may be interpreted as diminishing or eliminating
                 the rights of indigenous peoples contained in treaties, agreements and other
                 constructive arrangements.220

175.     When Respondent fails to uphold the obligations it solemnly undertook in a previous
         treaty, such as Article III of the Jay Treaty,221 it does not just breach that treaty. Such
         conduct can also serve as evidence that its conduct did not meet the customary
         international law minimum standard of fair and equitable treatment – because innocent
         parties may have relied upon such promises, to their detriment. This does not mean that
         the breach of a different treaty provision automatically constitutes a breach of NAFTA
         Article 1105, but such conduct is relevant in a determination of whether State conduct
         falls below the minimum standard expected as a matter of customary international law.
         This is because a State that fails to conduct itself in accordance with the terms of a treaty
         to which it is bound is frustrating legitimate expectations arising from the promises it
         makes, and which it must keep.

176.     In cases where the State has long since enjoyed the benefits of a treaty, but now no longer
         seems willing to honor the obligations owed under that treaty, it is committing an abuse
         of right, contrary to the principle of good faith in international law. Such conduct would
         be directly germane to a tribunal’s determination of whether the standard of fair and
         equitable treatment has been met in any given case.

220
         United Nations Declaration on the Rights of Indigenous Peoples, 13 September 2007, A/RES/61/295,
         Article 37.
221
         In fact, Respondent actually made a specific undertaking, in Article XXVIII, to observe its obligations
         under the Jay Treaty “with punctuality and the most sincere regard to good faith.”




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177.     In this case, such conduct would speak to the legitimate expectations of First Nations
         investors to enjoy treaty obligations undertaken for their benefit, such as those contained
         within the Jay Treaty, as described above. Also as described above, the obligation to
         honor treaty obligations is arguably magnified under customary international law in cases
         where would-be beneficiary of a treaty obligation is an indigenous group or one of its
         members.

178.     In summary, by operation of the customary international law principles of non-
         discrimination (equality) and good faith, Respondent is under a positive duty to consult
         with First Nations investors prior to taking decisions that impact significantly upon their
         investments. It is simultaneously under a duty to engage in such consultation in a good
         faith manner. In addition, Respondent is obligated to avoid according treatment to First
         Nations investors that is less favorable than that which has been offered to other, non-
         Native American competitors. Finally, Respondent must ensure that its conduct does not
         compromise the legitimate expectations of First Nations investors to enjoy rights
         guaranteed to them under customary international law or convention.            State action
         contrary to these principles stands as evidence that Respondent has failed to live up to the
         fair and equitable treatment standard that must be met under NAFTA Article 1105 and
         international law.

   d.    Even-Handedness and Fair Dealing in the Prevention of Discrimination
         Against First Nations Investors

179.     The customary international law protections owed by Respondent to foreign investors in
         its territory are complemented by the customary international law protections owed more
         generally by Respondent as fundamental human rights. In circumstances such as the
         present case, these obligations exist conterminously with current and emerging norms of
         customary international law for the protection of the human rights of indigenous peoples.
         As the United Nations Committee on the Elimination of Racial Discrimination has
         observed: “the situation of indigenous peoples has always been a matter of close attention
         and concern...” and “… [that therefore] all appropriate means must be taken to combat




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         and eliminate [discrimination involving indigenous persons].”222 These principles are
         relevant to any international tribunal called upon to decide a dispute in accordance with
         ‘applicable rules of international law,’ including this Tribunal, as per NAFTA Article
         1131(1).

180.     Freedom from discrimination on the basis of race is an ergo omnes obligation of
         customary international law.223 It is also one of the fundamental norms emerging in the
         context of the customary international law protection for the individual and communal
         rights of indigenous peoples. The present claim involves the assertion of Claimants’
         individual rights, but the impact of the measures about which they complain have
         affected the Six Nations communities in which they are based, both through job losses
         and reduced tax revenue that would have been earned, but for impositions of the
         measures at issue.224

181.     For First Nations investors, the right to be free from discrimination means de facto
         equality as between themselves and non-indigenous investors; not just de jure equality on
         the face of the measure at issue. As recalled in Article 4(d) of the United Nations
         Committee on the Elimination of Racial Discrimination’s General Recommendation
         XXIII on the Rights of Indigenous Peoples, States are under a special obligation to
         “ensure that members of indigenous peoples have equal rights in respect of effective
         participation in public life.”225 This principle is embedded in the international prohibition



222
         Committee on the Elimination of Racial Discrimination, General Recommendation 23, Rights of
         indigenous peoples (Fifty-first session, 1997), U.N. Doc. A/52/18, annex V at 122 (1997), reprinted in
         Compilation of General Comments and General Recommendations Adopted by Human Rights Treaty
         Bodies, U.N. Doc. HRI/GEN/1/Rev.6 at 212 (2003), Article 1.
223
         Re: Barcelona Traction, Light and Power Company (Belgium v. Spain), Judgment (Second Phase), 1970
         ICJ Reports 3. at 514-517. See, also: Juridical Condition and Rights of the Undocumented Migrants,
         Advisory Opinion OC-18/03, 17 September 2003, Inter-Am. Ct. H.R. (Ser. A) No. 18 (2003) at 23.
224
         J. Montour Stmt. at 2; Statement of Chief William Montour, at para. 4.
225
         Committee on the Elimination of Racial Discrimination, General Recommendation 23, Rights of
         indigenous peoples (Fifty-first session, 1997), U.N. Doc. A/52/18, annex V at 122 (1997), reprinted in
         Compilation of General Comments and General Recommendations Adopted by Human Rights Treaty
         Bodies, U.N. Doc. HRI/GEN/1/Rev.6 at para. 212 (2003), Article 4(d); see also CERD, Conclusions and
         Recommendations of the Committee on the Elimination of Racial Discrimination: Australia, at para. 9, U.N.
                                                                                                   (continued…)


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         against discrimination on the basis of race.226 For example, as noted by the European
         Committee of Social Rights:

                 …equal treatment requires a ban on all forms of indirect discrimination, which
                 can arise by failing to take due and positive account of all relevant differences or
                 by failing to take adequate steps to ensure that the rights and collective
                 advantages that are open to all are genuinely accessible by and to all.227

182.     And as the Inter-American Court of Human Rights has recently observed:

                 In international human rights law, the principle of non-discrimination enshrines
                 equality between persons and imposes certain prohibitions on States. Distinctions
                 based on gender, race, religion or national origin, are specifically prohibited in
                 relation to the enjoyment and exercise of the substantive rights embodied in
                 international instruments. Regarding these categories, any distinction that States
                 make in the application of benefits or privileges must be carefully justified on the
                 grounds of a legitimate interest of the State and of society, “which cannot be
                 satisfied by non-discriminatory means.”

                 International human rights law prohibits not only deliberately
                 discriminatory policies and practices, but also policies and practices with a
                 discriminatory impact on certain categories of persons, even though a
                 discriminatory intention cannot be proved.

                 …

                 At times the principle of equality requires States to adopt positive measures
                 to reduce or eliminate the conditions that cause or facilitate the perpetuation
                 of the discrimination prohibited by the treaties.

                 …

                 The rights embodied in the human rights treaties may be regulated reasonably
                 and the exercise of some of them may be subject to legitimate restrictions. The
                 establishment of such restrictions must respect the relevant formal and
                 substantive limits; in other words, it must be accomplished by law and satisfy an
                 urgent public interest. Restrictions may not be imposed for discriminatory
                 purposes, nor may they be applied in a discriminatory manner. Furthermore,

(…continued)
         Doc. CERD/C/304/Add.101 (Apr. 19, 2000); and, generally: Theodore Meron, Human Rights and
         Humanitarian Norms and Customary International Law (Oxford: Clarendon, 1991).
226
         See, e.g.: Connors v United Kingdom, (ECHR), Case No. 66746/01 (27 May 2004 ), 16 B.H.R.C. 639,
         (2005) 40 E.H.R.R. 9, [2004] H.L.R. 52, [2004], at para. 84; U.N. Comm. on Econ., Soc. & Cultural Rts.,
         5th Sess., The Nature of States' Parties Obligations, P 10, U.N. doc. E/1991/23, Annex III, at pp. 9-11.
227
         ERRC v Italy (2006) 43 E.H.R.R. SE7, at para. 20.




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                 “any permissible restriction of rights may never imply the total negation of the
                 right.”228 [emphasis added]

183.     Professor Garcia-Amador, a former Special Rapporteur on State Responsibility for the
         International Law Commission, recognized decades ago that an “international principle
         of non-discrimination” applies to the conduct of States as a “… well-established rule of
         traditional international law.”229 A number of investment treaty tribunals have also
         observed that the standard of fair and equitable treatment “should be understood to be
         treatment in an even-handed and just manner, conducive to fostering the promotion of
         foreign investment.”230

184.     It is impossible to act in a just and even-handed manner with First Nations investors if de
         facto inequalities between indigenous and non-indigenous investors are brought about by
         operation of the State’s measure. States act in an arbitrary manner, and therefore contrary
         to the customary international law standard of fair and equitable treatment, when their
         actions or measures have an unnecessarily discriminatory impact upon members of a
         protected group, such as First Nations investors.               As Professor Schwarzenberger
         observed:

                 Arbitrariness in any form is – or ought to be – abhorrent to homo juridicus. His
                 whole professional outlook is dominated by the attitude that, in the eyes of the
                                                               231
                 law, equal situations require equal remedies.

185.     In addition, the Article 1105 term: ‘fair and equitable treatment’ must be interpreted in
         accordance with pre-emptory norms of customary international law such as non-


228
         Juridical Condition and Rights of the Undocumented Migrants, Advisory Opinion OC-18/03, 17 September
         2003, Inter-Am. Ct. H.R. (Ser. A) No. 18 (2003) at 23.
229
         F.V. Garcia-Amador, The Changing Law of International Claims, Vol. I (New York: Oceana, 1984) at 277
         & 285-287. See, also: Andreas Hans Roth, The Minimum Standard of International Law Applied to Aliens
         (Geneva: Sijthoff, 1949) at 65.
230
         MTD Equity Sdn Bhd and MTD Chile SA v Chile, Award, ICSID Case No ARB/01/7, (25 May 2004), at
         para. 113; approved by the Ad Hoc Committee in its Annulment Decision (16 February 2007), at para’s.
         70-71; Siemens AG v Argentina, Award, ICSID Case No ARB/02/8 (06 February 2007), at para. 290; and
         Azurix Corp. v. Argentina, ICSID Case No. ARB/01/12, Final Award at para. 391 (14 July 2006), at para.
         360.
231
         Schwarzenberger (1971) at pp. 100-101.




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         discrimination. Article 53 of the Vienna Convention on the Law of Treaties provides that
         treaty terms must not be interpreted in a manner that conflicts with pre-emptory norms of
         international law, or else the treaty provision is to be considered void to the extent of the
         inconsistency.     Given that Article 1105 itself indicates that the Parties must act in
         accordance with “international law, including fair and equitable treatment” it is
         inconceivable that these terms could be construed in a manner that does not reflect a pre-
         emptory norm applicable in the instant case.

186.     The International Labor Organization’s Convention No. 169 (‘ILO Conv. No. 169’) has
         been recognized as providing a basis for identifying emerging customary international
         law rights of indigenous peoples.232 This is not to say that every obligation included in
         the ILO Conv. No. 169 has necessarily acquired the status of customary international law.
         Rather, its provisions are demonstrative of obligations that – when recognized and
         regarded as binding by States through subsequent international practice – are either
         included, or in the process of being included, within the corpus of customary
         international law applicable to the rights and interests of indigenous peoples.

187.     Article 2 of ILO Conv. No. 169 provides, in part:

                 1. Governments shall have the responsibility for developing, with the
                 participation of the peoples concerned, co-ordinated and systematic action to
                 protect the rights of these peoples and to guarantee respect for their integrity.

                 2. Such action shall include measures for:

                 (a) Ensuring that members of these peoples benefit on an equal footing from
                 the rights and opportunities which national laws and regulations grant to
                 other members of the population… [emphasis added]

188.     Respondent does not meet the obligation to ensure that its measures do not discriminate
         against First Nations individuals and groups when its officials effectively marginalize
         members of indigenous groups from decision-making that directly impacts upon their

232
          Lenzerini, “Sovereignty Revisited: International Law and Parallel Sovereignty of Indigenous Peoples” 42
         TXILJ 155 at 180 (2006); A. Fodella, “International Law and the Diversity of Indigenous Peoples” at 577
         (1996) The Convention was ratified by Mexico on 5 September 1990, but has not yet been ratified by the
         other two NAFTA Parties.




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         economic livelihood. Indeed, customary international law arguably requires States to
         particularly ensure that indigenous peoples are granted “effective participation, at all
         levels of decision-making, in decisions which may affect them.”233 As the Report of the
         United Nations Seminar on the Effects of Racism and Racial Discrimination on the
         Social and Economic Relations between Indigenous Peoples and States stated:

                 The discrimination is of a dual nature: on the one hand, gradual destruction of the
                 material and spiritual conditions [required] for the maintenance of their
                 [economic and social prosperity], on the other hand, attitudes and behaviour
                 signifying exclusion or negative discrimination when indigenous peoples seek
                                                          234
                 to participate in the dominant society. [emphasis added]

189.     As a customary international law norm, the nature of this obligation to engage in
         meaningful consultation with members of First Nations, prior to adopting measures that
         directly impact upon the economic well being of their communities, is both positive and
         mandatory.      It is also reflected in the language of the Articles 38 and 19 of the United
         Nations Declaration on the Rights of Indigenous Peoples, which was recently adopted by
         an overwhelming majority of the members of the General Assembly:

                 Article 38

                 States in consultation and cooperation with indigenous peoples, shall take the
                 appropriate measures, including legislative measures, to achieve the ends of this
                 Declaration.

                 Article 19

                 States shall consult and cooperate in good faith with the indigenous peoples
                 concerned through their own representative institutions in order to obtain their
                 free, prior and informed consent before adopting and implementing legislative or
                 administrative measures that may affect them.

190.     And as Article 6(1)(a) of ILO Conv. No. 169 similarly provides:



233
         F. Lenzerini, “Sovereignty Revisited: International Law and Parallel Sovereignty of Indigenous Peoples”
         42 TXILJ 155 at 188 (2006).
234
         Report of the United Nations Seminar on the Effects of Racism and Racial Discrimination on the Social and
         Economic Relations between Indigenous Peoples and States, U.N. Doc. E/CN.4/2989/22, HR/PUB/89/5 at
         5.




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                   1. In applying the provisions of this Convention, Governments shall:

                   (a) Consult the peoples concerned, through appropriate procedures and in
                   particular through their representative institutions, whenever consideration is
                   being given to legislative or administrative measures which may affect them
                   directly;

                   …

                   2. The consultations carried out in application of this Convention shall be
                   undertaken, in good faith and in a form appropriate to the circumstances, with the
                                                                                         235
                   objective of achieving agreement or consent to the proposed measures.

191.       In other words, in order to ensure that de facto discrimination is not visited upon a
           member or members of an indigenous community, Respondent’s officials are required to
           pro-actively engage in good faith consultations with affected members of indigenous
           communities prior to imposing a measure that will have a significant impact upon their
           property; their way of life; or their commercial activities. This is so because such
           activities most often sustain the economic well being of entire First Nations communities.

192.       Both the obligation to avoid imposition of discriminatory measures against First Nations
           investors and the obligation to pro-actively consult with them prior to taking legislative
           action that will have a substantial impact upon them should accordingly be regarded as
           norms of customary international law. In the instant case, these human rights norms
           augment and/or reinforce the customary international law obligation Respondent owes to
           all foreign investors: to refrain from engaging in arbitrary or discriminatory conduct, and
           to otherwise refrain from acts that would violate a sense of fair dealing or even-
           handedness in the mind of an objective observer. They are therefore applicable in this
           case both directly, under Article 1105, and indirectly, as a means of interpreting the term
           ‘fair and equitable treatment.’

      e.   Fundamental Due Process, Equality and the Right to be Heard


235
           International Labour Organisation, Convention Concerning Indigenous and Tribal Peoples in Independent
           Countries (Sept. 5, 1991), adopted by the General Conference of the ILO on June 27, 1989, in force
           beginning Sept. 5, 1991, Article 6; available at http:// www.ilo.org/ilolex/english/convdisp1.htm; last
           visited 1 April 2008.




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193.     Due process and basic procedural fairness are fundamental elements of the customary
         international law standard of fair and equitable treatment.236 The customary international
         law requirement to afford due process of law means providing a foreign investor with her
         day in court before imposing measures that impair her investment.237 Due process is
         particularly essential in cases where similarly situated enterprises have been afforded that
         right but not one or more foreign investments.

194.     Freeman wrote that international law demanded States to provide access to courts to
         safeguard “personal and property rights so that the alien’s defense of these interests may
         be effectively raised.”238 As the Tribunal in ADC v. Hungary observed:

                 Some basic legal mechanisms, such as reasonable advance notice, a fair hearing
                 and an unbiased and impartial adjudicator to assess the actions in dispute, are
                 expected to be readily available and accessible to the investor to make such legal
                 procedure meaningful. In general, the legal procedure must be of a nature to
                 grant an affected investor a reasonable chance within a reasonable time to claim
                 its legitimate rights and have its claims heard. If no legal procedure of such
                 nature exists at all, the argument that “the actions are taken under due process of
                 law” rings hollow. And that is exactly what the Tribunal finds in the present
                       239
                 case.

195.     The Tribunal in Myers v. Canada has explained how “Article 1105 imports into the
         NAFTA the international law requirements of due process, economic rights, obligations
         of good faith and natural justice.” In his treatise on denials of justice, Paulsson noted
         how the Tribunal in Mondev recognized that the NAFTA Article 1105 standard evolved
         out of the doctrine of denial of justice commonly found in early 20th Century decisions

236
         See, e.g.: International Thunderbird Gaming Corp. v. United Mexican States, Award, UNCITRAL
         Arbitration (26 January 2006), at para’s. 197-198; Waste Management, Inc v Mexico, Award, ICSID Case
         No ARB(AF)/00/3 (30 April 2004), at para. 98; BG Group Plc. v. Argentina, Award, UNCITRAL
         Arbitration (24 December 2007), at para. 341; Saluka Investments BV v Czech Republic, Partial Award,
         UNCITRAL Arbitration (17 March 2006), at para. 308; Loewen Group Inc and Loewen v United States of
         America, Award, ICSID Case No ARB(AF)/98/3 (25 June 2003), at para. 132.
237
         American Manufacturing & Trading, Inc. v Republic of Zaire, Award, ICSID Case No. ARB/93/1 (21
         February 1997), at para. 7.18.
238
         A.V. Freeman, The International Responsibility of States for Denial of Justice, (Kraus: New York, 1970),
         at 547.
239
         ADC Affiliate Limited and ADC & ADMC Management Limited v. Hungary, Award, ICSID Case No
         ARB/03/16 (2 October 2006), at para. 435.




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         of mixed claims commissions.240 Saluting him as the “true intellectual grandfather of
         denial of justice,” Paulsson then cites Vatell’s 1758 treatise for the proposition that the
         failure of a State to provide access to a forum for the adjudication of an alien’s rights has
         always constituted a denial of justice that triggers State responsibility,241 concluding:

                 The right of access to courts is fundamental and uncontroversial; its refusal the
                 most obvious form of denial of justice. Legal rights would be illusory if there
                                                                                   242
                 were no entitlement to a procedural mechanism to give them effect.

196.     Again, as indicated in the UN Committee on the Elimination of Racial Discrimination’s
         General Recommendation XXIII, States are considered by many to be under a special
         obligation to “ensure that members of indigenous peoples have equal rights in respect of
         effective participation in public life.” Obviously a State cannot provide indigenous
         peoples with an equal right to be heard before its local courts and tribunals when it
         permits one group of enterprises to enjoy a right to defend their business interests in civil
         court, and even to elect to settle claims by government entitites against them on most
         favorable terms, while effectively stripping the same opportunities from a First Nations
         enterprise, and imposing payment obligations on it in the event that it later decides to take
         the First Nations enterprise to court. As noted above, imposition of such an obligation
         upon a First Nations enterprise is particularly egregious if the State fails to take the
         necessary, proactive steps required to engage in full consultation with that enterprise
         before imposing the measure.243




240
         J. Paulsson, Denials of Justice in International Law (Cambridge, 2005) at 68; citing Mondev International
         Ltd. v. United States of America, Award, ICSID Case No. ARB(AF)/99/2 (11 October 2002), at para. 99.
241
         J. Paulsson, Denials of Justice in International Law (Cambridge, 2005) at 65 & 75.
242
         J. Paulsson, Denials of Justice in International Law (Cambridge, 2005) at 134.
243
         Committee on the Elimination of Racial Discrimination, General Recommendation 23, Rights of
         indigenous peoples (Fifty-first session, 1997), U.N. Doc. A/52/18, annex V at 122 (1997), reprinted in
         Compilation of General Comments and General Recommendations Adopted by Human Rights Treaty
         Bodies, U.N. Doc. HRI/GEN/1/Rev.6 at para. 212 (2003), Article 4(d).




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197.     The right to have one’s own day in court is a bedrock principle of international law, as
         demonstrated by its inclusion in a number of human rights conventions and declarations
         relevant to Respondent’s conduct,244 including the following:

                  Universal Declaration of Human Rights,245

                  Article 10.

                  Everyone is entitled in full equality to a fair and public hearing by an
                  independent and impartial tribunal, in the determination of his rights and
                  obligations and of any criminal charge against him.

                  American Convention on Human Rights,246

                  Article 8.

                  1. Every person has the right to a hearing, with due guarantees and within a
                  reasonable time, by a competent, independent, and impartial tribunal, previously
                  established by law, in the substantiation of any accusation of a criminal nature
                  made against him or for the determination of his rights and obligations of a
                  civil, labour, fiscal, or any other nature.

                  Article 24.

                  All persons are equal before the law. Consequently, they are entitled, without
                  discrimination, to equal protection of the law.

                  International Convention on the Elimination of All Forms of Racial
                  Discrimination,247

                  Article 5.



244
         See, also: Article II of the American Declaration of the Rights and Duties of Man, O.A.S. Res. XXX,
         adopted by the Ninth International Conference of American States (1948), reprinted in Basic Documents
         Pertaining to Human Rights in the Inter-American System, OEA/Ser.L.V/II.82 doc.6 rev.1 at 17 (1992);
         and Article 3(l) of the Charter of the Organization of American States art. 106, 119 U.N.T.S. 3, entered into
         force 13 December 1951; amended by Protocol of Buenos Aires, 27 February 1967, 721 U.N.T.S. 324;
         amended by Protocol of Cartagena, approved 5 December 1985, 25 I.L.M. 527; amended by Protocol of
         Washington, approved 14 December 1992, 33 I.L.M. 1005; amended by Protocol of Managua, adopted 10
         June 1993, 33 I.L.M. 1009.
245
         Universal Declaration of Human Rights, G.A. Res. 217 A(III), 10 December 1948.
246
         American Convention on Human Rights, O.A.S.Treaty Series No. 36, 1144 U.N.T.S. 123 (in force 18 July
         1978).
247
         International Convention on the Elimination of All Forms of Racial Discrimination, 7 March 1966, 660
         U.N.T.S. 195, 5 I.L.M. 352 (in force 4 January 1969).




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                 In compliance with the fundamental obligations laid down in article 2 of this
                 Convention, States Parties undertake to prohibit and to eliminate racial
                 discrimination in all its forms and to guarantee the right of everyone, without
                 distinction as to race, colour, or national or ethnic origin, to equality before the
                 law, notably in the enjoyment of the following rights:

                 (a) The right to equal treatment before the tribunals and all other organs
                 administering justice;

198.     In summary, customary international law requires a State to provide equal access to its
         courts in order to adjudicate claims concerning the property rights of foreign investors,
         and certainly before such property is confiscated. As noted by leading arbitrators in the
         field,248 the obligation to accord due process to individuals, including access to courts for
         the adjudication of civil claims brought against them under domestic law, is also
         supported as a bedrock principle in the international law of human rights.

199.     This obligation extends all the more to a State’s treatment of indigenous peoples, to
         whom it owes the highest standard of care.

         B.      Respondent’s Breaches of Article 1105

200.     Respondent’s breaches of Article 1105 and the customary international law standard of
         ‘fair and equitable’ treatment fall into the four following categories:

(a)      Failure to meet the Investors’ legitimate expectation that Respondent would provide them
         with a transparent and predictable business and regulatory climate within which to invest;

(b)      Failure to honor Respondent’s obligation to prevent measures from resulting in de facto
         discrimination against First Nations investors, and failure to proactively consult with
         those investors in order to prevent such discrimination from occurring;

(c)      Failure by Respondent’s officials to act in accordance with either the treaty obligations it
         owed for the benefit of the Haudenosaune or the domestic constitutional law rules to
         which its states are expected to conform, and upon which investors were entitled to rely;
         and


248
         See, e.g.: J. Paulsson, Denials of Justice in International Law (Cambridge, 2005) at 75-78; and T.
         Buergenthal, “The Proliferation of Disputes, Dispute Settlement Procedures and Respect for the Rule of
         Law”, Address delivered to the Colloquium on Consolidation of Proceedings in Investment Arbitration,
         organized by Geneva University and the Project on International Courts and Tribunals (21 April 21 2006).




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(d)        Failure to honor Respondent’s obligation to ensure that all tobacco enterprises, and
           especially First Nations tobacco enterprises, received the equal opportunity to choose
           whether to face tort allegations against it within the context a civil trial, and to actually be
           held liable for an actionable wrong first, before being forced to make millions of dollars
           in payments, ostensibly in order to permit state officials to collect at some future moment
           in time, should they ever attempt to pursue any sort of action in tort against Claimants in
           respect of their US business venture.

201.       Each of these breaches stands on its own as independent and sufficient reason to award
           Claimants the damages claimed, as described in the damages section below. It is not
           necessary for the Tribunal to find that all four species of breach have occurred in order
           for liability to attach.249

      a.   Respondent Failed to Provide a Transparent and Predictable Business and
           Regulatory Climate

202.       The customary international law standard of fair and equitable treatment obliges
           Respondent to ensure that a transparent and predictable framework for foreign investment
           exists and is made available to Claimants. The first NAFTA case to address the issue
           was Metalclad v. Mexico, chaired by Sir Eli Lauterpacht.                       In that case, a local
           government imposed measures upon the investor that effectively destroyed the value of
           its investment, contrary to the investor’s legitimate expectations, which it formed by
           familiarizing itself with the local regulatory framework that would govern the
           establishment of its investment, and through investor-initiated contacts with local
           officials. The Metalclad Tribunal found that, in the totality of the circumstances, Mexico
           “failed to ensure a transparent and predictable framework for Metalclad’s business
           planning and investment” and that therefore it breached the expectation rightfully held by




249
           For example, it is not necessary to find that Claimants have not been accorded fair and equitable treatment
           because of Respondent’s failure to accord treatment to them owed because they are First Nations investors.
           The egregious conduct at issue in this claim would constitute a violation of Article 1105 even if Claimants
           were not Haudenosaunee. That Claimants were treated as poorly as they were, given their special rights
           under international law as indigenous peoples, only demonstrates how Respondent’s failure to accord fair
           and equitable treatment to Claimants is even more manifestly egregious than it might have otherwise been.




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         that investor to be treated in a “fair and just” manner as required under Article 1105.250
         It stated:

                 An underlying objective of NAFTA is to promote and increase cross-
                 border investment opportunities and ensure the successful
                 implementation of investment initiatives. (NAFTA Article 102(1)).

                 Prominent in the statement of principles and rules that introduces the
                 Agreement is the reference to “transparency” (NAFTA Article 102(1)).
                 The Tribunal understands this to include the idea that all relevant legal
                 requirements for the purpose of initiating, completing and successfully
                 operating investments made, or intended to be made, under the
                 Agreement should be capable of being readily known by all affected
                 investors of another Party. There should be no room for doubt or
                 uncertainty on such matters. Once the authorities of the central
                 government of any Party (whose international responsibility in such
                 matters has been identified in the preceding section) become aware of
                 any scope for misunderstanding or confusion in this connection, it is their
                 duty to ensure that the correct position is properly determined and clearly
                 stated so that investors can proceed with all appropriate expedition in the
                 confident belief that they are acting in accordance with all relevant
                 laws.251

         Similar conclusions have been drawn by other more recent tribunals.252

203.     The MSA regime, implemented through introduction of the Escrow Statutes, represented
         a unilateral offer from states to tobacco producer/distributors: either join the MSA regime
         or comply with the escrow payment regime. The Claimants chose the latter, on the
         understanding that if they restricted their sales to only a limited number of state markets
         they would be entitled to obtain a refund reflecting their proportionate share of the


250
         In a much-criticized decision, seen as an unacceptable substitution of the Court’s opinion for that of a
         tribunal chaired by Sir. Eli Lauterpacht, a British Columbia trial level judge named Tysoe purported to
         annul the Tribunal’s finding upon judicial review of the award. His judgment, which was clearly made in
         excess of his jurisdiction under the local UNCITRAL Model Law legislation, was appealed. However, the
         Government of Mexico made payment on the Award before the appeal could be heard.
251
         Metalclad Corp. v. Mexico, Final Award, UNCITRAL Arbitration (2 September 2000), at ¶¶ 75-76
252
         See, e.g.: Waste Management, Inc. v. The United Mexican States, Award, ICSID Case No. ARB(AF)/3 (30
         April 2004), para. 98; Técnicas Medioambientales, TECMED S.A. v United Mexican States, Award,
         ICSID Case No. ARB/AF/00/2 (29 May 2003), at para. 154; Saluka Investments BV v Czech Republic,
         Partial Award, UNCITRAL Arbitration (17 March 2006), at para. 499; Iurii Bogdanov, Agurdino-Invest
         Ltd., Agurdino-Chimia JSC v Government of the Republic of Moldova, Award, SCC Inst. (22 September
         2005), at sec. 4.2.4.




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         national market as defined under the MSA. As Respondent was only too keen to point
         out earlier in these proceedings:

                 There was widespread media coverage of the MSA and its provisions, as
                 evidenced by the numerous news reports on the establishment of the MSA
                 regime submitted by the United States with its Objection. These reports – all
                 pre-dating March 12, 2001 – discussed the negotiation of the MSA, its impact on
                 all cigarette manufacturers with sales in the U.S. market, and the opportunity for
                 manufacturers other than the original participating manufacturers (“OPMs”) to
                 join and receive an exemption from payment. Similarly, media coverage pre-
                 dating March 12, 2001 reported on the enactment of the Escrow Statutes and
                 MSA states’ enforcement efforts, including enforcement against Grand River.

                 … Reports about the MSA, in any event, were also carried on public radio,
                 public television, and other broadcast media, and included accounts of the
                 MSA’s impact on cigarette manufacturers other than the OPMs. The reasonable
                 step for a market participant to have taken upon hearing even a “passing
                 reference” to a development as monumental as the MSA would have been to
                 review its publicly available text and determine what its impact would be, either
                 with or without the assistance of counsel.253

204.     While Claimants and Respondent clearly disagree as to the date upon which Claimants
         should have become fully informed about the MSA and the impact it had upon the US
         tobacco industry as a whole, the fact remains that Claimants did eventually realize the
         magnitude of the circumstances in which they found themselves, and so in May 2002
         they retained counsel to retrench and review their options. By the Summer of 2002, with
         the MSA the Escrow Statues firmly fixed as a permanent part of the regulatory landscape,
         Claimants were prepared to amend their collective business model so as to conform to the
         rules of the new regime.254

205.     As reasonable and prudent investors, Claimants took note of the fact that the Escrow
         Statutes were the product of careful refinement by forty-six states attorneys general, as
         well as a host of regulatory lawyers and civil litigators. They also noted that, after years
         of negotiation and consensus building, forty-six different legislatures enacted identical
         versions of the same measure. They therefore felt confident that they could rely on the


253
         Respondent's Reply on Jurisdiction, 6 February 2006, at pp. 22-23.
254
         J. Montour Stmt. at 51.




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          framework of the new regulatory regime, which they reasonably assumed would not
          easily amenable to sudden change. 255 There was no obvious indication, at the time they
          began to establish their brand off-reserve in 2002, that any aspect of the new regime,
          especially the allocable share release mechanisms included in each statute, was
          conditional, accidental or otherwise unintended.

206.      As such, during the summer of 2002 Claimants undertook a careful analysis of both the
          risks and opportunities presented under the new regime. The investment decisions they
          took as a result were not entered into lightly, as they represented a wholesale change in
          the manner in which they had planned to grow their business. By the end of the year,
          Grand River had started terminating all of its contractual relationships for private label
          product runs 256 and the investors had started the process establishing their Seneca® and
          Opal® brands in five state markets: North Carolina, South Carolina, Oklahoma, Arkansas
          and Georgia, employing the services of a third-party distributor. 257

207.      The decision to establish the Seneca® and Opal® brands in new markets was not entered
          into lightly.    Claimants had learned that at least one tobacco enterprise had actually
          decided not to join the MSA - even when offered a grandfathered exemption - because it
          served a regional market and would fare better under the allocable share mechanisms
          included in each Escrow Statute. 258 The incentive to dedicate one's business to serving
          regional markets was obviously intended with the inclusion of the allocable share
          mechanisms in each Escrow Law.              There was no other reason to include such a
          mechanism in the measures. Claimants had no reason to believe that, in the coming years,

255
          J. Montour Stmt. at 51.
256
          J. Montour Stmt. at 34.
257




258
          R. Parloff, "Is the $200 Billion Tobacco Deal Going Up in Smoke?" Fortune Magazine March 7, 2005 at
          126; found at Tab 1, Factual Materials, Claimants' Counter Memorial on Jurisdiction.




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         NAAG officials would be holding private meetings with representatives of the OPMs on
         the immediate elimination of these very same mechanisms.259

208.     Over the next four years, before the first of the Allocable Share Amendments would
         come into effect, Claimants were very successful in establishing and growing their
         Seneca® brand in these selected state markets.260 Particularly in respect of the Seneca
         brand, their marketing strategies, the composition of their products, their manufacturing
         processes and their prices were all directed towards achieving success in these particular
         markets.261 Their success was achieved due, in part, to their reliance on the availability of
         a mechanism found in each Escrow Statute clearly intended to encourage regional
         tobacco enterprises to refrain from competing on a national basis. The allocable share
         mechanisms provided Claimants with one additional option under the original legislation:
         take your brands national, and join the MSA; or choose to focus on a smaller, regional
         market and pay only a proportionate amount of the total escrow obligations that would be
         owing had one been distributing nationally.

209.     It is important to remember the public mantra repeated so often by state officials when
         the measures were originally introduced: the Escrow Statutes were allegedly intended to
         provide industry members with a ‘level playing field.’262 Claimants were entitled to take
         them at their word, as the inclusion of an allocable share mechanism was obviously
         intended both to provide a level playing field as between NPMs and non-exempt SPMs
         and to provide a level playing field for regional brands, vis-à-vis the national value
         brands of SPMs for which a grandfathered exemption had been provided. Again, there
         was no obvious reason to suspect that within a few years’ time, the same officials would
         be referring to the MSA regime as critically flawed because of the allocable share release
         ‘loophole.’


259
         Claimant’s Evidentiary Stmts. Ex. 38 Meeting Notes.
260
         J. Montour Stmt. at 46-50.
261
         J. Montour Stmt. at 46-50.
262
         Claimant’s Evidentiary Stmts. Ex. 50.




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210.     In other words, Claimants reasonably entertained a legitimate expectation that the
         expansion of their brand to a limited number of new state markets was encouraged under
         the MSA regulatory framework. They would not learn until 2004 that state officials were
         planning to remove the very basis upon which this new investment had been made. As
         explained above, the customary international law principle of good faith serves to protect
         the legitimate expectations of foreign investors under the standard of ‘fair and equitable
         treatment.’     Investors are entitled to rely upon public pronouncements, and clearly
         defined legislative frameworks when making their investment decisions. They do not
         expect that the officials responsible for those measures will secretly meet with their
         commercial competitors in order to plot changes to the regime intended specifically to
         impair the investments made in reliance on its provisions.

211.     The same requirements, of stable, transparent and even-handed treatment that US
         investors have come to expect to receive when investing abroad under the protection of a
         bilateral investment treaty, are also owed by Respondent’s own state governments. As
         affirmed by the NAFTA Parties themselves, the standard of fair and equitable treatment
         has passed into customary international law and, founded upon the principle of good faith,
         it has been used by more than one US investor to receive compensation where its
         reasonably held investment-backed expectations have been thwarted by host government
         action. Claimants request no more, and no less.

212.     Had the MSA states not reneged on the NAFTA and customary international law promise
         of fair and equitable treatment for investors who chose to focus on development of their
         brands in a limited number of states, Claimants would still be enjoying continued growth
         and profitability, rather than pursuing a NAFTA claim.263




263
         To be clear, had Claimants never been subjected to the MSA regime in the first place, they would have
         been able to establish their brands on a national basis, reaping even greater cash flows from their
         investment. The second best scenario, in an imperfect world, would have been for them to continue to
         enjoy the success they had achieved in restricting sales of their brands to a small number of state markets,
         while continuing to sell their products on reserve, without any diminution of the brand suffered as a result
         of the illegal application of the measures to their business on First Nations territory in the United States.




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      b. Respondent Breached its Obligation to Proactively Consult First Nations
         Investors

213.     As described below, state officials failed twice in respect of their obligation to observe
         Respondent’s customary international law obligation to proactively consult Claimants, as
         First Nations investors with commercial activities likely to be significantly affected by
         their measures. This obligation is owed as a function of the erga omnes rule prohibiting
         discrimination against special and/or disadvantaged groups. As demonstrated above, this
         fundamental norm prohibiting discrimination on the basis of race is owed, of necessity, as
         an element of the ‘fair and equitable treatment’ standard included in NAFTA Article
         1105. It imposes an obligation upon the State to ensure that First Nations members do
         not receive less favorable treatment, on a de facto basis, under its measures.

214.     In order to properly ensure that a measure does not fall disproportionately upon
         indigenous persons in particular, Respondent’s officials should have taken the proactive
         step of consulting Claimants and other First Nations tobacco enterprises before imposing
         the Escrow Laws in the first place, and they certainly should have consulted Claimants
         before amending their measures to remove the allocable share mechanisms from each of
         them. By 2004, state officials were certainly well aware of Claimants’ active participation
         in these particular state markets, as they had been receiving their escrow payments and
         processing refunds for them for one to two years before even announcing the Allocable
         Share Amendments.264 Given that they were demanding payment of escrow fees as early
         as 2002, it is obvious that state officials could have sought out Grand River before
         agreeing with the Majors to revoke the allocable share release mechanisms from their
         measures.

215.     When they decided to draft and impose the Contraband Laws to ‘complement’
         enforcement of the Escrow Statutes, the MSA states were also under an obligation to seek

264
         Claimants are not entitled to such treatment because they just so happened to be First Nations individuals
         fortunate enough to benefit from the current state of customary international law with respect to a
         fundamental norm of non-discrimination. They were entitled to be proactively consulted by the MSA
         states before these measures were imposed because the commercial activities represented in their US
         investment were, and remain, crucial to the economic wellbeing of over two hundred indigenous families.




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         out, and consult with, First Nations tobacco enterprises. Engaging in consultation could
         have permitted the parties to ensure that the MSA respected their constitutional
         obligations towards First Nations tobacco enterprises in imposing and enforcing these
         measures. Because they failed to do so, today Claimants are finding even their on-
         reserve markets being impaired by the reputational impact of having one’s flagship brand
         be deemed contraband and subjected to seizure by overzealous officials working in
         individual states.265

216.     Similarly, Respondent’s states were under a duty to proactively consult with Claimants
         and any other First Nations tobacco enterprise known to them before making significant
         amendments to their Escrow Statutes.          Removal of the allocable share release
         mechanisms was a significant change that the states ought to have known might
         substantially impair the commercial activities of a First Nations enterprise such as that of
         the Investors. Indeed, the record demonstrates that state officials did know that the
         contemplated changes would result in dramatic impairment of the ability of an enterprise
         pursuing a regional brand strategy to compete; that is precisely why these measures were
         imposed.266 It was therefore incumbent upon the state officials to identify whether First
         Nations investors would be among any of those whose businesses would be impaired by
         introduction and enforcement of the new measure.

217.     Had state officials consulted with the Investors prior to imposing the Allocable Share
         Amendments, just as they had consulted with SPMs prior to imposing the original
         Escrow Statutes, an acceptable resolution could have been identified. For example, they
         could have agreed on providing the Investors with an exemption from the allocable share
         revocation for sales of Seneca® and Opal® brands based upon the same grandfathering
         formula they had used for NPMs years earlier. Instead, it appears as if the only tobacco
         enterprises that benefited from proactive consultations with state officials when the



265
         A. Montour Stmt. at 23-27.
266
         Claimant’s Evidentiary Stmts. Ex. 40.




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         allocable share amendments were being designed were the OPMs that stood to benefit
         from them.

218.     It was not in accordance with the customary international law standard of fair and
         equitable treatment for the MSA states to have removed the allocable share release
         mechanisms without first attempting to ameliorate the resulting impact upon Claimants,
         as First Nations investors. In imposing these new measures, state officials created at least
         two classes of small tobacco enterprise: the NPMs that were still benefitting from the
         exemption granted to them years ago in exchange for their joining the MSA; and those
         whose per-carton compliance costs were about to skyrocket by over $4 per carton
         because they had relied upon the allocable share release mechanisms originally provided
         under each measure.

219.     Imposition of the Allocable Share Amendments thus gravely impaired Claimants’ ability
         to enjoy the returns they reasonably expected from having successfully established their
         brands in North Carolina, South Carolina, Oklahoma, Arkansas and Georgia.
         Respondent has therefore failed to satisfy its customary international law obligation to
         avoid discrimination against the Claimants generally, and as First Nations investors in
         particular, by taking proactive steps to consult with them and by mitigating the effects of
         their new measures upon them. Claimants were entitled to receive treatment on a de
         facto basis that was no less that that which was being received by their competitors, the
         exempt SPMs, for whose benefit the Allocable Share Mechanisms were designed.

   c.    Claimants had a Legitimate Expectation that Respondent Would Honor its
         Obligations Toward Haudenosaunee Investors Under Applicable
         International and Domestic Laws

220.     As demonstrated above, not unlike any other investor, Claimants were entitled to hold a
         reasonable expectation concerning the conduct they could expect from each state
         government, based upon customary international law obligations owed by Respondent.
         However, whereas any investor who pursued a regional brand strategy was entitled to
         expect that state officials would not conspire to remove the legislative mechanism upon
         which it was based, Claimants were entitled to hold even greater expectations.



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221.     As Professor Clinton has explained, at the time of the negotiation and ratification of the
         1794 Jay Treaty, Respondent fully understood that it could not, and would not, attempt to
         assert its regulatory jurisdiction over the commercial activities of Haudenosaunee
         individuals and enterprises.267 It has also been clearly established by Professors Warrick
         and Brandao that the Haudenosaunee have been engaged in the tobacco trade, throughout
         the territories that they still inhabit today, since well before European contact.268

222.     Professor Clinton explains that even as the United States of America took shape, well
         into the 19th Century, Respondent still believed itself to be bound to the people of the Six
         Nations in respect of the treaty promises it had made to them, and to the Crown – now
         held in the Right of Canada – for their benefit. 269 Indeed, almost a century later
         Respondent still demonstrated that it appeared to believe itself to be bound to its
         commitment to leave Haudenosaunee Nations and their commerce undisturbed, under its
         own laws dealing with Native American tribes.270 It was not until later in the 19th
         Century that Respondent began to reinterpret its obligations under the Jay Treaty,271
         contrary to customary international law and the principle of good faith expressed in the
         pacta sunt servanda rule.272

223.     Regardless of whether Respondent’s courts have re-cast its obligations under the Jay
         Treaty, Claimants are entitled to receive the full benefit of them, as they were originally
         understood by Respondent and their forbearers at the time it was negotiated. Accordingly,


267
         Statement of Professor Robert Clinton, at page 33-34.
268
         Statement of Professor Gary Warrick, at page 37-46; Statement of Professor Jose Brandao, at page 16-17.
269
         Statement of Professor Robert Clinton, at page 34-43.
270
         Statement of Professor Robert Clinton, at page 43-44.
271
         Statement of Professor Robert Clinton, at page 44.
272
         Of course, a State is not permitted to unilaterally re-interpret the extent of its treaty obligations by recourse
         to the operation of its domestic legal system. As affirmed by the Tribunal in TECMED v. Mexico: “An Act
         of State must be characterized as internationally wrongful if it constitutes a breach of an international
         obligation, even if the act does not contravene the State’s internal law – even if under that law, the State
         was actually bound to act that way.” See: Técnicas Medioambientales, TECMED S.A. v United Mexican
         States, Award, ICSID Case No. ARB/AF/00/2 (29 May 2003), at para. 120, citing: J. Crawford, The
         International Law Commission’s Articles on State Responsibility (Cambridge, 2002), at p. 84.




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         Claimants were entitled to hold an expectation that none of the transactions made by
         them anywhere on Six Nations territory – including the Six Nations of the Grand
         Territory – would have ever been subjected to any element of the MSA regime. All sales
         of product produced on Haudenosaunee land are protected by the original terms of the
         Jay Treaty, which remains in force today. As provided in Article IX of the Treaty Ghent,
         all of the rights promised to the Haudenosaunee in the Jay Treaty were restored after the
         War of 1812 ended.

224.     As set out below, that same provision of the Treaty of Ghent also restored the state of
         ‘perpetual peace’ agreed as between Respondent and the Haudenosaunee under the 1794
         Treaty of Canandaigua:

                The United States of America engage to put an end immediately after the
                Ratification of the present Treaty to hostilities with all the Tribes or Nations of
                Indians with whom they may be at war at the time of such Ratification, and
                forthwith to restore to such Tribes or Nations respectively all the possessions,
                rights, and privileges which they may have enjoyed or been entitled to in one
                thousand eight hundred and eleven previous to such hostilities. Provided
                always that such Tribes or Nations shall agree to desist from all hostilities
                against the United States of America, their Citizens, and Subjects upon the
                Ratification of the present Treaty being notified to such Tribes or Nations, and
                shall so desist accordingly. And His Britannic Majesty engages on his part to put
                an end immediately after the Ratification of the present Treaty to hostilities with
                all the Tribes or Nations of Indians with whom He may be at war at the time of
                such Ratification, and forthwith to restore to such Tribes or Nations respectively
                all the possessions, rights, and privileges, which they may have enjoyed or been
                entitled to in one thousand eight hundred and eleven previous to such hostilities.
                Provided always that such Tribes or Nations shall agree to desist from all
                hostilities against His Britannic Majesty and His Subjects upon the Ratification
                of the present Treaty being notified to such Tribes or Nations, and shall so desist
                accordingly. 273

225.     Moreover, as Professors Clinton and Fletcher both explain, while it appears that under the
         present state of its domestic law, Respondent has unilaterally reserved to itself the right to
         tax and license the Haudenosaunee tobacco trade at the federal level, it has still



273
         Treaty of Ghent (United States – United Kingdom), executed 24 December 1814; See:
         http://www.yale.edu/lawweb/avalon/diplomacy/britain/ghent.htm




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         prohibited state officials from doing the same.274 In other words, under US Federal
         Indian Law, state officials are not permitted to impose any of the measures that were
         indeed imposed upon Native American commerce in implementation of the MSA.
         Whereas a line of cases has developed in respect of the states’ right to tax non-Native
         American purchasers of tobacco and to gather information from First Nations traders for
         that limited purpose,275 there is no authority under Respondent’s law – today or as of the
         date Claimants established their US investment together in the 1990’s – for the
         proposition that a state government can impose an obligation on a First Nations tobacco
         enterprise to place funds into escrow in relation to sales of their product.276

226.     What is true for all First Nations tobacco enterprises under applicable domestic law is
         even more applicable when Haudenosaunee investors are involved, because they are
         entitled to all of the rights and privileges promised to them and other border nations
         under the Jay Treaty and Treaty of Ghent. It must be recalled that the Moe line of cases,
         referred to in note 28 of the Tribunal’s Award on Jurisdiction, actually concerned First
         Nations traders who were merely importing and selling tobacco at the retail level.277
         Such business activity is a far cry from an enterprise that actually manufactures its own
         brand of products at a state of the art facility located on First Nations territory and
         distributing it at the wholesale level, which is what the investors do.

227.     In summary, arising out of Respondent’s good faith obligation to honor its treaty
         commitments for the benefit of the Haudenosaunee, Claimants were entitled to expect
         that they could participate, nationwide, in the US tobacco industry without any
         interference from state governments. They were entitled to hold this expectation both
         when they originally established the Seneca® brand in 1999, and marketed it exclusively
         on First Nations territories, and when they expanded their marketing efforts to establish

274
         Statement of Professor Robert Clinton, at pages 43-44; Statement of Professor Matthew Fletcher, at ¶¶14-
         15a.
275
         Statement of Professor Robert Clinton, at page 45; Statement of Professor Matthew Fletcher, at ¶¶18-20.
276
         Statement of Professor Robert Clinton, at page 43; Statement of Professor Matthew Fletcher, at ¶¶21-22
277
         Statement of Professor Robert Clinton, at page 45.




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           the brand in the States of North Carolina, South Carolina, Oklahoma, Arkansas and
           Georgia.

228.       Claimants were originally operating their investment in the United States on the
           expectation that as Six Nations members, state measures could not legally be applied to
           their business.278 They were entitled to hold this expectation under the Jay Treaty and
           Treaty of Ghent and Respondent has breached its obligations under Article 1105 and
           customary international law whenever state officials have purported to have the authority
           to impose any MSA measures on Claimants, or when it has been impaired by operation of
           their measures. Claimants were also entitled to hold the same expectation on the basis of
           Respondent’s own domestic law, at least with respect to all of their business activities on
           First Nations territories and arguably with respect to the entirety of their business.279

229.       While Claimants ultimately decided to embrace the MSA regime in 2002, relying upon
           the inclusion of allocable share mechanisms in every Escrow Statute to establish their
           brands in regional markets, if Respondent had honored its treaty obligations to the
           Haudenosaunee in the first place, Claimants would have been entitled to establish their
           brands on a national basis, without incurring any escrow obligations at all. As the reports
           of Professors Clinton and Fletcher demonstrate, they were entitled to expect exactly that
           level of treatment.       Because it was not forthcoming, Respondent failed to meet its
           obligations under Article 1105 and customary international law.

      d.   Equality and Due Process: Claimants had a Right to their Day in Court

230.       Claimants’ due process claim is not complicated. The Escrow Statutes establish a reserve
           fund into which deemed manufacturers of tobacco products must make millions of dollars
           in deposits, on a 25-year rolling basis, in perpetuity. The only other alternatives are
           going out of business or ‘joining’ the MSA on less favorable terms than were made
           available to a privileged group of Exempt SPMs in 1999. The stated purpose for enacting


278
           See, also: J. Montour Stmt. at 38; A. Montour Stmt. at 29-30;
279
           Statement of Professor Robert Clinton, at page 43.




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         the Escrow Statutes was in order to establish a fund against which judgments obtained by
         a state against a NPM, for some indeterminate form of future, ‘culpable conduct’ on the
         part of that NPM.280

231.     It has also been stated that imposition of escrow obligations on NPMs somehow “levels
         the playing field” as between the OPMs and any deemed ‘manufacturer.’281 The logic of
         this justification seems to be that it would be unfair for the OPMs to honour their
         obligations under the MSA if persons who were not sued by the states were not forced to
         bear a similar burden of compliance by force of some statutory means. The problem with
         this logic is that it presumes that the states would have and could have held Claimants
         liable in tort for any reason.

232.     The basis upon which the OPMs were sued, and apparently settled, was not just that they
         made a product, the use of which could be proved as a proximate cause of losses to state
         treasuries responsible for the operation of Medicaid programs.        To date, no public
         authority in the United States has ever succeeded in proving such a case in tort. In fact,
         the case against the OPMs was much worse (i.e. theoretically easier for state officials to
         prove).    The claim was that a small cabal of multinational corporations had both
         conspired and succeeded together in promoting tobacco use through a campaign of
         intentional deceit and misrepresentation.

233.     Even more importantly, there is absolutely no evidence on the record that the use of
         Claimants’ tobacco products has caused any state to suffer any loss, in sufficient
         proximity, arising out of the operation of their public health insurance programs. There is
         also not a shred of evidence on the record that Claimants ever engaged in a conspiracy
         with the OPMs – or anybody else – for the purpose of promoting tobacco use through a
         campaign of deceit and misrepresentation. There is also no evidence on the record that
         any state has ever sued, or even contemplated suing, Claimants in tort for any reason
         related to their production and distribution of Seneca® branded cigarettes in certain

280
         Claimant’s Evidentiary Stmts. Ex. 35.
281
         Claimant’s Evidentiary Stmts. Ex. 37.




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         portions of Respondent’s territory – other than actions related to the operation of the
         MSA regime.      Nonetheless, as of March 31, 2008, escrow deposits for cigarettes
         produced by Claimants are in excess of $28 million and an additional amount of not less
         than $500,000 in penalties.

234.     The most rudimentary norms of equality and due process require that Claimants should
         not be made to pay anything to any state until after they have had their day in court. The
         OPMs had an opportunity to defend themselves against the accusations leveled against
         them and they were provided with opportunities to settle those claims on an
         individualized basis. Claimants have not even been accused of committing a tort by any
         of the states that have demanded and received millions of dollars in payments from them.
         It is fundamentally unfair and inequitable for Claimants to be forced to perpetually
         dedicate millions of dollars to a rolling fund in order to satisfy judgments for tort claims
         that have not even been conceived, much less proved.

235.     Again, while Claimants ultimately decided to work within the MSA regime in 2002, in
         reliance upon the promise of being able to obtain allocable share releases, had
         Respondent honored its customary international law obligations to Claimants in the first
         place, they would have been entitled to establish the Seneca® and Opal® brands on a
         national basis, without incurring any escrow obligations at all. It is fundamentally unfair
         for Claimants to be made to make multimillion dollar payments to Respondent’s states to
         satisfy theoretical tort claims that would likely never be launched, must less result in
         judgments against them.

         SECTION IV            RESPONDENT HAS BREACHED ITS
                               OBLIGATIONS UNDER NAFTA ARTICLES 1102
                               AND 1103 OF THE NAFTA.

         A.     Respondent’s Obligations under Articles 1102 and 1103

236.     In relevant part, NAFTA Article 102 provides:

                Article 102: Objectives




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                1. The objectives of this Agreement, as elaborated more specifically through
                its principles and rules, including national treatment, most-favored-nation
                treatment and transparency, are to:

                a) eliminate barriers to trade in, and facilitate the cross-border movement of,
                goods and services between the territories of the Parties;

                b) promote conditions of fair competition in the free trade area;

                c) increase substantially investment opportunities in the territories of the Parties;

                d) provide adequate and effective protection and enforcement of intellectual
                property rights in each Party's territory;

                …

                2. The Parties shall interpret and apply the provisions of this Agreement in the
                light of its objectives set out in paragraph 1 and in accordance with applicable
                rules of international law.

                [emphasis added]

237.     NAFTA Article 102(1) provides that ‘national treatment’ and ‘most favored nation
         treatment’ and ‘transparency’ are the “principles and rules” that are to be understood as
         elaborating “more specifically” the objectives of the NAFTA set out in Article 102(1).
         Those objectives include: “the promotion of conditions of fair competition in the free
         trade area” and substantially increasing “investment opportunities in the territories of the
         Parties.” It is therefore apparent that the Parties to the NAFTA wanted to ensure that
         these objectives would be seriously considered and employed in a broad and remedial
         fashion in the interpretation of specific provisions of the Agreement.

238.     Articles 1102 and 1103 represent the obligations that ensure NAFTA investors enjoy
         national treatment and most favored nation treatment from the Parties. As such their
         terms could not possibly be construed in a narrow fashion. These terms must instead be
         construed on the basis of their plain and ordinary meaning, in light of the objectives
         described above. They promise ‘treatment no less favorable’ than that which is received
         by another investor or investment in like circumstances.

239.     There is simply no room in the language of these provisions for reading-in the
         requirement for an investor to either prove that the measures according less favorable



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         treatment were imposed on the basis of his or her nationality; or to demonstrate that the
         impact of the measures fell disproportionately on investors of his or her nationality as
         opposed to those of the host state or another. The Investor’s burden under either Article
         1102 or 1103 is to prove that more favorable treatment has been granted to another
         investor in like circumstances, than that which has been accorded to him.

240.     As the Feldman Tribunal noted, national treatment is a “fundamental obligation” of the
         NAFTA, which can be analogized to its use in other international agreements, such as
         Article III:4 of GATT 1947.282 And as the S.D. Myers Tribunal has noted “Article 1102
         of NAFTA addresses not only the way in which an enterprise has operated or currently
         operates, but also its expansion.” 283 The United Nations Conference on Trade and
         Development has also defined the national treatment standard in the manner required
         under the NAFTA:

                 National Treatment can be described as a principle whereby a host country
                 extends to foreign investors treatment that is at least as favourable as the
                 treatment it accords to national investors in like circumstances. In this way the
                 national treatment standards seek to ensure a degree of competitive equality
                                                         284
                 between national and foreign investors.

241.     The same can be said in respect of the MFN standard, only that the comparison of
         treatment to be undertaken is between the investor and an investor from another State,
         rather than the host State. As in all discrimination cases, there will be a class of winners
         and a class of losers (although each could be a class of many or a class of one). In this
         case, the class of winners includes both foreign enterprises and US enterprises. As such,
         Claimants will concentrate the remainder of their arguments primarily on national




282
         Marvin Feldman v. Mexico, Final Award, Case No. ARB(AF)/99/1 at para. 165; see, also: See, e.g.: Pope
         & Talbot, Inc. v. Canada, NAFTA/UNCITRAL Tribunal, Final Merits Award, UNCITRAL Arbitration (10
         April 2001), at para’s. 45-63.
283
         S.D. Myers, Inc. v. Canada, Second Partial Merits Award, NAFTA/UNCITRAL Tribunal (21 October
         2002) at para. 115
284
         United Nations Conference on Trade and Development, National Treatment (UN Publications, New York:
         1999) at 1.




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         treatment under Article 1102, but they apply equally to MFN treatment under Article
         1103.

242.     NAFTA Article 1102 provides:

                 1. Each Party shall accord to investors of another Party treatment no less
                 favourable than that it accords, in like circumstances, to its own investors with
                 respect to the establishment, acquisition, expansion, management, conduct,
                 operation, and sale or other disposition of investments.

                 2. Each Party shall accord to investments of investors of another Party treatment
                 no less favourable than that it accords, in like circumstances, to investments of its
                 own investors with respect to the establishment, acquisition, expansion,
                 management, conduct, operation, and sale or other disposition of investments.

                 3. The treatment accorded by a Party under paragraphs 1 and 2 means, with
                 respect to a state or province, treatment no less favourable than the most
                 favourable treatment accorded, in like circumstances, by that state or province to
                 investors, and to investments of investors, of the Party of which it forms a part.

243.     Starting with the interim award of the Tribunal in Pope & Talbot v. Canada, and
         confirmed by other NAFTA tribunals, 285 the determination of an alleged national
         treatment breach under Article 1102 involves three analytical steps:

         (a)     Identify domestic investors and/or investments in a comparable position with the
                 claimant;

         (b)     Determine whether more favorable treatment has been provided to the domestic
                 investor/investment; and

         (c)     Determine whether the circumstances of the application of the measure justify the
                 difference in treatment.

244.     Subsequent tribunals have observed the same approach because the analysis is faithful to
         the plain and ordinary meaning of the text of Article 1102, as understood in context and
         in light of the explicit objectives of the NAFTA, elaborated more specifically by the



285
         See, e.g.: Pope & Talbot, Inc. v. Canada, NAFTA/UNCITRAL Tribunal, Final Merits Award, UNCITRAL
         Arbitration (10 April 2001), at para’s 31-81, and para. 78, in particular. For a similar BIT test with the
         same result, see also: Parkerings–Compagniet AS v Lithuania, Award, ICSID Case No ARB/05/8 (11
         September 2007), at para. 371.




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           principles of non-discrimination and transparency.                For example, in Thunderbird v.
           Mexico, the Tribunal observed:

                   In construing Article 1102 of the NAFTA, the Tribunal gives effect to the plain
                   wording of the text. The obligation of the host NAFTA Party under Article 1102
                   of the NAFTA is to accord non–discriminatory treatment towards the investment
                   or investor of other NAFTA Parties. It must therefore be established that
                   discriminatory treatment was accorded to the foreign investment or investor.

                   The burden of proof lies with Thunderbird, pursuant to Article 24(1) of the
                   UNCITRAL Rules. In this respect, Thunderbird must show that its investment
                   received treatment less favourable than Mexico has accorded, in like
                   circumstances, to investments of Mexican nationals.

                   It is not expected from Thunderbird that it show separately that the less favorable
                   treatment was motivated because of nationality. The text of Article 1102 of the
                   NAFTA does not require such showing. Rather, the text contemplates the case
                   where a foreign investor is treated less favorably than a national investor. That
                   case is to be proven by a foreign investor, and, additionally, the reason why there
                   was a less favorable treatment.286

      a.   Identification of Appropriate Comparators

245.       Articles 1102 and 1103 are comparative standards. The scope for comparison of the
           investor/investment and the comparator (whether local or domestic) is based upon the
           treatment accorded to them – i.e. the results of the measure being applied.                      In cases
           where the measure applied is specific to a certain industry, the comparison will naturally
           be made between enterprises operating within that same industry (rather than all
           enterprises in the territory, such as under a general tax measure).287

246.       The object of the comparison is to ensure that an equality of competitive opportunity is
           maintained as between the investor/investment and domestic, or other foreign, enterprises




286
           International Thunderbird Gaming Corp. v. United Mexican States, Award, UNCITRAL Arbitration (26
           January 2006), at para’s. 175-177 (emphasis added).
287
           See, e.g.: Occidental Exploration and Production Company v. Ecuador, Award, LCIA Case No UN 3467,
           (1 July 2004), where the measure was a value added tax regime and the treatment was the receipt of refunds
           for taxes paid by some enterprises engaged in exporting their products but not the investor in exporting its
           products.




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         operating in like circumstances.288 The circumstance of ‘treatment’ received by the
         comparators is to be understood within the context of the competitive relationship
         between enterprises affected by the measure, and the manner in which the measure
         impacts upon their respective ability to compete.

247.     The Pope & Talbot Tribunal thus concluded that, “as a first step, the treatment accorded
         to a foreign owned investment protected by Article 1102(2) should be compared with that
         accorded domestic investments in the same business or economic sector…,” although the
         Tribunal cautioned that this was but a first step. This rationale is confirmed by the
         OECD Declaration on National Treatment for Foreign-Controlled Enterprises, which
         provides, in part:

         As regards the expression ‘in like situations,’ the comparison between foreign-
         controlled enterprises established in a Member country and domestic enterprises
         in that Member country is valid only if it is made between firms operating in the
                      289
         same sector.

248.     All NAFTA tribunals have thus far undertaken the initial step of identifying comparators
         based upon the industry of the investor/investment in question. For example, in the
         Feldman case, the Tribunal started with a determination that the “applicable universe” of
         comparable investors and investments was made up of those businesses engaged in
         purchasing and reselling cigarettes, rather than a wider group, which would have included
         manufacturers. The measure at issue in the Feldman case was a rebate on export taxes.290
         The comparison in UPS v. Canada was between the national postal service and a
         privately owned courier company in respect of the impact of measures on competition
         between them in the expedited courier business.


288
         See, e.g.: Korea – Measures Affecting Imports of Fresh, Chilled and Frozen Beef, WTO Appellate Body
         Report, WT/DS161/AB/R (11 December 2000), at para’s. 142-148.
289
         Organization for Economic Co-operation and Development, National Treatment for Foreign-Controlled
         Enterprises (OECD, Paris: 1993) at 22. Mexico is an OECD Member country. As a consequence of
         Membership, Mexico is obliged to adhere to OECD declarations such as this one, pursuant to Article 5(b)
         of the 1960 Convention on the Organization for Economic Co-operation and Development.
290
         Marvin Feldman v United Mexican States, Award, ICSID Case No. ARB(AF)/99/1 (16 December 2002), , at
         para’s. 171-172.




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249.       The comparison in US – Cross Border Trucking Services involved trucking businesses
           operating between Mexico and the United States. 291 The measure at issue was a
           prohibition on most Mexican-owned carriers operating in all but a tiny fraction of the
           United States market.       The comparison in ADF v USA was between steel products
           fabricated by the investor (a steel fabricator) versus steel products fabricated by domestic
           investors, with respect to their potential use in a highway project.292 In S.D. Myers, Inc. v.
           Canada, the Tribunal held that the appropriate basis for comparison – involving a
           measure that banned the export of PCB wastes from Canada in comparison – was
           between service providers offering PCB waste destruction.293 It found, for example:

                   The concept of “like circumstances” invites an examination of whether a non-national
                   investor complaining of less favorable treatment is in the same “sector” as the national
                   investor. The Tribunal takes the view that the word “sector” has a wide connotation that
                   includes the concepts of “economic sector” and “business sector.” From the business
                   perspective, it is clear that SDMI and Myers Canada were in “like circumstances” with
                   Canadian operators such as Chem-Security and Cintec. They all were engaged in
                                                                294
                   providing PCB waste remediation services...

250.       In summary, the guiding principle and objective of establishing the ‘universe of
           enterprises’ against which the investor and/or investment must be compared is
           preservation of an equality of competitive opportunity between enterprises. Accordingly,
           the starting point for identifying comparators receiving treatment under a measure is to
           determine the nature of the competitive landscape against which the measure has been
           applied, and treatment thereby accorded by the Party that imposed it.

      b.   Treatment No Less Favourable

251.       Under Articles 1102 and 1103, the investors and their investment enterprise are entitled
           to enjoy the best treatment accorded under a measure to comparable enterprises operating

291
           United States – In the Matter of Cross-Border Trucking Services, Panel Report, USA-MEX-98-2008-01, 6
           February 2001, at para’s. 252-257 & 291-294
292
           ADF Group Inc. v. United States of America, Award, 6 ICSID Reports 470, at 155.
293
           S.D. Myers, Inc. v. Canada, NAFTA/UNCITRAL, NAFTA/UNCITRAL Tribunal, First Partial Award (13
           November 2000) at 251.
294
           S.D. Myers, Inc. v. Canada, NAFTA/UNCITRAL, NAFTA/UNCITRAL Tribunal, First Partial Award (13
           November 2000) at para’s 250-251.




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         in like circumstances. The focus of this stage of the analysis is on the impact of the
         measure; not on whether there is any evidence of intent to accord less favorable treatment
         on the basis of nationality. As the Myers Tribunal noted:

                Intent is important, but protectionist intent is not necessarily decisive on its own.
                The existence of an intent to favour nationals over non-nationals would not give
                rise to a breach of [Article 1102] if the measures in question were to produce no
                adverse effect on the non-national complainant. The word “treatment” suggests
                that practical impact is required to produce a breach of Article 1102, not merely
                                                                      295
                a motive or intent that is a violation of Chapter 11.

252.     And as the Pope & Talbot Tribunal has noted:

                Canada contends that these [various WTO] cases are distinguishable because
                they involve de jure, rather than de facto, discrimination. We have already seen
                that it is not always clear whether a measure is a de jure or de facto case, but
                even if it were, Canada has presented no reasons to justify treating the two forms
                of disadvantage differently. Indeed, the recognition that national treatment can
                be denied through de facto measures has always been based on an unwillingness
                to allow circumvention of that right by skilful or evasive drafting. Applying
                Canada’s proposed more onerous rules to de facto cases [which would require
                proof that foreigners, as a group, were proportionately disadvantaged in
                application of a measure] could quickly undermine that principle. That result
                would be inconsistent with the investment objectives of [the] NAFTA, in
                particular Article 102(1)(b) and (c), to promote conditions of fair competition and
                                                                    296
                to increase substantially investment opportunities.

253.     Another example can be found in Siemens v. Argentina, where the Tribunal undertook a
         national treatment analysis within the context of a ‘fair and equitable treatment’ provision.
         It summarized the state of the law on national treatment as follows:

                 Whether intent to discriminate is necessary and only the discriminatory effect
                 matters is a matter of dispute. In S.D. Myers, the tribunal considered intent
                 “important” but not “decisive on its own.” On the other hand, the tribunal in
                 Occidental Exploration and Production Company v. Republic of Ecuador found
                 intent not essential and that what mattered was the result of the policy in question.
                 The concern with the result of the discriminatory measure is shared in S.D.
                 Myers: “The word ‘treatment’ suggests that practical impact is required to


295
         S.D. Myers, Inc. v. Canada, NAFTA/UNCITRAL, NAFTA/UNCITRAL Tribunal, First Partial Award (13
         November 2000) at para. 254.
296
         Pope & Talbot v. Canada, NAFTA/UNCITRAL, Award on the Merits, Phase 2, (10 April 2001), at para.
         70.




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                 produce a breach of Article 1102, not merely a motive or intent.” The
                 discriminatory results appear determinative in Marvin Roy Feldman Karpa v.
                 United Mexican States, where the tribunal considered different treatment on a de
                 facto basis to be contrary to the national treatment obligation under Article 1102
                 of NAFTA. The Tribunal concurs that intent is not decisive or essential for a
                 finding of discrimination, and that the impact of the measure on the investment
                 would be the determining factor to ascertain whether it had resulted in non-
                                           297
                 discriminatory treatment.

254.     Because proof of intent to discriminate on the basis of nationality is not necessary for a
         finding that less favorable treatment has been accorded under a measure, determining
         whether treatment was more or less favorable does not involve a global comparison of
         treatment received by foreigners and domestic investors.              For example, sometimes
         measures accord more favorable treatment to a ‘national champion’ enterprise, to the
         disadvantage of all others (domestic or foreign). Sometimes measures accord more
         favorable treatment to a chosen group of foreigners and/or domestic enterprises, to the
         disadvantage of all other competitors. When an individual investor claims ‘treatment no
         less favorable,’ the analysis is specific to the treatment being accorded to that claimant
         under the measure, vis-à-vis its competitors. As the Pope & Talbot Tribunal stated:

                 The Tribunal believes that the language of Article 1102(3) was intended simply to make
                 clear that the obligation of a state or province to provide investments of foreign investors
                 with the best treatment it accords any investment of its country, not just the best
                 treatment it accords to investments of its investors. Since, as noted, the treatment of
                 states and provinces in Article 1102(3) is expressly an elucidation of the requirement
                 placed on the NAFTA Parties by Articles 1102(1) and (2), that interpretation lends
                 support to the conclusion that, like states and provinces, national governments cannot
                 comply with [the] NAFTA by according foreign investments less than the most favorable
                 treatment they accord to their own investments.

                 … The Tribunal thus concludes that “no less favorable” means equivalent to, not better or
                 worse than, the best treatment accorded to the comparator.298

255.     Treatment accorded under a measure is less favorable when an investor demonstrates that
         a comparable enterprise, operating in like circumstances, has enjoyed a competitive
         economic advantage, as between it and the investor/investment. The burden rests upon a

297
         Siemens AG v Argentina, Award, ICSID Case No ARB/02/8 (06 February 2007), at para’s. 320-321.
298
         Pope & Talbot v. Canada, NAFTA/UNCITRAL, Award on the Merits, Phase 2, (10 April 2001), at para’s.
         41 & 42.




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           claimant investor to prove it has suffered loss or damage because of the treatment
           accorded under a given measure. It does so by demonstrating that, but for the application
           of the measure, the investor/investment would have performed better, economically,
           within the circumstances of the relevant industry, than it actually did.

      c.    Like Circumstances

256.       Once an investor has established that prima facie breach of either Article 1102 or Article
           1103 has occurred, the analysis turns to the question of whether the difference in
           treatment was justifiable in the circumstances. As the Panel in U.S. Trucking Services
           observed, differences in treatment received under a measure could be justified if the
           comparators did not deserve to receive the same treatment because of the circumstances
           in which the measure applied to them. The Tribunal also cautioned, however, that this
           ‘like circumstances exception’ must be construed so narrowly as to strip the national
           treatment obligation of any true meaning.299

257.       The justification for applying what is effectively a ‘like circumstances exception’ in
           national treatment cases has been explained by various tribunals. For example, in dealing
           with a ‘fair and equitable treatment’ clause, the Tribunal in Parkerings v. Lithuania
           stated:

                     Discrimination is to be ascertained by looking at the circumstances of the individual
                     cases. Discrimination involves either issues of law, such as legislation affording different
                     treatments in function of citizenship, or issues of fact where a State unduly treats
                     differently investors who are in similar circumstances. Whether discrimination is
                     objectionable does not in the opinion of this Tribunal depend on subjective requirements
                     such as the bad faith or the malicious intent of the State: at least, Article IV of the Treaty
                     does not include such requirements.             However, to violate international law,
                     discrimination must be unreasonable or lacking proportionality, for instance, it must be
                     inapposite or excessive to achieve an otherwise legitimate objective of the State. An
                     objective justification may justify differentiated treatments of similar cases. It would be
                                                                                                     300
                     necessary, in each case, to evaluate the exact circumstances and the context.


299
           United States – In the Matter of Cross-Border Trucking Services, Panel Report, USA-MEX-98-2008-01, 6
           February 2001, at 258-260.
300
           Parkerings–Compagniet AS v Lithuania, Award, ICSID Case No ARB/05/8 (11 September 2007), at para.
           368.




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258.     As suggested by the Awards in Thunderbird v. Mexico,301 and UPS v. Canada,302 an
         evidentiary burden rests upon the investor to make out a prima facie case that more
         favorable treatment was accorded under a measure. Once a tribunal concludes that this
         burden has been met, it must then consider whether the differential treatment accorded
         was the reasonable and proportionate outcome of a legitimate governmental policy.

259.     In establishing its prima facie case, it is naturally impossible for an investor to address
         the universe of reasons that might be invoked by a Party to justify the treatment accorded
         under its measure. Past tribunals have accordingly looked to the respondent to provide
         such justification. Some have referred to this practice as a ‘burden shift.’ While the legal
         burden obviously remains with the claimant, once a prima facie case has been made out,
         it behooves the respondent to provide an explanation of how the differential treatment
         received under the measure was reasonable and proportionate in relation to the objectives
         claimed for the measure at the time it was imposed. As explained by the Tribunal in
         Pope & Talbot:

                 Differences in treatment will presumptively violate Article 1102(2), unless they have a
                 reasonable nexus to rational government policies that (1) do not distinguish, on their face
                 or de facto, between foreign-owned and domestic companies, and (2) do not otherwise
                 unduly undermine the investment liberalizing objectives of [the] NAFTA.

                 In one respect, this approach echoes the suggestion by Canada that Article 1102 prohibits
                 treatment that discriminates on the basis of the foreign investment’s nationality. The
                 other NAFTA Parties have taken the same position. However, the Tribunal believes that
                 the approach proposed by the NAFTA Parties would tend to excuse discrimination that is
                 not facially directed at foreign owned investments. A formulation focusing on the like
                 circumstances question, on the other hand, will require addressing any difference in
                 treatment, demanding that it be justified by showing that it bears a reasonable
                 relationship to rational policies not motivated by preference of domestic or other foreign
                 owned investments. That is, once a difference in treatment between a domestic and a
                 foreign-owned investment is discerned, the question becomes, are they in like




301
         International Thunderbird Gaming Corporation v. United Mexican States, Award, UNCITRAL Arbitration
         (26 January 2006), at para. 176.
302
         United Parcel Service v. Canada, UNCITRAL/NAFTA, Award (24 May 2007) at para. 84.




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                 circumstances? It is in answering that question that the issue of discrimination may
                        303
                 arise.

260.     As such, where an investor has made out a prima facie claim that it has received less
         favorable treatment under a measure than one or more of its competitors in like
         circumstances, and the respondent has refused to provide a reasonable, proportionate and
         contemporaneous justification for the treatment received, the claim succeeds. 304 As
         Professor Cass stated in UPS v. Canada:

                 It is possible for two investors or enterprises to be in the same sector or to be in
                 competition and nonetheless be quite unlike in respect of some characteristic critical to a
                 particular treatment. The most natural reading of NAFTA Article 1102, however, gives
                 substantial weight to a showing of competition between a complaining investor and an
                 investor of the respondent Party in respect of the matters at issue in a NAFTA dispute
                 under Article 1102. Article 1102 focuses on protection of investors and investments
                 against discriminatory treatment. A showing that there is a competitive relationship and
                 that two investors or investments are similar in that respect establishes a prima facie case
                 of like circumstances. Once the investor has established the competitive relationship
                 between two investors or investments, the [strategic] burden shifts to the respondent
                 Party to explain why two competing enterprises are not in like circumstances.305

                 Although a bald discrimination on the basis of nationality cannot be salvaged by assertion
                 of governmental policy objectives, where the claim of national treatment violation rests
                 on the effects of decisions not expressly predicated on nationality a different standard
                 applies… There must be limits to the reach of policy justifications offered to support
                 national treatment discriminations – that is, of justification offered to establish the
                 unlikeness of circumstances under Article 1102… But in my view, those limits should
                 not be imposed through an overly critical examination of governmental policy choices by
                 arbitral tribunals.306

261.     Once the claimant investor and the tribunal have heard the respondent’s answer to the
         prima facie claim of differential treatment, the strategic burden obviously returns to the


303
         Pope & Talbot v. Canada, NAFTA/UNCITRAL, Award on the Merits, Phase 2, (10 April 2001), at para’s.
         78-79.
304
         Marvin Feldman v United Mexican States, Award, ICSID Case No. ARB(AF)/99/1 (16 December 2002), , at
         177. The accompanying note provides: “United States – Measures Affecting Imports of Woven Wool Shirts
         and Blouses from India, Adopted 23 May 1997, WT/DS33/AB/R, p. 14. Accordingly, Asian Agricultural
         Products Limited v. Republic of Sri Lanka, ICSID Reports, pp. 246, 272, 1990. (“In case a party adduces
         some evidence which prima facie supports his allegation, the burden of proof shifts to his opponent.”).
305
         United Parcel Service v. Canada, Separate Opinion, UNCITRAL/NAFTA (24 May 2007), at para’s 16-17.
306
         United Parcel Service v. Canada, Separate Opinion, UNCITRAL/NAFTA (24 May 2007), at para’s. 118-
         120.




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           claimant to rebut any justification provided. At the end of the day, the tribunal will
           determine, on a balance of probabilities, whether the claimant investor made out a valid
           claim or whether the respondent succeeded in providing a reasonable and proportionate
           justification for the less favorable treatment received.

           B.       Respondent’s Breaches of Articles 1102 and 1103

262.       NAFTA Articles 1102 & 1103 are designed to promote an equality of competitive
           opportunity for Canadian and Mexican nationals and their investments in the United
           States. As such, the normal starting point for a national treatment or MFN analysis is
           identification of the appropriate comparators who are in commercial competition with the
           investor and/or its investment.307

      a.   Comparators

263.       In this case, the process is straightforward. Claimants have marketed two ‘value’ brands,
           Seneca® and Opal®, which were specifically designed and priced by them to appeal to a
           particular kind of US consumer.308 The primary class of competitors is enterprises that
           market other value brands in the same territories.309 This group includes Exempt SPMs,
           in addition to other SPMs and NPMs.310 The less direct class of Claimants’ competitors
           are the OPMs marketing premium name brands. Consumers of premium brands are
           generally loyal to their brand, but there will be a tipping point for each of them at which
           they will choose to switch to a value brand (normally whenever the price differential
           between value brands and premium brands is broad enough and the overall price is high
           enough to force a change in consumer preferences).



307
           In this case, one of the Exempt SPMs that is receiving better treatment for its brands than Claimants are for
           their brands is Japan Tobacco, a corporation organized under the laws of Japan. Accordingly, to the same
           extent that better treatment being accorded, as a result of the Allocable Share Amendments, to U.S.
           enterprises, such as Liggett or Premiere, constitutes evidence of a prima facie breach of Article 1102, it also
           constitutes an overlapping breach of Article 1103.
308
           J. Montour Stmt. at 23.
309
           Wesley Stmt. at 6-9; Phillips Stmt. at 14.
310
           J. Montour Stmt. at 5 ; Expert Report of David Eisenstadt dated July 10, 2008 (“Eisenstadt Report”).




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      b.   Treatment No Less Favorable

264.       All three of the measures primarily at issue in this case311 were explicitly designed to
           restrict competition in the tobacco industry. As originally drafted, the Escrow Laws were
           designed to prevent NPMs operating on a national scale from taking market share away
           from Participating Manufacturers. 312 The Contraband Laws were designed to more
           effectively and immediately impose prohibitions against the distribution of the value
           brands marketed by NPMs. These prohibitions were attainable under the Escrow Statutes,
           but only after recourse to judicial procedures contemplated under them. The Allocable
           Share Amendments were designed to remove the rebate that had permitted smaller
           tobacco enterprises to operate on relative par with Exempt SPMs.313

265.       In the years following implementation of the MSA regime, the measures worked so well
           that the OPMs were able to take advantage of the protection they offered to raise their
           prices much higher than would have been necessary to merely cover the costs of
           compliance with their MSA obligations.314 They succeeded in doing so by leveraging the
           relative inelasticity of demand for their premium brands, thereby maximizing profits with
           price increases until the point at which any further increase would result in corresponding
           defections by their customers to a value brand.315

266.       The OPMs could not lose in pursuing this strategy, because if their price increases finally
           did generate such a disparity between the price of their brands and those of value-brands
           offering comparable taste and quality, so as to result in customer defection, they would be
           entitled to attempt blaming the MSA states for their subsequent loss of market share, as
           contemplated under the terms of the MSA itself. In fact, over the past two years the



311
           Michigan’s Equity Assessment Law similarly had the effect of reducing competition as between NPMs and
           OPMs and SPMs because it only applied significantly higher taxes on NPMs.
312
           Claimant’s Evidentiary Stmts. Ex. 34 at (d) (2)(E).
313
           Claimant’s Evidentiary Stmts. Ex. 37 & 50..
314
           Claimant’s Evidentiary Stmts. Ex. 40 & 41.
315
           Claimant’s Evidentiary Stmts. Ex. 13.




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         OPMs appear to have pursued this very strategy.316 They have even alleged that it is a
         violation of the MSA for states to forbear from imposing escrow obligations on First
         Nations tobacco enterprises whose products are not even intended for sale in non-First
         Nations markets.317

                 i.     The Allocable Share Amendments Have Accorded Better
                        Treatment to Exempt SPMs

267.     At the time that the lawyers who negotiated the MSA set out to convince smaller tobacco
         enterprises to cooperate with the OPMs and state officials, two reasonably comparable
         options existed to other investors in the tobacco industry. They could either join the
         MSA and market their brands nationally, receiving a generous exemption from escrow
         requirements based upon a formula applied to their sales in the previous two years; or
         they could chose to remain NPMs, receiving allocable share releases if they to restricted
         their brands to only a few states. Some chose to become exempt SPMs and others chose
         to take advantage of the allocable share release mechanisms, remaining as fully
         compliant NPMs.318

268.     Settling States were well aware of the potential for the regime they were contemplating to
         accord less favorable treatment to NPMs than would be received by Participating
         Manufacturers. They understood that substantive equality of opportunity could not be
         maintained under a regime where NPMs, SPMs and OPMs were not being required to
         bear the same relative payment burdens. For example, as one state legislator sponsoring
         an Allocable Share Amendment candidly admitted:

                 The original purpose of this provision [the Allocable Share Release
                 Mechanism] was to make sure that the financial obligations on the NPMs
                 were not more onerous than the burdens on participating manufacturers




316
         Claimant’s Evidentiary Stmts. Ex. 31.
317
         Claimant’s Evidentiary Stmts. Ex. 51.
318
         Claimant’s Evidentiary Stmts. Ex. 39 Smoking Buddies.




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                    joining the MSA which might provide the basis for an equal protection
                    challenge to the model escrow act. 319

269.       What motivated state officials to impose the Allocable Share Amendments - thereby
           abrogating the one and only option for a small NPM to compete under the MSA regime -
           was fear of losing any portion of the payments promised by the OPMs under the terms of
           the MSA. 320 These amendments were obviously supported by OPM representatives in
           their discussions with state officials, because removal of the allocable share release
           mechanisms would have the same deleterious effect on regional NPM brands as the
           original Escrow Statutes had on national NPM brands. 321              The object of these
           amendments was no less the eradication of heretofore compliant, regional NPM brands
           from the marketplace, by rendering them uncompetitive vis-a-vis the national value
           brands marketed by SPMs who chose to join the MSA in exchange for grandfathered
           escrow payment exemptions.

270.       The new measures have succeeded, ultimately forcing Claimants to withdraw their
           Seneca® and Opal® brands from the market in states such as Oklahoma, Arkansas,                   I
           Kansas. 322 This is because the price at which these brands attracted their customer base
           was not sustainable for Claimants to offer, once the allocable share releases were no
                                                                                                           ~Ii
                                                                                                           I/

           longer forthcoming in each of these states. 323                                                 11
                                                                                                           11



271.       The impact of the Allocable Share Amendments has been as predictable as it was
           devastating to Claimants' investment in all of state territories in which they had expanded
                                                                                                           ~
                                                                                                           1!
                                                                                                           I
           their brands. The Seneca® brand is now only found off-reserve in four states: Georgia,
           Tenessee, North Carolina and South Carolina,



319
           Senator Jim Jensen, Chairperson, Health and Human Services Committee, Government of Nebraska,
           Statement oflntent for LB 944 at I, January 23, 2004. Claimant's Evidentiary Struts. Ex. 52.
320
           Claimant's Evidentiary Struts. Ex. 40.
321
           Claimant's Evidentiary Struts. Ex. 13.
322
           J. Montour Strut. at 62.
323
           Claimant's Evidentiary Struts. Ex. 13.




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                                                        Claimants were no longer able to price their
         brands competitively enough to retain their brands' customer base. 324 Once Grand River
         has been adjudged by state officials to be in arrears under amended Escrow Statute,
         injunctions have been obtained, and Contraband Laws have operated, so as to prohibit
         any future sales of the Seneca® or Opal® brands in each such territory. 325

272.     Without the benefit of allocable share releases, Claimants' brands have simply been
         rendered uncompetitive, because the consumer base for which their products were
         targeted do not stay loyal to the Seneca® and Opal® brand when far less expensive
         alternatives have been available. The products that replaced Seneca® and Opal® brands
         on store shelves in these various states and captured Claimant's market share are largely
         manufactured by exempt SPMs. 326

273.     Whereas it could have once been argued that, as between exempt SPMs and the OPMs
         who adopted a regional brand strategy, both were receiving effectively similar treatment
         in result, the Allocable Share Amendments have eliminated the possibility.        In short,
         removal of the allocable share release mechanism does not level the playing field
         between these competitors; it arbitrarily tilts the field over to one side.

274.     In imposing the Allocable Share Amendments, state officials have offered more favorable
         treatment to exempt SPMs than they were now willing to offer NPMs who had adopted
         regional brand strategies in reliance on the availability of allocable share releases. As
         Claimants had adopted the kind of regional brand strategy encouraged under the original
         Escrow Statutes, they received less favorable treatment than enterprises such as Liggett
         and others, who have continued to enjoy their escrow payment exemptions under the
         amended measures. That is why their brands have replaced Seneca® and Opal® branded
         products on store shelves in various states.

324
         Claimant's Evidentiary Stmts. Ex. 13.
325
         J. Montour Stmt. at 56.
326
         Eisenstadt Report; Phillips Stmt. at 14




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                 ii.      The Ongoing Regulatory Dialogue Launched With the MSA
                          Accorded Better Treatment to OPMs

275.     From a commercial standpoint, the OPMs are also in a much better position under the
         measures vis-à-vis Claimants. The OPMs were provided with an opportunity to co-
         design the Escrow Statutes with the Settling States,327 and to consult in private on future
         changes such as the Allocable Share Amendments.328 In addition, MSA membership,
         which has been unreasonably withheld from Claimants,329 entitles a manufacturer to have
         access to more potential retail customers, as many of the larger retail chains are too risk
         adverse to contemplate dealing with a non-MSA supplier, much less a NPM whose
         brands are deemed to be contraband by one or more state governments.330

                 iii.   Michigan’s Equity Assessment Measure Accords Better
                        Treatment to All Other Tobacco Enterprises, Other Than NPMs

276.     With respect to Michigan’s Equity Assessment Act, all OPMs and SPMs are in an
         obviously better position than Claimants. Claimants, by virtue of being classified as a
         ‘NPM,’ must undergo an annual certification procedure; pay any assessments previously
         assessed since the measure was imposed in January 2004; and pre-pay any assessment for
         the coming year, before they will be permitted to introduce the Seneca® brand anywhere
         in Michigan, including on Native American land. Only NPMs pay the assessment under
         this measure, which almost doubles the costs of compliance (to approximately $8 per
         carton, at current rates). This measure makes Michigan the most prohibitively expensive
         place in which Claimants could do business in the United States, in spite of the fact that
         its major urban centre, Detroit, is located less than three hours’ drive from where Seneca®
         and Opal® branded products are made.

277.     Claimants have accordingly been deprived of a nearby market for their brands, even on-
         reserve, without any reasonable grounds. They are covered by the measure simply by

327
         Claimant’s Evidentiary Stmts. Ex. 31.
328
         Claimant’s Evidentiary Stmts. Ex. 38 Meeting Notes.
329
         J. Montour Stmt. at 59-60.
330
         M. Wesley Stmt at 10-14




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           virtue of GRE being classified as a NPM under the state’s Escrow Law and Contraband
           Statute. This measure obviously magnifies the unfairness of the application of the MSA
           regime for Claimants vis-à-vis their competitors. The more favorable treatment offered
           under Michigan’s Equity Assessment Act is obviously offered to any enterprise that
           escapes its application, including OPMs and SPMs, and smaller First Nations enterprises
           that have thus far escaped enforcement by any MSA state officials.

      c.   Like Circumstances

278.       ‘Treatment no less favorable’ is only required of the NAFTA Parties where like
           circumstances exist amongst investors or investments.            On a prima facie basis, all
           tobacco enterprises appear to operate in like circumstances.           Their tobacco brands
           compete on the basis of successful marketing, price and blending to taste. They succeed
           when their brands find a clientele based upon these simple factors. They fail when their
           brands do not attract a customer base, or when one of these elemental factors is suddenly
           and dramatically altered. The measures at issue introduced exactly that kind of dramatic
           alteration of circumstances, without reasonable justification.

279.       The original justification provided for imposing the Escrow Statutes on enterprises was
           that they were necessary to ‘level the playing field’ between OPMs and all other tobacco
           enterprises.    The original justification provided by state officials for imposing the
           Allocable Share Amendments was also to ensure ‘a level playing field.’ However, this
           latter excuse was premised on the contradictory and disingenuous notion that the new
           measures were necessary to remove a ‘loophole’ from the original legislation.331 As
           demonstrated below, both premises are arbitrary and discriminatory on their face.

280.       There was no need for the Settling States to take legislative steps to provide a level
           playing field as between the OPMs and Claimants because – unlike the OPMs –
           Claimants were never even accused of doing the kinds of things alleged by the states in
           their tort case against the OPMs. In effect, the states arbitrarily deemed OPMs and other


331
           Claimant’s Evidentiary Stmts. Ex. 44.




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         tobacco enterprises as being no longer in like circumstances because of the obligations
         that would be borne by the OPMs under the MSA. There was no reason, however, for
         any other enterprise to be saddled with those obligations, absent evidence that it could
         have been somehow joined to the civil cases brought against the OPMs. It makes no
         sense to argue that an economic playing field needs to be leveled if the players were not
         playing by the same rules in the first place.

281.     No government in the United States has ever collected damages in a tort action against a
         member of the tobacco industry, large or small, on the grounds that tobacco use was the
         proximate cause of Medicaid costs.332 There is no reason to suspect that the OPMs would
         have sought any kind of settlement with any state if those were the only kind of tort claim
         at issue. The OPMs did not settle when the United States Federal Government brought
         exactly that kind of tort claim against them, and they prevailed.333 If the grounds were the
         same in these cases, why would the OPMs have settled with the states when but not with
         the Federal Government? The fact is that the OPMs settled because there were other
         claims pending against them and their senior management, and a decision was obviously
         made to reduce their risk of financial exposure. Claimants have never borne the same
         risks because they have never engaged in the kind of conduct that was alleged against the
         OPMs and were never sued for such conduct by any state.

282.     The OPMs, have skillfully used the regime they co-designed with state officials as an
         excuse to raise prices and maximize their own profits.334 Each Settling State has shared
         directly in these profits by agreeing to shield the OPMs’ brands from competition with
         value brands marketed by much smaller competitors, including Claimants.335 They co-
         opted a group of smaller industry members by offering them escrow exemptions based
         upon a formula that essentially grandfathered their existing market share, as of the date


332
         See fn. 60 United States v. Philip Morris, Inc..
333
         Ibid.
334
         Claimant’s Evidentiary Stmts. Ex. 41.
335
         Claimant’s Evidentiary Stmts. Ex. 34 at (d)(2)(E).




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         they ‘joined’ the MSA. They bought peace from other industry members, including new
         entrants, by providing a strong incentive for them to only establish regional brands, in
         exchange for a de facto refund of escrow payments that allowed them to compete on a
         reasonably fair footing with SPMs.

283.     There is no evidence on the record to suggest that these allocable share release
         mechanisms operated in anyway otherwise than exactly as intended. They generated
         strong incentives for NPMs not to introduce any value brands at the national level, as
         they would have competed directly with the brands of OPMs, potentially reducing their
         market share and ultimately threatening the size of the portion of the OPM’s profits that
         had been promised to each state under the MSA. Respondent and its state officials are
         disingenuous to claim, after the fact, that use of the allocable share release mechanism
         was “unintended and unforeseen” and that it “undermined the intent of the escrow
         statutes.”336

284.     More to the point, Respondent can no more justify imposition of the Allocable Share
         Amendments, on the basis of alleged equality of circumstances between NPMs and
         OPMs, than it can for imposition of the original escrow statutes. The OPMs settled tort
         claims for conduct that no one has ever alleged against Claimants, now or then. Why
         should Claimants be made to bear what is alleged by Respondent to be roughly the same
         burden as these multinational corporations bear, even though Claimants have not even
         been accused of the same conduct that led the OPMs to settle with state officials?

285.     Further, how does forcing Claimants to place significant funds into escrow level the so-
         called playing field as between them and the OPMs, who were forced into the MSA
         because of civil suits arising out of their own conduct? Every single dollar in escrow
         payments thus far made by every single NPM has allegedly been dedicated towards


336
         Statement of Defense to the Allocable Share Claim, at para’s. 6 to 8. The evidence on the record
         demonstrates that if anything was unintended or unforeseen by the MSA states, it was that their erstwhile
         partners, the OPMs, would take advantage of them so blatantly as to reap incredible profits from price
         gouging consumers while leaving it to the states to adopt further means to safeguard their market share, lest
         they risk losing out on their promised cut of the proceeds of this arrangement.




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         nothing more than a theoretical fund for what can only be most charitably characterized
         as phantom civil claims. How then does the removal of Claimants’ entitlement to an
         allocable share release actually level the playing field as between them and exempt SPMs,
         who were also never subject to these phantom civil suits but who have nonetheless
         enjoyed a substantial exemption from making escrow payments, in perpetuity?

286.     It is obvious that the real goal behind introduction of the Allocable Share Amendments
         was to protect the Settling States’ entitlement to their cut of the profits being enjoyed by
         the OPMs and SPMs under the measures they agreed to implement under the MSA. In
         any event, regardless of whether one accepts the ‘level playing field’ theory or the
         obvious reason for the Settling States’ decision to impose the Allocable Share
         Amendments, the bottom line is that there is no justification for their having accorded
         more favorable treatment to exempt SPMs than was provided to Claimants.

287.     The Allocable Share Amendments violate Respondent’s national treatment obligation
         because they were not introduced under the same circumstances as the original Escrow
         Statutes had been introduced. Introduction of the original measures included an offer to
         industry members to join the MSA in return for receiving a payment exemption that
         effectively grandfathered their existing market share based upon a simple, two-year
         formula. There is no reason why the same offer could not be made to the Investors in this
         case. Had the Settling States done so, they would have actually leveled the playing field
         as between NPMs with regionally based brands, including Claimants, and exempt SPMs.

288.     Moreover, as described above, under applicable international law Respondent also bears
         a special obligation towards Claimants, as First Nations Investors, in respect of the
         development and implementation of the Allocable Share Amendments. The terms of
         Article 1102 must be construed consistently with applicable rules of international law.
         Respondent’s obligation to avoid discrimination against indigenous peoples required its
         state officials to take proactive steps to consult Claimants and to take steps to ameliorate
         discriminatory measures such as the Allocable Share Amendments. Within this context,
         Respondent’s claim that its officials were only trying to ‘level the playing field’ with
         these measures rings even more hollow.


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289.     Instead, state officials have arbitrarily decided not to make the same offer to industry
         members with demonstrable track records, even though they have radically changed the
         regulatory regime under which all had been operating. The last time they radically
         altered the regulatory landscape, with introduction of the Escrow Statutes, state officials
         offered to grandfather those enterprises with vested interests in the exploitation of one or
         more brands. This time they chose not to do so, without any reasonable justification.


                SECTION V                   EXPROPRIATION

         A.     Respondent’s Obligations Under Article 1110

290.     NAFTA Article 1110 requires Respondent to pay compensation equivalent to the fair
         market value (FMV) of an ‘investment’ taken through the imposition of a governmental
         measure. As specified in Article 1110(1), compensation must be paid regardless of
         whether the taking is for a public purpose, non-discriminatory or otherwise in accordance
         with due process and the minimum standard of treatment.337

291.     Article 1110 states, in relevant part:

                1. No Party may directly or indirectly nationalize or expropriate an investment of
                an investor of another Party in its territory or take a measure tantamount to
                nationalization or expropriation of such an investment ("expropriation"), except:

                (a) for a public purpose;

                (b) on a non-discriminatory basis;

                (c) in accordance with due process of law and Article 1105(1); and

                (d) on payment of compensation in accordance with paragraphs 2 through 6.

                2. Compensation shall be equivalent to the fair market value of the expropriated
                investment immediately before the expropriation took place ("date of
                expropriation"), and shall not reflect any change in value occurring because the
                intended expropriation had become known earlier. Valuation criteria shall


337
         Marvin Feldman v United Mexican States, Award, ICSID Case No. ARB(AF)/99/1 (16
         December 2002) at 98.




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                 include going concern value, asset value including declared tax value of tangible
                 property, and other criteria, as appropriate, to determine fair market value.

                 3. Compensation shall be paid without delay and be fully realizable.

                 4. If payment is made in a G7 currency, compensation shall include interest at a
                 commercially reasonable rate for that currency from the date of expropriation
                 until the date of actual payment.

                 5. If a Party elects to pay in a currency other than a G7 currency, the amount paid
                 on the date of payment, if converted into a G7 currency at the market rate of
                 exchange prevailing on that date, shall be no less than if the amount of
                 compensation owed on the date of expropriation had been converted into that G7
                 currency at the market rate of exchange prevailing on that date, and interest had
                 accrued at a commercially reasonable rate for that G7 currency from the date of
                 expropriation until the date of payment.

                 6. On payment, compensation shall be freely transferable as provided in Article
                 1109. [Emphasis added.]

292.     Article 1110 specifies that the focus of an expropriation analysis should be on the extent
         of deprivation of the investor’s ability to derive benefits from an ‘investment,’ as defined
         under Article 1139. On its face, Article 1110 is not restricted to takings of real property
         or, alternatively, the formal expropriation of an entire investment enterprise.338 The
         obligation requires compensation to be paid by Respondent for the imposition of a
         measure that directly or indirectly nationalizes or expropriates ‘an investment’ of an
         investor of another Party in its territory.

293.     Impairment caused by regulatory action rises to the level of an indirect expropriation
         under Article 1110 when it results in a substantial deprivation of the investor’s ability to
         enjoy the reasonably expected benefits of that investment.339 The Tribunal in S.D. Myers
         v. Canada referred to the required level of impairment as amounting “… to a lasting
         removal of the ability of an owner to make use of its economic rights” in that




338
         Pope & Talbot, Inc. v. Canada, Interim Merits Award, NAFTA/UNCITRAL Tribunal, 26 June 2000, at
         para’s. 95 & 96-98.
339
         Pope & Talbot, Inc. v. Canada, Interim Merits Award, NAFTA/UNCITRAL Tribunal, 26 June 2000, at
         102.




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         investment. 340 Likewise, the Tribunal in Metalclad v. Mexico described regulatory
         expropriation as taking place under Article 1110 when imposition of the measure “has the
         effect of depriving the owner, in whole or in significant part, of the use or reasonably to
         be expected economic benefit of property even if not necessarily to the obvious benefit of
         the host State.”341

294.     Another way of describing the level of impairment required under Article 1110 is to use
         the “merely ephemeral” standard adopted in cases such as Tippets, Abbett, McCarthy,
         Stratton v. TAMS-AFFA and Wena Hotels:

                 [W]hile assumption of control over property by a government does not
                 automatically and immediately justify a conclusion that the property has
                 been taken by the government, thus requiring compensation under
                 international law, such a conclusion is warranted whenever events
                 demonstrate that the owner has been deprived of fundamental rights of
                 ownership and it appears that this deprivation is not merely ephemeral.342

295.     The line between legitimate acts of governmental regulation and compensable takings
         under international law was also described in commentary (g) to Section 712 of the Third
         U.S. Restatement on International Law, as follows:

                 A state is responsible as for an expropriation of property under Subsection
                 (1) when it subjects alien property to taxation, regulation, or other action
                 that is confiscatory, or that prevents, unreasonably interferes with, or
                 unduly delays, effective enjoyment of an alien’s property or its removal
                 from the state’s territory... A state is not responsible for loss of property or
                 for other economic disadvantage resulting from bona fide general taxation,
                 regulation, forfeiture for crime, or other action of the kind that is




340
         S.D. Myers, Inc. v. Canada, NAFTA/UNCITRAL, NAFTA/UNCITRAL Tribunal, First Partial Award (13
         November 2000) at 283 & 287.
341
         Metalclad Corp. v. Mexico, Final Award, UNCITRAL Arbitration (2 September 2000), at para. 103; cited
         by: CME Czech Republic BV v Czech Republic, Partial Award, UNCITRAL Arbitration (13 September
         2001), at para. 606.
342
         Tippets, Abbett, McCarthy, Stratton v. TAMS-AFFA Consenting Engineers of Iran et al., Iran-U.S. Claims
         Tribunal, Award No. 141-7-2, June 22, 1984, at para. 225; Wena Hotels Limited v Egypt, Award, ICSID
         Case No ARB/98/4 (8 December 2000), at para. 99.




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                 commonly accepted as within the police power of states, if it is not
                 discriminatory....343

296.     ‘Investment” is defined broadly in the NAFTA, and therefore it is defined broadly for
         purposes of Article 1110. As Professor Loewenfeld observed:

                 It seems clear from the cases here excerpted and others that expropriation
                 as governed by the BITs is defined by the deprivation to the investor, not
                 by the gain to the host state. Thus destruction of the investor’s property
                 may come within the definition of expropriation if the actions are
                 attributable to the host state, even if the state does not acquire the property
                 in question. Further, intangible rights, such as the right to import or export
                 a given product or to participate in a given industry, may be subject to the
                 constraints on expropriation set out in the BITs. However, a regulation of
                 temporary duration, or a regulation that reduces the profitability of an
                 investment but does not shut it down completely and leaves the investor in
                 control, will generally not be seen as expropriation, even when it gives rise
                 to liability on the part of the host state for violation of national treatment
                 and fair and equitable treatment clauses.344

297.     Under Article 1139(g), ‘investment’ includes intangible “property… used for the purpose
         of economic benefit or other business purposes.” As previously shown, other investment
         treaty tribunals have found that goodwill is an intangible form of property capable of
         protection as an investment. In industries such as tobacco, goodwill is represented in an
         investor’s ability to establish and profit from the brands upon which its business has been
         based. When a measure substantially interferes with the intellectual property rights
         supporting use of the brand, a direct taking has occurred. When a measure substantially
         interferes with the investor’s ability to generate profits from the business venture it has
         based upon a brand, an indirect taking has occurred. In either case, the goodwill built up
         in the brand will have been depleted by the measure and the investor’s ability to enjoy the
         income stream previously produced by its investment will have been effectively
         destroyed.



343
         Marvin Feldman v United Mexican States, Award, ICSID Case No. ARB(AF)/99/1 (16
         December 2002) at 105.
344
         Andreas F. Lowenfeld, International Economic Law (Oxford, Cambridge: 2002) at 479-480.




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298.     Recognizing the relationship between modern regulatory takings and the value of
         geographically delimited markets, the Tribunal in Pope & Talbot v Canada has observed
         that effectively depriving an investor of its access to a regional market may constitute an
         indirect expropriation of the economic value of the enterprise that depends upon such
         access.345 The Pope & Talbot Tribunal’s analysis provides an indication of when and
         why access to a market should be relevant in determining whether a regulatory taking has
         occurred. As it explained: "terminology should not mask the fact that the true interests at
         stake are the Investment's asset base, the value of which is largely dependent on its export
         business."

299.     In summary, indirect or expropriation occurs where an investor is “radically deprived of
         the economical use and enjoyment of its investments, as if the rights related thereto –
         such as the income or benefits related to the [investment] or to its exploitation – had
         ceased to exist. In other words, if due to the actions of the Respondent, the assets
         involved have lost their value or economic use for their holder and the extent of the
         loss.”346 As demonstrated in the TECMED case:

                … it is understood that the measures adopted by a State, whether regulatory or
                not, are an indirect de facto expropriation if they are irreversible and permanent
                and if the assets or rights subject to such measure have been affected in such a
                way that “…any form of exploitation thereof…” has disappeared; i.e. the
                economic value of the use, enjoyment or disposition of the assets or rights
                affected by the administrative action or decision have been neutralized or
                destroyed.134 Under international law, the owner is also deprived of property
                where the use or enjoyment of benefits related thereto is exacted or interfered
                with to a similar extent, even where legal ownership over the assets in question is
                not affected, and so long as the deprivation is not temporary. The government’s
                intention is less important than the effects of the measures on the owner of the
                assets or on the benefits arising from such assets affected by the measures; and
                                                                                               347
                the form of the deprivation measure is less important than its actual effects.


345
         Pope & Talbot, Inc. v. Canada, Interim Merits Award, NAFTA/UNCITRAL Tribunal, 26 June 2000, at
         para. 98.
346
         Técnicas Medioambientales, TECMED S.A. v United Mexican States, Award, ICSID Case No.
         ARB/AF/00/2 (29 May 2003), at para. 113.
347
         Técnicas Medioambientales, TECMED S.A. v United Mexican States, Award, ICSID Case No.
         ARB/AF/00/2 (29 May 2003), at para. 116.




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           B.       Respondent's Breaches of Article 1110

300.       Claimants invested significant capital and other resources into establishing the Seneca
           and Opal brands in of North Carolina, South Carolina, Oklahoma, Arkansas and Georgia.
           The goodwill that these investors developed in their brands over the years, as well as the
           intellectual property rights that underlie them, constitute the 'investment' that has been
           taken in this case. As explained by the Sola Tiles Tribunal:

           Goodwill can best be defined, at least for the purposes of the present case, as that part of
           a company's value attributable to its business reputation and the relationship it has
           established with its suppliers and customers. 348

301.       When measures are implemented that prohibit sales and distribution on the basis of one's
           brand, the value of the enterprise dependent upon use of the now-proscribed brand can be
           destroyed. This is because the prohibitions obtained under Escrow Statute court actions
           and maintained under Contraband Laws effectively deter all industry members (i.e.
                                                                                                                     l
           manufacturers, importers, distributors, wholesalers and retailers) from trading in products
           bearing the trademark of a product deemed to be contraband. Once a tobacco brand is                       i
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                                                                                                                     I!


           eliminated from a market, it is extremely difficult - if not impossible - to re-establish it
           again, 349 because consumers and distributors will have lost faith in its quality and its
                                                                                                                     !
           future availability, and because they will have found substitutes immediately after the
           brand becomes unavailable. 350 As evidenced by the reports of Claimant's experts, but for
           imposition of the Allocable Share Amendments, Claimants would have been enjoying a
           steady cash flow and increasing penetration of their brand at the retail level of North
           Carolina, South Carolina, Oklahoma, Arkansas and Georgia.




348
           Sola Tiles Inc. v. Iran, Partial Award, 14 IRAN-U.S.C.T.R. 223 (1987), at para. 62. For lost profits
           analysis, see para's. 161-164. See, also: Asian Agricultural Products v. Sri Lanka, (1996) 4 ICSID Rep.
           246 at 292.
349
           M. Wesley Stmt. at 10-14; Phillips Stmt. at 14.
350
           M. Wesley Stmt. at 10-14.




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303.       Under the new measures, Claimants have been obliged to raise their prices dramatically
           in order to meet the new escrow demands from each amended measure. Exempt SPMs -
           whose brands compete with Claimants in the affected states - know this too. They can
           now take advantage of their permanent payment exemptions to offer their brands at a
           price just low enough to eliminate Seneca and Opal from each market. Under the new
           measures their brands will immediately become more profitable
                                                        , with the promise of even greater profits, after
           Claimants' brands have been eliminated from the market and they are then able to raise
           their prices further.     There is only so much retail shelf space for competing tobacco
           brands, and wherever Claimants have been forced to raise their prices, the Seneca brand
           has lost its place on store shelves. 351

304.       The record demonstrates the substantial deprivation that has been suffered by Claimants,
           as a result of being unable to exploit the goodwill they had established in their brands.
           The Allocable Share Amendments have rendered their brands useless because they can
           no longer be offered at a competitive price point - which is an essential element of any
           brand marketing strategy.

305.       As evidenced in the reasons given by state officials for imposition of the Allocable Share
           Amendments,352 the measures are aimed at a specific group: NPMs marketing regional
           value brands. As the Tribunal in Sempa Energy v. Argentina has noted, a measure that
           effectively destroys the value of the investment of a particular group, which has either
           been singled out for harsher treatment or excluded from receiving better treatment,



351
           Phillips Stmt. at 14
352
           Claimant's Evidentiary Stmts. Ex. 50.




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         constitutes an illegal taking under international law, because it is discriminatory in
         application.353

306.     The Allocable Share Amendments were clearly not the product of extensive consultation
         with the stakeholders who would be most affected by them – i.e. NPMs with regional
         brand strategies such as the Investors. The amendments also reversed an allocation
         policy that satisfied basic principles of fairness as between competing tobacco enterprises.
         Claimants, and others like them, should not have been forced to bear the costs of escrow
         payments made for the benefit of all 46 state governments if they were not marketing
         their brands in more than a handful of states. That is why the Escrow Statutes included
         the allocable share release mechanism in the first place. In Eastern Sugar, when the
         Czech Government amended its sugar quota regime to benefit certain manufacturers at
         the expense of others, in violation of their reasonable expectations to the contrary, such
         conduct was also found to constitute a breach of the fair and equitable treatment standard,
         which is prohibited under Article 1110.354

307.     Before determining whether a measure results in substantial impairment of an investment,
         however, the principle of territorial sovereignty must be applied. The same is true for its
         domestic analogue: territorial jurisdiction. This principle applies so as to limit the scope
         of application for any given measure to the territory of the political body responsible for
         its imposition, unless the measure explicitly provides otherwise.355 In its submissions
         before another NAFTA Tribunal, Respondent has itself recognized presumption against
         extra-territoriality in international law, going further to add that the same principle is
         embedded in its own constitutional law. In the United States, absent explicit language to




353
         Sempra Energy International v Argentina, Award and partial dissenting opinion, ICSID Case No
         ARB/02/16 (28 September 2007), at para. 319
354
         Eastern Sugar B.V. (Netherlands) v. Czech Republic, Partial Award, 27 March 2007, UNCITRAL
         Arbitration, SCC No. 088/2004, at ¶¶ 313-314, 332 & 335.
355
         See, e.g.: I. Brownlie, Principles of Public International Law, 5th ed., (Oxford: 1998), at pp. 105-107 &
         113-114; R. v. Keyn L. R., 2 Ex. Div. 63; or U. S. v. Bowman, 260 U. S. 94, 98.




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         the contrary, legislation is not presumed to have effect beyond the jurisdiction of the
         body that enacted it (territorial or otherwise).356

308.     This territoriality principle is also reflected in Article 29 of the Vienna Convention on the
         Law of Treaties, which applies the same limits of territorial jurisdiction to treaties. The
         NAFTA Parties are all federal States, and accordingly they have provided for application
         of the obligations they have undertaken at the sub-State level of provincial and state
         governments, particularly under Article 105.           As such, the federal level of government
         answers all claims under NAFTA Chapter 11, even when a state or provincial
         government is responsible for the measure in question.                    When a lower level of
         government imposes a measure, however, the principle of territorial sovereignty applies
         to the effect that the measure is not presumed to have effect – or to have been intended to
         have any application – beyond the territorial jurisdiction of the government responsible
         for it.

309.     The amended Escrow Statutes and the Contraband Laws impose economic sanctions on
         the basis of each MSA state’s territorial jurisdiction. No state purports to ban the
         distribution of a tobacco brand beyond its territorial jurisdiction by means of either
         measure.357 Similarly, while the Settling States have wrongfully attempted to extend the
         personal jurisdiction of their courts to impose obligations on non-residents with no ties to
         their territory, each state nonetheless purports to be imposing its escrow obligations and
         penalties solely on the basis of tobacco products sold in its respective territory.
         Collectively these measures impose what amounts to a nation-wide oligopoly, by
         imposing identical restrictions on access to each state’s territorially delineated
         marketplace. The only alternative currently provided under these measures is for an
         enterprise to attempt to join the oligopoly on less favorable terms than the original

356
         Re: Consolidated Canadian Cattle Cases [United States], NAFTA/UNCITRAL Tribunal, Submissions of
         the Respondent: 1 December 2006, at note 35; and 1 May 2007 at pp. 9-11.
357
         The issue of whether these measures actually do have extra-territorial effect is one of the issues in
         Claimants’ Federal Court action. Claimants state that the cumulative effect of these measures is to
         collectively establish a national regulatory scheme that exceeds the jurisdiction of each state under US
         constitutional law.




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         members. Clearly the Settling States are acting in common cause, in contravention of US
         constitutional law, but they are purporting to do so on a state-by-state basis.

310.     As described above, before their removal each allocable share mechanism provided
         incentives for an NPM to restrict marketing and distribution of their brands to a regional
         market composed of only a handful of states. The commercial activity thus encouraged
         by the Settling States, working in concert, was dictated by the territorial jurisdiction of
         each measure.      For example, had Claimants recognized an opportunity to extend
         distribution of the Seneca brand into a neighbouring county in a state adjacent to one in
         which they were active (e.g. expanding into Kentucky or Virginia), they would have had
         to be prepared to receive a significantly reduced allocable share rebate. This is because
         Claimants would have been deemed to intend their products to be sale throughout the
         entire state, rather than in a small portion of it.

311.     In other words, by specific operation of the measures, the Settling States shaped the
         markets within which Claimants’ brand could be economically promoted outside of First
         Nations territories. In order to assess what has been indirectly taken by amendment of
         the Escrow Statutes and application of the Contraband Laws thereafter, the Article 1110
         analysis should be focused on the territories in which Claimants intended for the Seneca
         brand to be established, as well as those states in which it had managed to satisfy escrow
         demands, using cash flow from the allocable share releases (i.e. Tennessee, Louisiana,
         Kansas and Nebraska).

312.     As demonstrated in both the Wilson Report and the Eisenstadt Report, amendments to the
         Escrow Statutes were designed, and had the effect, of substantially interfering with
         Claimants’ ability to exploit the establishment of their Seneca and Opal brands in North
         Carolina, South Carolina, Oklahoma, Arkansas and Georgia. As amended, each state’s
         Escrow Statute requires Claimants to raising prices so unsustainably high – just in order
         to pay the escrow demands – that they can no longer make use of the goodwill they built
         up in these brands.




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313.     As amended, the Escrow Statutes effectively destroy the value – and indeed the very
         utility – of the Seneca brand as a basis for marketing tobacco products in Georgia, North
         Carolina, South Carolina, Oklahoma and Arkansas. As such, each amended Escrow
         Statute results in an indirect, uncompensated expropriation of Claimants investment in
         the territory of each relevant state.

                 SECTION VI                 DAMAGES

314.     The MSA measures, as originally imposed and enforced collectively by each state
         government, damaged Claimants’ sales on First Nations land. The Amendments later
         made to those measures also foreclosed on Claimants’ ability to profit from sales made
         beyond reservation territories. Ultimately, these measures provided Claimants with a
         stark choice: pay millions of dollars into escrow for 25 years, rendering the Seneca brand
         uncompetitive; or pay even more directly into a fund established by state officials under
         the MSA – a private litigation settlement agreement to which Claimants were never, nor
         should ever have been, a party. By wrongfully imposing these measures upon Claimants
         business activities, Respondent has destroyed the value of their investment in the United
         States, violating its obligations under the NAFTA and applicable international law.

315.     NAFTA Article 1135 provides that when a finding of State responsibility under Part A of
         Chapter 11 has been established, reparation may be awarded either in monetary damages
         or restitution, or a combination thereof.               This provision reflects the customary
         international law principle of restitution that reparations must place the wronged party
         back into the position it would have occupied, but for the act or omission from which the
         State’s responsibility arose. As observed by the PCIJ in the Chorzów Factory case:

                 [Reparation] must, so far as possible wipe out all the consequences of the illegal
                 act and re-establish the situation which would, in all probability have existed if
                 that act had not been committed. Restitution in kind, or, if this is not possible,
                 payment of a sum corresponding to the value which a restitution in kind would
                 bear.358

358
         Case Concerning Certain German Interests in Polish Upper Silesia (Germany v. Poland) (“Factory at
         Chorzów”), Permanent Court of International Justice Proceeding, Merits 1928, P.C.I.J. Series A. No. 17, 21
         at 47.




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316.     The quantum of monetary damages ordered must be “commensurate with the loss, so that
         the injured party may be made whole.”359 This approach to damages has been codified in
         Article 35 of the International Law Commission Draft Articles on Responsibility of States
         for Internationally Wrongful Acts, which constitute an authoritative statement on the
         applicable law of damages for reparation in investment treaty arbitrations. Article 36(2)
         of the Draft Articles on State Responsibility also affirms: “[the] State is under an
         obligation to compensate for the damage caused thereby… [and that compensation] …
         shall cover all financially assessable damage including loss of profits insofar as it is
         established.”

317.     And as observed by the Tribunal in Siemens v. Argentina:

                 The key difference between compensation under the Draft Articles and the Factory at
                 Chorzów case formula, and Article 4(2) of the Treaty is that under the former,
                 compensation must take into account “all financially assessable damage” or “wipe out all
                 the consequences of the illegal act” as opposed to compensation “equivalent to the value
                 of the expropriated investment” under the Treaty. Under customary international law,
                 Siemens is entitled not just to the value of its enterprise as of May 18, 2001, the date of
                 expropriation, but also to any greater value that enterprise has gained up to the date of
                 this Award, plus any consequential damages.360

318.     As per Article 1131(1) of the NAFTA, the applicable rules of international law in
         determining the extent of damages in this case can be found in the Draft Articles on State
         Responsibility.      In addition, the NAFTA provides explicit direction as to how
         expropriations should be compensated, under Article 1110(2).                Tribunals have thus
         determined that compensation for any NAFTA breach must place a claimant back into
         the same position that it would have been ‘but for’ the occurrence of the international
         wrongful act that constitutes the breach. Damages can therefore include the present value
         of the investment as reflected in the cash flows that would have achieved through its
         operation, but for the breach. 361 The same approach has been followed by ICSID

359
         Lusitania Cases, UNRIAA, vol. VII, at 39.
360
         Siemens AG v Argentina, Award, ICSID Case No ARB/02/8 (06 February 2007), at para. 352.
361
         See also S.D. Myers, Inc. v. Canada, NAFTA/UNCITRAL, NAFTA/UNCITRAL Tribunal, First Partial
         Award (13 November 2000) at para. 315 “This Tribunal has recognized that the Chorzow Factory case
                                                                                             (continued…)


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         tribunals, such as Amco Asia Corp. v. Indonesia, which also adopted the Chorzow
         Factory case as a precedent for the law of compensation in international claims.362

319.     NAFTA Article 1116 provides that an investor is entitled to damages for a breach of
         Chapter 11 without territorial restriction. “To be recoverable, a loss must [only] be
         linked causally to interference with an investment located in a host state. There is no
         provision that requires that all of the investor’s losses must be sustained within the host
         state in order to be recoverable. The test is that the loss to the (foreign) investor must be
         suffered as a result of the interference with its investment in the host state.”363 As
         indicated by the S.D. Myers Tribunal:

                 The purpose of virtually any investment in a host state is to produce revenues for the
                 investor in its own state. The investor may recover losses it sustains when, as a
                 proximate cause of a Chapter 11 breach, there is interference with the investment and the
                 financial benefit to the investor is diminished. The Tribunal concludes that compensation
                 should be awarded for the overall economic losses sustained by SDMI that are a
                 proximate result of CANADA’s measure, not only those that appear on the balance sheet
                                    364
                 of its investment.

320.     Regardless of which NAFTA provision is breached, full restitution value should be
         adopted as the standard by which all loss adequately connected to the breach is
         measured.365 Full restitution for a breach of international law will normally include
         compensation for lost profits on the grounds that:



(…continued)
         supports the principle that ‘compensation should undo the material harm inflicted by a breach of an
         international obligation’”.
362
         Amco Asia Corp. v. Indonesia, Merits Award, 1 ICSID Rep. 377, at 500.
363
         S.D. Myers, Inc. v. Canada, Second Partial Merits Award, NAFTA/UNCITRAL Tribunal (21 October
         2002) at para. 118.
364
         S.D. Myers, Inc. v. Canada, Second Partial Merits Award, NAFTA/UNCITRAL Tribunal (21 October
         2002) at para. 121.
365
         Marvin Feldman v United Mexican States, Award, ICSID Case No. ARB(AF)/99/1 (16 December 2002) at
         194; cited by LG&E Energy Corp., LG&E Capital Corp. and LG&E International Inc. v. Argentine
         Republic, ICSID Case No. ARB/02/1 Decision on Liability, (25 July 2007) at para. 44. See, also:
         Petrobart Limited v. Kyrgyz Republic, Arb. No. 126/2003, Arbitration Institute of the Stockholm Chamber
         of Commerce, (Energy Charter Treaty), pp. 77-78 (29 March 2005);




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                  Just compensation implies a complete restitution of the status quo ante, based, not upon
                  future gains of the United States or other powers, but upon the loss of profits of the
                                                                                              366
                  Norwegian owners as compared with the other owners of similar property.

321.     As acknowledged by the Governing Council of the United Nations Compensation
         Commission:

                  In principle, the economic value of a business may include loss of future earnings and
                  profits where they can be ascertained with reasonable certainty. In the case of the loss of
                  businesses and their earning capacity resulting from the invasion and occupation of
                  Kuwait, it can be expected that a number of such businesses can be or could have been
                  rebuilt and resumed. The method of a valuation should therefore be one that focuses on
                  past performance rather than on forecasts and projections into the future. Compensation
                  should be provided if the loss can be ascertained with reasonable certainty based on prior
                  earnings or profits. For example, the loss of any earnings or profits during the relevant
                  time period could be calculated by a multiple of past earnings and profits corresponding
                                       367
                  to that time period.

322.     Although it determined that an expropriation had not occurred in that case, the S.D.
         Myers Tribunal nonetheless determined that the appropriate measure of compensation for
         markets lost to the investor because of the imposition of a discriminatory measure should
         reflect all net income streams that would have been generated from the investment. The
         Tribunal stated:

                 The quantification of loss of future profits claims can present special challenges. On the
                 one hand, a claimant who has succeeded on liability must establish the quantum of his
                 claims to the relevant standard of proof; and, to be awarded, the sums in question must be
                 neither speculative nor too remote. On the other hand, fairness to the claimant requires
                 that the court or tribunal should approach the task both realistically and rationally. The
                 challenges become more acute in start up situations where there is little or no relevant
                 track record. The Tribunal has taken due notice of SDMI’s successful experience of
                 seizing market opportunities in the USA, but at the same time acknowledges that the
                 Canadian market has certain distinctive features.




366
         Norwegian Shipowners’ Claims (Nor. v. U.S.), 1 R.I.A.A. 307 at 338 (Perm. Ct. Arb. 1922). Accordingly
         the compensation awarded for the seizure of ships under construction in US dockyards by US authorities,
         and the concordant assumption of the Norwegians’ rights in the contracts for their construction, included
         the high value of shipping contracts in the open market as of the date of requisition, rather than the end of
         the First World War, when economic circumstances had irrevocably changed.
367
         Decision 9, Proposition and Conclusions on Compensation for Business Losses: Types of Damages and
         Their Valuation; S/AC/.26/1992/9 (March 1992).




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                 As stated above, the Tribunal has determined that the appropriate primary measure of
                 compensation is the value of SDMI’s lost net income stream.368

323.     The S.D. Myers Tribunal also included an award of compound interest in that case. It did
         so because an award of interest must recognise the fact that the injured party cannot use
         or invest the amounts of money due, from the date of the illegal act or omission to the
         date of that a damages award has been satisfied. Otherwise the investor would not
         receive ‘full’ reparation, as required under customary international law. Recent practice
         supports an award that includes compound interest to a victorious claimant, in order to
         adequately reflect modern economic realities.369

                 A.    Damages for the Loss of Off-Reserve Sales in Five State
                 Markets Because of the Allocable Share Amendments

324.     Claimants are entitled to receive the full restitution value for that which has been
         effectively lost to them because of the imposition of the Allocable Share Amendments.
         In this case, the same essential compensation analysis applies regardless of whether
         liability is established under Articles 1102, 1105 or 1110. As the Tribunal in Sempra
         Energy observed:

                 Although there is some discussion about the appropriate standard applicable in
                 such a situation, several awards of arbitral tribunals dealing with similar treaty
                 clauses have considered that compensation is the appropriate standard of
                 reparation in respect of breaches other than expropriation, particularly if such
                 breaches cause significant disruption to the investment made. In such cases it
                 might be very difficult to distinguish the breach of fair and equitable treatment
                 from indirect expropriation or other forms of taking and it is thus reasonable that
                                                                 370
                 the standard of reparation might be the same.




368
         S.D. Myers, Inc. v. Canada, Second Partial Merits Award, NAFTA/UNCITRAL Tribunal (21 October
         2002) at paras. 173-174.
369
         LG&E Energy Corp., LG&E Capital Corp. and LG&E International Inc. v. Argentine Republic, ICSID
         Case No. ARB/02/1 Decision on Liability, (25 July 2007) at para. 55; MTD v. Chile at para. 251;
         Compania del Desarrollo de Santa Elena, S.A. v. Republic of Costa Rica, Case No. ARB/96/1 (February 17,
         2000). at para’s. 101-106; Siemens AG v Argentina, Award, ICSID Case No ARB/02/8 (06 February 2007),
         at para’s. 395-400.
370
         Sempra Energy International v Argentina, Award and partial dissenting opinion, ICSID Case No
         ARB/02/16 (28 September 2007), at para. 403.




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325.       Claimants have lost their ability to enjoy the increasing revenue streams they had been
           generating by their investment, which they had been experiencing since 2002, when they
           established and began promoting their Seneca and Opal brands in five state markets:
           North Carolina, South Carolina, Oklahoma, Arkansas and Georgia. In order to place
           Claimants back into the position they would have been in, but for the imposition of the
           Allocable Share Amendments, they should be awarded damages equivalent to an
           exemption from the Allocable Share Amendments, which is effectively what they would
           have been entitled to enjoy had these measures never been imposed upon them.

~he costs of impairment suffered by Claimants under the Allocable Share Amendments
           can be regarded as the value of an exemption withheld from Claimants. The value of an
           exemption withheld from Claimants may be determined by application of the same
           formula used by the Settling States to assign exemptions to SPMs in 1999, as applied to
           the previous two years of performance by Claimants' Seneca and Opal brands in North
           Carolina, South Carolina, Oklahoma, Arkansas and Georgia (i.e. a 'formula' analysis)
           under the original escrow statutes. That is to say, an appropriate measure of damages is
           the value of a volumetric exemption from the Allocable Share Amendments (but not the
           original escrow statutes). The Wilson Report calculates a range of values for such an
           exemption. The Wilson Report also calculates a range of values for the loss sustained in
           this regard by reference to foregone sales as a measure of lost markets. -




327.       Prior to imposition of the Allocable Share Amendments in each of these markets,
           Claimants were enjoying significant cash flows from the successful deployment of their
           Seneca and Opal brands in these states. Had Claimants at least been provided with the
           same type of exemption enjoyed by the SPMs against whom their brands had been
           successfully competing, Claimants would still be generating the same kinds of cash flows
           from sales of their Seneca® and Opal® brands today.           This is the standard of
           compensation owed - to be placed back in the position in which the Claimants would
           have been but for the breach.



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         B.      Impairment of On-Reserve Sales

328.     In addition to the above, Claimants are also entitled to compensation for the manner in
         which performance of their brands marketed exclusively on First Nations territory has
         been impaired.

329.     Claimants’ on-reserve marketing and distribution activities have been increasingly
         impaired by the enforcement of the amended Escrow Statutes and the Contraband Laws.
         Tribes and First Nations wholesalers on territories located in various states have either
         suffered unlawful seizures by state officials, purportedly on the authority of MSA
         measures, or have chosen to refrain from dealing with Claimants’ brands to avoid such
         misfortune.371

330.     Claimants have also been forced to defend against enforcement activities targeted directly
         at on-reserve distribution of their brands, such as the most recent demand letter sent by
         the Attorney General of California to NWS.i They have also been subjected to escrow
         demands and penalties in respect of sales of their brands in cases where state officials
         have refused to disclose whether the products in question were originally sold by
         Claimants on First Nations territories to other First Nations persons and organizations.

331.     As Professors Clinton and Fletcher have opined, in the entirety of their expert reports,
         both under United States Federal Indian Law and under the Jay Treaty, Claimants were
         entitled to expect that none of their business activities would ever be subjected to the
         Escrow Statutes, the Allocable Share Amendments, the Contraband Laws or any Equity
         Assessment Legislation.         That these measures were ever imposed upon Claimants’
         investment accordingly constitutes a breach of Article 1105 because Respondent was
         bound to respect and uphold Claimants’ legitimate expectations that the rule of law
         would properly govern the conduct of state officials, preventing them from seeking to
         regulate First Nations investment for which they have no legitimate rights to regulate.



371
         Statement of Professor Matthew Fletcher, at ¶17; A. Montour Stmt. at 22-28.




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332.     Article 1105 was also breached in this case by the very imposition of the Escrow Statutes,
         both original and amended.            Claimants were forced to make millions of dollars in
         payments to the Settling States ostensibly to satisfy unspecified, phantom liabilities under
         Respondent’s tort laws. While it would therefore appear that Respondent’s officials were
         never entitled to employ any of these measures against Claimants’ business, regardless of
         where its brands were sold, the Tribunal has determined that Claimants are time-barred
         from seeking damages in respect of application of the original Escrow Statutes to sales of
         its brands off-reservation.372

333.     It is accordingly essential to know exactly what the basis was for each of the demands
         made of the Investors by any state official under the authority of an original Escrow
         Statute.     Unfortunately, Claimants remain unaware of the full extent to which
         Respondent’s state government officials were including on-reserve sales in their
         calculation of Claimants’ alleged obligations under their original Escrow Statutes.
         Claimants adopted a practice of requesting that information whenever they learned of an
         escrow demand made, or default judgment obtained, against them. They requested the
         same information in discovery in the Federal Court case; and they sought this information
         again in this arbitration. Although given every opportunity, however, Respondent has
         failed to produce evidence that would allow Claimants to identify exactly which states
         have recorded Seneca products sold on-reserve as requiring escrow payments under these
         measures.

334.     Claimants know where their products were originally sold and to whom, both on-reserve
         and off-reserve. Claimants know the compliance costs they have borne, including escrow
         payments and penalties paid. Only Respondent knows, however, which of its states have
         illegally imposed their measures on sales of Claimants’ brands on First Nations territories.
         As such, Claimants submit that all of their compliance costs, save and except for those
         incurred with respect to Claimants’ off-reserve sales in North Carolina, South Carolina,
         Oklahoma, Arkansas and Georgia, must be compensated by Respondent unless and until

372
         Decision on Jurisdiction, at ¶ 103.




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         it reveals exactly which of the states that have imposed their measures on Claimants have
         failed to exclude all on-reserve sales from their enforcement activities.

~he Wilson Report also calculates damages sustained as a result of impairments to on-
         reserve sales under two different discounted cash flow models.




         C.      Professional Fees

336.       In addition to the foregoing, claimants have spent well in excess of $2 million over the
           last 6 or more years contesting the wrongful application of the measures to their
           Investment. These costs include, but are not limited to, fees for attorneys and expert
          witnesses in connection with various litigated matters.       These damages continue to
          accrue on a daily basis and Claimants shall make a fuller accounting of these damages at
          the time of the hearing.




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                                           PART III:
                                      RELIEF REQUESTED


 337.     As set out above, Claimants seek the following:

         i.     Damages of not less than US$175 million for imposition of the Allocable Share
                Amendments contrary to the NAFTA;

         ii.    Costs associated with these proceedings, including all professional fees and
                disbursements;

         iii.   Pre-award and post-award interest at a rate to be fixed by the Tribunal;

         iv.    Payment of a sum of compensation equal to any tax consequences of the award, in
                order to maintain the award’s integrity; and

         v.     Such further relief as counsel may advise and that the Tribunal deems appropriate.


All of which is respectfully submitted.




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All of which is respectfully submitted.


Dated: July 10, 2008
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                                                        Table 1-1

                                 Chronology of Claimants Investments in the U.S.

   Date                    Jerry Montour and Kenneth Hill             Arthur Montour              Grand River


Pre-1990                Involved in wholesale and retail            Construction worker
                        distribution of proprietary and non-        for company owned
                        proprietary brands on Indian land in        by Lawrence Skidders
                        Canada and U.S. as sole proprietors;
                        contract with manufacturer
                        headquartered in Virginia to
                        manufacture proprietary brands

1990                    Five partners invested a total $1,000,000   Becomes sales agent
                        into a venture with Lawrence Skidders       for Racket Pointe
                        to construct a cigarette manufacturing      facility and investors'
                        facility on a Mohawk Reservation in         proprietary brands
                        New York; Racket Pointe begins
                        manufacture of proprietary brands that
                        are distributed on Indian land in U.S.

January 1991            Lawrence Skidders dies and parties          Continues as sales
                        continue business with Skidders Estate      agent for Racket
                                                                    Pointe under
                                                                    management of
                                                                    Skidders wife

1993                    Investors terminate relationship with       Continues distribution
                        Skidders Estate                             of proprietary and
                                                                    non-proprietary brands
                                                                    on Indian land in U.S.
                                                                    as sole proprietor

1994                    Invest $100,000 each along with 8 other     Continues distribution     Formed as
                        investors to form Grand River               of proprietary and         partnership to
                        Enterprises partnership                     non-proprietary brands     manufacture
                                                                    on Indian land in U.S.     proprietary brands
                                                                    as sole proprietor

1996                    Enter into joint venture with Omaha         Enters into agreement      Converted from
                        Tribe of Nebraska to construct and          with Jerry Montour         partnership to
                        operate cigarette manufacturing facility    and Kenneth Hill to be     corporation
                                                                    exclusive distributor in




       {I 0464664: I}                                 Table 1-1
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    Date                   Jerry Montour and Kenneth Hill             Arthur Montour              Grand River


                                                                    U.S.



1997 -1998               Jerry Montour moves to Nebraska to         Continues to distribute   Continues
                         oversee venture and initial operations;    tobacco products          manufacturing
                         guarantees payment of refurbishing         supplied by Omaha         operations in Canada
                         costs for venture' s machinery; Kenneth    Tribe venture and
                         Hill remains in Canada to oversee Grand    other Native American
                         River                                      manufacturers

1999                    Enter into venture with Arthur Montour      Incorporates Native       Enters into exclusive
                        and Ross John to manufacture and            Tobacco Direct and        manufacturing and
                        distribute proprietary Seneca ® brand on    obtains U.S. ATF          trademark cross-
                        Indian land in U.S.; causes Grand River     tobacco importer          licensing agreement
                        to extend long term credit on receivables   permit; obtains federal   with Arthur Montour
                        for startup of venture                      trademark for Seneca®     and Native Tobacco
                                                                    brand                     Direct

2000                    Terminate relationship with Ross John       Buys out Ross John        Continues venture
                        and assist Arthur Montour with              from venture and          with Native
                        financing buyout of Ross John from          establishes Native        Wholesale Supply
                        venture; continue to receive                Wholesale Supply to       and subordinates
                        compensation from venture as                continue venture          right to receivables
                        shareholder of Grand River and
                        consultant to Native Tobacco Direct

2001-2004                Continues venture relationship with        Continues distribution    Begins jroduction of
                         Arthur Montour; agrees with Arthur         of Seneca® brand on       Seneca and Opal®
                         Montour to license use of Seneca®          Indian land in the        brands for
                         trademark to Tobaccoville USA, Inc. for    U.S.; agrees to license   Tobaccoville and
                         sales off oflndian land in U.S.; causes    brand for sales off       production of non-
                         Opal® trademark to be filed by Grand       Indian land in return     proprietary brands
                         River; continue receiving compensation     for payment of license    for other importers
                         from venture as shareholder of Grand       fee                       on limited basis
                         River and consultant to Native
                         Wholesale

2004-                    Experience increasing harm caused by       License fees              Adoption of
Present                  amended measures that Respondent           substantially reduced     amended measures
                         seeks to apply to Seneca® brand sales on   by amended measures'      causes substantial
                         and off Indian land; direct Grand River    effect on Seneca®         reduction in
                         to cease production of non-proprietary     brand sales off           production and sales
                         brands                                     reservation; harmed by    of Seneca® and
                                                                    Respondent's              Opal® brands for


       { 10464664: I}                                  Table 1-1
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Date             Jerry Montour and Kenneth Hill      Arthur Montour        Grand River


                                                   application of       Native Wholesale
                                                   measures on Indian   Supply and
                                                   land                 Tobaccoville




{I 0464664: I}                         Table 1-1
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                                   CHRONOLOGY OF STATES MEASURES

    Date                       Conduct of Respondent's States                      Conduct of Respondent


1994                  States' private trial lawyers obtain stolen             Respondent's Congress launches
                      documents from Brown & Williamson Tobacco               investigation against major tobacco
                      Co.; begin filing lawsuits against major tobacco        companies based on information
                      companies                                               revealed in stolen documents

1994-1996             Additional States represented principally by            Mississippi trial lawyer and brother
                      personal injury lawyers and former partners or          of Senate Majority Leader requests
                      friends of Attorneys General file lawsuits against      President Clinton's participation in
                      major tobacco companies                                 lawsuits against tobacco companies

1997                  Mississippi settles lawsuit with tobacco                Federal Proposal presented to
                      companies; remaining states seek approval of            Congress for review and approval;
                      Federal Proposal to settle all litigation; additional   Respondent's Federal Trade
                      States settle lawsuits on individual basis              Commission considers Federal
                                                                              Proposal to be anticompetitive

April 1998                                                                    Federal Proposal ultimately rejected
                                                                              by Congress

May 1998              Remaining States continue settlement negotiations
                      despite rejection by Federal Government; major
                      tobacco companies demand protection from
                      competition from smaller manufacturers as
                      condition to settlement

November              Master Settlement Agreement entered into by
1998                  major tobacco companies and 46 Settling States
                      and 6 U.S. territories

1999                  States' private attorneys negotiate with select
                      group of manufacturers to join MSA within 90
                      days to receive payment exemptions under MSA;
                      States are briefed on inapplicability of Escrow
                      Statutes to foreign manufacturers and Indian land;
                      States begin to adopt Escrow Statutes

2001                  States begin notifying Claimants regarding Escrow
                      Statute requirements




       {10464663:1)                                  Table 1-2
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    Date                      Conduct of Respondent's States               Conduct of Respondent


2002                 State representatives admit that decrease in MSA
                     payments not due to unfair advantage ofNPMs but,
                     rather, unprecedented price increases of
                     Participating Manufactures; States and MSA' s
                     Participating Manufacturers take part in non-public
                     meetings and communications relating to (i)
                     enforcement of Escrow Statutes against NP Ms; (ii)
                     adoption of Contraband Laws; and (iii) possibility
                     of terminating refunds so as to increase burdens on
                     NPM under Escrow Statutes; Participating
                     Manufacturers' market share decreases from 98%
                     (pre-MSA) to 92%; States begin filing lawsuits
                     against Claimants under Escrow Statutes

2002-2004            State representatives circulate memo saying that
                     States must reduce NPM sales because of their
                     effect and MSA payments; Participating
                     Manufacturers and States draft Contraband Laws
                     and Allocable Share Amendment to Escrow Statute;
                     Attorneys General enlist aid of Participating
                     Manufacturers and their lobbyists to lobby State
                     Legislatures to pass Contraband Laws and
                     Allocable Share Amendment; NAAG slide show
                     shows dramatic decline in NPM sales where
                     Allocable Share Amendment adopted

2004-                 All Settling States (except Missouri) adopt
present               Contraband Laws and Allocable Share
                      Amendment; some States adopt NPM tax
                      legislation, which imposes fee on NPMs in
                      addition to escrow payment requirements.




    { 10464663: I}                                 Table 1-2
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               EXHIBIT C
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              EXHIBIT D
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                                  I.      INTRODUCTION

         The Debtor and Debtor-in-Possession, Native Wholesale Supply Company

  ("NWS" or "Debtor") and the States (the Debtor and the States are collectively referred

  to as the "Plan Proponents") hereby provide this Amended Joint Consensual Disclosure

  Statement for its proposed Joint Consensual Plan of Reorganization (the "Disclosure

  Statement"), including all attached and/or accompanying exhibits, which are incorporated

  herein as an integral part hereof, to the holders of all claims against the Debtor and all

  other parties in interest, pursuant to Section 1125 of Title 11 of the United States Code,

  11 U.S.C. Section 101, et. seq. (the "Bankruptcy Code").

  A.     Purpose of the Disclosure Statement.

         The purpose of this Disclosure Statement is to provide parties asserting claims

  against the Debtor with information regarding the treatment of their claims under the

  proposed Amended Joint Consensual Plan of Reorganization (the "Plan"). More

  particularly, this Disclosure Statement should provide parties whose claims are impaired

  under the Plan with adequate information to make an informed and prudent judgment

  when voting on the Plan.

         This Disclosure Statement sets forth certain information regarding the Debtor's

  pre-petition history, why the Debtor filed Chapter 11, and significant events that have

  occurred in this Chapter 11 case. This Disclosure Statement also describes the Plan,

  certain alternatives to the Plan, certain effects of the confirmation of the Plan, and the

  manner in which distributions will be made under the Plan. In addition, this Disclosure

  Statement outlines the confirmation process and the voting procedures that holders of

  claims in impaired classes must follow for the votes to be counted.




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  the Plan. Generally, (and subject to the specific provisions of section 1124 of the

  Bankruptcy Code), a class is "impaired" if the Plan modifies the legal, equitable or

  contractual rights of the claims of that class. Unimpaired classes are deemed to have

  accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code. Therefore, the

  Debtor is not required to solicit the votes of those unimpaired classes. In determining the

  acceptances of the Plan, votes will be counted only if submitted by the holder of an

  Allowed Claim. Holders of Disputed Claims are not entitled to vote on the Plan unless

  they request, pursuant to Rule 3018(a) of the Federal Rules of Bankruptcy Procedure, that

  the Bankruptcy Court temporarily allow their claim in appropriate amounts solely for the

  purpose of enabling such holders to vote on the Plan.

  B.     Notice to Claimants.

         The Bankruptcy Court has approved this Disclosure Statement as containing

  information of a kind and in sufficient detail to enable holders of claims against the

  Debtor to make an informed judgment with respect to the acceptance or rejection of the

  Plan. THE BANKRUPTCY COURT'S APPROVAL OF THIS DISCLOSURE

  STATEMENT DOES NOT CONSTITUTE A VERIFICATION OF THE ACCURACY

  OR COMPLETENESS OF THE INFORMATION CONTAINED HEREIN, NOR DOES

  IT CONSTITUTE AN ENDORSEMENT OF THE PLAN BY THE BANKRUPTCY

  COURT.

         ALL HOLDERS OF CLAIMS AGAINST THE DEBTOR ARE ENCOURAGED

  TO READ THIS DISCLOSURE STATEMENT AND ITS EXHIBITS CAREFULLY

  AND IN THEIR ENTIRETY BEFORE DECIDING TO VOTE EITHER TO ACCEPT

  OR REJECT THE PLAN. THIS DISCLOSURE STATEMENT CONTAINS




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         IN ORDER FOR YOUR VOTE TO BE COUNTED, THE BALLOT MUST BE

  PROPERLY COMPLETED IN ACCORDANCE WITH THE VOTING

  INSTRUCTIONS AND RECEIVED NOT LATER THAN JULY 25, 2014 BY THE U.S.

  BANKRUPTCY COURT, WESTERN DISTRICT OF NEW YORK, OLYMPIC

  TOWERS, 300 PEARL STREET, BUFFALO, NEW YORK 14202. Any late filed

  ballots may not be counted.

         Whether or not a creditor votes on the Plan, each creditor will be bound by the

  temis and treatment set forth in the Plan if the Plan is confilined by the Bankruptcy

  Court. Except to the extent otherwise ordered by the Bankruptcy Court, a creditor who

  does not vote will not be included in the calculation of votes in connection with

  confirmation of the Plan.

  E.     Confirmation of the Plan.

         The Bankruptcy Court may confirm the Plan only if it determines that the Plan

  complies with the requirements of Chapter 11 of the Bankruptcy Code. The Bankruptcy

  Court must determine that this Disclosure Statement concerning the Plan is adequate and

  includes information concerning all payments made or promised by the Debtor in

  connection with the Plan. The Bankruptcy Court must determine that the Plan is

  proposed in good faith and not by any means forbidden by law, and under Rule

  3020(b)(2), the Bankruptcy Court may do so without receiving evidence if no objection is

  timely filed.

         In particular, the Bankruptcy Code requires the Bankruptcy Court to find, among

  other things, that (1) the Plan has been accepted by the requisite votes of all classes of

  impaired claims namely, two-thirds in dollar amount of allowed claims and greater than

  one-half in number of allowed claims unless approval will be sought under section



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  1129(b) of the Bankruptcy Code in spite of the dissent of one or more such classes; (2)

  the Plan is feasible, which means that after confirmation, the Debtor will be able to

  perform its obligations under the Plan and continue to operate without further financial

  reorganization or liquidation; and (3) the Plan is in the best interests of the holders of all

  claims, which means that such holders will receive at least as much under the Plan as

  they would in a liquidation under Chapter 7 of the Bankruptcy Code. The Bankruptcy

  Court must find that all conditions mentioned above are met before it can confirm the

  Plan. Thus, even if all classes of impaired claims vote for the Plan, the Bankruptcy Court

  must make an independent finding that the Plan conforms to the Bankruptcy Code

  requirements.

  F.      Confirmation Hearing.

          THE BANKRUPTCY COURT HAS SET JULY 28, 2014 AT 1:00 P.M. AS THE

  DATE AND TIME OF THE HEARING ON CONFIRMATION AND OBJECTIONS

  TO THE PLAN (the "Confirmation Hearing"). OBJECTIONS TO CONFIRMATION

  OF THE PLAN WILL BE ALLOWED UP TO THE TIME OF THE CONFIRMATION

  HEARING.

          The Confirmation Hearing will be held at the U.S. Bankruptcy Court, Western

  District of New York, Part II, Third Floor, Olympic Towers, 300 Pearl Street, Buffalo,

  New York 14202. At the Confirmation Hearing, the Bankruptcy Court will consider

  whether the Plan satisfies the various requirements of the Bankruptcy Code, including

  whether the Plan is feasible and whether it is in the best interests of the creditors. The

  Bankruptcy Court will also consider the votes for acceptance or rejection of the Plan by

  the parties entitled to vote. The Debtor reserves the right, pursuant to section 1126(e), to

  request the Bankruptcy Court to strike any acceptance or rejection of the Plan by any



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  claimant as not being in good faith. Creditors and parties in interest may attend the

  Confirmation Hearing. The Confirmation Hearing may be adjourned from time to time

  without further notice except for in-court announcements.

  G.     Recommendation.

         THE PLAN PROPONENTS BELIEVE THAT THE PLAN PROVIDES THE

  GREATEST POSSIBLE RECOVERY TO ALL CREDITORS. THE PLAN

  PROPONENTS BELIEVE THAT ACCEPTANCE OF THE PLAN IS N THE BEST

  INTERESTS OF ALL CREDITORS AND RECOMMEND THAT ALL CREDITORS

  VOTE TO ACCEPT THE PLAN.


                           III. HISTORY OF THE DEBTOR.

  A.     Formation and Growth of the Debtor's Business.

         Native Wholesale Supply Company ("NWS" or the "Debtor") is a corporation

  chartered by the Sac and Fox Tribe of Oklahoma and maintains its offices on the Seneca

  Cattaraugus Indian Territory in Gowanda which is within the geographic boundaries of

  Western New York. NWS is engaged in the business of importing cigarettes and other

  tobacco products from Native Americans in Canada and selling them to Indian Nations

  and Tribes within the United States. The tobacco products the Debtor imports are

  manufactured by Grand River Enterprises Six Nations, Ltd. ("GRE") on the Grand River

  Reservation in Ontario, Canada.

         The Debtor was formed on February 25, 2000. Its sales grew with each

  subsequent year of operation. The year prior to the Petition, the annual sales were at a

  level of approximately $200,000,000 and it has continued at that level for the majority of

  the Chapter 11 administration period. It currently has only four employees, having




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  restructured its business during the pendency of its Chapter 11 proceeding so that the

  marketing function it had previously performed is performed by the manufacturer at a

  fixed cost to the Debtor.

  B.     Bankruptcy Filing Was Triggered by Dispute with USDA.

         The Debtor's Chapter 11 filing was triggered by an unfavorable decision rendered

  by Judge John Curtin in a lawsuit by the United States Department of Agriculture

  ("USDA") against the Debtor. Based upon the Curtin decision, the USDA was poised to

  enter judgment against NWS for assessments made by the USDA against the Debtor

  pursuant to the Fair and Equitable Tobacco Refonn Act of 2004 ("FETRA") and the

  Tobacco Transition Payment Program ("TTPP"). The Debtor was forced to file its

  bankruptcy case to avoid the entry and execution of what would have been a judgment in

  excess of $43,000,000. Under the Plan, the USDA's total prepetition claim is

  $45,539,114.30 (the "USDA Prepetition Claim"), $24,866,757.38 of which the USDA

  asserts is entitled to priority under 11 U.S.C. §507(a)(8)(E)(ii) ("USDA Priority Claim").

  C.     The Chapter 11 Case.

          (1)    Commencement.

                 The Debtor filed a voluntary petition under the provisions of Chapter 11 of

  the United States Bankruptcy Code on November 21, 2011. The Debtor's schedules and

  statement of financial affairs were filed on December 13, 2011.

          (2)     Cash Collateral.

                 At the time of the Debtor's bankruptcy filing, the Debtor's debt to GRE

  was approximately $19,200,000. Of this amount, only about $9 million represents

  existing liabilities; the balance are contingent liabilities that are not allowable claims

  under the Bankruptcy Code unless and until GRE is called upon to actually satisfy such



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                                                                                    Fees and     Total Fees and
            Name                         Description            Date Approved       Expenses       Expenses
                                                                                    Awarded        Received
                                                                                $191,098.35
                                                                                $4,375.46       $195,473.81

                                                                                $70,632.45      $72,180.28
                                                                                $1,547.83

Gross, Shuman, Brizdle &                                       12/20/11         $123,559.50     $125,173.93
                                General Bankruptcy Counsel
Gilfillan, P.C.                                                                 $1,614.43

                                                                                $43,749.60      $43,887.54
                                                                                $137.94

                                                                                $67,384.40      $68,642.98
                                                                                $1,258.58
                                                                                $20,000.00
                                                                                $233.61         $20,233.61
Law Offices of Leonard Violi
                            '   Special Counsel                2/6/12
LLC
                                                                                $30,000.00      $32,181.59
                                                                                $2,181.59
Windels Marx Lane &
                                Special Counsel                12/19/11         $8,022.00       $8,022.00
Mittendorf, LLP
Jaeckle Fleischmann & Mugel,
                                Special Counsel                12/20/11         $3,262.00       $1,518.00
LLP
                                                                                $25,000.00
                                                                                                $25,000.00
                                                                                $200,000.00
Fredericks Peebles & Morgan
                                Special Counsel — California   1/10/12          $17,526.92
LLP
                                                                                                $217,526.92
                                                                                $115,552.00
                                                                                $16,964.03
Eberle, Berlin, Kading,
                                                                                $20,776.50
Turnbow & McKlveen,             Special Counsel — Idaho        2/9/12                           $20,840.79
                                                                                $64.29
Chartered

Phillips Murrah, P.C.           Special Counsel — Oklahoma     6/21/12

Cuddy & McCarthy, LLP           Special Counsel —New Mexico    5/31/13

                                                                                $166,323.00
Gable & Gotwals, P.C.           Special Counsel                5/16/13                          $172,445.42
                                                                                $6,122.42
                                                                                $58,628.25      $60,916.02
                                                                                $2,287.77

                                                                                $11,864.25      $11,878.23
Webster Szanyi LLP              Special Counsel                6/10/13
                                                                                $13.98

                                                                                $12,946.50      $13,218.97
                                                                                $272.47
                                                                                $64,981.25      $64,981.25
Mengel Metzger Barr & Co.
                                Accountants                    12/20/11
LLP
                                                                                $34,943.75      $34,943.75




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         (4)      Bond Issues.

                 As stated above, the Debtor is engaged in the business of importing

  cigarettes and other tobacco products from Canada (the "Goods") and selling them to

  Indian Nations and Tribes within the United States. In order to import the Goods, U.S.

  Customs and Border Protection ("U.S. Customs") requires importers such as the Debtor

  to post bonds or other security for protection of the revenue in the foim of customs duties

  payable to the United States on the importation of product subject to such customs duties.

  The purpose of the customs bond is to protect the pecuniary interests of the United States

  in connection with importation of Goods.

                 The Debtor's customs bond was jeopardized at and around the Petition

  Date when U.S. Customs notified the Debtor that it needed to increase its existing

  $9,300,000 bond and replace it with one in the amount of $12,400,000 due to the increase

  in the Debtor's sales/importation figures. Although the Debtor recognized the need for

  an increase in the bond amount, U.S. Customs was requiring that the $9,300,000 bond

  stay in place for six months while it liquidated the entries brought into the country on that

  bond while simultaneously requiring that a new and increased bond in the amount of

  $12,400,000 also be maintained. This practice is commonly referred to as bond

  "stacking". The Debtor simply did not have sufficient collateral to secure $21,700,000

  worth of bonds. After many attempts to resolve this critical issue after the Petition Date,

  the Debtor started an adversary proceeding seeking an injunction against U.S. Customs

  (A.P. No. 11-1123). A temporary restraining order was issued and the bond issue was

  resolved by allowing the Debtor to increase the bond amount by $3,100,000, for a total of

  $12,400,000 and U.S. Customs accelerated the liquidation of the old entries.




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  Any remaining Administrative Expense Claim and any Prepetition Claim of California, if

  California obtains a Final Order, will be an Allowed Unsecured Claim, which claims will

  be paid from the Creditor Escrow Account as further described in Section V of this

  Disclosure Statement.

                                 Oklahoma

                                 In its lawsuit brought with respect to Prepetition sales

  activity by the Debtor, Oklahoma obtained a judgment in the amount of $47,767,795.20,

  on May 9, 2013 (exclusive of costs, interest, and attorneys fees) at the trial court level,

  which was affirmed on appeal by the Supreme Court of the State of Oklahoma on

  June 10, 2014 (the "Oklahoma Judgment"). If Oklahoma obtains a Final Order

  sustaining all or any part of the Oklahoma Judgment, that amount will be paid first from

  the Oklahoma Reserve and the balance from the Creditor Escrow Account further

  described in Section V of this Disclosure Statement.

                                 Idaho and New Mexico.

                                 The lawsuits commenced by Idaho and New Mexico

  involved only Prepetition sales activity of the Debtor and the Debtor. The Unsecured

  Prepetition Claims of Idaho in the amount of $263,765.07 and New Mexico in the

  amount of $1,068.24 have been placed in the Class 4, which claims will be paid 30 days

  after the Effective Date of the Plan, without any admission of liability. Payment of the

  claims in Class 4 does not constitute an acknowledgment by the Debtor of any facts

  alleged in connection with such claims or that the Debtor is legally obligated to satisfy

  such claims.




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                 c.      Conditional Dismissal of the Case: In September, 2012 the Debtor

  reached an agreement in principle with the USDA which, upon certain conditions,

  appeared to have paved the way for the Debtor to exit its Chapter 11 case, especially

  since the States of California, New Mexico, and Oklahoma, had obtained relief from the

  automatic stay to proceed with their respective lawsuits. Accordingly, the Debtor made

  its first motion to dismiss the Chapter 11 case, and the Bankruptcy Court conditionally

  dismissed the case by an order dated September 27, 2012. The Court's dismissal of the

  case was conditioned upon the Debtor paying all outstanding United States Trustee's fees

  and establishing a reserve/escrow account for the benefit of the State of California

  containing $350,000, the agreed amount of the State of California's potential

  Administrative Expense Claim in the California Litigation. As it turned out, the Debtor

  did not complete the conditions necessary for dismissal in order to stay in bankruptcy

  because two major events occurred which would have destroyed the Debtor's business,

  but for the existence of its pending bankruptcy case and the protection afforded by the

  automatic stay. These events were (a) the nonrenewal of the Debtor's customs bond by

  its surety (see discussion of same in Section III(C)(4) hereof) and (b) the entry of the

  Oklahoma Judgment in the amount of approximately $47,700,000.

                 d.      Oklahoma Judgment: After the Customs Bond issue was resolved

  and the dismissal documents were in final form and dismissal of the case was imminent,

  the State of Oklahoma obtained a judgment against the Debtor in the approximate amount

  of $47,700,000 at the trial court level, which was affirmed on appeal to the Supreme

  Court of the State of Oklahoma on June 10, 2014 (defined herein as the "Oklahoma

  Judgment"). If the Chapter 11 case had been dismissed, this massive judgment could




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  A.     Classification and Treatment of Classified Claims.

         For purposes of the Plan, Allowed Claims will be placed in the following Classes

  and will receive the following treatment:

          (1)    The Allowed USDA Priority Claim.

                 The USDA Priority Claim in the amount of $24,866,757.38 is not subject

  to classification, pursuant to 11 U.S.C. 1123(a)(1). This claim is partially secured to the

  extent of the USDA's allocated share of the amounts held in the Creditor Escrow

  Account as determined under Section 7.1 of the Plan.

                 Under the terms of the Plan, the Debtor will pay the USDA $3,000,000

  within thirty (30) days after the Effective Date of the Plan to be applied to the USDA

  Priority Claim. The balance of the USDA Priority Claim will be paid from the Creditor

  Escrow Account in accordance with the priorities set forth in Section 7.1 of the Plan.

          (2)     Class 1. Allowed Secured Claim. Class 1 is Impaired.

                 This Class consists of the Allowed Secured Claim of GRE which had a

  claim on the Petition Date in the approximate amount of $9,000,000 (and any additional

  amount of the contingent liabilities currently asserted by GRE against the Debtor that

  GRE has satisfied during the term of the Plan). GRE's claim is secured by a blanket lien

  on all of the assets of the Debtor. GRE has agreed, by virtue of the forbearance and

  subordination agreement annexed to the Plan as Exhibit C (the "Forbearance

  Agreement"), to forbear from exercising its rights as a secured creditor for so long as the

  Debtor complies with its obligations under the Plan. GRE has further agreed that, even in

  the event of a default under the Plan, it will not contest any of the payments theretofore

  made under the Plan and will not contend in any legal or equitable proceeding of any

  nature that it is entitled to recovery or payment of any of the funds then held in the


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                 c.      The Oklahoma Prepetition Claim, if any, arising from Prepetition

   sales, which will become an Allowed Claim, upon, and to the extent of the entry of a

   favorable Final Order in the Oklahoma Litigation. The first $1 million of any such

   Claim shall be secured by the Oklahoma Reserve; the balance of any such Claim is

   unsecured and will be paid in the order of priorities set forth in Section 7.1 of the Plan

   and as described in Section E below.

                 d.      The New Mexico Prepetition Unsecured Claim, if any, arising

  from Prepetition sales by the Debtor, which will become an Allowed Claim, upon and to

  the extent of the entry of a favorable Final Order in the New Mexico Litigation and will

  be paid in the order of priorities set forth in Section 7.1 of the Plan and as described in

  Section E below.

                 e.      The New York Prepetition Unsecured Claim, if any, arising from

  Prepetition sales by the Debtor, which will become an Allowed Claim, upon and to the

  extent of the entry of a favorable Final Order in the New York Litigation and will be paid

  in the order of priorities set forth in Section 7.1 of the Plan and as described in Section E

  below.

           (5) Class 4. (Convenience Class) Class 4 is unimpaired.

                  a.     Creditors with Claims Listed on Schedule F (i) not indicated as

  contingent, unliquidated or disputed or (ii) as to which the Debtor has not objected by the

  objection deadlines contained in Section 1 hereof or (iii) which otherwise become

  Allowed Claims, but excluding Claims falling within Classes 1, 2 or 3.

                  b.      The Idaho Prepetition Unsecured Claim, which the Debtor agrees

  are Allowed Claims in the amount of $256,779.27 (inclusive of interest through the




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  administered by the Creditor Escrow Agent pursuant to the terms of the Creditor Escrow

  Agreement annexed to the Plan as Exhibit A.

          (4)      Debtor's Plan Payments. Any money remaining in the Plan Funding

  Account after making the $3 million payment to the USDA, shall be deposited in the

  Creditor Escrow Account on the Effective Date. In addition, the Debtor shall deposit into

  the Creditor Escrow Account a Monthly Deposit (as calculated below in B(5)) on the

  fifteenth day of each month (or on the first business day following the fifteenth day of the

  month) of every month as set forth in B(5) below commencing on the first business day

  on or after the fifteenth of the month following the Effective Date, and on the first

  business day on or after the fifteenth of the month each and every month thereafter until

  the Debtor has paid the Creditor Escrow Agent a sufficient amount to pay all Allowed

  Claims in full and to provide reserves for all Disputed Claims as provided in Article

  7.1(c) of the Plan. Under the Plan, the Debtor is required to send Notice to NAAG and

  the USDA of its making the Monthly Deposit within three (3) business days after making

  the Monthly Deposit and to providing a copy of the deposit receipt with such notice.

          (5)      Plan Payments Amount. The Monthly Deposit shall be in the amount of

  $500,000 per month beginning in November, 2013. Beginning on January 15, 2015, and

  on each succeeding January 15, that amount shall be increased by 1% each year over the

  amount being paid during the prior calendar year; i.e., on January 15, 2015, the Monthly

  Deposit amount shall be $505,000 and on January 15, 2016, the amount shall be

  $510,050, etc.

           (6)     Oklahoma Reserve. Under the Plan, the Debtor is required to create the

  Oklahoma Reserve within the Creditor Escrow Account. If Oklahoma receives a Final




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  Order in the Oklahoma Litigation in an amount equal to or greater than the amount of

  funds held in the Oklahoma Reserve, Oklahoma will be entitled to payment of the

  Oklahoma ReserveIf the Final Order in the Oklahoma Litigation results in a

  determination that Oklahoma is owed less than the $1,000,000 in the Oklahoma Reserve,

  any amounts of that Reserve not paid over to Oklahoma will remain in the Creditor

  Escrow Account and will be available for payments to other parties under Section 7.1 of

  the Plan.

          (7)    California Escrow Account. If the Final Order in the California Litigation

  results in a determination that California is owed less for its Administrative Expense

  Claim than the $350,000 being held in the California Escrow, any remaining balance in

  the California Escrow, following the determination made under Section 9.5 of the Plan,

  shall be paid into to the Creditor Escrow Account.

          (8)    Amounts Released in Connection with Surety Accounts Held to Secure

  Federal Excise Tax Payments. At such time, if any, as the Debtor is no longer subject to

  the requirement to maintain some or all of its Surety Bonds, the Debtor shall move

  immediately to take all necessary steps to terminate those Surety Bonds, including

  seeking review and liquidation of all pending entries by the Customs Service. After that

  process is completed, the amount of any collateral of the Debtor securing any such Surety

  Bonds (subject to any reduction needed to pay for any federal excise taxes owed at that

  time, but including any interest earned on such collateral while being held to secure the

  Surety Bonds) that is no longer required to be held will be added to the Creditor Escrow

  Account, provided however, that the amount of the current or replacement Surety Bonds

  to which this transfer of collateral requirement applies (and which are subject to the




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                   b.    The Debtor fails to make or submit a Monthly Deposit, Tax

  Payment, or Quarterly Financial Report or give Notice thereof within ten (10) days of

  when due more than three times in any twelve (12) month period (a "Recurring Default"),

  whether or not such failure is cured within the time period set our in subparagraph (a).

                   c.    The Debtor provides any materially false information regarding the

  Debtor's operations during the case or after confirmation (whether in discovery or in the

  Monthly or Quarterly Operating Reports or otherwise) (a "False Statement Default").

  With respect to determining whether a False Statement Default has occurred, either the

  States or the United States may give Notice and evidence of the provision of any

  materially false information. Within ten days of either the States or the United States

  giving notice of an asserted False Statement Default, the Debtor may make a motion

  requesting that the Court issue an order finding either that (i) no materially false

  information has been provided or (ii) that the materially false information was not

  provided with knowledge of its falseness or with a conscious disregard for the accuracy

  of the information shown to be materially false. Unless the Debtor makes a timely

  motion and the Court issues an order finding either that (i) no materially false information

  has occurred or (ii) that the materially false information was not provided with

  knowledge of its falseness or with a conscious disregard for the accuracy of the

  information shown to be materially false, a False Statement Default shall be deemed to

  have occurred.

                   d.    Upon the occurrence of any of Payment Defaults, Recurring

  Defaults or False Statement Defaults, the Plan Proponents shall automatically have access

  to the remedies under Paragraph 9.16 of the Plan.




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  Bankruptcy Code, against the Debtor and its property subject only to the provisions of the

  Creditor Escrow Agreement and this Plan with respect to the allocation of any funds held

  in the Creditor Escrow Account or to be added thereto, and the Forbearance Agreement.

  Such rights include the right to complete any litigation, to obtain injunctive relief, to

  pursue immediate collection of any and all amounts then owing or later determined to be

  owing by the Debtor, whether for Claims or Administrative Expense Claims, or to

  request conversion of the case to Chapter 7. As more fully described in the Forbearance

  Agreement, GRE may exercise its rights as a secured creditor if such an uncured default

  occurs, but may not contest any payments made heretofore under the Plan or the use of

  funds in the Creditor Escrow Account.

           (13) Retention of Jurisdiction. Under the Plan, the Bankruptcy Court will

  retain such jurisdiction of the present chapter 11 proceedings as is legally permissible

  pursuant to all applicable provisions of the Bankruptcy Code, Rules, and other applicable

  law for all purposes, including, without limitation, the following:

                  a.     to hear and adjudicate objections to Claims and Interests and any

  other issues relating to the allowance, payment and priority of Claims and Interests

  except to the extent such issues are being litigated elsewhere pursuant to the provisions of

  the Plan;

                  b.     to hear, adjudicate and authorize payment of Administrative

  Expense Claims and compensation under Section 330 of the Bankruptcy Code;

                  c.      to hear and adjudicate the validity and allowance of any Claims

  resulting from the rejection of an Executory Contracts or Unexpired Leases;




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                  m.      to hear and adjudicate any other matter not inconsistent with the

  Bankruptcy Code and the Plan; and

                  n.      to enter a final decree closing the present chapter 11 proceedings.

  The Plan provides that nothing in the jurisdictional section described will be construed to

  grant the Bankruptcy Court jurisdiction over any action or contested matter against the

  United States, its agencies, or its officers arising out of or related to any laws or matters

  listed or otherwise described in section 1581 of Title 28 of the United States Code. The

  Debtor also agrees under the Plan that the exclusive forum for any such action or

  contested matter is the United States Court of International Trade.

           (14) Ex Parte Motion to Reopen the Bankruptcy Case. In the event that

  Bankruptcy Court involvement is required to resolve any issue addressed in this Plan, its

  enforcement or interpretation, by the terms of this Plan, the Plan Proponents and the

  United States are authorized, singly or collectively, to file an Ex Parte Motion to reopen

  the Bankruptcy Case.

  D.      Plan Litigation Trustee

           (1) Plan Litigation Trustee Under the Plan. Under the Plan, on or before

  the Effective Date, the Debtor shall execute the Plan Litigation Trustee Agreement

  annexed to the Plan as Exhibit B with the Plan Litigation Trustee. On the Effective Date,

  the Debtor shall transfer to the Plan Litigation Trustee all of its rights, title and interest to

  pursue all Recovery Actions. The Debtor will cooperate with the Plan Litigation

  Trustee's investigation of the Recovery Actions, including by promptly making all

  requested relevant documents available at reasonable places and times, and providing the




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  Debtor's personnel, including but not limited to Arthur Montour, as requested by the

  Trustee for questions and/or depositions at mutually agreed reasonable places and times.

          (2)    The Recovery Actions. Pursuant to the Plan Litigation Trustee

  Agreement, the Plan Litigation Trustee will investigate and assert, if appropriate, claims

  to avoid Prepetition transfers to Arthur Montour pursuant to paragraph 6.5 of the Plan.

          (3)    Funding the Expenses of the Plan Litigation Trust. In accordance with

  the Plan Litigation Trustee Agreement attached to the Plan as Exhibit B, the expenses of

  the Plan Litigation Trustee shall be funded initially with a $50,000 advance from the first

  Monthly Deposit made after the Effective Date. Any additional costs or expenses above

  the initial advance shall be provided by the Plan Litigation Trustee at his own expense.

  The Plan Litigation Trustee shall be paid attorneys' fees on a contingent basis based upon

  the net amount of recovery, if any from any Recovery Actions.

          (4)    Transfer of Cash Assets to Creditor Escrow Account. Upon final

  resolution of the Recovery Actions, and after accounting for and paying all expenses of

  the Plan Litigation Trustee in pursuing any Recovery Actions. the Plan Liquidation

  Trustee shall deposit all Cash held by him (including any amounts from the initial

  $50,000 deposit not used in the litigation) in the Creditor Escrow Account.

  E.     Order of Priorities in Plan Payments. Except with respect to disbursement of

  the Oklahoma Reserve as provided for above, there will be no Plan disbursements from

  the Creditor Escrow Account until there is a Final Order in the New York Litigation.

  After there is a Final Order in the New York Litigation, the Creditor Escrow Agent shall

  make an initial Distribution within twenty (20) days thereafter. Subsequent distributions

  shall be made on a quarterly basis.




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  or more of the Disputed Claims and Final Orders are obtained disallowing the Disputed

  Claim(s) in whole or in part, the balance of the reserve not needed to satisfy those

  Disputed Claims shall then be returned to the Debtor and the Creditor Escrow Account

  shall be terminated.


         THE FOREGOING IS ONLY A SUMMARY OF THE ESSENTIAL

         PROVISIONS OF THE PLAN. CREDITORS ARE ADVISED TO

         REVIEW THE PLAN CAREFULLY.

              VI. MANAGEMENT OF THE REORGANIZED ENTITY

         Following confimiation of the Plan, the Debtor will continue to be managed by

  the current management team, consisting of Arthur A. Montour and Earl Hill. Arthur

  Montour, the 100% stockholder of the Debtor, will continue to receive his monthly salary

  of $20,000. The other employees shall continue to be paid their current rate of salary and

  benefits, with annual reviews and increases in pay and benefits for such employees to be

  determined and within the discretion of management.

                     VII. TAX CONSEQUENCES OF THE PLAN

         The Plan may have tax consequences to the Debtor and to the holders of Claims.

         NO OPINION OF COUNSEL HAS BEEN SOUGHT OR OBTAINED WITH

  RESPECT TO ANY TAX CONSEQUENCES OF THE PLAN AND NO TAX

  OPINION IS GIVEN BY THIS DISCLOSURE STATEMENT. NO RULINGS OR

  DETERMINATIONS OF THE INTERNAL REVENUE SERVICE ("IRS") OR ANY

  OTHER TAX AUTHORITIES HAVE BEEN OBTAINED OR SOUGHT WITH

  RESPECT TO THE PLAN, AND NOTHING HEREIN IS BINDING UPON THE IRS

  OR OTHER TAX AUTHORITIES.




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         No representations are made regarding the particular tax consequences of the Plan

  to any holder of a Claim. The tax consequences of the Plan to holders of Claims are in

  many cases uncertain and may vary depending on the holder's individual circumstances.

  Each holder of a Claim is strongly urged to consult its own tax advisor regarding the

  federal, state, local and foreign tax consequences of the transactions described herein and

  in the Plan.

                            VIII. FINANCIAL STATEMENTS

  A.     Forecasted Statement of Net Income.

         The Debtor continues to operate its business of importing tobacco products from

  Canada. The Debtor believes that income from the operation of the business will be

  sufficient to fund the Plan. Attached as Exhibit A is a projected statement of net income

  (loss) for the next ten (10) years. This forecast is the Debtor's best estimate of its future

  income. As with all projections and forecasts, actual figures may differ significantly from

  the estimated figures in the projected statements. Moreover, although the States are Plan

  Proponents, they have had no role in preparing the projections annexed hereto as Exhibit

  A and they express no opinion about the validity of the projections or the feasibility of

  the Plan payments described herein.

  B.      Feasibility of the Plan

          The projections contained within Exhibit A demonstrate the feasibility of the

  Debtor's ability to make the Monthly Deposit and stay current with its other obligations

  and to make the proposed payments to all Allowed Claimants over time. If one or more

  of the contingent claims of the States are defeated, the duration of the Plan will be

  shortened. Conversely, the Plan's duration will be indefinite if all of the contingent

  claims become Allowed Claims or Allowed Administrative Expense Claims. The Plan


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  proponents recognize that the Plan is a vehicle to receive payments if their respective

  lawsuits are successful.

                        IX. BEST INTERESTS OF CREDITORS

          Notwithstanding acceptance of the Plan by creditors, the Bankruptcy Court must

  independently deteirnine that this Plan is in the best interest of all classes of claims. The

  "best interest" test requires that the Bankruptcy Court find that the Plan provides to each

  member of each impaired class of claims a recovery which has a present value that is at

  least equal to the present value of the distribution which each class member would

  receive from the Debtor's estate if the estate were liquidated under Chapter 7 on the

  Effective Date. The Plan Proponents believe that the proposed consensual Plan is in the

  best interest of all creditors and passes this test.

          Under Chapter 7, a secured creditor whose claim is fully secured would be

  entitled to payment, including interest, from the proceeds of the sale of its collateral.

  Unless its Claim is nonrecourse, a secured creditor whose collateral is insufficient to pay

  its Claim in full would be entitled to assert an unsecured claim for its deficiency. Claims

  entitled to priority under the Bankruptcy Code would be paid in full before any

  distribution to general unsecured creditors. Only the funds, if any, remaining after

  payment of secured claims and priority claims would be distributed pro rata to general

  unsecured creditors. In this case, as set forth in Section IV of this Disclosure Statement,

  the total value of the Debtor's assets, even at fair market value, is enough only to pay the

  secured creditor, GRE, its $9,000,000 Allowed Secured Claim and the USDA Priority

  Claim, which calculation does not even include the substantial Chapter 11 administration

  expenses anticipated. Unsecured creditors in this case would certainly receive nothing.




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         Moreover, the Plan Proponents believe that liquidation under Chapter 7 would

  result in substantial diminution of the value of the Debtor's estate because of additional

  administrative expenses arising from the appointment of a trustee and attorneys,

  accountants and other professionals to assist such trustee; additional expenses and claims,

  some of which would be entitled to priority, that would arise by reason of the liquidation

  and from the rejection of leases and other executory contracts in connection with a

  cessation of the Debtor's operations; and failure to realize the far greater going concern

  value of the Debtor's assets.

         Creditors will receive at least as much under this Plan as they would if the case

  were to be converted to a case under Chapter 7 and the Debtor's assets were liquidated by

  a Chapter 7 Trustee. In particular, the unsecured creditors will receive more under the

  Plan than they would if the case were converted to Chapter 7. As stated above, in a

  Chapter 7 liquidation, a majority of the proceeds of the sale of the Debtor's assets would

  be consumed by liens, administrative expense claims, and the costs of sale, such that

  unsecured creditors would receive nothing.




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                          EXHIBIT A




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                          NATIVE WHOLESALE SUPPLY COMPANY
                                (DEBTOR IN POSSESSION)

                                 GOWANDA, NEW YORK


                      COMPILED PROJECTED FINANCIAL STATEMENTS

                            OTHER FINANCIAL INFORMATION

                                          AND

                              INDEPENDENT ANC UNTANT'S
                                 COMPIL-AV1oN REPORT
                                       -
                      FOR THE YEX ENDING DECEMBER 31 2014 - 2024
                                     (UNAUDITED)




                                                                   MMB DRAFT #4
                                                                      02/11/2014

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                         INDEPENDENT ACCOUNTANT'S COMPILATION REPORT
                              ON PROJECTED FINANCIAL STATEMENTS
                                         (UNAUDDED)




 Native Wholesale Supply Company (Debtor in Possession)
 Gowanda, New York

 We have compiled the accompanying projected balance sheets for NativeA8Tesale Supply Company (Debtor
 in Possession) for the years ending December 31, 2014 through pec:eItiber'31, 2024, the projected statements of
 income and cash flows for the years then ending and thether compiled financial information, which is
 presented only for supplementary analysis purposes,trOii" ance with attestation standards established by the
 American Institute of Certified Public Accountax,it -The accompanying projected financial statements have
 been prepared to assist Native Wholesale Sup,ly tompany (Debtor in Possession) in developing a bankruptcy
 reorganization plan and to assist t      & pany in negotiating a repayment plan of its chief liability (TTPP
 Assessment) with the USDA.

 A compilation is,li(Vted‘to presenting in the form of projected financial information that is the representation of
 management anddnes not include evaluation of the support for the assumptions underlying the projection. We
 have not examined the projections and, accordingly, do not express an opinion or any other form of assurance on
 the accompanying statements or assumptions. Furthermore, even if the hypothetical assumptions described in
 Note A materialize, there will usually be differences between the projections and actual results, because events
 and circumstances frequently do not occur as expected, and those differences may be material. We have no
 responsibility to update this report for events and circumstances occurring after the date of this report.

 The accompanying projection and this report are intended solely for the information and use of Native
 Wholesale Supply Company (Debtor in Possession) and the USDA, and are not intended to be and should not be
 used by anyone other than these specified parties.




 Rochester, New York
 February 5, 2014




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                                  NATIVE WHOLESALE SUPPLY COMPANY
                                        (DEBTOR IN POSSESSION)

             SUMMARY OF SIGNIFICANT ASSUMPTIONS AND ACCOUNTING POLICIES

           FOR THE YEARS ENDING DECEMBER 31,2014 THROUGH DECEMBER 31, 2024

                                                   (UNAUDITED)


 NOTE A — NATURE OF PRESENTATION

    The accompanying projected financial statements have been prepared to assist Native Wholesale Supply
    Company (Debtor in Possession) (hereinafter referred to as the Company) in developing a bankruptcy
    reorganization plan and to assist the Company in achieving a repayment plan of its chief liability (TIPP
    Assessment) with the USDA.

    On November 21, 2011, Native Wholesale Supply Company (Debtor in Possession) (the Debtor) filed
    petitions for relief under Chapter 11 of the federal bankruptcy laws in the United States Bankruptcy Court for
    the Western District of New York State. This generally delays payment of liabilities Incurred prior to filing
    those petitions while the Company develops a plan of reorganization that is satisfOoty to its creditors and
    allows it to continue as a going concern. The carrying amounts of assets a, ffia‘bilities are unaffected by the
    proceedings, but liabilities are presented according to the status of tqferfitOrs. Under Chapter 11, certain
    claims against the Debtor in existence prior to the filing of thepet/5.116-th' for relief under the federal bankruptcy
    laws are stayed while the Debtor continues business opera*, as Debtor-in-possession. These claims are
    reflected in the balance sheet as "Liabilities subjecte,dotnipromise." Additional claims (liabilities subject to
    compromise) may arise subsequent to the filAeallite resulting from rejection of executor contracts, including
    leases, from the determination by the\l-ce'6f allowed claims for contingencies and other disputed claims.
    Claims secured against the Deht*?'assets (secured claims) also are stayed, although the holders of such
    claims have the right to rnov31fi& court for relief from the stay. Secured claims are secured primarily by liens
    on the Debtor's inyniQ

    The DebtorYebeived approval from the Bankruptcy Court to pay or otherwise honor certain of its prepetition
    obligations, including employee wages and product warranties.

    The projections present, to the best of management's knowledge and belief, the expected operating and
    cash flow results of the Company for the projection periods. Accordingly, the projections reflect its
    judgment as of February 5, 2014, the date of these projections, of the expected conditions and its expected
    course of action. The assumptions disclosed herein are those that management believes are significant to
    the projections. There will usually be differences between the projected and actual results, because events
    and circumstances frequently do not occur as expected, and those differences may be material.

 NOTE B — BASIS OF ACCOUNTING

    The accompanying projections use the accrual method of accounting The Company's fiscal year end is
    December 31. For this projection all twelve month periods will also use a December 31St fiscal year end.




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         NATIVE WHOLESALE SUPPLY COMPANY (DEBTOR IN POSSESSION)


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